Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 1 of 465




                    EXHIBIT 6
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 2 of 465


                                                                       Page 1


       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                             Case No.:
            -against-                        15-cv-07433-RWS

       GHISLAINE MAXWELL,

                    Defendants.

       - - - - - - - - - - - - - - - - - - - - x

                            **CONFIDENTIAL**

                  Videotaped deposition of GHISLAINE
             MAXWELL, taken pursuant to subpoena, was
             held at the law offices of BOIES
             SCHILLER & FLEXNER, 575 Lexington
             Avenue, New York, New York, commencing
             April 22, 2016, 9:04 a.m., on the above
             date, before Leslie Fagin, a Court
             Reporter and Notary Public in the State
             of New York.

                             - - -
                   MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 3 of 465


                                                                       Page 2
  1
  2    APPEARANCES:
  3
       BOIES SCHILLER & FLEXNER, LLP
  4    Attorneys for Plaintiff
                 401 East Las Olas Boulevard
  5              Fort Lauderdatle, Florida, 33301
       BY:       SIGRID McCAWLEY, ESQUIRE
  6              MEREDITH SCHULTZ, ESQUIRE
                 EMMA ROSEN, PARALEGAL
  7
  8
       FARMER JAFFE WEISSING EDWARDS FISTOS &
  9    LEHRMAN, P.L.
                 Attorneys for Plaintiff
 10              425 N. Andrews Avenue
                 Fort Lauderdale, Florida 33301
 11    BY:       BRAD EDWARDS, ESQUIRE
 12
 13    PAUL G. CASSELL, ESQUIRE
       Attorneys for Plaintiff
 14              383 South University Street
                 Salt Lake City, Utah 84112
 15
 16
       HADDON MORGAN FOREMAN
 17    Attorneys for Defendant
                 150 East 10th Avenu
 18              Denver, Colorado 80203
       BY:       JEFFREY S. PAGLIUCA, ESQUIRE
 19              LAURA A. MENNINGER, ESQUIRE
 20
 21    Also Present:
 22        James Christe, videographer
 23
 24
 25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 4 of 465


                                                                       Page 3
  1
  2                 THE VIDEOGRAPHER:       We are now on
  3          the record and recording.         This begins
  4          disk No. 1 in the deposition of
  5          Ghislaine Maxwell in the matter of
  6          Virginia Giuffre versus Ghislaine
  7          Maxwell in the U.S. District Court for
  8          the Southern District of New York.
  9                 Today is April 22, 2016 the time is
 10          9:04 a.m..     This deposition is being
 11          taken at 575 Lexington Avenue in New
 12          York at the request of Sigrid McCawley
 13          of Boies Schiller & Flexner.
 14                 The videographer is James Christe
 15          and the court reporter is Leslie Fagin.
 16          Will counsel state their appearance and
 17          whom they represent and then court
 18          reporter swear in Ms. Maxwell.
 19                 MS. McCAWLEY:      My name is Sigrid
 20          McCawley with my colleague Meredith
 21          Schultz.     We are with Boies Schiller &
 22          Flexner.     We represent Ms. Giuffre.
 23                 MR. EDWARDS:     Brad Edwards.      I also
 24          represent Ms.      Giuffre.
 25                 MR. CASSELL:     Paul Cassell, I also
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 5 of 465


                                                                       Page 4
  1                G Maxwell - Confidential
  2           represent Ms. Giuffre.
  3                   MR. PAGLIUCA:    Jeff Pagliuca and
  4           Laura Menninger on behalf of Ms.
  5           Maxwell.
  6    G H I S L A I N E           M A X W E L L,      called
  7    as a     witness,    having been duly sworn by a
  8    Notary Public, was examined and testified as
  9    follows:
 10    EXAMINATION BY
 11    MS. McCAWLEY:
 12           Q.     Good morning.     I'm going to explain
 13    some of the rules that will happen with
 14    respect to depositions.
 15                  Have you ever been deposed before?
 16           A.     I have not.
 17           Q.     What is going to happen here, we
 18    have a court reporter and a videographer.
 19    What they do is take down the words that we
 20    say so when I ask you a question they will
 21    record what you say in response to that.             So
 22    we have to be mindful that in order for them
 23    to do their job we can't talk over each
 24    other.
 25                  Another issue you have to be weary
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 6 of 465


                                                                       Page 5
  1               G Maxwell - Confidential
  2    of is that in a response, you can't give a
  3    nonverbal response, in other words, nodding a
  4    yes or no, they need to hear verbal response
  5    so they can record it on their transcript.
  6    So that's important for you to remember as we
  7    go through the day.        If you forget, I will be
  8    sure to remind you.
  9                  Is there anything that would
 10    prevent you from giving truthful testimony
 11    today?
 12          A.     There is not.
 13          Q.     You are not on any medications or
 14    anything that would inhibit your ability to
 15    remember or give truthful testimony?
 16          A.     I am not.
 17                 MR. PAGLIUCA:      Could you identify
 18          the assistant in the room.
 19                 MS. McCAWLEY:      This is Emma Rosen
 20          from our New York office.         She is a
 21          paralegal.
 22          Q.     Ms. Maxwell, can you please state
 23    your address for the record?
 24          A.     Currently
 25          Q.     What is your date of birth?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 7 of 465


                                                                       Page 6
  1             G Maxwell - Confidential
  2          A.
  3          Q.     When did you first recruit a female
  4    to work for Mr. Epstein?
  5                 MR. PAGLIUCA:      I object to the form
  6          and foundation of the question.           I
  7          believe this is confidential
  8          information.      I ask anyone who is not
  9          admitted in this case be excused from
 10          the room, please.
 11                 MS. McCAWLEY:      So the response to
 12          that question would --
 13                 MR. PAGLIUCA:      The subject matter
 14          of this question is confidential and I'm
 15          designating it as confidential.
 16                 MS. McCAWLEY:      I just want to make
 17          that clear for the record.
 18                 MR. EDWARDS:     So we don't delay the
 19          deposition I will step out of the room
 20          but I think it's important to lay the
 21          record that --
 22                 MR. PAGLIUCA:      I'm sorry, you are
 23          not admitted in this proceeding so you
 24          are not entitled to make any record.            If
 25          Ms. McCawley wants to make a record she
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 8 of 465


                                                                       Page 7
  1               G Maxwell - Confidential
  2          can.
  3                  MR. EDWARDS:    I can make a record
  4          right now.
  5                  MR. PAGLIUCA:     Maybe we should get
  6          the judge on the phone and talk about
  7          it.
  8                  MR. EDWARDS:    The record will be
  9          short.     This is the precise reason why
 10          Ms. Giuffre wants me in this case and
 11          I'm unable to effectively represent her
 12          at this time because I am unable to have
 13          access to the confidential information
 14          which includes apparently the entire
 15          deposition of Ms. Maxwell.          But for the
 16          sake of not further delaying this, I
 17          will be outside the room.
 18                 MS. McCAWLEY:      Thank you.
 19          A.     I would like to just -- wait for
 20    him to leave.
 21          Q.     That's fine.
 22          A.     I would just like to clarify the
 23    address.     I'm in the process of selling the
 24    house so while while I still receive mail
 25    there, it's not my actual physical address.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 9 of 465


                                                                       Page 8
  1               G Maxwell - Confidential
  2    It's in the process of being sold.            It still
  3    requires some final paperwork to be done, so
  4    just for the purposes of clarity.
  5            Q.    Do you have a new address where you
  6    will be living?
  7            A.    I do not.
  8            Q.    For the purpose of the record, if
  9    there is something I ask you that you later
 10    remember something else or need to correct
 11    your testimony in some way, you can do that,
 12    just let me know what it is and we will go
 13    back to that question and can you clarify.
 14          A.     Of course.     I just wanted to be
 15    clear, there is still some paperwork pending
 16    for final release, but it's in the process of
 17    sale.    But I don't have another address
 18    currently, so whilst that should still be of
 19    record that the mail could be forwarded
 20    there, so for purposes of clarity I wanted to
 21    be clear.
 22          Q.     I appreciate that.
 23                 So Ms. Maxwell, when did you first
 24    recruit a female to work for Mr. Epstein?
 25                 MR. PAGLIUCA:      Again.    I object to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 10 of 465


                                                                        Page 9
  1                G Maxwell - Confidential
  2           form and foundation of the question.
  3           Q.      You can answer the question.
  4           A.      First of all, can you please
  5    clarify the question.         I don't understand
  6    what you mean by female, I don't understand
  7    what you mean by recruit.          Please be more
  8    clear and specific about what you are
  9    suggesting.
 10           Q.     Are you a female, is that the sex
 11    that you are?
 12           A.     I am a female.
 13           Q.     That's what I'm referring to a
 14    female and I'm asking you when you first, the
 15    very first time you recruited a female to
 16    work for Mr. Epstein?
 17           A.     Again, I don't understand what
 18    female -- I am a 54 year old women.
 19           Q.     I'm not making it age, any age of a
 20    female that you recruited to work for Mr.
 21    Epstein?
 22           A.     Again, I was somebody who hired a
 23    number of people to work for Mr. Epstein and
 24    hiring is one of my functions.
 25           Q.     And when is the first time you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 11 of 465


                                                                    Page 10
  1                G Maxwell - Confidential
  2    hired someone to work for Mr. Epstein, a
  3    female?
  4           A.      As best as I can recollect, a woman
  5    the age probably of about 40 or 50 was in
  6    sometime in 1992.
  7           Q.      How long did you work for Mr.
  8    Epstein?
  9           A.      I started working for him at some
 10    point in 1992 and the nature of my work
 11    relationship with him changed over time so
 12    from around 2002, 2003, the work lessened
 13    considerably.
 14           Q.     When did you --
 15                  MR. PAGLIUCA:     Can I interject for
 16           a moment.     If we are talking about
 17           background --
 18                  MS. McCAWLEY:     I'm in the middle of
 19           a question.     Let me finish it and then
 20           can you interject.
 21           Q.     When you say 2002 to 2003 that the
 22    work lessened, when did you complete working
 23    for Mr. Epstein; when was the last time you
 24    were employed by him, the last date?
 25           A.     I believe I still was doing --
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 12 of 465


                                                                    Page 11
  1                G Maxwell - Confidential
  2    helping him in a very nominal way, maybe an
  3    hour or two a year at sometime 2008 and 2009.
  4                   MR. PAGLIUCA:    So if you are going
  5           to be talking about general background,
  6           I don't need to designate that as
  7           confidential.      So if you want to have
  8           them come back in, that's fine.
  9                   I assumed by your first question
 10           you were going into more sensitive
 11           areas.    I will leave it up to you, but
 12           if this is general background it will
 13           not be designated as confidential.
 14                  MS. McCAWLEY:      I appreciate that.
 15           I will jump back into my other
 16           questions.
 17                  MR. PAGLIUCA:     So we will keep it
 18           as confidential.
 19           Q.     When you were first employed by him
 20    in 1992, what were you hired to do?
 21           A.     First, I was consulting and what I
 22    did was I helped with decorating houses and
 23    in hiring staff to help run those houses.
 24           Q.     Did your duties change over the
 25    course of 1992 to 2009?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 13 of 465


                                                                    Page 12
  1                G Maxwell - Confidential
  2                   MR. PAGLIUCA:    Object to the form
  3           and foundation.
  4           A.      My job entailed running the homes
  5    that he had but much more importantly, most
  6    of the houses had construction and so whilst
  7    in 1992 there was no construction project,
  8    there was construction projects that began
  9    after that time and I was in charge not only
 10    of hiring architects, I was also in charge of
 11    all the filings or overseeing that, like a
 12    general contractor would.
 13                  I also helped with hiring the
 14    architects, hiring the builders, reviewing
 15    the contracts for the builders, coordinating
 16    the building projects, coordinating how the
 17    projects would layout, the timing of the
 18    projects and all the various materials that
 19    they would require to run a very substantial
 20    building project.        That's the nature of the
 21    job I was dealing with.
 22           Q.     How old was the youngest female you
 23    ever hired to work for Jeffrey?
 24                  MR. PAGLIUCA:     Object to the form
 25           and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 14 of 465


                                                                    Page 13
  1                G Maxwell - Confidential
  2           Q.      You can answer.
  3           A.      I have not any idea exactly of the
  4    youngest adult employee that I hired for
  5    Jeffrey.
  6           Q.      When you say adult employee, did
  7    you ever hire someone that was under the age
  8    of 18?
  9           A.      Never.
 10           Q.     Did you ever bring someone who was
 11    under -- invite someone under the age of 18
 12    to Jeffrey's home, any of his homes?
 13                  MR. PAGLIUCA:     Object to the form
 14           foundation.
 15           A.     Can you repeat the question?
 16           Q.     Did you ever invite anybody who was
 17    under the age of 18 to Jeffrey's homes?
 18                  MR. PAGLIUCA:     Same objections.
 19           A.     I have a number of friends that
 20    have children and friends of mine that have
 21    kids and in the invitation of my friends and
 22    their kids, I'm sure I may have invited some
 23    of my friend's kids to come.
 24           Q.     Anybody that is not a friend of
 25    yours.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 15 of 465


                                                                    Page 14
  1                G Maxwell - Confidential
  2                   Any female under the age of 18, did
  3    you invite them to come to Jeffrey's home?
  4                   MR. PAGLIUCA:    Object to the form
  5           and foundation.
  6           A.      Again, as I said, I am not aware of
  7    inviting anybody other than friends of mine
  8    who have children to the house.
  9           Q.      Did you invite Virginia Giuffre to
 10    come to Jeffrey Epstein's home when she was
 11    under the age of 18?
 12                  MR. PAGLIUCA:     Object to the form
 13           and foundation.
 14           A.     Virginia Roberts held herself out
 15    as a masseuse and invited herself to come and
 16    give a massage.
 17           Q.     My question is, did you invite
 18    Virginia Roberts when she was under the age
 19    of 18 to come to Jeffrey Epstein's home?
 20                  MR. PAGLIUCA:     Object to the form
 21           and foundation.
 22           A.     Again, Virginia Roberts was a
 23    masseuse --
 24           Q.     I'm asking not asking if she was a
 25    masseuse.      I'm asking if you invited her to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 16 of 465


                                                                    Page 15
  1                G Maxwell - Confidential
  2    come to Jeffrey Epstein's home?
  3            A.     Again, there would be no course to
  4    have a conversation with Virginia unless she
  5    held herself out to be a masseuse.
  6            Q.     I'm not asking that question.        I'm
  7    asking if you invited her to come to Jeffrey
  8    Epstein's home when she was under the age of
  9    18?
 10           A.     Again, I repeat, she was a masseuse
 11    and in the form and as my job, I was to have
 12    people who he wanted for various things
 13    including massage.        She came as a masseuse.
 14           Q.     So you invited her to his home to
 15    come to give a massage, is that correct?
 16                  MR. PAGLIUCA:     Object to the form
 17           and foundation.      Misstates the witness'
 18           testimony.
 19           A.     Again, I did not invite Virginia
 20    Roberts.      She came as a masseuse.
 21           Q.     She who invited her to come as a
 22    masseuse, she just showed up at the front
 23    door?
 24                  MR. PAGLIUCA:     Object to the form
 25           and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 17 of 465


                                                                    Page 16
  1                G Maxwell - Confidential
  2           A.      Ms. Roberts held herself out --
  3           Q.      I'm not asking how she held herself
  4    out.     I'm asking how she arrived at the home.
  5    Did you meet her and invite her to come to
  6    the home or how did she arrive there?
  7                   MR. PAGLIUCA:    Object to the form
  8           and foundation.
  9           A.      Ms. Roberts held her to be a
 10    masseuse and her mother drove her to the
 11    house.
 12           Q.     When did you first meet Virginia
 13    Roberts?
 14           A.     I don't have a recollection of the
 15    first meeting.
 16           Q.     Do you recall meeting her at
 17    Mar-a-Lago?
 18           A.     Like I said, I don't have a
 19    recollection of meeting Ms. Roberts.
 20           Q.     So you recall Ms. Roberts being
 21    brought to the home by her mother, is that
 22    your testimony?
 23           A.     That is my testimony.
 24           Q.     And that is the first time you met
 25    her?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 18 of 465


                                                                    Page 17
  1                G Maxwell - Confidential
  2           A.      Like I said, I don't recall meeting
  3    her the first time.         I do remember her mother
  4    bringing her to the house.
  5           Q.      Are you a member at Mar-a-Lago?
  6           A.      No.
  7           Q.      Have you visited Mar-a-Lago?
  8           A.      Yes.
  9           Q.      Did you visit Mar-a-Lago in the
 10    year 2000?
 11           A.     I'm pretty sure I did.
 12           Q.     When Ms. Roberts arrived at the
 13    home with her mother, what happened?
 14           A.     I spoke to her mother outside of
 15    the house and she -- what I don't recall is
 16    exactly what happened because I was talking
 17    to her mother the entire she was in the
 18    house.
 19           Q.     Did you introduce Ms. Roberts to
 20    Jeffrey Epstein?
 21           A.     I don't recall how she actually met
 22    Mr. Epstein.         As I said, I spoke to her
 23    mother the entire time outside the house.
 24           Q.     Did you walk Ms. Roberts up to the
 25    upstairs location at the Palm Beach house to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 19 of 465


                                                                    Page 18
  1                G Maxwell - Confidential
  2    meet Mr. Epstein?
  3                   MR. PAGLIUCA:    Object to the form
  4           and foundation.
  5           Q.      You can answer.
  6           A.      I just explained.
  7           A.      I spent the entire time talking to
  8    Virginia's mother outside the house so the
  9    answer to the question is no.
 10           Q.     No, did you not walk her up and
 11    introduce her to Mr. Epstein?
 12           A.     I just said no.
 13           Q.     Did you participate in a massage
 14    this first time when she first came to the
 15    home and you were speaking with her mother,
 16    she was in the home, is that correct, you
 17    brought her into the home?
 18                  MR. PAGLIUCA:     Object to the form
 19           and foundation.
 20           A.     I will repeat again, I was standing
 21    outside with her mother so very difficult for
 22    me to do anything else at that time so no, I
 23    did not take her upstairs.
 24           Q.     Did you participate --
 25           A.     Virginia lied 100 percent about
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 20 of 465


                                                                    Page 19
  1                G Maxwell - Confidential
  2    absolutely everything that took place in that
  3    first meeting.       She has lied repeatedly,
  4    often and is just an awful fantasist.             So
  5    very difficult for anything to take place
  6    that she repeated because I was with her
  7    mother the entire time.
  8           Q.      So did you have -- did you give a
  9    massage with Virginia Roberts and Mr. Epstein
 10    during the first time Virginia Roberts was at
 11    the West Palm Beach house?
 12                  MR. PAGLIUCA:     Object to the form
 13           and foundation.
 14           Q.     Yes or no?
 15           A.     No.
 16           Q.     Have you ever given a massage with
 17    Virginia Roberts in the room and Jeffrey
 18    Epstein?
 19                  MR. PAGLIUCA:     Object to the form
 20           and foundation.
 21           A.     No.
 22           Q.     Have you ever given Jeffrey Epstein
 23    a massage?
 24                  MR. PAGLIUCA:     Object to the form,
 25           foundation.     And I'm going to instruct
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 21 of 465


                                                                    Page 20
  1             G Maxwell - Confidential
  2           you not to answer that question.           I
  3           don't have any problem with you asking
  4           questions about what the subject matter
  5           of this lawsuit is, which would be, as
  6           you've termed it, sexual trafficking of
  7           Ms. Roberts.
  8                 To the extent you are asking for
  9           information relating to any consensual
 10           adult interaction between my client and
 11           Mr. Epstein, I'm going to instruct her
 12           not to answer because it's not part of
 13           this litigation and it is her private
 14           confidential information, not subject to
 15           this deposition.
 16                 MS. McCAWLEY:      You can instruct her
 17           not to answer.      That is your right.        But
 18           I will bring her back for another
 19           deposition because it is part of the
 20           subject matter of this litigation so she
 21           should be answering these questions.
 22           This is civil litigation, deposition and
 23           she should be responsible for answering
 24           these questions.
 25                 MR. PAGLIUCA:      I disagree and you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 22 of 465


                                                                    Page 21
  1             G Maxwell - Confidential
  2           understand the bounds that I put on it.
  3                   MS. McCAWLEY:    No, I don't.      I will
  4           continue to ask my questions and you can
  5           continue to make your objections.
  6           Q.      Did you ever participate from the
  7    time period of 1992 to 2009, did you ever
  8    participate in a massage with Jeffrey Epstein
  9    and another female?
 10                 MR. PAGLIUCA:      Objection.     Do not
 11           answer that question.        Again, to the
 12           extent you are asking for some sort of
 13           illegal activity as you've construed in
 14           connection with this case I don't have
 15           any problem with you asking that
 16           question.     To the extent these questions
 17           involve consensual acts between adults,
 18           frankly, they're none of your business
 19           and I will instruct the witness not to
 20           answer.
 21                 MS. McCAWLEY:      This case involves
 22           sexual trafficking, sexual abuse,
 23           questions about her having interactions
 24           with other females is relevant to this
 25           case.    She needs to answer these
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 23 of 465


                                                                    Page 22
  1                G Maxwell - Confidential
  2           questions.
  3                   MR. PAGLIUCA:    I'm instructing her
  4           not to answer.
  5                   MS. McCAWLEY:    Then we will be back
  6           here again.
  7           Q.      Have you ever given a massage to
  8    Mr. Epstein with a female that was under the
  9    age of 18?
 10           A.     Can you repeat the question?
 11           Q.     Yes.   Have you ever given a massage
 12    to Mr. Epstein with a female that was under
 13    the age of 18?
 14           A.     No.
 15           Q.     Have you ever observed Mr. Epstein
 16    having a massage given by an individual, a
 17    female, who was under the age of 18?
 18           A.     No.
 19           Q.     Have you ever observed females
 20    under the age of 18 in the presence of
 21    Jeffrey Epstein at his home?
 22                  MR. PAGLIUCA:     Object to the form
 23           and foundation.
 24           A.     Again, I have friends that have
 25    children --
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 24 of 465


                                                                    Page 23
  1                G Maxwell - Confidential
  2           Q.      I'm not talking about friends.         I'm
  3    talking about individuals --
  4                   MR. PAGLIUCA:    I'm going to object
  5           to you interrupting the witness who was
  6           answering your question.         The question
  7           was, have you ever seen anyone, female
  8           under the age of 18 at the house and
  9           that's the question she was answering.
 10           If you want to strike that question and
 11           ask another question, feel free, but let
 12           the witness respond, please.
 13                  MS. McCAWLEY:     I will do that.
 14           Q.     Have you ever observed a female
 15    under the age of 18 at Jeffrey Epstein's home
 16    that was not a friend, a child -- one of your
 17    friend's children?
 18           A.     Again, I can't testify to that
 19    because I have no idea what you are talking
 20    about.
 21           Q.     You have no idea what I'm talking
 22    about in the sense you never observed a
 23    female under the age of 18 at Jeffrey
 24    Epstein's home that was not one of your
 25    friend's children, is that correct?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 25 of 465


                                                                    Page 24
  1                G Maxwell - Confidential
  2                   MR. PAGLIUCA:    Object to the form
  3           and foundation.
  4           A.      How would I possibly know how
  5    someone is when they are at his house.             You
  6    are asking me to do that.          I cannot possibly
  7    testify to that.       As far as I'm concerned,
  8    everyone who came to his house was an adult
  9    professional person.
 10           Q.     Are you familiar with the police
 11    report that was issued in respect to the
 12    investigation in this matter?
 13                  MR. PAGLIUCA:     Object to the form
 14           and foundation.
 15           Q.     Are you familiar with the police
 16    report that was used in this matter, the
 17    investigation of Jeffrey Epstein, has been
 18    produced as a document in this matter?
 19           A.     I have seen a police report.
 20                  (Maxwell Exhibit 1, police report,
 21           marked for identification.)
 22           Q.     The police report that you have in
 23    front of you, can you turn to page 28 of that
 24    report, the numbers are on the top right-hand
 25    corner.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 26 of 465


                                                                    Page 25
  1                G Maxwell - Confidential
  2                   You will see some redactions in
  3    this report, Ms. Maxwell, the redacted
  4    information is redacted because it reveals
  5    the name of a minor, someone who is under the
  6    age of 18.
  7                   On page 28, in the third paragraph,
  8    about halfway down, it says,                   stated
  9    she performed the massage naked.           At the
 10    conclusion of this massage, Epstein paid
 11             $200 for the massage.        He explained, I
 12    know you are not comfortable put I will pay
 13    you if you bring some girls.          He told her the
 14    younger the better.                 stated once tried
 15    to bring a 23 year old to Epstein and he
 16    stated the female was too old.
 17                  Have you heard Mr. Epstein use the
 18    phrase the younger the better?
 19           A.     I have no recollection of hearing
 20    that.
 21           Q.     Have you used the phrase in talking
 22    to                 and asking her to recruit
 23    females for Mr. Epstein, the younger the
 24    better?
 25                  MR. PAGLIUCA:     Object to the form
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 27 of 465


                                                                    Page 26
  1                G Maxwell - Confidential
  2           and foundation of the question.
  3           A.      First of all, can you break the
  4    question apart.
  5           Q.      Have you used the phrase the
  6    younger the better in speaking to
  7    and asking her to recruit females for Jeffrey
  8    Epstein?
  9                   MR. PAGLIUCA:    Object to the form
 10           and foundation.
 11           Q.     You can answer.      It's yes or no.
 12           A.     No, that's absolutely not true, on
 13    the second part of your question, I have not
 14    asked Virginia to recruit females and the
 15    first part of your question, if you can
 16    repeat that again, the question you asked.
 17           Q.     Will you read back the question.
 18                  (Record read.)
 19           A.     I believe I answered the later part
 20    of the question.       The first part of the
 21    question, it's impossible for me to recall
 22    events that took place 16 years ago but it
 23    doesn't sound like something I would say.
 24           Q.     On page 28, that same paragraph,
 25                was asked how many girls in total she
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 28 of 465


                                                                    Page 27
  1                G Maxwell - Confidential
  2    brought to Epstein.                 stated that she
  3    can remember,              stated that she brought
  4    and, it's redacted there, and the victim in
  5    this case.
  6                   Let me ask my question, I have a
  7    question pending right now.
  8                   Are you testifying that you are
  9    unaware of any underage, under the age of 18,
 10    females coming to Jeffrey Epstein's home to
 11    perform massages?
 12                  MR. PAGLIUCA:     Object to the form
 13           foundation.
 14           A.     You need to straddle that question
 15    in a different time period.          When I was
 16    there, at the time I was present, the people
 17    that gave Jeffrey, men and women who gave
 18    Jeffrey massages were adults over the age of
 19    18.
 20           Q.     Never in your time at any of
 21    Jeffrey Epstein's homes were you present when
 22    a female under the age of 18 was there to
 23    give Jeffrey Epstein a massage?
 24                  MR. PAGLIUCA:     Object to the form
 25           and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 29 of 465


                                                                    Page 28
  1                G Maxwell - Confidential
  2           A.      First of all, as I said when I was
  3    present --
  4           Q.      It is a yes or no.
  5           A.      No, it is not.
  6           Q.      You can answer the question in full
  7    but please provide yes or no as an initial
  8    matter.
  9           A.      I cannot answer yes or no, it's not
 10    bounded by time.       It's entirely possible I
 11    could have been in a room or even in the
 12    vicinity of Palm beach when somebody came and
 13    I would not know.        How would I know when
 14    somebody was in the house.          There is no way I
 15    can know.
 16           Q.     Did you stay at Jeffrey Epstein's
 17    home when you were in Palm Beach?
 18           A.     Most of the time.
 19           Q.     So how is it that you wouldn't know
 20    if there was a female in the home under the
 21    age of 18 if you were staying there?
 22           A.     Well, first of all, when I was
 23    staying there, the house is actually quite
 24    large and I have a very busy job and I had an
 25    office with a door so the door would be shut
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 30 of 465


                                                                    Page 29
  1                G Maxwell - Confidential
  2    and I would be working.         I'm not responsible
  3    for what Jeffrey does and I don't always pay
  4    attention to what happens in the house.             I'm
  5    very busy.
  6           Q.      So you're testifying that you never
  7    observed a female under the age of 18 at
  8    Jeffrey Epstein's West Palm Beach home?
  9                   MR. PAGLIUCA:    Object to the form
 10           and foundation.
 11           A.     I already answered that question, I
 12    believe.
 13           Q.     You didn't answer my question.
 14           A.     I did.
 15           Q.     Did you observe a female under the
 16    age of 18 at Jeffrey Epstein's home in Palm
 17    Beach?
 18           A.     Like I said, I work, I don't sit
 19    there and watch people coming in and out of
 20    the house.      I cannot possibly tell you if I'm
 21    in the home that somebody was there that I
 22    did not see, I cannot comment on it, I have
 23    no idea.
 24           Q.     Did you observe females at Jeffrey
 25    Epstein's home that were laying out topless
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 31 of 465


                                                                    Page 30
  1                G Maxwell - Confidential
  2    in the back of the home, in other words
  3    without a shirt on?
  4           A.      So that's just another of
  5    Virginia's lies.       So let's be clear, at the
  6    time when I was there and present, frequently
  7    at the house, it was unusual to see people
  8    without their clothes on.
  9           Q.      When you say unusual, did you
 10    observe people without their clothes at
 11    Jeffrey Espstein's home?
 12           A.     Can I answer.     Sometimes people in
 13    the privacy of a house and swimming pool, I
 14    have seen people from time to time take their
 15    top off.      I have seen people from time to
 16    time do that.      Very unusual.      Naked people
 17    around the people at any frequent period of
 18    time, I have never seen.
 19           Q.     Were they under the age of 18?
 20           A.     As I was saying, people when I was
 21    in the house, were of adult age, if they were
 22    children, friends of my family or friends
 23    that were there, they may well have been
 24    because I have nieces and nephews under the
 25    age of 18, I cannot testify to anybody else
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 32 of 465


                                                                    Page 31
  1                G Maxwell - Confidential
  2    -- just another one of Virginia's many
  3    fictitious lies and stories to make this a
  4    salacious event to get interest and press.
  5    It's absolute rubbish.
  6           Q.      Were you in charge of hiring
  7    individuals to provide massages for Jeffrey
  8    Epstein?
  9           A.      My job included hiring many people.
 10    There were six homes.         As I sit here, I hired
 11    assistants, I hired architects, I hired
 12    decorators, I hired cooks, I hired cleaners,
 13    I hired gardeners, I hired pool people, I
 14    hired pilots, I hired all sorts of people.
 15                  In the course and a very small part
 16    of my job was from from time to time to find
 17    adult professional massage therapists for
 18    Jeffrey.
 19           Q.     When you say adult professional
 20    massage therapists, where did you find these
 21    massage therapists?
 22           A.     From time to time I would visit
 23    professional spas, I would receive a massage
 24    and if the massage was good I would ask that
 25    man or woman if they did home visits.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 33 of 465


                                                                    Page 32
  1                G Maxwell - Confidential
  2            Q.     Did you ever hire a masseuse that
  3    was under the age of 18?
  4                   MR. PAGLIUCA:    Object to the form
  5            and foundation.
  6            Q.     Did you?
  7            A.     Again, I don't hire massage
  8    therapists, so that was not my job.
  9            Q.     You just said you did, you just
 10    said you hired massage therapists for Jeffrey
 11    Epstein, I'm asking if you hired a massage
 12    therapist who was under the age of 18?
 13           A.     Let me correct myself.       When I
 14    meant hire, I didn't mean hire in the way you
 15    are doing it.      What I say is that I went to
 16    spas and I met people and if they did home
 17    visits, Jeffrey would then, in fact, hire
 18    them.    I'm not responsible for hiring
 19    someone.      And they were not full-time, so
 20    it's not a correct characterization.
 21           Q.     Did you ever, your term is meet,
 22    did you ever meet a person that was under the
 23    age of 18 that you -- that Jeffrey then hired
 24    as a masseuse?
 25                  MR. PAGLIUCA:     Object to the form
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 34 of 465


                                                                    Page 33
  1                G Maxwell - Confidential
  2           and foundation.
  3           A.      First of all, Virginia Roberts who
  4    you are referring to was a masseuse aged 17,
  5    we all now know, so your story that you keep
  6    pushing out to the press that she was a 15
  7    year old -- you and I both know was a lie,
  8    correct.
  9           Q.      You are not sentencing my question.
 10           A.     You and I both know that was a lie,
 11    correct.
 12           Q.     You are not answering my question.
 13    I'm asking you whether you ever met a female
 14    under the age of 18 that Jeffrey then hired
 15    as a masseuse?
 16                  MR. PAGLIUCA:     Object to the form
 17           and foundation.
 18           A.     The only person I can talk about
 19    who clearly was a massage age 17, a masseuse,
 20    was Virginia.
 21           Q.     Did you meet her and then introduce
 22    her to Jeffrey?
 23           A.     I don't know.     I already testified
 24    I don't recall meeting her.
 25                  (Maxwell Exhibit 2, email, marked
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 35 of 465


                                                                    Page 34
  1                G Maxwell - Confidential
  2           for identification.)
  3           Q.      So I'm showing you a document that
  4    we have marked as Maxwell Exhibit 2.             It's a
  5    document you produced in this matter labeled
  6    confidential GM 00109.         It's dated Sunday
  7    June 12, 2011.         It's from Jeffrey Epstein to
  8    you.    If you can turn to page 4 -- sorry, can
  9    you turn to the first page, the cover page
 10    initially which is 00109.          If you look under
 11    the time stamp it says, June 12, 2011 at 4:12
 12    p.m., it says
 13                  Is that your email address?
 14           A.     It is.
 15           Q.     Under that it says, Thank you.          I
 16    have it now and I'm working on a letter, a
 17    little, I will send the final version
 18    tomorrow and what ever it is will be
 19    factually accurate.
 20                  Do you see that on page 1?
 21           A.     I do.
 22           Q.     Then I would like you to turn to
 23    page 4 please.        The second paragraph down on
 24    page 4, it states, After some thought, I
 25    recall that I first met Ms. Roberts when she
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 36 of 465


                                                                    Page 35
  1                G Maxwell - Confidential
  2    was working at a premier resort claiming to
  3    be 18 years old and a professional masseuse?
  4                   MR. PAGLIUCA:    What line are you
  5           on, counsel.
  6                   MS. McCAWLEY:    Second paragraph
  7           down.
  8                   MR. PAGLIUCA:    I got it.
  9           Q.      Is that a statement that you wrote?
 10           A.     It appears to be.
 11           Q.     So does that correct your testimony
 12    that you did meet Ms. Roberts at Mar-a-Lago?
 13           A.     Again, this was written in, when
 14    were you saying?
 15           Q.     2011.
 16           A.     So by 2011, Ms. Roberts had already
 17    perpetrated so many lies and stories it's
 18    hard for me to accurately tell you today what
 19    I remember back then.         As I sit here today,
 20    the testimony I give you today, I do not
 21    recollect it.
 22           Q.     Do you have a reason to say that
 23    this document that you wrote is incorrect?
 24           A.     It's in 2011, I can't possibly tell
 25    you what I remember in 2011.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 37 of 465


                                                                    Page 36
  1                G Maxwell - Confidential
  2           Q.      Are you questioning that this
  3    document is incorrect, this document -- this
  4    email that you wrote?
  5           A.      I wrote an email.     I was trying to
  6    be accurate, so who knows, with all the
  7    rubbish that you guys have put out in the
  8    press that I read, maybe in the moment I
  9    wrote it a memory came to me that I don't
 10    know, but as I sit here today and the
 11    testimony I gave you today is I don't
 12    recollect it.
 13           Q.     Does this refresh your recollection
 14    that you recalled meeting Ms. Roberts at
 15    Mar-a-Lago?
 16           A.     It does not.
 17           Q.     So your testimony today is that you
 18    don't remember meeting Ms. Roberts at
 19    Mar-a-Lago?
 20           A.     I do not.
 21                  I just want to clarify, when you
 22    read so much stuff and so much rubbish that
 23    comes out from Virginia Roberts, you don't
 24    know what's up and down, at the time I wrote
 25    this I believe I had a memory but as I sit
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 38 of 465


                                                                    Page 37
  1                G Maxwell - Confidential
  2    here today I do not.
  3           Q.      Ms. Maxwell, when did you first
  4    meet                   ?
  5                   MR. PAGLIUCA:    Object to the form
  6           and foundation.
  7           A.      I have no idea when I met her.
  8           Q.      Do you know how old she was when
  9    you met her?
 10           A.     I have no idea how old she was when
 11    I met her.
 12           Q.     Is it possible she was 13 years old
 13    when you first met her?
 14                  MR. PAGLIUCA:     Object to the form
 15           and foundation.
 16           A.


 18    may have been in the house when Jeffrey was
 19    in the house.      I have no idea how old she
 20    was.
 21           Q.     I understand
 22
 23                  I'm asking if                      was 13
 24    years old when you first met her?
 25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 39 of 465


                                                                    Page 38
  1                G Maxwell - Confidential
  2           Q.      Was she under 18 when you first met
  3    her?
  4           A.      I have no idea how old she was when
  5    I first met her.
  6           Q.      Did she look like a child when you
  7    first met her?
  8           A.      I don't remember what she looked
  9    like at the time she was in the house.
 10           Q.     How many years have you known her?
 11           A.     I can only recall the last time I
 12    saw her.
 13           Q.     When was the first time you met
 14    her?
 15           A.     Again, I just told you, I don't
 16    recall the first time I met her.
 17           Q.     Did                   travel with you
 18    on Jeffrey's planes?
 19           A.     I wouldn't remember if              was on
 20    the plane or not.
 21           Q.     Did you ever have sex with
 22
 23           A.     No.
 24           Q.     Did you ever observe Jeffrey having
 25    sex with                    ?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 40 of 465


                                                                    Page 39
  1                G Maxwell - Confidential
  2           A.      No.
  3           Q.      Were you aware that Jeffrey was
  4    having sexual contact with                          when
  5    she was 13 years old?
  6                   MR. PAGLIUCA:    Object to the form
  7           and foundation.
  8           A.      I would be very shocked and
  9    surprised if that were true.
 10           Q.     Were you in the house when
 11                was in the house in a private area
 12    with Jeffrey Epstein?
 13                  MR. PAGLIUCA:     Object to the form
 14           and foundation.
 15           A.     Can you repeat the question.
 16           Q.     Were you ever in the Palm Beach
 17    house when Jeffrey Epstein was in the house
 18    with                   ?
 19                  MR. PAGLIUCA:     Object to the form
 20           and foundation.
 21           A.     I've already testified that I have
 22    met her and that she was there
 23                 I don't understand what your
 24    question is asking.
 25           Q.     So you have never seen
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 41 of 465


                                                                    Page 40
  1                G Maxwell - Confidential
  2
  3                   MR. PAGLIUCA:    Object to the form
  4           and foundation.
  5           Q.      Is that your testimony?
  6           A.      I already said I don't recall all
  7    the times I've seen her and I have no memory
  8    of that.
  9           Q.      Have you ever seen                      in
 10    the house with Jeffrey Epstein
 11
 12                  MR. PAGLIUCA:     Object to the form
 13           and foundation.
 14           A.     I just told you I don't recall
 15    seeing
 16           Q.     Were you ever involved in an orgy
 17    with                   ?
 18           A.     No, absolutely not.
 19           Q.     Can you tell me, do you know an
 20    individual by the name of                             ?
 21           A.     I do.
 22           Q.     How did you meet                         ?
 23           A.     At some point she was a friend of
 24    Jeffrey's and I recall meeting her at some
 25    point.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 42 of 465


                                                                    Page 41
  1                G Maxwell - Confidential
  2           Q.      Did you hire her?
  3           A.      First of all, I don't hire girls
  4    like that, so let's be clear, I already
  5    testified to that, and I have no idea what
  6    you are referring to.
  7           Q.      When you say girls like that, what
  8    do you mean?
  9           A.      I hire people who are professional
 10    at the house.      You are asking if I hired
 11    somebody to do what, I don't know what you
 12    are talking about.        I hired people to work in
 13    the homes.
 14           Q.     What was Nadia Marcinkova doing?
 15                  MR. PAGLIUCA:     Object to the form
 16           and foundation.
 17           A.     I have no idea what Nadia
 18    Marcinkova was doing.         I didn't hire her and
 19    I don't know what you are referring to.
 20           Q.     You met Nadia Marcinkova?
 21           A.     I testified I did.
 22           Q.     Did she work for Jeffrey Epstein?
 23           A.     I have no idea what she did.
 24           Q.     Have you flown on planes with Nadia
 25    Marcinkova?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 43 of 465


                                                                    Page 42
  1                G Maxwell - Confidential
  2            A.     I don't recollect.     I don't know if
  3    I did.
  4            Q.     How many times have you flown on
  5    Jeffrey Epstein's planes?
  6            A.     Too many times.
  7            Q.     More than 300?
  8            A.     I really couldn't tell you how
  9    many.
 10           Q.     More than 400?
 11           A.     Again, I said I cannot tell you how
 12    many, a lot.
 13           Q.     How many times with
 14
 15           A.     I already testified, I have no
 16    idea.
 17           Q.     How old was                         when
 18    she first became involved with Jeffrey?
 19           A.     I have no idea.
 20           Q.     Was she 14?
 21                  MR. PAGLIUCA:     Object to the form
 22           and foundation.
 23           A.     I have no idea.
 24           Q.     Did she look like a child the first
 25    time you met her?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 44 of 465


                                                                    Page 43
  1                G Maxwell - Confidential
  2                   MR. PAGLIUCA:    Object to the form
  3          and foundation.      Asked and answered.
  4           Q.      Did she look like a child the first
  5    time you met                         ?
  6           A.      I don't know what you mean if she
  7    looked like a child.
  8           Q.      Did she look like she was under the
  9    age of 18?
 10           A.     No.
 11           Q.     Did she look like she was under the
 12    age of 16?
 13           A.     I just testified -- first of all, I
 14    couldn't tell you how old she was, she didn't
 15    like like a child, leave it at that.
 16           Q.     Did you know that she was a child?
 17                  MR. PAGLIUCA:     Object to the form
 18           and foundation.
 19           A.     I just answered I did not know how
 20    old she was and she looked like an adult.
 21           Q.     In the times that you traveled with
 22    her on Jeffrey Epstein's planes, did you ever
 23    ask her how old she was?
 24                  MR. PAGLIUCA:     Object to the form
 25           and foundation.      Assumes facts not in
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 45 of 465


                                                                    Page 44
  1                G Maxwell - Confidential
  2           evidence.     The witness already testified
  3           she doesn't remember.
  4           Q.      You can answer that question.
  5                   Did you ever ask her on the many
  6    flights you were with her or the many times
  7    you were with her at the house?
  8           A.      First of all, I don't know I was on
  9    many flights with her, you are making stories
 10    up again as usual.        And secondly, if I was on
 11    a flight with her, there would not be any
 12    reason why I would ask her how old she was.
 13           Q.     You don't recollect having any
 14    conversation with her about her age?
 15           A.     I already testified to that.
 16           Q.     Do you know what
 17    was hired to do for Jeffrey?
 18           A.     I already testified I didn't know
 19    she was hired and I don't know that she did
 20    anything.      I don't know how to answer that
 21    question.
 22           Q.     Was                       at the house,
 23    the Palm Beach house, when you were present
 24    at that house?
 25                  MR. PAGLIUCA:     Object to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 46 of 465


                                                                    Page 45
  1                G Maxwell - Confidential
  2           foundation.
  3           A.      I have no recollection of her being
  4    at the house at the same time as me.
  5           Q.      When did you first meet
  6
  7           A.      I already told you I don't recall.
  8           Q.      Do you recall anything about
  9
 10           A.     That she was tall and blond.
 11           Q.     Do you recall
 12    interacting with other females at the house?
 13           A.     No, I do not.
 14           Q.     Did you arrange to get a visa for
 15                          to come into this country?
 16                  MR. PAGLIUCA:     Object to the form
 17           and foundation.
 18           A.     Absolutely not.
 19           Q.     Did Jeffrey arrange for a visa for
 20                         ?
 21                  MR. PAGLIUCA:     You need to give me
 22           a break so I can interpose an objection.
 23                  Object to the form and foundation.
 24           Q.     You can answer.
 25           A.     What was the question?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 47 of 465


                                                                    Page 46
  1                G Maxwell - Confidential
  2           Q.      Did Jeffrey arrange for a visa for
  3                         ?
  4           A.      I don't know what Jeffrey did.         I
  5    cannot testify what Jeffrey did.
  6           Q.      Was        involved in sex with
  7    Jeffrey and other girls?
  8                   MR. PAGLIUCA:    Object to the form
  9           and foundation.
 10           Q.     Girls under the age of 18?
 11                  MR. PAGLIUCA:     Same objection.
 12           A.     I have no idea.
 13           Q.     Was         involved with sex with
 14    Jeffrey and girls over the age of 18?
 15                  MR. PAGLIUCA:     Same objection.
 16           A.     I have no idea.
 17           Q.     Did         recruit other girls for
 18    sex with Jeffrey?
 19                  MR. PAGLIUCA:     Object to the form
 20           and foundation.
 21           A.     I have no idea.
 22           Q.     Do you still talk to
 23           A.     No.
 24           Q.
 25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 48 of 465


                                                                    Page 47
  1                G Maxwell - Confidential
  2
  3
  4           A.      I have no idea.
  5           Q.      Are you a pilot?
  6           A.      I am.
  7           Q.      Have you flown with                      ?
  8           A.      I have.
  9           Q.      Have you flown with
 10
 11           A.     What do you mean by flown?
 12           Q.     Have you been on planes with her?
 13           A.     I already testified I don't recall
 14    having her on a plane with me.
 15           Q.     Do you know                  ?
 16           A.     I do.
 17           Q.     When did you first meet her?
 18           A.     I don't recall exact dates.
 19           Q.     Did you meet her with the purpose
 20    of hiring her to work for Jeffrey or having
 21    Jeffrey hire her?
 22                  MR. PAGLIUCA:     Object to the form
 23           and foundation.
 24           A.     No.
 25           Q.     What was her relationship with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 49 of 465


                                                                    Page 48
  1                G Maxwell - Confidential
  2    Jeffrey?
  3                   MR. PAGLIUCA:    Object to the form
  4           and foundation.
  5           A.      I don't know exactly the nature of
  6    her relationship but she worked for him.
  7           Q.      What did she do?
  8                   MR. PAGLIUCA:    Object to the form
  9           and foundation.
 10           A.     At the time she when was with him I
 11    believe she traveled with him and helped with
 12    his travel arrangements.
 13           Q.     Did she bring girls to the house to
 14    give massages to Jeffrey?
 15                  MR. PAGLIUCA:     Object to the form
 16           and foundation.
 17           A.     I don't know what            did.
 18           Q.     So you never observed
 19    bringing girls to the home to give massages
 20    to Jeffrey?
 21                  MR. PAGLIUCA:     Object to the form
 22           and foundation.
 23           A.     I don't understand the question,
 24    what did you mean bring?
 25           Q.     Did you ever observe
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 50 of 465


                                                                    Page 49
  1                G Maxwell - Confidential
  2    inviting, bringing, walking anyone into the
  3    home to give a massage for Jeffrey?
  4                   MR. PAGLIUCA:    Object to the form
  5           and foundation.
  6           A.      I don't recollect anything like
  7    that.
  8           Q.      Are you aware that                     was
  9    a co-conspirator, named as a co-conspirator
 10    in the case involving Jeffrey Epstein?
 11                  MR. PAGLIUCA:     Object to the form
 12           and foundation and also calls for a
 13           legal conclusion.
 14                  MS. McCAWLEY I'm just asking if she
 15           is aware of that.
 16           A.     I am aware.
 17           Q.     Who paid                  ?
 18           A.     I have no idea.
 19           Q.     Did you ever arrange payment for
 20    any of the employees at the home?
 21                  MR. PAGLIUCA:     Object to the form.
 22           A.     What do you mean by arrange?
 23           Q.     Were you ever in charge or
 24    responsible for paying individuals at the
 25    home, that worked there?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 51 of 465


                                                                    Page 50
  1                G Maxwell - Confidential
  2            A.     People had salaries and they were
  3    paid by the office.
  4            Q.     Did you ever pay any individual,
  5    did you ever hand an individual cash for work
  6    they performed?
  7                   MR. PAGLIUCA:    Object to the form.
  8            A.     Can you be more specific about what
  9    you are asking me.
 10           Q.     Did you ever hand any individual
 11    who was working at the home cash as payment
 12    for something that they performed at the
 13    home?
 14                  MR. PAGLIUCA:     Object to the form.
 15           A.     To the best of my recollection
 16    there were very few times where I would leave
 17    some cash for people for work performed.
 18           Q.     And what type of work was being
 19    performed where you would be doing that?
 20           A.     If I left cash for the pool guy, I
 21    would have left potentially some cash for the
 22    gardener, potentially for exercise
 23    instructors and sometimes for massage
 24    therapy.
 25           Q.     How much were the massage
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 52 of 465


                                                                    Page 51
  1                G Maxwell - Confidential
  2    therapists paid?
  3                   MR. PAGLIUCA:    Object to the form
  4           and foundation.
  5           A.      They get paid between 100 and $200.
  6           Q.      Did it vary based on what sexual
  7    acts they performed?
  8                   MR. PAGLIUCA:    Object to the form
  9           and foundation.
 10           A.     No.   It varied depending how much
 11    time, some massage therapists charge more and
 12    some charge less.
 13           Q.     Did the massage therapists that
 14    were hired to come to the home perform sexual
 15    acts for Jeffrey Epstein?
 16                  MR. PAGLIUCA:     Object to the form
 17           and foundation.
 18           A.     What are you asking me?
 19           Q.     I'm asking if the massage
 20    therapists --
 21           A.     Are you asking me about underage
 22    girls?
 23           Q.     I'm asking in general, did any of
 24    the massage therapists in the home --
 25           A.     Are you asking if they were paid
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 53 of 465


                                                                    Page 52
  1                G Maxwell - Confidential
  2    for sexual acts.
  3           Q.      I'm asking if they performed sexual
  4    acts?
  5                   MR. PAGLIUCA:    Object to the form
  6           and foundation.
  7           Q.      Did any of the massage therapists
  8    who were at the home perform sexual acts for
  9    Jeffrey Epstein?
 10           A.     I don't know what you mean by
 11    sexual acts.
 12           Q.     Did any of the massage therapists
 13    who were working at the home perform sexual
 14    acts, including touching the breasts,
 15    touching the vaginal area, being touched
 16    while Jeffrey is masturbating, having
 17    intercourse, any of those things?
 18                  MR. PAGLIUCA:     Objection.     Form and
 19           foundation.
 20                  To the extent any of this is asking
 21           for to your knowledge any consensual sex
 22           act that may or may not have involved
 23           you, I'm instructing you not to answer
 24           the question.
 25           Q.     I'm not asking about consensual sex
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 54 of 465


                                                                    Page 53
  1                G Maxwell - Confidential
  2    acts.       I'm asking whether any of the massage
  3    therapists performed sexual acts for Mr.
  4    Epstein, as I have just described?
  5           A.      I have never seen anybody have
  6    sexual intercourse with with Jeffrey, ever.
  7           Q.      I'm not asking about sexual
  8    intercourse.       I'm asking about any sexual
  9    act, touching of the breast -- did you ever
 10    see -- can you read back the question?
 11                  (Record read.)
 12           A.     I'm not addressing any questions
 13    about consensual adult sex.          If you want to
 14    talk about what the subject matter, which is
 15    defamation and lying, Virginia Roberts, that
 16    you and Virginia Roberts are participating in
 17    perpetrating her lies, I'm happy to address
 18    those.      I never saw any inappropriate
 19    underage activities with Jeffrey ever.
 20           Q.     I'm not asking about underage.          I'm
 21    asking about whether any of the masseuses
 22    that were at the home perform sexual acts for
 23    Jeffrey Epstein?
 24           A.     I have just answered the question.
 25           Q.     No, you haven't.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 55 of 465


                                                                    Page 54
  1             G Maxwell - Confidential
  2           A.     I have.
  3           Q.     No, you haven't.
  4           A.     Yes, I have.
  5           Q.     You are refusing to answer the
  6    question.
  7           A.     Let's move on.
  8           Q.     I'm in charge of the deposition.          I
  9    say when we move on and when we don't.
 10                  You are here to respond to my
 11    questions.      If you are refusing to answer the
 12    court will bring you back for another
 13    deposition to answer these questions.
 14                  Do you understand that?
 15                  MR. PAGLIUCA:     You don't need to
 16           threaten the witness.
 17                  MS. McCAWLEY:     I'm not threatening
 18           her.    I'm making sure the record is
 19           clear.
 20                  MR. PAGLIUCA:     Certainly can you
 21           apply to have someone come back and the
 22           court may or may not have her come back
 23           again.
 24                  Again, she is not answering
 25           questions that relate to adult consent
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 56 of 465


                                                                    Page 55
  1                G Maxwell - Confidential
  2            sex acts.     Period.       And that's the
  3            instruction and we can take it up with
  4            the court.
  5            Q.     Ms. Maxwell, are you aware of any
  6    sexual acts with masseuses and Jeffrey
  7    Epstein that were nonconsensual?
  8            A.     No.
  9            Q.     How do you know that?
 10           A.     All the time that I have been in
 11    the house I have never seen, heard, nor
 12    witnessed, nor have reported to me that any
 13    activities took place, that people were in
 14    distress, either reported to me by the staff
 15    or anyone else.       I base my answer based on
 16    that.
 17           Q.     Are you familiar with a person by
 18    the name of                     ?
 19           A.     I am.
 20           Q.     Has                    given a statement
 21    to police about you performing sexual acts on
 22    her?
 23           A.     I have not heard that.
 24           Q.     Has                    given a statement
 25    to police about Jeffrey Epstein performing
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 57 of 465


                                                                    Page 56
  1                G Maxwell - Confidential
  2    sexual acts on her?
  3                   MR. PAGLIUCA:    Object to the form
  4           and foundation.
  5           A.      I have not heard that.
  6           Q.      How do you know                   ?
  7           A.




 10           Q.     Was                  under the age of
 11    18?
 12                  MR. PAGLIUCA:     Object to the form
 13           and foundation.
 14           A.     I don't recall how old
 15    was.
 16           Q.     Did she tell police that Jeffrey
 17    Epstein assaulted her sexually?
 18                  MR. PAGLIUCA:     Object to the form
 19           and foundation.
 20           A.     I never heard that.
 21           Q.     Did                  recruit or bring
 22    girls to the home that were under the age of
 23    18?
 24                  MR. PAGLIUCA:     Object to the form
 25           and foundation and I think this has been
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 58 of 465


                                                                    Page 57
  1                G Maxwell - Confidential
  2           asked and answered already.
  3           Q.      You can answer the question.
  4           A.      I have no idea what
  5    did.
  6           Q.      You never observed
  7    with girls under the age of 18 at Jeffrey's
  8    home?
  9                   MR. PAGLIUCA:    Object to the form
 10           and foundation.
 11           A.     The answer is no, I have no idea.
 12           Q.     Do you know                 ?
 13           A.     I do.
 14           Q.     What is your relationship with
 15
 16                  MR. PAGLIUCA:     Object to the form.
 17           A.     What do you mean what is my
 18    relationship.
 19           Q.     Are you friendly with him, how do
 20    you know him?
 21           A.     He is the husband of                 .
 22           Q.     Is              one of your friends?
 23           A.     Yes.
 24           Q.     Did you ever send Virginia to
 25                                          to give him a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 59 of 465


                                                                    Page 58
  1                G Maxwell - Confidential
  2    massage?
  3                   MR. PAGLIUCA:    Objection to the
  4           form and foundation.
  5           A.      No.
  6           Q.      Did you ever instruct Virginia
  7    Roberts to have sex with
  8                   MR. PAGLIUCA:    Objection to the
  9           form and foundation.
 10           A.     I have never instructed Virginia to
 11    have sex with anybody ever.
 12           Q.     How old was                    when she
 13    met Jeffrey?
 14                  MR. PAGLIUCA:     Objection to the
 15           form and foundation.
 16           A.     I have no idea.
 17           Q.     What's she under the age of 18?
 18                  MR. PAGLIUCA:     Objection to the
 19           form and foundation.
 20           A.     I just testified I have idea how
 21    old she was.
 22           Q.     You testified she was your friend.
 23    You don't know how old she was when she met
 24    Jeffrey?
 25           A.     That happened sometime in the '70s,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 60 of 465


                                                                    Page 59
  1                G Maxwell - Confidential
  2    how would I know, or '80s.          I have no idea.
  3    Can you testify to what your friends did 30
  4    years ago?
  5           Q.      You don't ask the questions here,
  6    Ms. Maxwell.
  7                   What about                     , when
  8    did you first meet
  9           A.      I don't recall the exact date.
 10           Q.     Did you hire
 11           A.     I don't hire people, she came to
 12    work at the house to answer phones.
 13           Q.     Where did you meet her?
 14           A.     I just testified, I don't recall
 15    exactly when I met her.
 16           Q.     Was one of your job
 17    responsibilities to interview people that
 18    would be then hired by Jeffrey?
 19           A.     That was one of my
 20    responsibilities.
 21           Q.     Do you recall interviewing
 22           A.     I don't recall the exact interview,
 23    no.
 24           Q.     Do you know what tasks                was
 25    hired to performance?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 61 of 465


                                                                    Page 60
  1                G Maxwell - Confidential
  2           A.      She was tasked to answer
  3    telephones.
  4           Q.      Did you ever ask her to rub
  5    Jeffrey's feet?
  6                   MR. PAGLIUCA:    Objection to the
  7           form and foundation.
  8           A.      I believe that I have read that,
  9    but I don't have any memory of it.
 10           Q.     Did you ever tell               that she
 11    would get extra money if she provided Jeffrey
 12    massages?
 13           A.     I was always happy to give career
 14    advice to people and I think that becoming
 15    somebody in the healthcare profession, either
 16    exercise instructor or nutritionist or
 17    professional massage therapist is an
 18    excellent job opportunity.          Hourly wages are
 19    around 7, 8, $9 and as a professional
 20    healthcare provider you can earn somewhere
 21    between as we have established 100 to $200
 22    and to be able to travel and have a job that
 23    pays that is a wonderful job opportunity.              So
 24    in the context of advising people for
 25    opportunities for work, it is possible that I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 62 of 465


                                                                    Page 61
  1                G Maxwell - Confidential
  2    would have said that she should explore that
  3    as an option.
  4           Q.      Did you tell her she would get
  5    extra money if she massaged Jeffrey?
  6           A.      I'm just saying, I cannot recall
  7    the exact conversation.         I give career advice
  8    and I have done that.
  9           Q.      Did you ever have              massage
 10    you?
 11           A.     I did.
 12           Q.     How many times?
 13           A.     I don't recall how many times.
 14           Q.     Was there sex involved?
 15           A.     No.
 16           Q.     Did you ever instruct                to
 17    massage                  ?
 18           A.     I don't believe -- I have no
 19    recollection of it.
 20           Q.     Did you ever have sexual contact
 21    with
 22                  MR. PAGLIUCA:     Object to the form
 23           and foundation.       You need to give me an
 24           opportunity to get in between the
 25           questions.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 63 of 465


                                                                    Page 62
  1                G Maxwell - Confidential
  2                   Anything that involves consensual
  3           sex on your part, I'm instructing you
  4           not to answer.
  5           Q.      Did you ever have sexual contact
  6    with
  7           A.      Again, she is an adult --
  8           Q.      I'm asking you, did you ever have
  9    sexual contact with
 10           A.     I've just been instructed not to
 11    answer.
 12           Q.     On what basis?
 13           A.     You have to ask my lawyer.
 14           Q.     Did you ever have sexual contact
 15    with             that was not consensual on
 16                  part?
 17                  MR. PAGLIUCA:     You can answer
 18           nonconsensual.
 19           A.     I've never had nonconsensual sex
 20    with anybody.
 21           Q.     Not                ?
 22                  MR. PAGLIUCA:     Objection.
 23           A.     I just testified I never had
 24    nonconsensual sex with anybody ever, at any
 25    time, at anyplace, at any time, with anybody.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 64 of 465


                                                                    Page 63
  1                G Maxwell - Confidential
  2           Q.      So if           were to testify that
  3    she did not consent to a sexual act that you
  4    participated in --
  5           A.      I just told you I have never ever
  6    under any circumstances with anybody, at any
  7    time, in anyplace, in any form had
  8    nonconsensual relations with anybody.
  9           Q.      Did you introduce
 10
 11                  MR. PAGLIUCA:     Objection to the
 12           form and foundation.
 13           A.     I've, again, read that
 14    claimed that she met or that she said she met
 15                     .     I don't know if I was the one
 16    who made the introduction or not.
 17           Q.     Do you know a female by the name of
 18
 19           A.     I do.
 20           Q.     How do you know her?
 21           A.
 22           Q.     So she worked for you?
 23           A.     Yes.
 24           Q.     Did you hire her?
 25           A.     Again, Jeffrey hired people.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 65 of 465


                                                                    Page 64
  1                G Maxwell - Confidential
  2           Q.      Did you have sex with her?
  3                   MR. PAGLIUCA:    This is the same
  4           instruction about consensual or
  5           nonconsensual.
  6           Q.      Was        under the age of 18 when
  7    you hired her?
  8           A.      No.    I didn't hire her, as I said,
  9    Jeffrey did.
 10           Q.     Did         ever have sex with
 11    Jeffrey?
 12                  MR. PAGLIUCA:     Objection to the
 13           form and foundation.
 14           A.     How would I know what somebody else
 15    did.
 16           Q.     You weren't involved in the sex
 17    between Jeffrey,             and yourself?
 18           A.     We already --
 19           Q.     Were you involved with sex between
 20    Jeffrey,             and yourself?
 21                  MR. PAGLIUCA:     Everyone is talking
 22           over each other.       You heard the
 23           question.
 24                  Again, you you know what the
 25           instruction is.       If there is any
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 66 of 465


                                                                    Page 65
  1                G Maxwell - Confidential
  2           consensual issue involved, I instruct
  3           you not to answer.
  4           A.      Moving on.
  5           Q.      So you are refusing to answer that
  6    question?
  7           A.      I've been instructed by my lawyer.
  8           Q.      Did you ever have sex with Jeffrey,
  9            Virginia and yourself when Virginia was
 10    underage?
 11           A.     Absolutely not.
 12                  MR. PAGLIUCA:     We've been going for
 13           about an hour.       I would like to take a
 14           five-minute break, please.
 15                  MS. McCAWLEY:     I'm almost done.
 16                  MR. PAGLIUCA:     You are not going to
 17           allow a break.
 18                  MS. McCAWLEY:     As soon as I get
 19           through my line of questioning, which is
 20           perfectly appropriate.
 21           Q.     Did                travel with you and
 22    Jeffrey to Europe?
 23           A.     I'm sure she did.
 24           Q.     What is she doing today?
 25           A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 67 of 465


                                                                    Page 66
  1                G Maxwell - Confidential
  2           Q.      Do you speak to her regularly now,
  3    do you speak to her?
  4           A.      No.
  5           Q.      Do you know where she lives?
  6           A.      No.
  7           Q.      Do you know what country she lives
  8    in?
  9           A.      No.
 10           Q.     Where is the last place you knew
 11    that she lived?
 12           A.     Last place I knew for sure was in
 13    Los Angeles.
 14           Q.     When did she stop working for you?
 15           A.     2001, 2002.
 16           Q.     What tasks did she performance for
 17    you?
 18           A.     She helped me with moving in and
 19    out of houses, construction, she was a
 20    general help, she helped with buying things
 21    that needed to be purchased, if I needed her
 22    to stand in for me during meetings, it was a
 23    very wide ranging job.
 24           Q.     Did she ever bring females to
 25    perform massages for Jeffrey?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 68 of 465


                                                                    Page 67
  1                G Maxwell - Confidential
  2                   MR. PAGLIUCA:    Objection to the
  3            form and foundation.
  4            A.     What are you asking me?
  5            Q.     Did        was it ever
  6    responsibility to bring females to the house
  7    for the purposes of massaging Jeffrey?
  8            A.            job was to help me with the
  9    houses and work in homes.          It was not her job
 10    to whatever you just said, bring masseuses.
 11           Q.     Did she do that?
 12           A.     I have no recollection.        I have no
 13    idea.
 14           Q.     Did you pay          or did Jeffrey pay
 15    her?
 16           A.     Jeffrey.
 17           Q.     Do you recall how much she was
 18    paid?
 19           A.     I do not.
 20                  MS. McCAWLEY:     I think we can take
 21           a break now.
 22                  THE VIDEOGRAPHER:      It's 10:02 and
 23           we are off the record.
 24                  (Recess.)
 25                  THE VIDEOGRAPHER:      It's now 10:18.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 69 of 465


                                                                    Page 68
  1                G Maxwell - Confidential
  2           We are back on the record and starting
  3           disk No. 2.
  4           Q.      Ms. Maxwell, I asked you about
  5    Virginia Roberts earlier.
  6                   Can you describe what Virginia
  7    Roberts' duties were when she was with Mr.
  8    Epstein?
  9                   MR. PAGLIUCA:    Objection to the
 10           form and foundation.
 11           A.     I believe that Virginia was a
 12    masseuse.
 13           Q.     Was Virginia required to dress up
 14    in any way for massages?
 15                  MR. PAGLIUCA:     Objection to the
 16           form and foundation.
 17           A.     I have no idea.
 18           Q.     Did you provide Virginia with
 19    outfits to wear for certain massages?
 20           A.     I have no idea what you are talking
 21    about.
 22           Q.     For example, did you ever provide
 23    Virginia with a school girl outfit to wear
 24    for a massage?
 25           A.     I have no idea what you are talking
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 70 of 465


                                                                    Page 69
  1                G Maxwell - Confidential
  2    about.
  3           Q.      So you didn't provide her with
  4    that?
  5           A.      As I just testified, I have no idea
  6    what you are talking about.
  7           Q.      I was trying to interpret whether
  8    you didn't understand what a school girl
  9    outfit was or you are saying that didn't
 10    happen?
 11           A.     I clearly know what a school girl
 12    outfit is.      I have no recollection of
 13    providing anybody with a school girl outfit.
 14           Q.     Did you have a set of outfits used
 15    by the massage therapists that would include
 16    things like a school girl outfit or a black
 17    patent leather outfit or anything of that
 18    nature?
 19                  MR. PAGLIUCA:     Object to the form
 20           and foundation.
 21           A.     That would be just another one of
 22    Virginia's lies.
 23           Q.     You didn't have anything like that?
 24           A.     I did not.
 25           Q.     Did you have a basket of sex toys
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 71 of 465


                                                                    Page 70
  1                G Maxwell - Confidential
  2    that you kept in the Palm Beach house?
  3                   MR. PAGLIUCA:    Objection to the
  4           form and foundation.
  5           A.      First of all what do you mean.
  6           Q.      A laundry basket that contained sex
  7    toys in it?
  8                   MR. PAGLIUCA:    Objection to the
  9           form and foundation.
 10           A.     Can you ask the question again?
 11           Q.     Did you have a laundry basket that
 12    contained sex toys in it, in the Palm Beach
 13    House?
 14                  MR. PAGLIUCA:     Objection to the
 15           form and foundation.
 16           Q.     Did you have a laundry basket of
 17    sex toys in the Palm Beach house?
 18                  MR. PAGLIUCA:     Same objection.
 19           Q.     You can answer.
 20           A.     I don't recollect anything about a
 21    laundry basket of sex toys.
 22           Q.     Do you recollect having sex toys at
 23    the Palm Beach house?
 24           A.     You have to define what are you
 25    talking about.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 72 of 465


                                                                    Page 71
  1                G Maxwell - Confidential
  2           Q.      A sex toy meaning a vibrator of
  3    some kind, sometimes they are called dildos,
  4    of that nature, anything like that?
  5           A.      I don't recollect anything that
  6    would formally be a dildo, anything like
  7    that.
  8           Q.      How would you describe sex toys?
  9           A.      I wouldn't describe sex toys.
 10           Q.     Did you have anything that was of
 11    an electronic nature that would be used
 12    during sex?
 13                  MR. PAGLIUCA:     Objection to the
 14           form and foundation.
 15           A.     I have no idea what you are
 16    referring to.
 17                  (Maxwell Exhibit 3, transcript,
 18           marked for identification.)
 19


 21
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 73 of 465


                                                                    Page 72
  1             G Maxwell - Confidential
  2


  4




                                                .
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 74 of 465


                                                                    Page 73
  1             G Maxwell - Confidential
  2




 16
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 75 of 465


                                                                    Page 74
  1             G Maxwell - Confidential
  2




  5                 MR. PAGLIUCA:      Objection to the
  6           form and foundation.
  7           A.    First I have to read this.
  8           Q.    Sure.
  9                 MS. McCAWLEY:      I will stop the
 10           clock while the witness is reading.
 11                 MR. PAGLIUCA:      No.
 12                 MS. McCAWLEY:      Yes, if she is going
 13           to read the whole document, I will stop
 14           the clock.
 15                 MR. PAGLIUCA:      If you give her
 16           documents to refresh her recollection,
 17           we are on the clock here.
 18                 MS. McCAWLEY:      Then we will take it
 19           up with the judge.
 20                 MR. PAGLIUCA:      Read whatever you
 21           need to answer the question.
 22                 MS. McCAWLEY:      I'm going to set the
 23           document aside and I'm just go to ask
 24           you a question, independent of the
 25           document.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 76 of 465


                                                                    Page 75
  1                G Maxwell - Confidential
  2           Q.      Do you recall having a basket full
  3    of sex toys?
  4           A.      I already told you I did not.
  5           Q.      We were talking a moment ago about
  6    Ms. Roberts and her position as a masseuse,
  7    do you know what she was paid for working as
  8    a masseuse for Jeffrey Epstein?
  9           A.      I do not.
 10           Q.     Did you ever pay her?
 11           A.     I don't ever recall paying her.
 12           Q.     Do you know what happened during
 13    the massage appointments with Jeffrey Epstein
 14    and Virginia Roberts?
 15                  MR. PAGLIUCA:     Objection to the
 16           form and foundation.
 17           A.     No.
 18           Q.     Were you ever present to view a
 19    massage between Jeffrey Epstein and Virginia
 20    Roberts?
 21           A.     I don't recollect ever seeing
 22    Virginia and Jeffrey in a massage situation.
 23           Q.     Do you ever recollect seeing them
 24    in a sexual situation?
 25           A.     I never saw them in a sexual
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 77 of 465


                                                                    Page 76
  1                G Maxwell - Confidential
  2    situation.
  3           Q.      Did you ever participate in sex
  4    with Virginia Roberts and Jeffrey Epstein?
  5           A.      I never ever at any single time at
  6    any point ever at all participated in
  7    anything with Virginia and Jeffrey.            And for
  8    the record, she is an absolute total liar and
  9    you all know she lied on multiple things and
 10    that is just one other disgusting thing she
 11    added.
 12           Q.     Did you help her obtain an
 13    apartment in Palm Beach to live in?
 14                  MR. PAGLIUCA:     Objection to the
 15           form and foundation.
 16           Q.     Was that part of your
 17    responsibilities for Jeffrey?
 18           A.     First of all, I didn't know she had
 19    an apartment in Palm Beach.          I only learned
 20    that from the many times you guys have gone
 21    to the press to sell stories, so no.
 22           Q.     Did you help her get a cell phone,
 23    was that one of your responsibilities for
 24    Jeffrey, to get her is a cell phone as part
 25    of her masseuse obligations?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 78 of 465


                                                                    Page 77
  1                G Maxwell - Confidential
  2                   MR. PAGLIUCA:    Objection to the
  3           form and foundation.
  4           A.      I don't know what that means,
  5    masseuse obligation, I don't know what you
  6    are referring to.        Would you like to ask the
  7    question properly?
  8           Q.      I think it was proper.      I will ask
  9    it again.
 10                  Did you ever assist in getting
 11    Virginia Roberts a cell phone to use during
 12    the time that she worked for Jeffrey Epstein?
 13           A.     I have no recollection of doing
 14    anything of that nature.
 15           Q.     Did you ever tell Virginia that you
 16    wanted her to have a cell phone so that she
 17    could be on call regularly?
 18           A.     I have no recollection of that
 19    conversation.
 20           Q.     How often would Virginia come over
 21    to the house in Palm Beach to give massages?
 22                  MR. PAGLIUCA:     Objection to the
 23           form and foundation.
 24           A.     Ask the question again, please.
 25           Q.     How often did Virginia Roberts come
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 79 of 465


                                                                    Page 78
  1                G Maxwell - Confidential
  2    over to the house in Palm Beach to give
  3    massages?
  4           A.      It's important to understand that I
  5    wasn't with Jeffrey all the time.            In fact, I
  6    was only in the house less than half the
  7    time, so I cannot testify to when I wasn't in
  8    the house how often she came when I wasn't
  9    there.
 10                  What I can say is that I barely
 11    would remember her, if not for all of this
 12    rubbish, I probably wouldn't remember her at
 13    all, except she did come from time to time
 14    but I don't recollect her coming as often as
 15    she portrayed herself.
 16           Q.     How many times a day on an average
 17    day would Jeffrey Epstein get a massage?
 18                  MR. PAGLIUCA:     Objection to the
 19           form and foundation.
 20           A.     When I was at the house and when I
 21    was there with him, he received a massage, on
 22    average, about once a day.
 23           Q.     Just once?
 24           A.     Yes.
 25           Q.     Were there days when he received
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 80 of 465


                                                                    Page 79
  1                G Maxwell - Confidential
  2    four or five?
  3                   MR. PAGLIUCA:    Objection to the
  4           form and foundation.
  5           A.      When I was present at the house, I
  6    never saw something like that.
  7           Q.      Do you know if Virginia was
  8    required to be on call at all times to come
  9    to the house if Jeffrey wanted her there?
 10                  MR. PAGLIUCA:     Objection to the
 11           form and foundation.
 12           A.     I have no idea of the arrangements
 13    that Virginia made with Jeffrey.
 14           Q.     When Virginia was in New York,
 15    would Virginia sleep at Jeffrey's mansion in
 16    New York?
 17                  MR. PAGLIUCA:     Objection to the
 18           form and foundation.
 19           A.     I don't recollect her being in New
 20    York and I have no idea where she slept.
 21           Q.     You don't ever remember seeing
 22    Virginia Roberts in New York?
 23                  MR. PAGLIUCA:     Objection to the
 24           form and foundation.
 25           A.     I would barely recollect her at
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 81 of 465


                                                                    Page 80
  1                G Maxwell - Confidential
  2    all, except for this story.
  3           Q.      Do you recall Virginia Roberts
  4    calling you because she was having a medical
  5    crisis and you and Jeffrey taking her to the
  6    hospital?
  7           A.      I have heard this absurd story and
  8    if any part of it were true I would remember
  9    that.       I do not.
 10           Q.     You don't remember taking her to
 11    the hospital?
 12           A.     It's not that I don't remember it,
 13    it didn't happen.
 14           Q.     How do you know it didn't happen?
 15           A.     That's the sort of memory you would
 16    recall.
 17           Q.     Do you recall, you said you don't
 18    remember her being at the New York mansion.
 19    When you were in New York would you stay at
 20    the New York mansion with Jeffrey?
 21           A.     I stayed from time to time.
 22           Q.     Do you recall Virginia being at the
 23    New York mansion when                         came to
 24    visit?
 25                  MR. PAGLIUCA:     Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 82 of 465


                                                                    Page 81
  1                G Maxwell - Confidential
  2           form and foundation.
  3           A.      Like I told you, I don't recall her
  4    being at the house at all.
  5           Q.      How many homes does Jeffrey have?
  6                   MR. PAGLIUCA:    Objection to the
  7           form and foundation.
  8           A.      When I was working for him, I think
  9    he had six maybe.
 10           Q.     Would Virginia stay with him in
 11    those homes?
 12                  MR. PAGLIUCA:     Objection to the
 13           form and foundation.
 14           A.     I can only testify for when I was
 15    present with him and I cannot say what she
 16    did when I wasn't present with him.
 17           Q.     When you were present, would
 18    Virginia stay in the homes with him?
 19           A.     I don't recall her staying in the
 20    houses.
 21           Q.     Did you train Virginia on how to
 22    recruit other girls for massages?
 23                  MR. PAGLIUCA:     Objection to the
 24           form and foundation.
 25           A.     No.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 83 of 465


                                                                    Page 82
  1                G Maxwell - Confidential
  2           Q.      Did you train Virginia on how to
  3    recruit other girls to perform sexual
  4    massages?
  5                   MR. PAGLIUCA:    Objection to the
  6           form and foundation.
  7           A.      No.   And it's absurd and her entire
  8    story is one giant tissue of lies and
  9    furthermore, she herself has -- if she says
 10    that, you have to ask her about what she did.
 11           Q.     Does Jeffrey like to have his
 12    nipples pinched during sexual encounters?
 13                  MR. PAGLIUCA:     Objection to form
 14           and foundation.
 15           A.     I'm not referring to any advice on
 16    my counsel.      I'm not talking about any adult
 17    sexual things when I was with him.
 18           Q.     When Jeffrey would have a massage,
 19    would he request that the masseuse pinch his
 20    nipples while he was having a massage?
 21           A.     I'm not talking about anything with
 22    consensual adult situation.
 23           Q.     What about with underage --
 24           A.     I am not aware of anything.
 25           Q.     You are not aware of Jeffrey
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 84 of 465


                                                                    Page 83
  1                G Maxwell - Confidential
  2    Epstein ever having sex with an underage
  3    minor and asking them to pinch his nipples?
  4           A.      I am not.
  5           Q.      So I'm going to direct you to, I
  6    believe it's Maxwell Exhibit 1, the police
  7    report.
  8                   Are you aware that over 30 under
  9    age minors gave testimony to police that they
 10    were engaged in sexual acts during,
 11    quote-unquote, massages.
 12                  MR. PAGLIUCA:     The witness needs to
 13           find Exhibit 1.      Exhibit 1 -- if you can
 14           hand me that please.
 15           Q.     So now with respect to the police
 16    report, are you aware that over 30 underage
 17    girls, meaning under the age of 18 gave
 18    reports to police that they were assaulted
 19    sexually by Jeffrey Epstein during massages?
 20                  MR. PAGLIUCA:     Objection to the
 21           form and foundation.
 22           A.     I read the police report.        That's
 23    all I can testify to.
 24           Q.     Are you aware of what is in the
 25    police report?       Are you aware that there were
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 85 of 465


                                                                    Page 84
  1                G Maxwell - Confidential
  2    30 girls --
  3            A.     I did not count the number of girls
  4    and I did read the police report.            I can only
  5    testify to what I read.
  6            Q.     So you are aware that the police
  7    report contains reports from 30 underage
  8    girls?
  9            A.     I can't testify to what the girls
 10    said.    I can only testify to the fact that I
 11    read a police report that stated that.
 12           Q.     Were you working for Jeffrey -- you
 13    said you worked for him off an on until 2009,
 14    is that correct?
 15           A.     I helped out from time to time.
 16           Q.     So you were working with him during
 17    the time period when these underage girls
 18    were visiting Jeffrey's home?
 19                  MR. PAGLIUCA:     Objection to the
 20           form and foundation.
 21           A.     I was not -- what year, I need
 22    years.
 23           Q.     How about let's say 2005?
 24           A.     I'm not sure I was at the house at
 25    all in 2005, maybe one day, maybe.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 86 of 465


                                                                    Page 85
  1                G Maxwell - Confidential
  2           Q.      How about 2004?
  3           A.      I was present for his mother's --
  4    his mother died in 2004 so I was there for
  5    his mother's death and the funeral and I was
  6    at the house maybe a handful of days, again.
  7           Q.      I would like to direct you to, you
  8    have it pulled together now, it's page 39,
  9    Bates stamped Giuffre 00040?
 10           A.     Can you repeat that, please.
 11           Q.     Sure.   00040.
 12           A.     Yes.
 13           Q.     At the top of that document, about
 14    three lines down, you see the redacted
 15    portions where there is black so it blacks
 16    out the name.
 17           A.     I see black redacted portions.
 18           Q.     That's a black redaction of the
 19    name of the minor and there is -- I will
 20    represent for the record that's what it is.
 21    You can contest that but I'm not asking about
 22    the name of the minor.
 23                  Five lines down, it says, She was
 24    just 16 years of age.
 25                  Do you see that?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 87 of 465


                                                                    Page 86
  1                G Maxwell - Confidential
  2           A.      I have to read that, if you want me
  3    to testify to some things.
  4           Q.      I'm asking if you see where it
  5    says, She was just 16 years old.
  6           A.      No, I have to read it.
  7           Q.      It's five line downs on the first
  8    paragraph.
  9           A.      I do see that.
 10           Q.     Then the next paragraph down, it
 11    says, this is the next full paragraph, it
 12    says, Epstein entered the room, introduced
 13    himself, Epstein lay on the table and told
 14    her to get comfortable, blank could not
 15    remember if he was naked or if he entered the
 16    room with a towel.        Blank stated she provided
 17    the massage wearing her panties.           She
 18    continued rubbing his thighs and feet.             Blank
 19    advised he turned over on his back and
 20    continued to rub his legs with oil.            Epstein
 21    touched her breast and began to masturbate.
 22    I asked if she knew what circumcised and
 23    uncircumcised meant.        She stated circumcised
 24    is when the penis had no foreskin.
 25                  Then jumping down to the next
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 88 of 465


                                                                    Page 87
  1                G Maxwell - Confidential
  2    paragraph, it says, Blank became upset,
  3    crying hysterically and stated she was paid
  4    and also instructed to have sex with Epstein
  5    and                        by Epstein.
  6                   Do you see that there?
  7           A.      I do.
  8           Q.      Are you aware that there were
  9    underage minors in the Palm Beach house that
 10    were required to give sexual massages to
 11    Jeffrey Epstein?
 12                  MR. PAGLIUCA:     Objection to the
 13           form and foundation.        This has been
 14           asked and answered already.         Now you are
 15           just reading a document.
 16                  MS. McCAWLEY:     I am allowed to take
 17           this deposition.
 18           A.     I already testified --
 19           Q.     Are you aware there were underage
 20    girls, 30 of them, in this police report that
 21    were assaulted by Jeffrey Epstein in the Palm
 22    Beach house during the time you are working
 23    there?
 24           A.     I am aware that Virginia has
 25    lied repeatedly --
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 89 of 465


                                                                    Page 88
  1             G Maxwell - Confidential
  2           Q.    I'm not asking about Virginia.           I'm
  3    asking if you are aware that there were over
  4    30 underage girls who gave reports to police
  5    officers during the time you worked for
  6    Jeffrey Epstein.       Are you aware of that?
  7                 MR. PAGLIUCA:      Counsel, what is
  8           your factual basis for asserting there
  9           are 30 underaged people who gave
 10           reports?
 11                 MS. McCAWLEY:      I don't have to
 12           answer that.
 13                 MR. PAGLIUCA:      Are you representing
 14           as an officer of the court that you have
 15           personal knowledge that there are 30
 16           people referenced in these police
 17           reports?
 18                 MS. McCAWLEY:      That's my
 19           understanding, that there are 30 girls.
 20                 MR. PAGLIUCA:      How is that your
 21           understanding if these are redacted
 22           reports?
 23                 MS. McCAWLEY:      By reading through
 24           the reports.
 25                 MR. PAGLIUCA:      So you have personal
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 90 of 465


                                                                    Page 89
  1                G Maxwell - Confidential
  2           knowledge there are 30 people --
  3                   MS. McCAWLEY:    Just like can you if
  4           you read through -- I will not argue
  5           with you counsel.. she can answer yes or
  6           no.
  7           Q.      Are you aware there were over 30
  8    individuals who were minors who gave reports
  9    to police just like the one we just read that
 10    they were sexually assaulted by Jeffrey
 11    Epstein in the Palm Beach home during the
 12    years that you were working with him?
 13                  MR. PAGLIUCA:     Objection to the
 14           form and foundation.        You can answer if
 15           you have knowledge.
 16           A.     I already testified I was limited
 17    in the house, a couple of days, there is no
 18    way I knew.      I have read these reports.         I
 19    cannot testify to 30.         Given the experience
 20    I've had with Virginia's lies, it's very hard
 21    for me to testify about what I see.            I can
 22    tell from you my personal knowledge I did not
 23    know what you are referring to.
 24           Q.     You did not know there were
 25    underage girls in the home that were being
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 91 of 465


                                                                    Page 90
  1                G Maxwell - Confidential
  2    assaulted by Jeffrey Epstein during the time
  3    you were working there?
  4            A.     Based on the lies that I have
  5    already been told, I cannot comment on any --
  6            Q.     Are you saying these 30 girls are
  7    lying when they gave these reports to police
  8    officers?
  9            A.     I'm not testifying to their lies.
 10    I'm testifying to Virginia's lies.
 11           Q.     I am not asking about Virginia's
 12    lies.
 13           A.     I can only testify to Virginia's
 14    lies.    I can testify to having read these
 15    reports.      I cannot testify to anything else
 16    about them.
 17           Q.     So your testimony is that during
 18    the time you were working there, you did not
 19    know that these minor children were being
 20    abused in the home while you were there?
 21           A.     What I have already told you and I
 22    will repeat, I was in the house very limited
 23    times, very few times.         I do not know what
 24    you are referring to.         I've read these
 25    reports but based on the lies that Virginia
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 92 of 465


                                                                    Page 91
  1                G Maxwell - Confidential
  2    has perpetrated, cannot tell you what is true
  3    or factual or not.
  4           Q.      You said you were in the home a
  5    very limited time, so average in the year for
  6    example, 2004, how many times would you have
  7    been in his Palm Beach home?
  8           A.      Very hard for me to state but very
  9    little.
 10           Q.     How about his New York home?
 11           A.     Same.
 12           Q.     Were you his girlfriend in that
 13    year, in 2004?
 14           A.     Define what you mean by girlfriend.
 15           Q.     Were you in a relationship with him
 16    where you would consider yourself his
 17    girlfriend?
 18           A.     No.
 19           Q.     Did you ever consider yourself his
 20    girlfriend?
 21           A.     That's a tricky question.        There
 22    were times when I would have liked to think
 23    of myself as his girlfriend.
 24           Q.     When would that have been?
 25           A.     Probably in the early '90s.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 93 of 465


                                                                    Page 92
  1                G Maxwell - Confidential
  2            Q.     In your responsibilities in working
  3    for Jeffrey, would you book massages for him
  4    on any given day so that he would have a
  5    massage scheduled?        Would you take a call for
  6    example and book a massage for him?
  7                   MR. PAGLIUCA:    Objection to the
  8            form and foundation.
  9            Q.     You can answer.
 10           A.     Typically, that was not my
 11    responsibility.       He would either book the
 12    massage himself or one of his other
 13    assistants would do that.
 14           Q.     From time to time you had to do
 15    that?
 16                  MR. PAGLIUCA:     Objection to the
 17           form and foundation.
 18           A.     Like I said, typically it was
 19    somebody else's responsibility.
 20           Q.     If you were unable to book a girl
 21    for a massage on a given day, would that mean
 22    that you were responsible for giving him a
 23    sexual massage?
 24                  MR. PAGLIUCA:     Objection to the
 25           form and foundation and I instruct you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 94 of 465


                                                                    Page 93
  1                G Maxwell - Confidential
  2            not to answer any questions about any of
  3            your consensual adult sexual activity.
  4            Q.     So you are not going to answer that
  5    question?
  6            A.     You just heard my counsel.
  7            Q.     Have you ever said to anybody that
  8    recruiting other girls to perform sexual
  9    massages for Jeffrey Epstein takes the
 10    pressure off you?
 11                  MR. PAGLIUCA:     Object to the form
 12           and foundation.
 13           A.     Repeat the question and break it
 14    out.
 15           Q.     Have you ever said to anybody that
 16    you recruit girls --
 17           A.     Stop right there.      I never
 18    recruited girls, let's stop there.            Now
 19    breakdown the question.
 20           Q.     Have you ever said to anybody --
 21           A.     By girls, we are talking about
 22    underage people -- you said girls, are you
 23    talking about underage -- we are not talking
 24    about consensual acts -- this is a defamation
 25    suit.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 95 of 465


                                                                    Page 94
  1                G Maxwell - Confidential
  2            Q.     I'm asking the questions.       I know
  3    what this case is about.         I'm trying to -- I
  4    will ask you questions if you don't
  5    understand the question I can break it down
  6    for you.       I'm happy to do that.
  7            A.     Break it down a lot please.
  8            Q.     I will do that.
  9                   The question is, have you ever said
 10    to anybody that you recruit other girls --
 11           A.     Why don't you stop there.
 12           Q.     Let me finish my question.
 13                  Have you ever said to anybody that
 14    you recruit girls to take the pressure off
 15    you, so you won't have to have sex with
 16    Jeffrey, have you said that?
 17                  That's the question?
 18           A.     You don't ask me questions like
 19    that.    First of all, you are trying to trap
 20    me, I will not be trapped.          You are asking me
 21    if I recruit, I told you no.          Girls meaning
 22    underage, I already said I don't do that with
 23    underage people and as to ask me about a
 24    specific conversation I had with language, we
 25    talking about almost 17 years ago when this
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 96 of 465


                                                                    Page 95
  1                G Maxwell - Confidential
  2    took place.       I cannot testify to an actual
  3    conversation or language that I used with
  4    anybody at any time.
  5           Q.      Have you ever said to anybody that
  6    you recruit other females over the age of 18
  7    to take the pressure off you to having to
  8    have sex with Jeffrey?
  9           A.      I totally resent and find it
 10    disgusting that you use the word recruit.              I
 11    already told you I don't know what you are
 12    saying about that and your implication is
 13    repulsive.
 14           Q.     Answer my question.
 15           A.     I just did.
 16           Q.     Have you ever said to anybody that
 17    you recruit females --
 18           A.     I don't recruit anybody.
 19           Q.     That's an answer.      So you never
 20    said that?
 21           A.     I'm testifying that I cannot
 22    testify to an actual language --
 23           Q.     It's a yes or no.
 24           A.     I will not testify to an actual
 25    statement made 17 years ago, so I cannot
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 97 of 465


                                                                    Page 96
  1                G Maxwell - Confidential
  2    testify to actual language.
  3           Q.      So you won't testify to anything
  4    I'm asking you 17 years ago about a statement
  5    you made.       How do you know it's 17 years ago?
  6           A.      We are talking about a time in
  7    2000, right?
  8           Q.      Have you ever said that to anybody?
  9           A.      I'm 54 years old so you are asking
 10    me in my entire life, what words are you
 11    asking me in my entire life?
 12           Q.     Your entire life is limited by the
 13    time you were with Jeffrey, this is the
 14    question.
 15           A.     Let's time limit the question you
 16    are asking me.
 17           Q.     So from, let's say, I think you
 18    said you started with him in 1992, is that
 19    correct, and finished with him in 2009.
 20                  So from 1992 to 2009 have you ever
 21    said to anybody that you recruit other and we
 22    will start with girls to take the pressure
 23    off you to have sex with Jeffrey?
 24                  MR. PAGLIUCA:     Objection to the
 25           form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 98 of 465


                                                                    Page 97
  1                G Maxwell - Confidential
  2           A.      First of all I resent and despise
  3    the world recruit.        Would you like to define
  4    what you mean by recruit and by girls, you
  5    mean underage people.         I never had to do
  6    anything with underage people.           So why don't
  7    you reask the question in a way that I am
  8    able to answer it.
  9           Q.      I'm asking if you ever said that to
 10    anybody.      So if you don't understand the word
 11    recruit and you never used that word then the
 12    answer to that question would be no.
 13           A.     I have no memory as I sit here
 14    today having used that word.
 15           Q.     Did you ever meet an underage girl
 16    in London to introduce her to Jeffrey to
 17    provide him with a massage?
 18                  MR. PAGLIUCA:     Objection to the
 19           form and foundation.
 20           A.     Run that past me one more time.
 21           Q.     Did you ever meet an underage girl
 22    in London to introduce her to Jeffrey to
 23    perform a massage?
 24                  MR. PAGLIUCA:     Same objection.
 25           A.     Are you asking me if I met anybody
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 99 of 465


                                                                    Page 98
  1                G Maxwell - Confidential
  2    that was underage in London specifically to
  3    provide a massage to Jeffrey, is that your
  4    question?
  5           Q.      Yes.
  6           A.      No.
  7           Q.      Do you know who                        is?
  8           A.      I don't recall her right now.
  9           Q.      Do you know if -- strike that.
 10                  During the time that you were
 11    working for Jeffrey, did you ever observe any
 12    foreign females, so in other words, not from
 13    the United States, that were brought to
 14    Jeffrey's home to perform massages?
 15                  MR. PAGLIUCA:     Objection to the
 16           form and foundation.
 17           A.     Females, what age are we talking?
 18           Q.     Any age.
 19           A.     Can you repeat the question?
 20           Q.     During the time you were working
 21    for Jeffrey, did you ever observe any foreign
 22    females of any age that were at Jeffrey's
 23    home to perform a massage?
 24                  MR. PAGLIUCA:     Objection to the
 25           form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 100 of 465


                                                                    Page 99
   1               G Maxwell - Confidential
   2          A.      Are you asking me if any foreigner,
   3    not an American person, gave Jeffrey a
   4    massage?
   5          Q.      Yes.
   6          A.      Well, as I sit here today, I can't
   7    think of anyone who is foreign.           Certainly --
   8    I just can't think of anybody right this
   9    second.
  10          Q.     How about any foreign girls who
  11    were under the age of 18?
  12          A.     I already testified to not knowing
  13    anything about underage girls.
  14          Q.     Were there foreign girls who were
  15    brought to Jeffrey's home by
  16    for the purposes of providing massages?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I am not aware of                 bringing
  20    girls.     I have not no idea what you are
  21    talking about.
  22          Q.     You have never been around foreign
  23    girls who are under the age of 18 at
  24    Jeffrey's homes?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 101 of 465


                                                                   Page 100
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I already testified about not
   4    knowing about underage girls.
   5          Q.      Did you provide any assistance with
   6    obtaining visas for foreign girls that were
   7    under the age of 18?
   8          A.      I've never participated in helping
   9    people of any age to get visas.
  10          Q.     Did Jeffrey, was it Jeffrey's
  11    preference to start a massage with sex?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     I think you should ask that
  15    question of Jeffrey.
  16          Q.     Do you know?
  17          A.     I don't believe that was his
  18    preference.     I think -- you have to
  19    understand, a massage -- perhaps you are not
  20    really familiar with what massage is.
  21          Q.     I am, I don't need a lecture on
  22    massage.
  23          A.     I think you do.
  24                 MR. PAGLIUCA:      No question pending.
  25          She will ask you another question now.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 102 of 465


                                                                   Page 101
   1               G Maxwell - Confidential
   2            A.    Massage is for health benefits.
   3            Q.    When did you first meet Jeffrey?
   4            A.    Some point in 1991.
   5            Q.    And did Jeffrey know your father?
   6            A.    No.
   7            Q.    How were you introduced to Jeffrey?
   8            A.    Some friend introduced us.
   9            Q.    Can you describe your relationship
  10    back in 1991, was it friendship or was it
  11    girlfriend relationship or was it a work
  12    relationship, what was your relationship in
  13    1991?
  14          A.     It was just friendly.
  15          Q.     Then I believe you testified you
  16    began working for him in 1992, is that
  17    correct?
  18          A.     Yes.
  19          Q.     In 1992 I know you gave me the
  20    description of the work that you were
  21    performing for him, how much was he paying
  22    you, do you remember?
  23          A.     I don't recall.
  24          Q.     Do you know for example in 2001 how
  25    much he was paying you?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 103 of 465


                                                                   Page 102
   1             G Maxwell - Confidential
   2          A.      I don't recall.
   3          Q.      Did it change over the years or did
   4    the payment remain the same?
   5          A.      I believe over the course of time
   6    it increased a little bit.
   7          Q.      Was that the -- was that payment
   8    the payment that -- was the payment made with
   9    respect to the jobs, the work you were
  10    performing for Jeffrey, was that your sole
  11    income at that time?
  12                 MR. PAGLIUCA:      I object to the
  13          form.    I'm also going to instruct you
  14          not to answer about sources of -- your
  15          personal sources of income outside of
  16          Mr. Epstein at all.
  17                 MS. McCAWLEY:      What's the basis for
  18          that?
  19                 MR. PAGLIUCA:      It's confidential,
  20          it's not part of this lawsuit.
  21                 MS. McCAWLEY:      We have a protective
  22          order and it is part of this lawsuit
  23          with respect to our damage claims.
  24                 MR. PAGLIUCA:      It's not and, in
  25          fact, you are not entitled to ask
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 104 of 465


                                                                   Page 103
   1               G Maxwell - Confidential
   2          financial information of a defendant in
   3          this kind of case, in a defamation case
   4          unless and until there is a finding that
   5          you are entitled to punitive damages.
   6          That is clear in New York case law, both
   7          state and Federal.
   8                  MS. McCAWLEY:     We disagree on that
   9          point and we will come back to that.
  10          Q.     From the source of payment from the
  11    source of Jeffrey, from your work, can you
  12    give me a range on that, do you know was it
  13    over $100,000?
  14          A.     I just testified I don't recall.
  15          Q.     You don't don't know if it was
  16    $500,000?
  17          A.     It was less than that.
  18          Q.     Somewhere between 100 and 500,
  19    would that be fair to say?
  20          A.     I believe it was between 100 and
  21    $200,000.
  22          Q.     Did Jeffrey during the time that
  23    you were working for him purchase a town home
  24    for you?
  25          A.     The subject of the townhouse is, I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 105 of 465


                                                                   Page 104
   1               G Maxwell - Confidential
   2    worked for it and I had a loan, we did loans.
   3            Q.     So a loan through Jeffrey?
   4            A.     I don't recall the exact
   5    transaction.
   6            Q.     Did he purchase for you a
   7    helicopter during the time you were working
   8    for him?
   9            A.     It was his helicopter.
  10          Q.       When did you obtain your pilot
  11    license?
  12          A.       I believe it was '98 or '99.
  13          Q.       Was that for both airplanes and
  14    helicopters or just helicopters?
  15          A.       Just helicopters.
  16          Q.       Have you ever flown
  17                 on your helicopter?
  18          A.       That is another one of Virginia's
  19    lies.
  20          Q.       The question is have you ever done
  21    that?
  22          A.       I have never flown
  23                 at any time ever, in any helicopter,
  24    in any place, any time, in any state, in any
  25    country, at any time anywhere.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 106 of 465


                                                                   Page 105
   1               G Maxwell - Confidential
   2          Q.      Have you ever had dinner with
   3                           at Jeffrey's home, at any
   4    of Jeffrey's homes?
   5          A.      No, I don't believe so.
   6          Q.      Have you traveled on Jeffrey's
   7    planes with                          ?
   8          A.      Yes, I have.
   9          Q.      Would that have been in 2002?
  10          A.     It's very hard for me to recollect
  11    exact dates but that sounds about right.
  12          Q.     Was that during the time that
  13    Virginia was working for Jeffrey?
  14          A.     I don't know that Virginia ever did
  15    work for Jeffrey.       I don't exactly know if
  16    she testified to her so-called duties, we
  17    know she is a serial liar so I can't testify
  18    to what she did or didn't do.            So I object to
  19    that characterization of her.            So repeat the
  20    question, please.
  21          Q.     Can you read the question back?
  22                 (Record read.)
  23          Q.     You can answer the question.
  24          A.     What was the question again?
  25          Q.     When you were traveling on the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 107 of 465


                                                                   Page 106
   1                G Maxwell - Confidential
   2    plane with                         , was that during
   3    the time, it was 2002, that you were on a
   4    flight with                 was that during the time
   5    Virginia was working for Jeffrey?
   6                   MR. PAGLIUCA:    Object to the form.
   7           Misstates the witness' answer and if you
   8           can answer the question, you can answer
   9           it.
  10           A.     Well, like I said, I don't recall
  11    exactly when I flew with him.          I don't recall
  12    when Virginia, we know what Virginia claims
  13    when she left, so I can't answer the
  14    question.      I have no idea.
  15           Q.     Do you know                   ?
  16           A.     I do.
  17           Q.     How long have you known him?
  18           A.     A very long time.
  19           Q.     Since you were a child?
  20           A.     I really -- it's so long, it's
  21    really a long time ago.         I just don't recall.
  22           Q.     Do you remember how you first met
  23    him?
  24           A.     No, I do not.
  25           Q.     Did you introduce him to Jeffrey?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 108 of 465


                                                                   Page 107
   1               G Maxwell - Confidential
   2            A.    That would be another of Virginia's
   3    lies and the lies you perpetrate.           I never
   4    introduced                      to Jeffrey Epstein
   5    at any time ever, so just add that the to
   6    long list of lies.
   7            Q.    Did Jeffrey know                     ?
   8            A.    Clearly he knew him.      I think we
   9    have that answer but how -- yeah.
  10          Q.      Do you know how Jeffery met
  11
  12          A.      I do not know Jeffrey met
  13                 What I do know is that I did not
  14    introduce them.      That is one of the many
  15    lies.    Are we tallying all the lies?
  16          Q.      Do you know when Jeffrey met
  17
  18          A.      I do not know when Jeffrey met
  19                    .
  20          Q.      Did you ever introduce
  21             to any girls under the age of 18 who
  22    were not friends of yours children?
  23          A.      I have not introduced
  24    to anyone that I am aware of other than
  25    friends of mine who have kids under that age
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 109 of 465


                                                                   Page 108
   1               G Maxwell - Confidential
   2    that he may have met socially through me.
   3          Q.      Did you ever introduce
   4             to Virginia in London?
   5          A.      I understand her story about
   6    but again, her tissue of lies is extremely
   7    hard to pick apart what is true and what
   8    isn't.      Actually I wouldn't recollect her at
   9    all but for her tissue stories about this
  10    situation.
  11          Q.     So did you ever introduce
  12             to Virginia in London?
  13          A.     I have no recollection.
  14          Q.     Did Virginia ever stay at your home
  15    in London, your town home?
  16          A.     I know she claims she did but if
  17    you are asking me here today to remember
  18    specifically, I cannot.
  19          Q.     Do you remember taking a trip with
  20    Virginia to travel over to Europe, including
  21    London?
  22          A.     So I have seen her reports and I
  23    have seen the plane reports.          I see she says
  24    she was on that but again, I really have no
  25    recollection of her.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 110 of 465


                                                                   Page 109
   1               G Maxwell - Confidential
   2            Q.    Did you know that she was 17 at the
   3    time of that trip?
   4                  MR. PAGLIUCA:     Objection to the
   5            form and foundation.
   6            A.    I have --
   7            Q.    Did you know she was 17 at the time
   8    of that trip?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I didn't even know she was on the
  12    trip.
  13          Q.     Did you hold her passport for her
  14    when she was traveling?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     I have no recollection whatsoever
  18    of her even being on the trip nor holding her
  19    passport.
  20                 (Maxwell Exhibit 4, picture, marked
  21          for identification.)
  22          Q.     I'm showing you what we marked as
  23    Maxwell Exhibit 4.
  24                 Can you take a look at that picture
  25    for me?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 111 of 465


                                                                   Page 110
   1             G Maxwell - Confidential
   2          A.     I've looked at it.
   3          Q.     Are you in that picture?
   4          A.     I am.
   5          Q.


   7          A.     It is.
   8                 MR. PAGLIUCA:      I don't believe this
   9          has been produced to us in discovery by
  10          you.
  11                 MS. McCAWLEY:      The picture?
  12                 MR. PAGLIUCA:      Yes.
  13                 MS. McCAWLEY:      It has.
  14                 MS. MENNINGER:      Is it the same
  15          exact photograph.
  16                 MS. McCAWLEY:      I believe so.      We
  17          will find one.       The picture has been
  18          produced a number of times.
  19                 MR. PAGLIUCA:      I've seen different
  20          iterations of this, I don't believe I
  21          have ever seen this.
  22                 MS. McCAWLEY:      We had them blow it
  23          up on a page so she could see it.            We
  24          could use an article.
  25                 While you are looking for that, I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 112 of 465


                                                                   Page 111
   1               G Maxwell - Confidential
   2          will skip ahead.       Hold that until we can
   3          find one that has the Bates range on it.
   4          Q.      Do you recall Virginia being at
   5    your London town home?
   6          A.      I do not.
   7          Q.      Do you recall going to dinner with
   8                    , Jeffrey Epstein and Virginia
   9    Roberts in London, at any time?
  10          A.     I do not.
  11          Q.     Do you recall going to a place
  12    called                                       , Jeffrey
  13    Epstein and yourself and Virginia Roberts?
  14          A.     I would just like to state for the
  15    record




                   I do not have any recollection of it
  21    and I doubt it actually happened.
  22          Q.     You don't recall that.
  23                 Do you recall taking Virginia
  24    shopping when you were in London to buy an
  25    outfit to meet
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 113 of 465


                                                                   Page 112
   1               G Maxwell - Confidential
   2            A.    No, I don't.
   3            Q.    Where in your town home -- we will
   4    come back to that.
   5                  Do you have guest bedrooms in your
   6    town home in London?
   7            A.    I do.
   8            Q.    How many?
   9            A.    Two.
  10          Q.     Did                   ever visit
  11    Jeffrey and you in New York?
  12          A.     Yes.
  13          Q.     Do you remember him visiting you
  14    and Jeffrey in New York in the spring of
  15    2001?
  16          A.     Again, I can't testify to any
  17    specific dates.
  18          Q.     So you don't have a recollection of
  19    that?
  20          A.     I have a recollection -- you've
  21    asked me if I have a recollection of being in
  22    New York but if you are asking for a date, I
  23    cannot confirm that date.
  24          Q.     Do you remember                       being
  25    present in New York for a party where
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 114 of 465


                                                                   Page 113
   1               G Maxwell - Confidential
   2                 was also present?
   3            A.     I don't recollect.
   4            Q.     Do you recall ever giving
   5             a gift of a puppet that was in the
   6    same -- that looked like him?
   7            A.     I never gave him a gift of a
   8    puppet.
   9            Q.     Did Jeffrey ever give him a gift of
  10    a puppet?
  11          A.       No, not that I am aware of.
  12          Q.       Have you ever given him any gifts?
  13                   MR. PAGLIUCA:     Objection,
  14          foundation.
  15          A.       I know          --
  16          Q.       Have you ever given him any gifts
  17    that you remember when he came to Jeffrey's
  18    home in New York?
  19          A.       I don't recall giving him any gifts
  20    in New York.
  21                   (Maxwell Exhibit 5, picture, marked
  22          for identification.)
  23          Q.       I think I directed you to page
  24    0034.
  25                   Is that a picture that was taken at
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 115 of 465


                                                                   Page 114
   1               G Maxwell - Confidential
   2    your London town home?
   3            A.    I have no idea what this picture
   4    was taken.      I know what she purports it to be
   5    but I'm not going to say that I do.
   6            Q.    Do the surroundings look like your
   7    London town home?
   8            A.    They are familiar.
   9            Q.    Do you know who took this picture?
  10          A.     I do not.
  11          Q.     Did Jeffrey Epstein take the
  12    picture?
  13          A.     I just testified I don't know who
  14    took the picture.
  15          Q.     So you don't know if Jeffery
  16    Epstein took the picture?
  17          A.     When I tell you I don't know who
  18    took the picture, it doesn't mean him -- I
  19    don't know who took the picture.           You can
  20    come up with 50 names, I still do not know
  21    who took the picture.
  22          Q.     Did you observe                       go
  23    into a room with Virginia alone in your town
  24    home?
  25          A.     I cannot recall.      As I have said,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 116 of 465


                                                                   Page 115
   1                G Maxwell - Confidential
   2    no.
   3           Q.      Did                 ever tell you
   4    that he had sex with Virginia Roberts?
   5           A.      He did not.
   6           Q.      Did Jeffrey Epstein ever tell you
   7    that                    had sex with Virginia
   8    Roberts?
   9           A.     He did not.
  10           Q.     Did                  ever visit -- let
  11    me back up for a moment.         We talked about
  12    Jeffrey's homes, did Jeffrey have a home in
  13    the U.S. Virgin islands called Little St.
  14    James?
  15           A.     Yes.
  16           Q.     Did                  ever visit that
  17    island -- are you aware of                          ever
  18    visiting Jeffrey's island?
  19           A.     I am aware of that, yes.
  20           Q.     Do you know how many times he
  21    visited?
  22           A.     I do not.
  23           Q.     Do you know if he visited when
  24    Virginia was on the island?
  25           A.     I do not.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 117 of 465


                                                                   Page 116
   1               G Maxwell - Confidential
   2          Q.      Were you present on the island when
   3                      visited?
   4          A.     Yes.
   5          Q.     How many times?
   6          A.     I can only remember once.
   7          Q.     Were there any girls under the age
   8    of 18 on the island during that one visit
   9    that you remember that were not family or
  10    friends of or daughters of your friends?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     There were no girls on the island
  14    at all.     No girls, no women, other than the
  15    staff who work at the house.          Girls meaning,
  16    I assume you are asking underage, but there
  17    was nobody female outside of the cooks and
  18    the cleaners.
  19          Q.     Did you, as part of your duties in
  20    working for Jeffrey, ever arrange for
  21    Virginia to have sex with                           ?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     Just for the record, I have never
  25    at any time, at anyplace, in any moment ever
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 118 of 465


                                                                   Page 117
   1               G Maxwell - Confidential
   2    asked Virginia Roberts or whatever she is
   3    called now to have sex with anybody.
   4          Q.      Did you ever provide Virginia
   5    Roberts with an outfit, an outfit of a sexual
   6    nature to wear for                   ?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I think we addressed the outfit
  10    issue.
  11          Q.     I am asking you if you ever
  12    provided her with an outfit of a sexual
  13    nature to wear for                   ?
  14          A.     Categorically no.       You did get
  15    that, I said categorically no
  16          Q.     Don't worry I'm paying attention.
  17          A.     You seemed very distracted in that
  18    moment.
  19                 (Maxwell Exhibit 6, flight logs,
  20          marked for identification.)
  21          A.     Do you mind if I take a break for
  22    the bathroom.
  23          Q.     It's 11:08 and we are going to go
  24    off the record now.
  25                 THE VIDEOGRAPHER:       It's now 11:09.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 119 of 465


                                                                   Page 118
   1               G Maxwell - Confidential
   2          We are off the record.
   3                  (Recess.)
   4                  THE VIDEOGRAPHER:      It's now 11:26,
   5          we are back on the record and starting
   6          disk No. 3.
   7          Q.      Ms. Maxwell, I think I handed you
   8    right before the break, did I hand you the
   9    flight logs, they look like this.           Did I mark
  10    those yet, I thought I did.
  11          A.     I don't believe I have it.
  12          Q.     These admittedly are a little
  13    difficult to read so what I'm going to
  14    provide you with to assist is I have a chart
  15    that has the airport codes, because it will
  16    have, for example, just for the record
  17    reflects that the first page of document
  18          , it will have a code in the from line
  19    that says PBI, for example, to TEB so I a
  20    chart that matches up, just in case you don't
  21    understand what those letters mean, PBI
  22    meaning Palm Beach, TEB meaning Teterboro,
  23    which is New Jersey, but others are more
  24    difficult but just for you to be able to
  25    understand the logs, I will provide you with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 120 of 465


                                                                   Page 119
   1               G Maxwell - Confidential
   2    that.
   3                  MR. PAGLIUCA:     So we are clear, if
   4          the witness has personal knowledge of
   5          what these are that's fine but I don't
   6          know what these are and I don't expect
   7          the witness to accept the representation
   8          that they are what they are.
   9                  MS. McCAWLEY:     If she can testify
  10          to what city it is, she can state that
  11          on the record.
  12                 MR. PAGLIUCA:      If she knows what it
  13          is, she knows what it is, we are not
  14          putting any affirmatively on the record
  15          until you ask your questions.
  16          Q.     So I'm going to ask you and I think
  17    we flagged a few of the pages which may
  18    direct us a little bit easier but I will do
  19    it by Bates number which is at the bottom of
  20    the document kind of at the side.
  21                 The first I will direct your
  22    attention to is
  23          A.     Does it have a tab?
  24          Q.     It should.     Let me make sure.
  25          A.     Yes it does.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 121 of 465


                                                                   Page 120
   1               G Maxwell - Confidential
   2          Q.      So I'm directing your attention to
   3    the bottom, two lines up from the bottom,
   4    there is a flight --
   5                  MR. PAGLIUCA:     Are you on
   6                  MS. McCAWLEY:
   7          Q.      So this flight is from, the one I'm
   8    looking at, I think it's highlighted on your
   9    copy.      On the far corner on the date, it says
  10          at the top and this would be the
  11    and then the           are the two I'm going to
  12    direct your attention to.
  13          Q.     On that first one on the              you
  14    will see the column reading PBI in the from
  15    column to TEB in the to column and you will
  16    see some initials, you will see JE for
  17    Jeffrey Epstein, GM for Ghislaine Maxwell,
  18    for                 and then Virginia?
  19          A.     I have to object.
  20                 MR. PAGLIUCA:      You don't get to
  21          object.
  22          Q.     She is turning into a lawyer
  23    already?
  24          A.     I would like to.
  25          Q.     Let me ask the question and if you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 122 of 465


                                                                   Page 121
   1               G Maxwell - Confidential
   2    have an issue -- so with respect to this
   3    flight, do you recall being on a flight in
   4    the --                     going from Palm Beach to
   5    Teterboro?
   6            A.    No, I don't recall any specific
   7    flight.
   8            Q.    Do you recall flying with Virginia
   9    on a flight with                     and Jeffrey
  10    Epstein at any time?
  11          A.     I don't.
  12          Q.     How often did you fly on a plane
  13    with a 17 year old?
  14                 MR. PAGLIUCA:      Objection to form
  15          and foundation.
  16          A.     I have no idea what you are talking
  17    about, other than friends of mine that had
  18    kids.
  19          Q.     Did you regularly fly on Jeffrey's
  20    plane with individuals who were under the age
  21    of 18?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     Can you repeat the question?
  25          Q.     Did you regularly fly on Jeffrey
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 123 of 465


                                                                   Page 122
   1               G Maxwell - Confidential
   2    Epstein's planes with individuals who were
   3    under the age of 18?
   4          A.      I regularly flew on Jeffrey
   5    Epstein's airplane but I cannot testify as to
   6    flying with people under the age.           I don't
   7    believe that I did.
   8          Q.      Why wouldn't you remember flying
   9    with a 17 year old?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     How would I know, one, that she is
  13    17, how would you know that, how do you know
  14    I'm on the plane.
  15          Q.     Are you saying you are not on this
  16    flight, so this is a Palm Beach to Teterboro.
  17    This says the JE, GM          and Virginia.      The GM
  18    you are saying is not you?
  19                 MR. PAGLIUCA:      I object to the
  20          form.    You can answer the question if
  21          you know.
  22          A.     How do you know the GM is me.
  23          Q.     Is it your testimony that on the
  24    flight logs when it represents GM that it is
  25    not you flying on the plane?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 124 of 465


                                                                   Page 123
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      GM can stand for any level, it
   5    could be Georgina, George.
   6          Q.      Are there any people that flew with
   7    Jeffrey Epstein that had the initials GM?
   8          A.      I don't know.
   9          Q.      Do you recall flying with Jeffrey
  10    Epstein on his plane over 300 times during
  11    the period of 1999 to 2005?
  12          A.     I cannot testify to how many times
  13    I was on his plane because that would just be
  14    impossible.
  15          Q.     You were on his plane regularly,
  16    would you say?
  17          A.     I already testified I was on his
  18    plane regularly.
  19          Q.     Is it your testimony and I'm
  20    referring now to the line that we were just
  21    talking about that you were not on the flight
  22    from Palm Beach to Teterboro that lists JE,
  23    GM,      and Virginia?
  24          A.     I am not testifying to that.          I am
  25    just saying that you cannot be sure that is
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 125 of 465


                                                                   Page 124
   1               G Maxwell - Confidential
   2    me.
   3          Q.      So as you sit here today, you don't
   4    believe you flew on that plane?
   5          A.      I'm not saying that.      I'm just
   6    saying you cannot be sure that's me.
   7          Q.      Do you have reason to doubt that
   8    when it says GM on these flight logs that
   9    that represents you?
  10          A.     I cannot testify to that.          I'm just
  11    saying it may not be me.
  12          Q.     In looking at the flight logs and
  13    look up, let's move up a couple of lines.             If
  14    you start at the top, you are going to see
  15    JE,                 , then JE,                        ,
  16    JE,                     , JE, GM, JE, GM, JE, GM,
  17                       , reposition, JE, GM, JE, GM
  18                      , JE, GM,                 ,
  19                female,
  20    repositioning.        JE, GM,                    , JE,
  21    GM,                     , JE, GM,         Virginia,
  22    JE, GM,        Virginia, repositioning and then
  23    a certification.
  24                 So is it your testimony in looking
  25    at that that you do not believe that the GM
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 126 of 465


                                                                   Page 125
   1               G Maxwell - Confidential
   2    represents you?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          A.      I'm not saying that.      I'm just
   6    saying that you cannot -- I can't sit here
   7    and tell you for sure GM is me and I cannot
   8    testify remembering being on a flight at that
   9    time.
  10          Q.     You don't remember being on any of
  11    these flights with the initial GM?
  12          A.     I remember being on many flights.
  13    I cannot testify that is a flight I am on.
  14          Q.     Let's go to the next page which is
  15    going to be              I want you to look at
  16    line -- so the date is at the top, so it's
  17                    and if you go down, you will see
  18    a line that says the             and if you scroll
  19    over you will see PBI to TIST, if you look at
  20    the airport codes, TIST is going to be
  21    representative for the U.S. Virgin Islands
  22    and then you will see the list on the plane
  23    JE, GM,       and Virginia Roberts.
  24                 Do you recall flying from Palm
  25    Beach to the U.S. Virgin Islands with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 127 of 465


                                                                   Page 126
   1               G Maxwell - Confidential
   2    Jeffrey, yourself,                     and Virginia
   3    Roberts?
   4                  MR. PAGLIUCA:     I object to the form
   5          and just so the record is clear, we
   6          don't agree with whatever your
   7          characterizations are.         The document
   8          speaks for itself and she can answer
   9          based on whatever her personal knowledge
  10          is.
  11                 MS. McCAWLEY:      I understand.
  12          Q.     Do you recall flying with those
  13    individuals from Palm Beach to the U.S.
  14    Virgin Islands?
  15          A.     I have no recollection of any
  16    individual flight you are pointing out here.
  17    You are talking about 2001, how many years
  18    ago is that?
  19          Q.     I'm asking the questions.
  20          A.     I'm not being difficult.        I'm just
  21    asking, it's like 14, 15 years ago, it's
  22    impossible, I'm sorry.
  23          Q.     So your testimony is you don't
  24    recall flying on that flight with Virginia
  25    Roberts?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 128 of 465


                                                                   Page 127
   1               G Maxwell - Confidential
   2          A.      I cannot testify to that flight.
   3          Q.      Let's look at the next flight which
   4    is on the          from the Virgin Islands back
   5    to Palm Beach, JE, Jeffrey Epstein, Ghislaine
   6    Maxwell,                 , Virginia Roberts, the
   7    same individuals on the above flight.
   8          A.      It doesn't say my name, it has some
   9    initials.
  10          Q.     I understand, the initials GM.
  11                 Do you recall flying on a plane, on
  12    one of Jeffrey's planes from the Virgin
  13    Islands to Palm Beach with Virginia Roberts?
  14          A.     I do not.
  15          Q.     Was there any other person that
  16    flew with Jeffrey Epstein with frequency
  17    during that time period in these logs that
  18    have the initials GM?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I would have to look at all the
  22    flight logs, I have no idea, I flew
  23    frequently.
  24          Q.     Why don't you take a look at the
  25    next three pages and see if that refreshes
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 129 of 465


                                                                   Page 128
   1               G Maxwell - Confidential
   2    your recollection.
   3                  MR. PAGLIUCA:     You are talking
   4          about
   5                  MS. McCAWLEY:     She can pick any
   6          couple of pages, those have a lot of the
   7          individuals on them so that is a good
   8          sampling.
   9                  MR. PAGLIUCA:     So pick any pages
  10          you want.
  11          Q.     Does that refresh your recollection
  12    at all as to whether GM represents you or
  13    some other individual?
  14          A.     Again, I can't testify whether that
  15    represents me or not, I don't see any other
  16    GMs but you have to understand that even if
  17    my name is on that record doesn't mean I was
  18    on the flight.
  19          Q.     So are you contesting the accuracy
  20    of the flight logs?        In other words, you said
  21    it doesn't represent you are on the flight so
  22    is it your testimony just because a name is
  23    listed doesn't mean they were actually on the
  24    flight?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 130 of 465


                                                                   Page 129
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I can't testify to what -- these
   4    are records that were produced by
   5    is on here, so these aren't federally
   6    mandated records, so I can't testify to what
   7    he produced.
   8          Q.      I would like you to turn to page,
   9    at the bottom, the Bates number is                   .
  10    And the month is                     .
  11          A.     Okay.
  12          Q.     If you go down to the number that
  13    is       that would be                      you're
  14    going to see on that line an                which is a
  15                                             and then you
  16    will see          which is going to be, I'm going
  17    to pronounce it incorrectly,
  18               I'm sure I'm not pronouncing that
  19    correctly.     Then you will see in the list,
  20    you will see JE, GM,                                 ,
  21                , it looks like --
  22          A.     I believe it says male.
  23          Q.     Yes.    Then                    I
  24    believe.     Is that GM on this page
  25    representative of you?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 131 of 465


                                                                   Page 130
   1               G Maxwell - Confidential
   2            A.    Well, this would be a flight that I
   3    would potentially remember with
   4    on it but I don't actually recall going to
   5    Russia.
   6            Q.    Are those your initials, do you
   7    recall being on the flight?
   8            A.    Those are my initials with
   9                         , I don't recall this flight
  10    either, but I would be more likely to if I
  11    had a bit more time to study the timing of
  12    this.
  13          Q.      Your testimony is you don't recall
  14    flying with                           from          to
  15
  16          A.      I don't recall the             to
  17    flight.      I have definitely flown with
  18                         .
  19          Q.      On that same page you will see
  20    beneath there, beneath 22 you will see the
  21    indication, same as above, same as above,
  22    same as above in the column that originally
  23    had the initials.
  24          A.      Uh-huh.
  25          Q.      And the names.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 132 of 465


                                                                   Page 131
   1               G Maxwell - Confidential
   2          A.      Uh-huh.
   3          Q.      Do you recall flying with
   4               from                      to
   5
   6          A.     I do.
   7          Q.     So the GM that would be represented
   8    in that column would be you?
   9          A.     I recall going to                 with
  10                 so that is likely to be me.
  11          Q.     You were on Jeffrey's plane for
  12    that trip?
  13          A.     I believe I was.
  14          Q.     Do you know who
  15    is?
  16          A.     I do not.
  17          Q.     I'm going back towards the front
  18    which is going to be               please.     And
  19    you're going to see --
  20          A.     Hang on I'm not --
  21          Q.     Take your time.
  22          A.     Okay.
  23          Q.     You are going to see in the date
  24    column, you will see             and then about
  25    halfway down you will see
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 133 of 465


                                                                   Page 132
   1               G Maxwell - Confidential
   2    then you will see the                              which
   3    is the column which is where I want you to
   4    start looking at the log and there you're
   5    going to see




  11          A.     Okay.
  12          Q.     If you look at the column, if you
  13    go back up to the top on the               if you look
  14    at the column you will see JE, GM,
  15    Virginia Roberts and I believe it says
  16                  sorry I'm not reading that very
  17    well.
  18                 Do you recall flying from, if you
  19    see the dates, the
  20             Do you recall a trip that went from
  21    the United States to               and to the places
  22    I just mentioned where Virginia Roberts was
  23    on the plane with you?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 134 of 465


                                                                   Page 133
   1               G Maxwell - Confidential
   2          A.      I already testified that I don't
   3    recall Virginia on any of these flights.
   4          Q.      I would like to mark, as Maxwell 7,
   5    I will put it at the top?
   6                  (Maxwell Exhibit 7, photo, marked
   7          for identification.)
   8                  MR. PAGLIUCA:     Has this document
   9          been produced in discovery?
  10                 MS. McCAWLEY:      Yes.
  11                 MR. PAGLIUCA:      Do you have a Bates
  12          number?
  13                 MS. McCAWLEY:      This one doesn't.
  14          Q.     I'm going to ask you --
  15                 MR. PAGLIUCA:      I don't recall
  16          seeing this document so I would like to
  17          see a Bates number document before we
  18          ask questions about it.
  19                 MS. McCAWLEY:      Can you go look for
  20          it and I will continue.          We will set
  21          that aside until we get a Bates number.
  22          You may want to leave that log up and
  23          set it to the side and we will bounce
  24          back to that.
  25          Q.     Do you recall -- I think earlier
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 135 of 465


                                                                   Page 134
   1               G Maxwell - Confidential
   2    you said you visited Jeffrey's island, I
   3    think they called it St. Jeffrey or St.
   4    James, the U.S. Virgin Island home.
   5          A.      St. James.
   6          Q.      Do you recall whether
   7               was ever on that island?
   8          A.      Categorically, definitively,
   9    absolutely, without a shadow of a doubt, when
  10    I was present or any other time that I am
  11    aware of, was                           ever on that
  12    island, I do not believe he went to that
  13    island ever ever, that is an absolute
  14    fabrication and an absolute flat out lie.
  15          Q.     Was
                               ever at any of Jeffrey
  17    Epstein's homes when you present, other than
  18    the island I know you said that did not
  19    happen, the home in either New York or Palm
  20    Beach or New Mexico?
  21          A.     I do not believe at any time
  22                           was at any of Jeffrey's
  23    homes, I have absolutely no knowledge or
  24    otherwise that he was ever there.
  25          Q.     You don't recall having dinner with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 136 of 465


                                                                   Page 135
   1               G Maxwell - Confidential
   2    him at any of those homes?
   3          A.      Again, Virginia is absolutely
   4    totally lying.      This is a subject of
   5    defamation about Virginia and the lies she
   6    has told and one of lies she told was that
   7    President Clinton was on the island where I
   8    was present.      Absolutely 1000 percent that is
   9    a flat out total fabrication and lie.
  10          Q.     You did fly on planes, Jeffrey
  11    Epstein's planes with President Clinton, is
  12    that correct?
  13          A.     I have flown, yes.
  14          Q.     Would it be fair to say that
  15    President Clinton and Jeffrey are friends?
  16          A.     I wouldn't be able to characterize
  17    it like that, no.
  18          Q.     Are they acquaintances?
  19          A.     I wouldn't categorize it.
  20          Q.     He just allowed him to use his
  21    plane?
  22          A.     I couldn't categorize Jeffrey's
  23    relationship.
  24          Q.     When you were on the plane with
  25    Jeffrey and President Clinton, did you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 137 of 465


                                                                   Page 136
   1               G Maxwell - Confidential
   2    observe Jeffrey and
   3    talking?
   4          A.      I'm sure they did.
   5          Q.      Did they seem friendly?
   6          A.      I don't recollect.
   7          Q.      Was Epstein one of the original
   8    people that conceived the
   9
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          Q.     Do you know?
  13          A.     I don't have -- I don't know what
  14    you are talking about.
  15          Q.     You don't know what I'm talking
  16    about.
  17                 Did you ever, not at one of houses,
  18    but did you ever eat dinner with
  19               and Jeffrey Epstein?
  20          A.     Are you just talking in general
  21    anywhere.
  22          Q.     In general?
  23          A.     I believe on a plane of this nature
  24    we would have had a meal.
  25          Q.     But not outside of the travel on
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 138 of 465


                                                                   Page 137
   1               G Maxwell - Confidential
   2    the flights?
   3          A.      I can't recollect having a meal
   4    with them, but just so we are clear, the
   5    allegations that                had a meal on
   6    Jeffrey's island is 100 percent false.
   7          Q.      But he may have had a meal on
   8    Jeffrey's plane?
   9          A.      I'm sure he had a meal on Jeffrey's
  10    plane.
  11          Q.     You do know how many times he flew
  12    on Jeffrey's plane?
  13          A.     I don't.
  14          Q.     Do you know who                 is?
  15          A.     I do.
  16          Q.     How do you know him?
  17          A.     He used to work or still works for
  18
  19          Q.     Did you ever have a relationship
  20    with him?
  21          A.     We are talking about adult
  22    consensual relationships, it's off the
  23    record.
  24          Q.     I'm not asking what you did with
  25    him, I'm asking if you ever had a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 139 of 465


                                                                   Page 138
   1               G Maxwell - Confidential
   2    relationship with him?
   3                  MR. PAGLIUCA:     If you understand
   4            the term relationship, certainly you can
   5            answer that.
   6            A.    Define relationship.
   7            Q.    Somebody that you would have spent
   8    time together, either seeing them in a
   9    romantic relationship or --
  10          A.     You need to be, what do you mean by
  11    romantic.     I was friends with            but you
  12    are suggesting something more so I want to be
  13    clear what you are actually asking me.
  14          Q.     You defined it.      You said you were
  15    friends with him.       If that's what you were
  16    that's all I need to know.
  17                 While you were on the trip with
  18                         , do you recall where you
  19    stayed at these locations, in other words,
  20    would you leave the jet and stay overnight at
  21    a hotel, do you have a recollection of this
  22    trip?
  23          A.     I recollect the trip but if you're
  24    asking me where we stayed, you can see it's a
  25    very fast paced trip.        It was very tiring and
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 140 of 465


                                                                   Page 139
   1               G Maxwell - Confidential
   2    I don't recollect where we stayed.
   3          Q.      Do you recollect if you stayed at
   4    the same place                            stayed?    In
   5    other words, if you left the plane to go a
   6    hotel did you all go together is your
   7    recollection?
   8          A.      I honestly don't recollect, no.
   9          Q.      Part of this trip we were just
  10    talking about, there is a flight that goes to
  11    Thailand, do you remember being in Thailand?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     Are you asking me --
  15          Q.     On the                         trip.
  16          A.     Are you referencing something?
  17          Q.     The part that, let me make sure
  18    I've got it here.       The entry that would be
  19    the Thailand, would be the one -- let me make
  20    sure I'm correct.       I have you on the wrong
  21    page, it's actually the page before.            It's
  22    going to be              And it's going to be the
  23    entry on            starting on                and then
  24    it goes down to where it has the same as
  25    above, to                         -- I'm saying
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 141 of 465


                                                                   Page 140
   1                G Maxwell - Confidential
   2
   3                   MR. PAGLIUCA:    That's what the
   4           document says.
   5           Q.      I'm not representing the date but
   6    there it is.       So the last leg of that where
   7    it says same as above has, the second to
   8    last, I'm sorry on the


  10                  Do you remember being in Thailand
  11    with                        ?
  12           A.     I do.
  13           Q.     Do you remember what the purpose of
  14    that trip was?
  15           A.     I don't.
  16           Q.     Do you know whether -- do you
  17    recall, did you stay the night in Thailand?
  18           A.     I don't recall.
  19           Q.     Do you recall why you went to
  20    Thailand?
  21           A.     I don't recall.
  22           Q.     Who is                      ?
  23           A.     She I believe was a stewardess on
  24    this flight.
  25           Q.     Did she perform any massages on the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 142 of 465


                                                                   Page 141
   1               G Maxwell - Confidential
   2    flight?
   3          A.      I don't recollect any massages on
   4    the flight.
   5          Q.      Do you know who                        is?
   6          A.      It doesn't -- no I don't know who
   7    that is, I can't recall.
   8          Q.      This is not in color, it's a black
   9    and white but it has the Bates label on it.
  10    Should I take the sticker off the one that
  11    has -- I don't know if you want to swap it.
  12                 MR. PAGLIUCA:      Let the record
  13          reflect I am replacing this on the black
  14          and white copy of this exhibit with
  15                               .
  16          Q.     So, we were talking earlier, we
  17    were looking at the flight logs and we were
  18    talking about a trip and let me just get you
  19    back to the page.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 143 of 465


                                                                   Page 142
   1                G Maxwell - Confidential
   2           Q.      Can I direct your attention to the
   3    picture, please.
   4           A.      Of course.
   5           Q.      Can you tell me who is in this
   6    picture, who is pictured here, and for the
   7    court reporter's benefit, can you go from the
   8    left of the picture to the right of the
   9    picture, to the extent you can identify the
  10    individuals?
  11           A.     Sure.   I cannot identify the person
  12    on the left, I cannot identify the person
  13    next left.      I can identify Jeffrey Epstein.
  14    I cannot identify the next person to his
  15    right and the next person in the picture is
  16    myself.
  17           Q.     Is the individual all the way to
  18    the left at the beginning of the picture,
  19    does that resemble                    .   You might
  20    want to look at the color version if that
  21    helps you at all, I know it's not the marked
  22    one.    I don't if that's easier to see, they
  23    are both dark.
  24           A.     That does not look like
  25    at all.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 144 of 465


                                                                   Page 143
   1                G Maxwell - Confidential
   2           Q.      Do you recall --
   3                   MR. PAGLIUCA:    Let's mark this then
   4           as deposition Exhibit 8 since we are
   5           referring to it and then you can give us
   6           copies as well.
   7                   MS. MENNINGER:    It's different
   8           because it has other people in this
   9           color photo.
  10                  (Maxwell Exhibit 8, photo, marked
  11           for identification.)
  12           Q.     Do you recall who took this
  13    photograph?
  14           A.     I do not.
  15           Q.     Do you recall this photograph being
  16    taken by Virginia?
  17           A.     First of all, I don't know where we
  18    are.
  19           Q.     So you don't recognize the
  20    building?
  21           A.     I don't recognize the building and
  22    I don't recognize -- the only two people I
  23    recognize in the picture are Jeffrey and
  24    myself.
  25           Q.     Does this like look a picture of a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 145 of 465


                                                                   Page 144
   1                G Maxwell - Confidential
   2    building that you would have seen when you
   3    were on the trip in Europe?
   4                   MR. PAGLIUCA:    Objection to the
   5           form and foundation.
   6           A.      I can't possibly answer that.
   7           Q.      Do you recall Virginia ever taking
   8    pictures?
   9           A.      I barely recall Virginia, period.
  10           Q.     Do you recall her ever taking
  11    pictures?
  12           A.     No, I don't.
  13           Q.     I'm going to direct your attention,
  14    still within the flight logs to -- starting
  15    on the next page from where you just were
  16    which is going to be                  And the date at
  17    the top says            you will see            and I'm
  18    directing your attention down towards the
  19    middle to the bottom where you will see the
  20    numbers
  21           A.     Uh-huh.
  22           Q.     And we've got actually I'm going to
  23    direct your attention to the one that starts
  24    with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 146 of 465


                                                                   Page 145
   1               G Maxwell - Confidential
   2    and in the line, the remarks line you will
   3    see JE, GM,
                                                    ?
   5                  MR. PAGLIUCA:     Are you reading the
   6          29th, is that what you're reading?
   7                  MS. McCAWLEY:     I'm reading the
   8          29th, yes.
   9          Q.      Below that you will see JE, GM,
  10
  11
  12                 Do you see that?
  13          A.     I do.
  14          Q.     Do you recall a trip from Teterboro
  15    to Santa Fe and Santa Fe back to Palm Beach
  16    with these individuals?
  17          A.     I don't.
  18          Q.     Do you recall being on a plane with
  19                      and Virginia Roberts?
  20          A.     I don't.
  21          Q.     Do you recall ever witnessing any
  22    sexual interaction on one of Jeffrey's planes
  23    with any of these individuals?
  24          A.     I do not, absolutely not.
  25          Q.     Did Jeffrey have a fold out bed on
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 147 of 465


                                                                   Page 146
   1               G Maxwell - Confidential
   2    one of his planes?
   3          A.      There was a bed on one of his
   4    planes that folded out, yes.
   5          Q.      Do you recall whether with respect
   6    to this being in Santa Fe, do you recall
   7    whether you were there for some form of a
   8    party?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I don't recall the trip at all and
  12    this looks like a total work trip, not a
  13    party trip.
  14          Q.     What would be the difference
  15    between a work trip and a party trip?
  16          A.     Just that I would be on trips for
  17    work and I believe that this looks like,
  18    looks like it's one of the -- probably one of
  19    the designers and the time would meet with a
  20    trip to decorate the house, just the timing
  21    of it.
  22          Q.     So would Virginia be brought on
  23    trips that were for the purpose of work and
  24    decorating the house?
  25          A.     Like I said, I never worked with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 148 of 465


                                                                    Page 147
   1                G Maxwell - Confidential
   2    her but you would have to ask Jeffrey what he
   3    brought her on the trip for.
   4            Q.     But she would travel with him when
   5    there was a work trip like this?
   6            A.     I can't -- I'm seeing that she is
   7    on this flight but I have no idea what she is
   8    doing, he invited her, it would not be my
   9    job.
  10           Q.     What about Nadia Bjorlin, would she
  11    regularly travel with Jeffrey on flights?
  12           A.     I have no idea, you would have to
  13    look through the flight logs.          I have no
  14    idea.
  15           Q.     Your recollection is -- what is
  16    your recollection, do you recollect Nadia
  17    traveling often on flights with Jeffrey?
  18           A.     Absolutely not.     No, not at all.       I
  19    don't recollect her actually on the flight at
  20    all.
  21           Q.     I think you can set that aside for
  22    the moment.
  23                  (Maxwell Exhibit 9, message pad
  24           pages, marked for identification.)
  25           Q.     We will mark as Exhibit 9 these
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 149 of 465


                                                                   Page 148
   1               G Maxwell - Confidential
   2    excerpts from -- we will identify what they
   3    are but from the message pads.
   4                  Did you want to correct anything?
   5          A.      I want to make an addendum.
   6                  Would you mind rereading the last
   7    question back to me?
   8                  (Record read.)
   9          A.      I also just want to say that at
  10    this point I cannot recollect flying to
  11    parties.     Jeffrey went for work so -- was
  12    this in Santa Fe, this flight as well.
  13          Q.     The flight we were looking at, yes
  14    but it was to Santa Fe --
  15          A.     I don't recall going to any parties
  16    in Santa Fe at any time but certainly flying
  17    to Santa Fe for a party seems highly
  18    improbable.
  19          Q.     So I'm going to direct your
  20    attention to the document that I set before
  21    you which is Bates number                    and it
  22    has different Bates numbers because it's a
  23    smaller version of the larger production.
  24    These are the pages I will be asking about.
  25                 In the time that you were working
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 150 of 465


                                                                   Page 149
   1               G Maxwell - Confidential
   2    with Jeffrey in Palm Beach, do you recall a
   3    process for taking, anybody at the house
   4    taking messages when incoming phone calls
   5    came in?
   6          A.      You are supposed to take a message
   7    and receive the message and write the message
   8    down.      Who was the message was for, what time
   9    it was taken and who took it and what the
  10    message was, obviously.
  11          Q.     Does what's in front of you look
  12    familiar with respect to the message pads
  13    that you would have used at the house?
  14          A.     It is familiar.
  15          Q.     I'm going to direct your attention
  16    to the second page of it?
  17                 MR. PAGLIUCA:      These all have SAO
  18          numbers on them or Bates ranges and I
  19          don't see any of your Bates ranges on
  20          these.    I know you have produced message
  21          pads but those have your Bates range
  22          numbers on them and I'm wondering if
  23          these are different documents.
  24                 MS. McCAWLEY:      It's the same, just
  25          ours have the Bates underneath them.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 151 of 465


                                                                   Page 150
   1                G Maxwell - Confidential
   2           These were produced as part of the rule
   3           26 discovery.     We can get the additional
   4           Bates if you want.
   5           Q.      The one I'm asking about first is
   6    the             .   You can look at that and then
   7    I will identify the Bates number referenced
   8    in this case.
   9                   I want to direct your attention to
  10    the top right-hand corner just so I have an
  11    understanding of how these messages were
  12    taken.      So I see that it says at the top it
  13    says in the for line it says Ms. Maxwell and
  14    the date of              and then I see under the
  15    M line it looks like                       or
  16    something like that, a phone number and a
  17    message saying returning your call and on the
  18    bottom it looks like
  19                  Explain to me, is this -- does this
  20    represent           taking down a message for you
  21    from                is that how these work?
  22                  MR. PAGLIUCA:     Objection to the
  23           form and foundation.       Go ahead.
  24           Q.     My question is, I'm trying to
  25    understand how the messages were taken.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 152 of 465


                                                                   Page 151
   1               G Maxwell - Confidential
   2    Looking at this message pad, where it says
   3    signed            can you tell me who               was?
   4            A.    I cannot.
   5            Q.    You do not know.
   6                  Typically when these messages were
   7    taken in your practice when you were there,
   8    would the individual who took the message
   9    write their name on the message?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     I don't recollect, you can ask who
  13    wrote it so you can find out who it was.
  14          Q.     Do you know who                     is?
  15          A.     I don't.
  16          Q.     I'm going to direct your
  17    attention -- do we have a Bates number for
  18    that?
  19                 MR. EDWARDS:
  20          Q.     Giuffre            for that one.
  21                 I will direct your attention to the
  22    first page which has the                   on it.
  23          A.     Okay.
  24          Q.     Now at the top of that document, on
  25    the right-hand side, the message that reads
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 153 of 465


                                                                   Page 152
   1               G Maxwell - Confidential
   2    for JE, date             , message
   3    and then it's signed GM.
   4                  Is that your signature?
   5          A.      That's not my handwriting.
   6          Q.      Would other people take a message,
   7    how did this process work, is there someone
   8    else in the house with the initials GM?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I cannot answer that.        It's not my
  12    handwriting.
  13          Q.     I'm trying to understand how this
  14    gets there.     If you took a message and didn't
  15    write it down, would someone else record that
  16    message for you?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     All I can tell you, this is not my
  20    handwriting so I cannot -- I have no idea
  21    what that is.
  22          Q.     Was the practice that, what was the
  23    practice when someone answered the phone with
  24    these message pads, what were they supposed
  25    to do?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 154 of 465


                                                                   Page 153
   1               G Maxwell - Confidential
   2          A.      They were supposed to take a
   3    message and the time and date and give the
   4    message.
   5          Q.      Were they supposed to indicate who
   6    took the message?
   7          A.      They were but it wasn't -- I don't
   8    really recall the actual process.           I can see
   9    from here it looks like you were supposed to
  10    but that's not my handwriting so I can't say
  11    what that was.
  12          Q.     Do you know who                        is?
  13          A.     No, I don't.
  14          Q.     Do you know whether
  15    was under the age of 18?
  16          A.     I just testified I couldn't
  17    remember who she was so it would be difficult
  18    to know how old she was.
  19          Q.     Do you know if she was coming to
  20    the house to provide massages?
  21          A.     I don't remember who she is at all,
  22    so no.
  23          Q.     And then I would like to direct
  24    your attention to the message right
  25    underneath it.      Which says JE,             ,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 155 of 465


                                                                   Page 154
   1               G Maxwell - Confidential
   2    and has a phone number and the message says,
   3    wants to know if she should bring her friend
   4             tonight.
   5                  What is that message referring to?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      I can't possibly know.
   9          Q.      Did individuals at the house take
  10    messages for underage girls to come over and
  11    bring friends for the purpose of providing
  12    massages?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     How would I possibly know what you
  16    are talking about.
  17          Q.     Did you record messages at the
  18    house?
  19          A.     It's not my job.
  20          Q.     You did from time to time record
  21    messages?
  22          A.     Hardly ever.
  23          Q.     But you did from time to time do
  24    it?
  25          A.     I'm just saying I hardly ever took
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 156 of 465


                                                                   Page 155
   1               G Maxwell - Confidential
   2    messages, very, very, very, very
   3    infrequently.
   4          Q.      Do you know if            brought her
   5    friend          over on that night?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      One, I don't know what this message
   9    is, I don't know if I was in Palm Beach, I
  10    don't know who              is, I don't know who
  11            is and I don't know what this message
  12    is referring to.
  13          Q.     So on January 2nd of 2003, were you
  14    in Palm Beach?
  15          A.     I don't know.
  16          Q.     Where would you have been other
  17    than Palm Beach at the time?
  18          A.     I could have been anywhere.
  19          Q.     Where did you typically live?
  20          A.     What are you asking me?
  21          Q.     So for example, in 2003, where was
  22    your primary residence, was it wherever
  23    Jeffrey was living and staying or was it
  24    independent of that?
  25          A.     What was the date again.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 157 of 465


                                                                   Page 156
   1               G Maxwell - Confidential
   2          Q.      In 2003?
   3          A.      The end of 2003?
   4          Q.      January, the beginning.
   5          A.      I don't know, I could have been
   6    anywhere, Jeffrey and I were leading almost
   7    separate lives by then.
   8          Q.      If you were at the house that day,
   9    did you recall seeing anybody by the name of
  10
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I don't know if I was at the house,
  14    so I can't testify to that.
  15          Q.     Let's flip back to the next page,
  16    the one we were on before the                      the
  17    message towards the bottom that says, for
  18    Jeffrey, message of Ghislaine.          And it says,
  19    Would it be helpful to have and then redacted
  20    come to Palm Beach today to stay here and
  21    help train new staff with Ghislaine.            Who
  22    were you referring to in that message; do you
  23    remember?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 158 of 465


                                                                   Page 157
   1               G Maxwell - Confidential
   2          Q.      The question is, do you recall this
   3    message?
   4          A.      I do not recall this message.
   5          Q.      Do you recall training a female
   6    under the age of 18 at Jeffrey's home?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I never trained a female under the
  10    age of 18 at Jeffrey's home.
  11          Q.     Did you ever say it would be
  12    helpful to have a female under the age of 18
  13    come to Palm Beach today to stay here and
  14    help train new staff with Ghislaine?
  15          A.     I never asked anyone under the age
  16    of 18 come to help train new staff.
  17          Q.     I'm going to flip to the next page
  18    which is             .
  19          A.     By the way, that is not my
  20    handwriting and it's not dated and I couldn't
  21    possibly tell you who that is.
  22                 Did you hear that?
  23          Q.     You got your testimony on the
  24    record.
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 159 of 465


                                                                   Page 158
   1               G Maxwell - Confidential
   2          A.      Yes.
   3                  MR. EDWARDS:       Giuffre
   4          Q.      I'm going to direct your attention
   5    to the top right-hand corner, for Mr.
   6    Epstein,             , message             a phone
   7    number and called.
   8                  Do you know who              is?
   9          A.      I don't.
  10          Q.     Do you know that              was 15 at
  11    the time she left this message?
  12                 MR. PAGLIUCA:       Objection to the
  13          form and foundation.
  14          A.     I don't know who              is.
  15          Q.     And then I'm going to direct your
  16    attention to the bottom left which is a
  17    message JE message of                  and the
  18    message says, He just did a good one, 18
  19    years, she spoke to me and said I love
  20    Jeffrey.
  21                 Was             referring to sex with
  22    an 18 year old in that message?
  23                 MR. PAGLIUCA:       Objection to the
  24          form and foundation.
  25          A.     How could I know what                   is
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 160 of 465


                                                                   Page 159
   1               G Maxwell - Confidential
   2    referring to.
   3            Q.    Do you know if               had sex
   4    with an 18 year old that he referenced to
   5    Jeffrey Epstein?
   6                  MR. PAGLIUCA:     Objection to the
   7         form and foundation.
   8            A.    How could I possibly know.
   9            Q.    Did Jeffrey Epstein or
  10    ever tell you that                 had sex with an
  11    18 year old?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     I have no idea what you are talking
  15    about.
  16          Q.     Did they ever tell you that?
  17          A.     I have no recollection of ever
  18    hearing such a ridiculous thing.
  19          Q.     I will turn to the next page which
  20    is SAO 2841?
  21                 MS. MENNINGER:      Do you have the
  22          Bates number?
  23          Q.     The bottom right-hand corner, Mr.
  24    Epstein, the date             , Ms. Maxwell, it
  25    says,           it says, quote,                 is
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 161 of 465


                                                                   Page 160
   1               G Maxwell - Confidential
   2    available on Tuesday, no one for tomorrow.
   3                  Is this a message you took?
   4          A.      It's not my handwriting and I don't
   5    know who R is.
   6          Q.      So when it says Ms. Maxwell in the
   7    line there, is that you calling for Mr.
   8    Epstein?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I didn't write it, I don't know
  12    when this message was taken.          I don't even
  13    know what it's referring to and I don't know
  14    what my name is doing on that message pad.
  15          Q.     I know you said you only took them
  16    a few times.      Do you have a recollection of
  17    taking messages of females who would call the
  18    house to indicate whether or not they were
  19    coming over?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     Give me a date range.
  23          Q.     On 7/9/04.
  24          A.     How would I know if I'm in Palm
  25    Beach, most likely not.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 162 of 465


                                                                   Page 161
   1               G Maxwell - Confidential
   2          Q.      I'm asking if you have a
   3    recollection of taking messages for girls who
   4    would call the house --
   5          A.      Girls.
   6          Q.      Females, who would call the
   7    house --
   8          A.      Over the age of 18.
   9          Q.            is 15.
  10          A.     I don't know who             is, so I
  11    can't testify anything to
  12          Q.     Your name is on the message.
  13          A.     I didn't put it there and I don't
  14    know what it's doing there.
  15          Q.     So your testimony is you didn't
  16    take this message?
  17          A.     I obviously didn't take the
  18    message, it's signed by somebody R, it's not
  19    my handwriting.        We don't know if I'm in Palm
  20    Beach.
  21          Q.     Did you arrange for             to have
  22    his friend               come over on Tuesday of
  23    this week?
  24          A.     I don't know who             is so it
  25    would be hard for me to arrange anything with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 163 of 465


                                                                   Page 162
   1                G Maxwell - Confidential
   2    someone I don't know.
   3           Q.      Why is your name reflected on this
   4    message pad?
   5                   MR. PAGLIUCA:    Objection to the
   6           form and foundation.
   7           A.      I have no idea.    You would have to
   8    ask whoever took the message.
   9           Q.      Did you, in the course of your
  10    work, regularly take messages for Jeffrey
  11    Epstein?
  12           A.     I already testified I hardly ever
  13    did.
  14           Q.     Would you, in the course of your
  15    work, regularly set up appointments for
  16    females to come over and give massages for
  17    Jeffrey Epstein?
  18                  MR. PAGLIUCA:     Objection to the
  19           form and foundation.
  20           A.     Can you specify, females, you mean
  21    adults over the age of 18.
  22           Q.     Did you regularly set up for
  23    Jeffery adults over the age of 18 to come for
  24    massages?
  25           A.     I didn't regularly do that, no.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 164 of 465


                                                                   Page 163
   1               G Maxwell - Confidential
   2          Q.      Would you take messages with
   3    respect to females over the age of 18 to come
   4    over for a massage?
   5          A.      I already testified I hardly ever
   6    did take messages.
   7          Q.      But would you?
   8          A.      I already testified, I hardly
   9    ever --
  10          Q.     I know hardly ever, but did you?
  11          A.     Over the course of time it is
  12    possible I may have taken a couple, I have no
  13    recollection.      I hardly ever did and I did so
  14    irregularly that it would hard for me to
  15    pinpoint.
  16          Q.     Did you ever take a message for a
  17    female under the age of 18 to come over for a
  18    massage or for any other reason to be with
  19    Jeffrey Epstein?
  20                 MR. PAGLIUCA:      Object to the form
  21          and foundation.
  22          A.     I hardly ever took a message.          I
  23    have absolutely no way of knowing, maybe one
  24    of my friends' daughters called to say they
  25    were coming to visit me.         I have never taken
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 165 of 465


                                                                   Page 164
   1               G Maxwell - Confidential
   2    messages, I don't know about how I would
   3    possibly know if somebody I spoke to, one or
   4    two times I took a message is, how old they
   5    would be but I have never taken a message
   6    where I was aware of anything being under the
   7    age of 18 and I probably took it so
   8    infrequently, it would be impossible.
   9          Q.      Can you turn to               , it
  10    should be the next page.
  11          A.     Uh-huh.
  12          Q.     Do you see at the top, it says, for
  13    Mr. J.     11/8/04 and then the name is
  14    redacted.     It says, I have a female for him.
  15                 Why would a minor be calling
  16    Jeffrey to say they have a female for him?
  17                 Do you know?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     First of all, I don't know that's a
  21    minor, I don't know who took the message.
  22          Q.     I will represent to you these are
  23    police reports and minor's names have to be
  24    redacted for privacy purposes?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 166 of 465


                                                                   Page 165
   1               G Maxwell - Confidential
   2          form and foundation.
   3          Q.      Do you know why a minor child would
   4    be calling Jeffrey and leaving a message to
   5    say, quote, I have a female for him?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      I can't testify anything about this
   9    message, I don't know anything about it.
  10          Q.     I'm going to direct your attention
  11    to the next page                .   If you look at
  12    the bottom left, you are going to see a
  13    message for Jeffrey, from                          , it
  14    says she doesn't have a number and left a
  15    message that she called.
  16                 Do you know who                        is?
  17          A.     I do not.
  18          Q.     Do you know that                        was
  19    13 at the time she placed this call to
  20    Jeffrey?
  21          A.     I don't know who                        is.
  22          Q.     Would Jeffrey regularly have 13
  23    year olds call and leave messages?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 167 of 465


                                                                   Page 166
   1               G Maxwell - Confidential
   2          A.      How would I possibly, these were
   3    messages taken when I was not at the house
   4    and I have no idea who they are nor how old
   5    they are nor anything.
   6          Q.      How do you know you weren't at the
   7    house on this day?
   8          A.      I was hardly at the house in 2005.
   9          Q.      So you could have been there, you
  10    just don't know?
  11          A.     In the five days I might have been
  12    there in 2005, I suppose it's possible but
  13    it's unlikely.
  14                 MR. PAGLIUCA:      Do you know why this
  15          isn't redacted if you are representing
  16          all the names of people who are underage
  17          have been redacted from these records.
  18                 MS. McCAWLEY:      I think it was -- my
  19          assumption is it was a miss by the
  20          police department.
  21          Q.     I will direct your attention to
  22          so you will skip a page and go back,
  23    it's the final page in the message pads and
  24    you will see on the top left for Jeffrey, on
  25    6/1/2005 from                         with a phone
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 168 of 465


                                                                   Page 167
   1               G Maxwell - Confidential
   2    number.      It says, quote, He has a teacher for
   3    you to teach you how to speak Russian.             She
   4    is two times eight years old.          Not blond.
   5    Lessons are free and you can have your first
   6    today if you call.
   7                  Do you know whether
   8    sent a Russian girl that was 16 years old
   9    over to Jeffrey Epstein's home?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     I do not know.
  13          Q.     Did you ever observe a Russian girl
  14    that was 16 years old come to Jeffrey
  15    Epstein's home?
  16          A.     I am not aware of any 16 year old
  17    Russian girl that I can recall in Jeffrey
  18    Epstein's home.
  19          Q.     Do you know whether Jeffrey Epstein
  20    had sex with a 16 year old Russian girl?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     I do not know.
  24                 THE VIDEOGRAPHER:       It's 12:25.
  25          This will be the end of disk 3, we are
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 169 of 465


                                                                   Page 168
   1               G Maxwell - Confidential
   2          off the record.
   3                  (Recess.)
   4            A F T E R N O O N         S E S S I O N
   5                   (Time noted:     1:21 p.m.)
   6    G H I S L A I N E          M A X W E L L,
   7    resumed and testified as follows:
   8    EXAMINATION BY (Cont'd.)
   9    MS. McCAWLEY:
  10                 THE VIDEOGRAPHER:       It's now 1:21,
  11          we're starting disk No. 4.          We are back
  12          on the record.
  13          Q.     Ms. Maxwell, before the break, we
  14    were talking about and I think it's one of
  15    the exhibits that's marked in front of you,
  16    I'm not sure of the number, but the police
  17    report that I showed you earlier today.
  18                 Now that you have knowledge of the
  19    police report and the criminal investigation
  20    with respect to Jeffrey Epstein, do you
  21    believe that Jeffrey Epstein abused any minor
  22    children?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     Can you repeat the question please
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 170 of 465


                                                                   Page 169
   1               G Maxwell - Confidential
   2    and break it down so it's more
   3    understandable.
   4          Q.      Now that you have the police report
   5    that I showed you this morning that you had
   6    an opportunity to look at.
   7          A.      You gave it to me, I did not look
   8    at it.
   9          Q.      The questions that I asked you
  10    about the police report -- you are aware
  11    there is a police report?
  12          A.     I am aware there is a police
  13    report.
  14          Q.     You are aware there was a criminal
  15    investigation of Jeffrey Epstein?
  16          A.     I am aware that there was that.
  17          Q.     Now that you are aware of those two
  18    things and having talked to Jeffrey Epstein,
  19    do you believe Jeffrey Epstein sexually
  20    abused minors?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     Can you reask the second part of
  24    that question please.
  25          Q.     Sure.   The two documents we were
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 171 of 465


                                                                   Page 170
   1               G Maxwell - Confidential
   2    talking about, the document and the
   3    investigation, you said you are aware of and
   4    after having talked to Jeffrey Epstein, do
   5    you believe Jeffrey Epstein sexually abused
   6    minors?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      What do you mean I talked to
  10    Jeffrey, you need to break the question down
  11    further.
  12          Q.     So you have the police report.
  13          A.     I do.
  14          Q.     And you are aware of the criminal
  15    investigation?
  16          A.     I am.
  17          Q.     Let's take those two things.          After
  18    knowing those two things, do you believe that
  19    Jeffrey Epstein abused minor children?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     Can you explain what you mean by
  23    the question actually.
  24          Q.     I think the question speaks for
  25    itself.     I will try again.      I will say it one
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 172 of 465


                                                                   Page 171
   1               G Maxwell - Confidential
   2    more time because I want you to be able to
   3    understand it.
   4                  Knowing that you have the police
   5    report here and knowing about the criminal
   6    investigation, do you believe that Jeffrey
   7    Epstein sexually abused minors?
   8                  MR. PAGLIUCA:     Same objection.
   9            A.    I know what you put in front of me
  10    and I know what I read.
  11          Q.     I'm asking what you believe, do you
  12    believe Jeffrey Epstein sexually abused
  13    minors?
  14          A.     I can only tell you what I read and
  15    what you showed me.
  16          Q.     I'm asking what you believe, from
  17    your own belief, do you believe that Jeffrey
  18    Epstein abused minors?
  19          A.     I can only go from what I know
  20    personally and what I know personally about
  21    what Virginia's lies talked about.           She is
  22    the only person I know that actually claimed
  23    that.    And I can say with certitude that
  24    everything Virginia said was a lie.
  25          Q.     You are aware Jeffrey Epstein was
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 173 of 465


                                                                   Page 172
   1               G Maxwell - Confidential
   2    sentenced for sexual abuse, are you aware of
   3    that?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          Q.      Are you aware that Jeffrey Epstein
   7    served time for sexual abuse of a minor?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          A.     I don't believe that's what he was
  11    sentenced for, actually.
  12          Q.     So you don't know that Jeffrey
  13    Epstein served time for sexually abusing a
  14    minor?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     I don't believe that's what he was
  18    sentenced for.
  19          Q.     Do you know that Jeffrey Epstein
  20    was convicted for procuring a minor for
  21    prostitution?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     I don't know exactly what he was
  25    convicted of.      I don't know that he was
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 174 of 465


                                                                   Page 173
   1               G Maxwell - Confidential
   2    convicted.      I know he spent time in jail.
   3          Q.      Do you know that he spent time in
   4    jail related to an issue with a minor child?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          A.      I did not know that.
   8          Q.      What did you think he was spending
   9    time in jail for?
  10          A.     I only know he went to jail for --
  11    it was alleged that he hired -- had an
  12    underage prostitute.
  13          Q.     So knowing that, do you believe
  14    that Jeffrey Epstein sexually abused minors?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     I can only tell you what he went to
  18    jail for.
  19          Q.     I'm asking what you believe.          I'm
  20    not asking what he went to jail for.            I'm
  21    asking for your belief.
  22          A.     I cannot testify to what I believe.
  23    I can only say what I have seen in the
  24    reports and I know he went to jail.
  25          Q.     You can testify to what you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 175 of 465


                                                                   Page 174
   1               G Maxwell - Confidential
   2    believe.      Do you believe --
   3          A.      I can only testify --
   4          Q.      Let me finish the question so the
   5    record is clear.
   6                  Do you believe Jeffrey Epstein
   7    sexually abused minors?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          Q.     You can answer.
  11          A.     I can only testify to what I know.
  12    I know that Virginia is a liar and I know
  13    what she testified is a lie.          So I can only
  14    testify to what I know to be a falsehood and
  15    half those falsehoods are enormous and so I
  16    can only categorically deny everything she
  17    has said and that is the only thing I can
  18    talk about because I have no knowledge of
  19    anything else.
  20          Q.     I'm not asking about Virginia.          I'm
  21    asking whether you believe that Jeffrey
  22    Epstein sexually abused minors?
  23          A.     Again, I repeat, I can only go on
  24    what I know and what I know is a falsehood
  25    based on what Virginia said.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 176 of 465


                                                                   Page 175
   1               G Maxwell - Confidential
   2          Q.      Do you believe Jeffrey Epstein
   3    sexually abused minors?
   4          A.      Again, I repeat, Virginia is a liar
   5    and based on Virginia's stories, that is
   6    what -- she lied and I can only then talk
   7    about what you've showed me in the police
   8    reports and I know he went to jail.
   9          Q.      Do you believe that Jeffrey Epstein
  10    sexually abused minors?         I'm asking about
  11    your belief.
  12          A.     Again, I just repeat, I can only
  13    go -- my belief is Virginia is a liar.
  14          Q.     What is that belief?
  15          A.     She is an absolute liar and
  16    everything she said is a lie and therefore,
  17    everything that stems from that is a lie.
  18          Q.     So do you believe that Jeffrey
  19    Epstein sexually abused minors?
  20          A.     Again -- can we move on from here?
  21          Q.     No.   You are going to answer the
  22    question.
  23          A.     I have already.
  24          Q.     No, you haven't.
  25          A.     I have.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 177 of 465


                                                                   Page 176
   1               G Maxwell - Confidential
   2          Q.      Do you believe Jeffrey Epstein
   3    sexually abused minors?
   4          A.      Again, I repeat, the only person I
   5    know who has talked about these things that I
   6    have personal -- was personally present, was
   7    Virginia and I can only talk to Virginia and
   8    she is a liar.
   9          Q.      Setting aside Virginia.       Take her
  10    out of the picture.        It's my question.
  11          A.     We are here today because of
  12    Virginia and her lies because this is a
  13    defamation suit.
  14          Q.     Setting aside Virginia, do you
  15    believe Jeffrey Epstein sexually abused
  16    minors?
  17          A.     I cannot set aside Virginia because
  18    that's why we are here and this is the only
  19    reason I am sitting here in this room and I
  20    will not set her aside and I cannot comment
  21    about anything else except her because she is
  22    the only person I actually know about.
  23          Q.     Are you refusing to answer that
  24    question?
  25          A.     I am not refusing the question.          I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 178 of 465


                                                                   Page 177
   1               G Maxwell - Confidential
   2    can only testify about Virginia who is an
   3    absolute total liar and you all know she is.
   4    She lied about her age, you know she lied
   5    about absolutely everything.          So I can only
   6    go on what I know as a liar and she is a
   7    liar, an exaggerator, a fantasist and
   8    absolutely true terrible person.
   9          Q.      I want you to listen very
  10    carefully.     I am asking you to set aside
  11    Virginia.
  12          A.     I can't set aside Virginia.
  13          Q.     I am asking you to do that for
  14    purposes of this question.
  15                 MR. PAGLIUCA:      She doesn't have to.
  16                 MS. McCAWLEY:      She can refuse to
  17          answer the question.
  18          A.     I'm not refusing to answer the
  19    question.
  20          Q.     You are refusing.
  21                 My question has nothing to do with
  22    Virginia.     Let me make the record here.          My
  23    question has nothing to do with Virginia.             I
  24    want it to be clear for the court.           My
  25    question has nothing to do with Virginia.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 179 of 465


                                                                   Page 178
   1               G Maxwell - Confidential
   2                  What I'm asking you is whether you
   3    believe Jeffrey Epstein abused minors?
   4                  MR. PAGLIUCA:     I object to the form
   5          and you made your record, she answered
   6          the question.      A fair reading of her
   7          answer is she doesn't have a belief
   8          because she doesn't have any personal
   9          knowledge.
  10                 MS. McCAWLEY:      Now you are
  11          testifying for the witness.          Let her
  12          answer the question.
  13                 MR. PAGLIUCA:      It's a fair answer
  14          to the question.
  15          A.     Again, I testified my only personal
  16    knowledge concerns Virginia and everything
  17    Virginia has said is an absolute lie, which
  18    is why we are here in this room.           If you are
  19    asking me to testify about things I have no
  20    knowledge of other than the police report
  21    that you showed me, I am not in a position to
  22    make a statement based on that because you
  23    are asking me to speculate and I cannot
  24    speculate.
  25          Q.     I'm asking you about your belief.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 180 of 465


                                                                   Page 179
   1               G Maxwell - Confidential
   2    I'm not asking you to speculate at all.             I'm
   3    asking what you believe.
   4          A.      You are asking me to speculate and
   5    I won't speculate.
   6          Q.      I'm not asking you to speculate.
   7    I'm asking what you believe.
   8                  MR. PAGLIUCA:     She answered the
   9          question and we can move on.
  10                 MS. McCAWLEY:      She hasn't answered
  11          the question.
  12                 MR. PAGLIUCA:      We are not going to
  13          engage in this debate.         She answered the
  14          question.     If you want to mark it and
  15          move to compel an answer to the
  16          question, have at it.        Okay.
  17          Q.     Ms. Maxwell, is it your belief that
  18    Jeffrey Epstein interacted sexually with
  19    minors?
  20          A.     Again, you are asking me the same
  21    type of question exactly but with different
  22    language.     Again, my only knowledge of
  23    somebody who claims these things that I have
  24    personal knowledge of is Virginia.           Virginia
  25    is an absolute liar and everything she has
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 181 of 465


                                                                   Page 180
   1             G Maxwell - Confidential
   2    said is a lie.      Therefore, based on those
   3    lies I cannot speculate on what anybody else
   4    did or didn't do because if Virginia is the
   5    example of what that story is and everything
   6    she said is false, so everything that leads
   7    from that is false.
   8          Q.     So the 30 other minor children in
   9    the police report are also telling lies about
  10    being sexually abused during massages with
  11    Mr. Epstein?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.        Counsel, can you
  14          show me in these police reports who the
  15          30 minors are?
  16                 MS. McCAWLEY:      I'm asking my
  17          question.
  18                 MR. PAGLIUCA:      You are making a
  19          representation about numbers, you are
  20          making a representation on the record
  21          about what people said or didn't say.
  22          We have no knowledge about that.           These
  23          are all redacted records so these are
  24          bad questions.       They don't lead to any
  25          admissible evidence.        It is only being
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 182 of 465


                                                                   Page 181
   1               G Maxwell - Confidential
   2          propounded to the witness to harass her.
   3          So we are done with these questions.
   4                  MS. McCAWLEY: Are you done?
   5                  MR. PAGLIUCA:     Yes.
   6          Q.      My question is, are you aware that
   7    Jeffrey Epstein was convicted of having
   8    relations with a minor child?
   9                  MR. PAGLIUCA:     She answered that
  10          question already.
  11                 MS. McCAWLEY:      I'm getting to my
  12          next question.
  13                 MR. PAGLIUCA:      Ask your next
  14          question.     Don't keep asking the same
  15          question.
  16                 MS. McCAWLEY:      You are now
  17          shouting, I want the record to reflect
  18          that you are interrupting the
  19          deposition.      I ask you to calm down,
  20          take a deep breath and please let me ask
  21          my questions.
  22                 MR. PAGLIUCA:      Your behavior is
  23          inappropriate.
  24          Q.     I will ask you again.
  25                 Do you believe that Jeffrey Epstein
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 183 of 465


                                                                   Page 182
   1               G Maxwell - Confidential
   2    interacted sexually with minors?
   3            A.    Again, I go back to this, my only
   4    actual knowledge is with Virginia and
   5    Virginia is a liar, so I can only talk to
   6    what Virginia's story and as I said before
   7    and there are so many examples, I mean
   8    thousands of examples of her lies, that that
   9    is the only thing I can talk to.
  10          Q.     Based on that you do not believe
  11    that Jeffrey Epstein sexually abused minors?
  12          A.     Again, as I said, I'm only talking
  13    to what I know, I can only talk to Virginia.
  14          Q.     So is it your belief that Jeffrey
  15    Epstein did not sexually abuse minors?
  16          A.     Again, I can only talk to what I
  17    know and I know that Virginia is a liar and
  18    that what she said is a lie.          So I can only
  19    testify to what she accused and you guys put
  20    in the press for salacious purposes and
  21    whatever terrible, inappropriate, unethical
  22    and terrible reasons you chose to do that
  23    about me and I can testify those are all
  24    lies.
  25          Q.     Do you know whether Jeffrey Epstein
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 184 of 465


                                                                   Page 183
   1                G Maxwell - Confidential
   2    sexually abused any minor children?
   3           A.      Again, I only know 1000 percent
   4    that Virginia is a liar.         I can only talk to
   5    Virginia, her lies and your inappropriate,
   6    unethical, really unattractive, terrible use
   7    of her and the way that you have abused the
   8    system, used the press for purposes that are
   9    unethical, inappropriate and appalling.
  10           Q.     Do you believe that Jeffrey Epstein
  11    used massages to lure minors to have sex with
  12    him?
  13           A.     Again, that is Virginia's
  14    testimony, which is a lie.
  15           Q.     But do you believe that?
  16           A.     Again, I refer back to Virginia.
  17           Q.     I'm asking whether you believe it
  18    or not?
  19           A.     I can only go with what I know and
  20    I know Virginia is a liar and therefore
  21    that's a lie.
  22           Q.     So you don't believe that?
  23           A.     I said, I only know that Virginia
  24    is lying.
  25           Q.     Are you aware that Jeffrey Epstein
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 185 of 465


                                                                   Page 184
   1               G Maxwell - Confidential
   2    is a registered sex offender?
   3          A.      I am.
   4          Q.      Are you aware that Jeffrey Epstein
   5    paid considerable amounts of money to settle
   6    lawsuits with the minor children that he had
   7    sexual contact with?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          A.     I have no knowledge of those
  11    issues.
  12          Q.     Why did you continue to maintain
  13    contact with Jeffrey Epstein after he pled
  14    guilty?
  15          A.     I'm a very loyal person and Jeffrey
  16    was very good to me when my father passed
  17    away and I believe that you need to be a good
  18    friend in people's hour of need and I felt
  19    that it was a very thoughtful, nice thing for
  20    me to do to help in very limited fashion
  21    which was helping if he had any issue with
  22    his homes, in terms of the staffing issues.
  23    It was very, very minor but I felt it was
  24    thoughtful in somebody's hour of need.
  25          Q.     Did he continue to pay you during
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 186 of 465


                                                                   Page 185
   1               G Maxwell - Confidential
   2    that time period?
   3          A.      I was paid a little.
   4          Q.      You were paid?
   5          A.      Yes.
   6          Q.      When you say a little, what you did
   7    mean by that?
   8          A.      I don't recall exactly the amount.
   9          Q.      So in 2009 when you left him, what
  10    were you being paid?
  11          A.     I just told you, I don't recall.
  12          Q.     Were you being paid $100,000?
  13          A.     I just don't you I don't recall.
  14          Q.     Were you paid over a million
  15    dollars?
  16          A.     I think I would remember over a
  17    million dollars.
  18          Q.     So it was under a million dollars?
  19          A.     It was under a million dollars.
  20          Q.     Was it over $500,000?
  21          A.     I just told you, it was under 500,
  22    it was an amount of money less than $500,000,
  23    less than a million dollars and I did it out
  24    of thoughtfulness and consideration for
  25    somebody who was in trouble.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 187 of 465


                                                                   Page 186
   1                G Maxwell - Confidential
   2           Q.      Did you have an attorney to consult
   3    with during the criminal investigation of
   4    Jeffrey Epstein?
   5           A.      I don't believe I did.
   6           Q.      When did you learn that a search
   7    warrant was executed for the Palm Beach
   8    house?
   9           A.      I don't recall exactly.
  10           Q.     Were you present at the house in
  11    advance of the search warrant being executed?
  12                  MR. PAGLIUCA:     Object to the form
  13           of the question.
  14           A.     I don't remember when the search
  15    warrant was executed and I don't remember the
  16    year that the search warrant was executed and
  17    whenever that was, I already testified, I was
  18    very, very infrequently at the house.            So
  19    highly unlikely but I was there a couple of
  20    days, I just don't know which days it was in
  21    relation to the police situation.
  22           Q.     Did you have a computer at the Palm
  23    Beach home that was a computer that you would
  24    use?
  25           A.     No.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 188 of 465


                                                                   Page 187
   1                G Maxwell - Confidential
   2           Q.      Was there a computer available for
   3    use in the Palm Beach house?
   4           A.      Can you be more specific.
   5           Q.      Was there anywhere in the Palm
   6    Beach house where there was a computer where
   7    you said you worked for him and there were
   8    other staff in the house, was there ever a
   9    computer in the Palm Beach mansion that was
  10    accessible by you or other staff?
  11                  MR. PAGLIUCA:     Objection to the
  12           form and foundation.
  13           A.     I stopped being regularly at the
  14    house sometime in 2003 so from 2003 to when
  15    the police search was executed, I have no
  16    memory of what there was or what there was
  17    not.    I can only testify for what was there
  18    when I was present largely.
  19           Q.     So in 2003 when you were still
  20    there, was there a computer that was
  21    accessible to you or other staff at the
  22    house?
  23                  MR. PAGLIUCA:     Objection to the
  24           form and foundation.
  25           A.     There was a desktop computer that
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 189 of 465


                                                                   Page 188
   1               G Maxwell - Confidential
   2    people could use -- just like you would use
   3    if you needed to go online to get something,
   4    that people could use.
   5          Q.      Was that on a desk that you would
   6    use in your work capacity when you were at
   7    the house?
   8          A.      It was a desk, it was a room I was,
   9    I didn't really use that computer.
  10          Q.     Were there images of naked girls
  11    whether they be under the age of 18 or over
  12    the age of 18 on that computer?
  13          A.     I have no recollection of any naked
  14    people on that computer when I was there in
  15    2003, we are talking.
  16          Q.     What about from say '99 to 2003?
  17          A.     No, I can't recollect any naked
  18    pictures.
  19          Q.     Why were the computers removed from
  20    the house before the search warrant was
  21    executed?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     I have no knowledge of anything
  25    like that.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 190 of 465


                                                                   Page 189
   1                G Maxwell - Confidential
   2           Q.      Do you know where the computers are
   3    now?
   4                   MR. PAGLIUCA:    Objection to the
   5           form and foundation.
   6           A.      I don't know what computers you are
   7    talking of and I have no idea what you are
   8    referencing.
   9           Q.      In 2003 you said there was a
  10    computer in a room on a desk?
  11           A.     Right.
  12           Q.     Do you know where that computer is
  13    now?
  14           A.     I do not.
  15           Q.     Did you take pictures of nude
  16    females in any of Epstein's homes or in and
  17    around the homes, out by the pool or anywhere
  18    like, in the Palm Beach home, the New York
  19    home, USVI home or the New Mexico home?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation.
  22           A.     Can you repeat the question.
  23           Q.     Did you take pictures of nude woman
  24    over 18 or under 18, females, in any of
  25    Jeffrey Epstein's homes, inside or outside in
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 191 of 465


                                                                   Page 190
   1               G Maxwell - Confidential
   2    or around the home?
   3          A.      I think we need to distinguish
   4    between anyone under the age of 18 and over
   5    the age of 18.
   6          Q.      We will start with, did you take
   7    pictures of nude females in or around any of
   8    Jeffrey's homes of women or females that were
   9    under the age of 18?
  10          A.     No.
  11          Q.     Did you take pictures of nude
  12    females --
  13          A.     Nude you mean with no clothing on.
  14          Q.     Or half nude, with no top on, any
  15    sort of nakedness to an individual.
  16                 In any of Jeffrey's homes, either
  17    Palm Beach, New Mexico, USVI or New York
  18    either outside by the pool, anywhere in or
  19    around those homes of females over the age of
  20    18?
  21          A.     So it is possible that I took
  22    pictures of people that were somehow semi or
  23    had some clothing on or no clothes on but at
  24    no time were any of these pictures remotely
  25    inappropriate.      They were, you could see them
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 192 of 465


                                                                   Page 191
   1               G Maxwell - Confidential
   2    in a mainstream magazine today, there would
   3    be no inappropriateness, they would be
   4    covered, concealed, you wouldn't see anything
   5    at all.
   6                  The types of -- first, I took very
   7    few and they were always by request, this was
   8    a picture you could put on your -- gift to
   9    your parent or to your grandparents to put on
  10    their mantel piece . It would be a very
  11    benign sort of attractive picture where you
  12    wouldn't see anything.
  13          Q.     Who would request those pictures?
  14          A.     From time to time, people, men and
  15    women would ask to have nice photographs of
  16    them taken.
  17          Q.     And did Jeffrey Epstein request
  18    those pictures?
  19          A.     I don't ever recall him asking me
  20    to take pictures.
  21          Q.     Did you give him pictures of naked
  22    females as a present?
  23          A.     I don't recall ever giving a
  24    present of -- I don't know why a photograph
  25    would constitute a gift.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 193 of 465


                                                                   Page 192
   1               G Maxwell - Confidential
   2          Q.      Not as a gift.
   3                  Do you recall ever giving Jeffrey
   4    Epstein pictures that you've taken of these
   5    individuals in a naked state?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      First of all, we've already
   9    established that they are not naked state
  10    photographs.
  11          Q.     A piece of them being naked as you
  12    described.
  13          A.     I said they would be attractive as
  14    you would see in mainstream magazines and
  15    those pictures could be a picture of a hand
  16    or a foot, they didn't necessarily
  17    constitute -- I know where you are headed
  18    with this and it's nowhere appropriate and
  19    it's really unattractive.
  20          Q.     I'm not headed anywhere.        I'm just
  21    asking the questions.        Did you give Jeffrey
  22    Epstein any of these pictures that you took
  23    of females in the state that you described?
  24          A.     I can't recall ever giving him
  25    pictures but it is possible that I took
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 194 of 465


                                                                   Page 193
   1               G Maxwell - Confidential
   2    pictures of people that would end up -- or a
   3    friend of his that he would have -- not naked
   4    or not inappropriate in any way, that he
   5    might have somewhere in his house.
   6          Q.      Name for me all the individuals who
   7    you took these pictures of?
   8          A.      It's entirely impossible for me to
   9    name people.      First of all, it was just -- it
  10    would not be possible, I took thousands of
  11    photos, not of people, I mostly take pictures
  12    of landscapes and things.         I have no
  13    recollection specifically of people that I
  14    took pictures of.
  15          Q.     So you can't remember, is it your
  16    testimony you can't remember one person that
  17    you took a picture of in either a naked or
  18    semi naked state?
  19          A.     I seriously cannot recall.         I just
  20    don't recall.
  21          Q.     Did you take a picture of Virginia
  22    Roberts either alone or with another
  23    individual in a naked state?
  24          A.     I have never taken, I believe, any
  25    pictures of two people in any type of
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 195 of 465


                                                                   Page 194
   1               G Maxwell - Confidential
   2    situation, naked as you describe.
   3          Q.      Did you take a picture of Virginia
   4    Roberts on her own without another individual
   5    in it in a naked state?
   6          A.      I don't recall ever taking a
   7    picture of Virginia -- naked, we are not
   8    referring to someone with no clothing on at
   9    all, we are referring to someone that could
  10    be semi clad or could have a towel or we are
  11    not referring to anything inappropriate.
  12          Q.     Was this a hobby of yours to take
  13    pictures of the type that you are describing?
  14                 MR. PAGLIUCA:      Object to the form.
  15          A.     I just testified, I didn't take
  16    pictures of many people.         My preference is
  17    pictures for landscapes and for architectural
  18    pieces.
  19          Q.     Where are those pictures today?
  20          A.     I have no idea.
  21          Q.     Do you have them in your home?
  22          A.     I do not.
  23          Q.     Do you have them on your computer?
  24          A.     I do not.
  25          Q.     What has Jeffrey Epstein told you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 196 of 465


                                                                   Page 195
   1               G Maxwell - Confidential
   2    about the allegations related to the criminal
   3    investigation that he was involved in?
   4            A.    I really can't say, not because I
   5    don't want to say but I just think of what he
   6    has said to me over the course of this time.
   7            Q.    Did he explain it to you and
   8    explain what the charges were against him?
   9            A.    I never had a detailed conversation
  10    with him, as I recall.
  11          Q.     Not detailed, just did he explain
  12    anything that was happening to him?
  13          A.     I haven't spoken to him for so
  14    long.    I can't possibly testify to what
  15    conversations I had with him over the course
  16    of time.
  17          Q.     Did he talk to you about any of the
  18    girls that were making allegations against
  19    him other than Virginia?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     You are talking about the police
  23    records again, all of that?
  24          Q.     Yes.
  25          A.     I have never had a conversation
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 197 of 465


                                                                   Page 196
   1               G Maxwell - Confidential
   2    about those things.
   3          Q.      What has Jeffrey Epstein told you
   4    about Virginia Roberts?
   5          A.      That she is a liar.
   6          Q.      What does he base that on?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      You would have to check with him.
  10    I can tell you why I think she is a liar, I'm
  11    happy to do that.
  12          Q.     Did he tell you he did not have
  13    sexual relations with Virginia Roberts?
  14          A.     I can only testify what I know.
  15          Q.     I'm asking, has he told you that he
  16    did not have sexual relations with Virginia
  17    Roberts?
  18          A.     I can only tell you what I know
  19    about Virginia Roberts, I cannot tell you
  20    what he knows about Virginia Roberts.
  21          Q.     I'm asking, did he tell you that he
  22    did not have sexual relations with Virginia
  23    Roberts?
  24          A.     All he told me is she is a liar.
  25          Q.     That's all he said about Virginia
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 198 of 465


                                                                   Page 197
   1               G Maxwell - Confidential
   2    Roberts?
   3            A.    We went through all the lies that
   4    you have sold to the papers and sold in
   5    general and we have analyzed her lies and
   6    your lies and your inappropriate behavior in
   7    detail.
   8            Q.    Did he ever say that he did not
   9    have sexual relations with Virginia Roberts?
  10          A.     I just testified that we went
  11    through all of her lies.
  12          Q.     I understand what you said.         I'm
  13    asking you a question.
  14                 Did he ever tell you that he never
  15    had sex with Virginia Roberts?
  16          A.     I don't recall whether he ever -- I
  17    don't know I ever had that question.            We
  18    focused on the lies she did say she had with
  19    him as relates to me.        I don't remember
  20    asking him about his problems with her.              I'm
  21    interested in what she says about myself.
  22          Q.     Did you also talk about what things
  23    that Virginia Roberts was saying that were
  24    true?
  25          A.     There isn't anything that she said
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 199 of 465


                                                                   Page 198
   1               G Maxwell - Confidential
   2    that was true.
   3          Q.      Nothing she said that you are aware
   4    of is true?
   5          A.      I think she is correct when she
   6    talks about what her name is.
   7          Q.      Anything else?
   8          A.      I'm sure there must be one or two
   9    other details but they are so far and few
  10    between, I would have to look in detail at
  11    all of her allegations to pinpoint what
  12    possibly could be true.
  13          Q.     Did you ever ask Jeffrey if he had
  14    sex with minors?
  15          A.     I have never been asked that
  16    question.
  17          Q.     You never asked him that question.
  18                 What analysis did Jeffrey do to
  19    determine that the statements Virginia
  20    Roberts were making were lies?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     Ask me again, please.
  24          Q.     What analysis did Jeffrey do to
  25    determine that the statements that Virginia
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 200 of 465


                                                                   Page 199
   1               G Maxwell - Confidential
   2    Roberts were making were lies?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.        And to the extent
   5          that any of this answer calls for any
   6          privileged communication, I'm
   7          instructing, with myself or another
   8          lawyer representing you or in any common
   9          interest agreement, I'm instructing you
  10          not to answer.
  11                 MS. McCAWLEY:      The court ruled she
  12          is entitled and you had to produce
  13          documents about communications with
  14          Jeffrey, that's what I'm asking about.
  15          I'm not asking about communications with
  16          lawyers.
  17          Q.     I'm asking what analysis did
  18    Jeffrey do to determine that the statements
  19    that Virginia Roberts was making were lies,
  20    if you know?
  21                 MR. PAGLIUCA:      My objection is to
  22          the extent she learned any of that
  23          information as a result of either a
  24          privileged communication from a lawyer,
  25          one of her lawyers or a privileged
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 201 of 465


                                                                   Page 200
   1               G Maxwell - Confidential
   2          communications subject to a joint
   3          defense agreement or common interest
   4          agreement, I'm telling her not to
   5          answer.     To the extent she has
   6          information outside of those things, she
   7          is permitted to answer.
   8          Q.      Do you understand?
   9                  So if it was a conversation with a
  10    lawyer which I'm not asking about, I don't
  11    want you to tell me about your conversations
  12    with lawyers.
  13                 I want you to tell me whether
  14    Jeffrey Epstein ever told you what he
  15    analyzed in order to determine which of -- of
  16    what Virginia were saying were lies?
  17          A.     I do not know what he did, no.
  18                 So you agree she is lying, Singrid.
  19          Q.     I do not agree with that and I'm
  20    asking the questions.
  21          A.     You just said her lies.
  22          Q.     I'm repeating a statement you made.
  23          Q.     Are you saying it's an obvious lie
  24    that Jeffrey Epstein engaged in sexual
  25    conduct with Virginia while Virginia was
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 202 of 465


                                                                   Page 201
   1               G Maxwell - Confidential
   2    underage?
   3            A.    I can only testify to what I saw
   4    and what I was present for, so if you are
   5    asking me what I saw then I am happy to
   6    testify.      I cannot testify to what somebody
   7    else did or didn't do.
   8            Q.    Did you issue a statement
                                    in 2015, stating that
  10    Virginia Roberts' claims were, quote, obvious
  11    lies?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          Q.     You can answer.
  15          A.     You need to reask me the question.
  16          Q.     Sure.
  17                 Did you issue a press statement
  18                                                 in
  19    January of 2015, stating that Virginia
  20    Roberts' claims were, quote, obvious lies?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     Can you ask it a different way,
  24    please?
  25          Q.     I will ask it again and you can
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 203 of 465


                                                                   Page 202
   1               G Maxwell - Confidential
   2    listen carefully.
   3                  Did you issue a press statement
   4                                                 in
   5    January of 2015, where you stated that
   6    Virginia Roberts' claims were, quote, obvious
   7    lies?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          A.     So my lawyer,
  11    instructed               to issue a statement.
  12          Q.     Today, did you say that Virginia
  13    lied about, quote, absolutely everything?
  14          A.     I said that there are some things
  15    she may not have lied about.
  16          Q.     So are you saying it's an obvious
  17    lie that Jeffrey Epstein engaged in sexual
  18    contact with Virginia while Virginia was
  19    underage?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     Can you ask the question again,
  23    please?
  24          Q.     Are you saying it's an obvious lie
  25    that Jeffrey Epstein engaged in sexual
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 204 of 465


                                                                   Page 203
   1               G Maxwell - Confidential
   2    conduct with Virginia while Virginia was
   3    underage?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          Q.      You can answer.
   7          A.      Try again, please.
   8          Q.      Are you saying that it's an obvious
   9    lie that Jeffrey Epstein engaged in sexual
  10    conduct with Virginia while Virginia was
  11    underage?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     Again, I'm telling you, first of
  15    all, it was a statement that was issued by my
  16    lawyer and -- through my lawyer                       .
  17          Q.     I understand that.       I'm asking you,
  18    are you saying that it's an obvious lie that
  19    Jeffrey Epstein engaged in sexual conduct
  20    with Virginia while Virginia was underage.
  21                 Is that a lie?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          Q.     You can answer.
  25          A.     So I cannot testify to what
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 205 of 465


                                                                   Page 204
   1               G Maxwell - Confidential
   2         and                    decided to put -- I can
   3    testify to what Virginia's obvious lies are
   4    as regards to me.       I cannot make
   5    representations about all the many lies she
   6    may or may not have told about Jeffrey.
   7            Q.    So is Virginia lying when she says,
   8    is it an obvious lie when she says that she
   9    had sex with Jeffrey Epstein while she was
  10    underage?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     Again, I'm testifying to what I
  14    know to be true.       I can only testify to all
  15    the many lies she told about me.           I cannot
  16    testify to what lies she told about somebody
  17    else.    Given she told so many about me, one
  18    can probably infer she is lying about
  19    everything.
  20          Q.     So you think she is lying when she
  21    said she had sex with Jeffrey Epstein when
  22    she was underage?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     Again, I can only talk about what I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 206 of 465


                                                                   Page 205
   1               G Maxwell - Confidential
   2    can positively say myself, not what somebody
   3    else is going to represent.
   4          Q.      When you were saying that she was,
   5    her claims of having sex with Jeffrey Epstein
   6    were obvious lies, are you saying she is
   7    lying about engaging in sexual conduct with
   8    Jeffrey Epstein when she was underage?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          Q.     You can answer.
  12          A.     Again, this was a statement that
  13    was put out from my lawyer
                                And I can only testify to
  15    the obvious lies that she says about me.             I
  16    cannot make representations about lies she
  17    says about someone else, but she lies so many
  18    times about me, one can probably infer she is
  19    lying about everything.
  20          Q.     So is she not lying when -- is she
  21    telling the truth when she says she had sex
  22    with Jeffrey Epstein when she was underage?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     Again, I don't know how else to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 207 of 465


                                                                   Page 206
   1               G Maxwell - Confidential
   2    tell you, I can only talk about what I know
   3    to be true.      What I know is her story about
   4    how she claims that initial situation
   5    happened is so egregiously false and such a
   6    giant fat enormous, repulsive, disgusting,
   7    inappropriate, vile lie, that that I can
   8    testify to.
   9            Q.    Was she lying when she said she met
  10    you at Mar-a-Lago?
  11          A.     Again I already testified I don't
  12    recall meeting her at Mar-a-Lago.
  13          Q.     We showed you a document where you
  14    said you met her at Mar-a-Lago when she was
  15    17, is that correct?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     I think I already testified to
  19    that.    What I remembered based on all the
  20    rubbish she has written and all the many
  21    articles I have read, maybe in the moment
  22    when I wrote that, have caused me to have
  23    that but on reflection I don't recall it as I
  24    sit here today.
  25          Q.     Are you saying that it was an
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 208 of 465


                                                                   Page 207
   1               G Maxwell - Confidential
   2    obvious lie that you approached Virginia
   3    while she was under age at Mar-a-Lago?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          A.      First of all, we can all agree
   7    here, all of you sitting here that the lies
   8    that you perpetrated in the press that she
   9    was 15 and we should all agree now that that
  10    is fake, a lie that was perpetrated between
  11    all of you to make the story more exciting,
  12    can we agree on that?
  13          Q.     That is not my question.
  14          A.     Can we agree she was not the age
  15    she said and you put that in the press, that
  16    is obviously, manifestly, absolutely, totally
  17    a lie.
  18                 MS. McCAWLEY:      I am going to put on
  19          the record, Ms. Maxwell very
  20          inappropriately and very harshly pounded
  21          our law firm table in an inappropriate
  22          manner.     I ask she take a deep breath,
  23          and calm down.       I know this is a
  24          difficult position but physical assault
  25          or threats is not appropriate, so no
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 209 of 465


                                                                   Page 208
   1                G Maxwell - Confidential
   2           pounding, no stomping, no, that's not
   3           appropriate,.
   4           A.      Can we be clear, I didn't threaten
   5    anybody.
   6                   MR. PAGLIUCA:    Stop, you made your
   7           record, there is no dent in the table.
   8           I don't see any chips.        Can we take a
   9           break now.
  10                  MS. McCAWLEY:     I think it's
  11           appropriate to take a break.
  12                  THE VIDEOGRAPHER:      It's 1:56 and we
  13           are off the record.
  14                  (Recess.)
  15                  THE VIDEOGRAPHER:      It's now 2:13,
  16           we're starting disk No. 5 and we are
  17           back on the record.
  18           Q.     Ms. Maxwell, how old was Virginia
  19    Roberts when you met her in Mar-a-Lago?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation.
  22           A.     I know today that she was 17 years
  23    old.
  24           Q.     Are you saying that it's an obvious
  25    lie that Virginia traveled on Jeffrey
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 210 of 465


                                                                   Page 209
   1               G Maxwell - Confidential
   2    Epstein's airplanes?
   3                  MR. PAGLIUCA:     Objection to the
   4            form and foundation.
   5            Q.    You can answer.
   6            A.    Are you referring to my statement
   7    where that says that?
   8            Q.    I'm referring to the language you
   9    use in your statement that says, obvious
  10    lies?
  11          A.     Can you read my entire statement?
  12          Q.     Sure, let me pass it out.
  13                 (Maxwell Exhibit 10, email,marked
  14         for identification.)
  15          Q.     This is Bates GM 00068 and we will
  16    mark it as -- what you have in front of you
  17    is a statement at the top.         This was produced
  18    by your counsel, it is indicated Bates No.
  19    GM 00068.     At the top the date reflects
  20    January 2, 2015 from, appears to be a
  21                         , subject line, is you and
  22    then there is a number of individuals you can
  23    see at the top that are copied on this that
  24    is sent to and bcc'd on this statement.
  25                 The statement, there are two parts
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 211 of 465


                                                                   Page 210
   1             G Maxwell - Confidential
   2    of it.    There is an opening email that says,
   3    please find an attached quotable statement on
   4    behalf of Ms. Maxwell and there is more
   5    language there and it's from                    and
   6    then it says in the body of it, Jane Doe No.
   7    3 or Jane Doe 3 is Virginia Roberts so not a
   8    new individual.      The allegations made by, and
   9    it says Victoria but I believe that means
  10    Virginia Roberts, against Ghislaine Maxwell
  11    are not true.      The original allegations are
  12    not new and have been fully responded to and
  13    shown to be untrue.        And the next paragraph
  14    says, Each time the story is retold, it
  15    changes with new salacious details about
  16    public figures and world leaders and now it
  17    is alleged by Ms. Roberts that
  18    is involved in having sexual relations with
  19    her which he denies.        Ms. Roberts claims are
  20    obvious lies and should be treated as such
  21    and not publicized as news as they are
  22    defamatory.
  23                 The last paragraph states,
  24    Ghislaine Maxwell's original response to the
  25    lies and defamatory claims remains the same.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 212 of 465


                                                                   Page 211
   1               G Maxwell - Confidential
   2    Maxwell strongly denies allegations of the --
   3    strongly denies allegations of an unsavory
   4    nature which have appeared in the British
   5    press and elsewhere and reserves her right to
   6    seek redress at the repetition of such old
   7    defamatory claims.
   8                  Are you saying that it's an obvious
   9    lie that Virginia Roberts traveled on Jeffrey
  10    Epstein's planes?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I'm saying what's an obvious lie
  14    and I think we can all agree, you just had
  15    the case tossed out by                          .   He
  16    just got removed from the case because you
  17    put him in a case that he wasn't supposed to
  18    be in so what was said about him is not true.
  19          Q.     Are you saying that it's an obvious
  20    lie that Virginia Roberts traveled on Jeffrey
  21    Epstein's plane?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     You have given me plane records
  25    that has her name on it but as I already
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 213 of 465


                                                                   Page 212
   1               G Maxwell - Confidential
   2    testified those aren't federally mandated
   3    things and I can see her name on it but
   4    that's what I -- I told you I don't recall
   5    her on any planes.
   6            Q.    Is is that one of Virginia's
   7    obvious lies?
   8            A.    There are more obvious ones.
   9            Q.    Is that one of them?
  10          A.     I can't testify to her being on a
  11    plane or not.
  12          Q.     So is that an obvious lie?
  13          A.     There are more obvious lies, like
  14
  15          Q.     I understand there are more obvious
  16    ones.    I'm asking you, is the fact that she
  17    said she traveled on Epstein's planes an
  18    obvious lie?
  19          A.     I think we can probably say because
  20    you see her name on a plane record and she
  21    went from A to B, that would not be the
  22    obvious lie that I would pick.
  23          Q.     What obvious lie were you picking
  24    when you made this statement?
  25          A.     There are so many that I would be
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 214 of 465


                                                                   Page 213
   1                G Maxwell - Confidential
   2    thrilled to go through all of them.
   3           Q.      Let's go through them.
   4                   What's the first one?
   5           A.      Her characterization of the first
   6    meeting at Mar-a-Lago.
   7           Q.      What part of that was an obvious
   8    lie?
   9           A.      The characterization that she said
  10    that she said she was accosted.           She looked
  11    like, as best as I can recall, if I met her
  12    in Mar-a-Lago as she claims, she worked at
  13    Mar-a-Lago, she claims, and her statement she
  14    worked at Mar-a-Lago, she would have been
  15    dressed as all the spa people in Mar-a-Lago
  16    would have been.       It would have been
  17    impossible to identify her as someone other
  18    than someone who worked at a spa.           She made
  19    many claims, she has been a bathroom
  20    attendant, front of house attendant, we don't
  21    know what she was, so her obvious lies are
  22    her contradictory of her own personal
  23    statements within that.
  24           Q.     So what part of her statement
  25    relating to Mar-a-Lago --
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 215 of 465


                                                                   Page 214
   1               G Maxwell - Confidential
   2          A.      I'm carrying on.
   3          Q.      I'm sorry.    I thought you were
   4    done.
   5          A.      Please.   Her statement also that
   6    she was driven by her father to Palm Beach.
   7    She was driven by her mother, as a matter of
   8    fact.      Her whole entire characterization of
   9    the first meeting with Jeffrey, as I was
  10    outside speaking to her mother.
  11          Q.     Let me stop you there, so we don't
  12    get too far ahead.       Let me make sure I
  13    understand your testimony.
  14                 The first, in the first piece when
  15    you were talking, I believe you said and
  16    correct me if I'm wrong, that her
  17    characterization of the first meeting at
  18    Mar-a-Lago was an obvious lie.
  19                 What part of that meeting was an
  20    obvious lie?
  21          A.     By her own testimony, all her
  22    various many different descriptions of what
  23    she was or wasn't or where she was or wasn't,
  24    they have all changed.        She was either front
  25    of house or bathroom attendant.           I don't know
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 216 of 465


                                                                   Page 215
   1               G Maxwell - Confidential
   2    what she was, so just by her own words, one
   3    doesn't know what's true and what isn't true.
   4          Q.      Are you saying what position she
   5    said she was working in, is that what you are
   6    considering the obvious lie?
   7          A.      I said inconsistency within her own
   8    statement from everything, so in the
   9    beginning it starts off with different
  10    statements.
  11          Q.     Then I believe you said the second
  12    piece was that she was driven by her father?
  13          A.     I said she was driven by her
  14    mother.
  15          Q.     That's the obvious lie?
  16          A.     It's an obvious lie to me.
  17          Q.     You said why don't you state it in
  18    your own words but the characterization of
  19    how she was with Jeffrey, what about that is
  20    an obvious lie?
  21          A.     I was standing outside talking to
  22    her mother so the entire story is a
  23    fabrication.
  24          Q.     Did she not have sex with Jeffrey
  25    Epstein during that first massage?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 217 of 465


                                                                   Page 216
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      I was talking to her mother so...
   5          Q.      Do you know whether that's an
   6    obvious lie, whether she had sex in that room
   7    or not?
   8          A.      Her story about what happened --
   9    let's also be -- the story as first hit the
  10    press was that somebody else led her to
  11    Jeffrey's room, it was not me and then it
  12    turned to being me so we have an obviously
  13    important inconsistency, lie in my -- that's
  14    how I would characterize a lie.           It cannot be
  15    me or somebody else, it can only be one or
  16    the other.
  17          Q.     Who is the other person she said
  18    took her to the room?
  19          A.     Why don't you ask her.
  20          Q.     I'm asking you.
  21          A.     How would I possibly know.
  22          Q.     You are saying that's a lie.
  23          A.     It was a lie in the papers, she
  24    said it in the newspaper, it was in the
  25    newspaper.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 218 of 465


                                                                   Page 217
   1               G Maxwell - Confidential
   2          Q.      How do you know she wasn't
   3    identifying you?
   4          A.      She said somebody.
   5          Q.      How do you know that somebody
   6    wasn't you?
   7          A.      Why did it suddenly become me, why
   8    not say it was me and be done with it.
   9          Q.      So it's a lie because she
  10    originally may not have named you and then
  11    named you later?
  12          A.     It's obviously inconsistent to
  13    somebody who wasn't me.
  14          Q.     How do you know it wasn't you?
  15          A.     I know it wasn't me because I was
  16    talking to her mother.
  17          Q.     But she then named you, is what you
  18    are saying?
  19          A.     That's an obvious lie.
  20          Q.     She named you?
  21          A.     It's an obvious lie because I
  22    wasn't even in the house.
  23          Q.     Is it an obvious -- who did lead
  24    her up to Jeffrey's room while you were
  25    talking to her mother?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 219 of 465


                                                                   Page 218
   1                G Maxwell - Confidential
   2            A.     You would have to ask Virginia, I
   3    don't know if she was led up to his room.
   4            Q.     You were standing with the mother,
   5    is that correct?
   6            A.     That's correct.
   7            Q.     Who was working at the house that
   8    day?
   9            A.                                  .
  10           A.     Would                typically lead
  11    someone up to the room where Jeffrey was
  12    having a massage?
  13           A.     I don't know she was led up to the
  14    room to have a massage.
  15           Q.     She would have found her way on her
  16    own?
  17           A.     I would suggest that that entire
  18    story never happened at all in any of its
  19    form.
  20           Q.     If you stood outside with the
  21    mother, what did you think happened inside
  22    then?
  23           A.     I believe that somebody, it wasn't
  24    me,                   probably took her to meet
  25    Jeffrey Epstein
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 220 of 465


                                                                   Page 219
   1               G Maxwell - Confidential
   2                                            .
   3          Q.      Did Jeffrey tell you that?
   4          A.      No but that would have been a
   5    normal interaction.        I don't believe for a
   6    second -- I know her entire characterization
   7    didn't happen because I was outside talking
   8    to her mother the entire time.
   9          Q.      Why would she have come for a
  10    massage and not given a massage?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     We are talking about her
  14    characterization of the first time that she
  15    came to the house.
  16          Q.     If I'm following you correctly,
  17    you're saying she walked in and would have
  18    gone to -- it's your assumption she would
  19    have gone and talked to Jeffrey and left?
  20          A.     When I was working for Jeffrey,
  21    typically he would meet someone before
  22    getting a massage from them to see if he
  23    wanted to have a massage from them,
  24    typically.
  25          Q.     So he would not have someone come
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 221 of 465


                                                                   Page 220
   1                G Maxwell - Confidential
   2    up to the room and start a massage?
   3           A.      He would not.
   4           Q.      So the young girls in the police
   5    report who say they came over and were led up
   6    to the room on the first day, would they be
   7    wrong about that?
   8                   MR. PAGLIUCA:    Objection to form
   9           and foundation.
  10           A.     I can't comment what happened when
  11    I was not at the house.         I can only comment
  12    when I was at the house.
  13           Q.     Was there ever a time where a woman
  14    came to the house for the first time to give
  15    a massage and Jeffrey had the massage that
  16    day?
  17                  MR. PAGLIUCA:     Objection to the
  18           form and foundation.
  19           A.     Can we talk about adult
  20    professional masseuses, please?
  21           Q.     I'm asking, whether adult or
  22    underage?
  23           A.     I'm not interested in talking about
  24    underage.      I can only testify to what I know,
  25    professional masseuses, adult, I cannot
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 222 of 465


                                                                   Page 221
   1               G Maxwell - Confidential
   2    testify to anything else.
   3          Q.      Why can't you testify to an
   4    underage girl that came over and was led up
   5    to the room for a massage?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      The police records you are
   9    referring to?
  10          Q.     You are saying that didn't happen.
  11    You're saying I can only testify to adults
  12    that came for an interview and were led up to
  13    the room.     Why can't you testify to whether
  14    an underage girl was brought in for an
  15    interview and led up --
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          Q.     Go ahead.
  19          A.     Can you reask the question.
  20          Q.     Why can't you testify as to an
  21    underage girl who came over for an interview
  22    and then was then led up to the room for the
  23    massage?
  24          A.     You've mangled your entire
  25    question.     Can you please reask that in a way
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 223 of 465


                                                                   Page 222
   1               G Maxwell - Confidential
   2    that I can answer it correctly?
   3            Q.    Why can you not testify as to
   4    whether an underage girl, you said you can
   5    testify as to females that were over the age
   6    of 18, why can't you testify as to whether an
   7    underage girl came over for an interview and
   8    on the same day --
   9            A.    I don't know what you mean by
  10    interview.
  11          Q.     You just said that Jeffrey Epstein
  12    interviewed, it was your word, interviewed
  13    the masseuses before they gave massages, is
  14    that correct?
  15          A.     The word interview is making me --
  16    I'm English, so you could have some
  17    difficulty understanding the way I
  18    communicate.
  19          Q.     I'm using your word.
  20          A.     Then I will reuse it a different
  21    word.    He would meet them because receiving a
  22    massage is something you want to make sure
  23    you are comfortable with the person and so
  24    interview is not the correct word but you
  25    would meet them to have a conversation with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 224 of 465


                                                                   Page 223
   1               G Maxwell - Confidential
   2    them to see if you want to have a massage
   3    with that person.
   4          Q.      Did Jeffrey Epstein ever meet an
   5    underaged girl and on the same day receive a
   6    massage from that girl?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I can't possibly testify to what
  10    happened after I was not at the house.
  11          Q.     If you are aware, at any time you
  12    were at the house, did you ever see that?
  13                 MS. MENNINGER:      Let her finish the
  14          question.
  15          A.     I can only testify to people who
  16    were adult professional masseuses who came to
  17    the house.     I cannot testify to something I'm
  18    not party to and don't know about.           I can
  19    only testify to what I saw.          So when
  20    professional adult masseuse, male and/or
  21    females would come to the house, typically
  22    when I was there, typically he would meet
  23    with them prior, to have a conversation with
  24    them about their experience, whatever, to
  25    decide whether it would then A, if he had
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 225 of 465


                                                                   Page 224
   1               G Maxwell - Confidential
   2    time for a massage at that time or B, whether
   3    he could have a massage at that moment.
   4          Q.      Was Virginia an adult when she came
   5    over, was she over 18?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      I think we established, as of
   9    today, we are all aware, everyone in this
  10    room that she was 17.
  11          Q.     So you have been present when a
  12    minor was brought over for a massage for
  13    Jeffrey?
  14          A.     Can I say, as you are able to have
  15    a massage at 17, so she came as a masseuse.
  16          Q.     I'm not saying whether or not you
  17    are able to.      I'm saying you've been present
  18    at Jeffrey's home when an underage minor has
  19    come over to give him a massage?
  20          A.     That's just not how that works.
  21    You are able to be a masseuse at 17 so she
  22    came to give -- for a massage, at 17 you are
  23    able to come and give a massage.
  24          Q.     I'm not asking whether she is able
  25    to do it.     I'm asking whether you were
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 226 of 465


                                                                   Page 225
   1               G Maxwell - Confidential
   2    present at the home when a girl under the age
   3    of 18 came over for the purposes of giving a
   4    massage?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          Q.      You can answer.
   8          A.      You can be a professional masseuse
   9    at 17 in Florida, so as far as I am aware, a
  10    professional masseuse showed up for a
  11    massage.     There is nothing inappropriate or
  12    incorrect about that and your
  13    mischaracterization of it, I think is
  14    unfortunate.
  15          Q.     How many teenagers did he have that
  16    were professional masseuses that worked in
  17    his home?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          Q.     How many?
  21          A.     First of all, I am not aware of
  22    teenagers who worked in his home.
  23          Q.     You are aware of Virginia Roberts
  24    and you've stated she was 17 and she worked
  25    for him, correct?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 227 of 465


                                                                   Page 226
   1               G Maxwell - Confidential
   2          A.      No.   I did not state that at all,
   3    you are mischaracterizing my words and what I
   4    said.
   5                  What I said was that we can all
   6    agree and I think at this point there is not
   7    one person in this room, however much you
   8    would like her to be younger, to say she was
   9    not 17 because that has been a very offensive
  10    thing that you have all done.          So she was 17.
  11    At 17 you are allowed to be a professional
  12    masseuse and as far as I'm concerned, she was
  13    a professional masseuse.         There is nothing
  14    inappropriate or incorrect about her coming
  15    at that time to give a massage.           Her entire
  16    characterization of her first time at the
  17    house was to me an obvious lie, given it was
  18    impossible for her entire story to take place
  19    given I was speaking to her mother the entire
  20    she was at the house.
  21          Q.     So it was impossible that day, that
  22    first day she came and you were speaking to
  23    the mother, for Virginia Roberts to have had
  24    sex with Jeffrey Epstein during the time that
  25    you were outside with her mother?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 228 of 465


                                                                    Page 227
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      You, again, are completely
   5    mischaracterizing.       I can only testify to
   6    what I heard obvious lies about me and her
   7    obvious lies about me are that she, as you
   8    put out to the papers and every other which
   9    way, went upstairs with her, didn't happen.
  10    So that to me is an absolute, obvious lie.              I
  11    also don't believe that her -- her
  12    mischaracterization of the length of time she
  13    was there because as I recall, she just met
  14    with Jeffrey and then left with her mother.
  15    That's my recollection.
  16          Q.     So you were standing outside the
  17    entire time that Virginia was in the house,
  18    is that correct?
  19          A.     That is correct.
  20          Q.     So can you testify as to whether or
  21    not, do you know either from Jeffrey or any
  22    other source whether or not Virginia Roberts
  23    had sex with Jeffrey on that first day that
  24    she was at the house?
  25          A.     We can categorically state,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 229 of 465


                                                                   Page 228
   1                G Maxwell - Confidential
   2    absolutely 1000 percent that she did not have
   3    any type of sexual relations as described by
   4    you in your court papers that took place
   5    because those allegedly according to her lies
   6    involved some aspect of me.
   7                   As I was standing outside with her
   8    mother the entire time, her entire story is a
   9    lie.    Therefore, to ask me what she did or
  10    didn't do during that time, I can only
  11    testify to what she said about me, which was
  12    1000 percent false.
  13           Q.     So let's not take the first time,
  14    let's take the next time she comes.
  15           A.     No no, how can do you that, when
  16    the basis of this entire horrible story that
  17    you have put out is based on this first
  18    appalling story that was written, repeated,
  19    multiply by the press that lied about her
  20    age, lied about the first time she came, lied
  21    about and characterized the entire first
  22    time.    I have been so absolutely appalled by
  23    her story and appalled by the entire
  24    characterization of it and I apologize
  25    sincerely for my banging at the table
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 230 of 465


                                                                   Page 229
   1               G Maxwell - Confidential
   2    earlier, I hope you accept my apology.             It's
   3    borne out of years of feeling the pressure of
   4    this entire lie that she has perpetrated from
   5    our first time and whilst I recognize that
   6    was -- I hope you forgive me sincerely
   7    because it was just the length of time that
   8    that terrible story has been told and retold
   9    and rehashed when I know it to be 100 percent
  10    false.
  11          Q.     So not the first time she came, but
  12    the second time she came or the third time or
  13    any time she came, did you ever participate
  14    in a massage with her in Jeffrey Epstein's
  15    room?
  16          A.     I have never participated at any
  17    time with Virginia in a massage with Jeffrey.
  18          Q.     Have you ever participated at any
  19    time with Virginia in any kind of sexual
  20    contact or sexual touching with Jeffrey and
  21    Virginia?
  22          A.     I have not.
  23          Q.     So we were going through the list
  24    of obvious lies and you were talking about
  25    the first time which I believe we have
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 231 of 465


                                                                   Page 230
   1               G Maxwell - Confidential
   2    completed but you can add to that if you need
   3    to.
   4                  What other obvious lies did
   5    Virginia Roberts tell that you were referring
   6    to in your statement?
   7          A.      Oh my goodness.     Well, I think we
   8    can totally cover the                 story, the
   9    story that I flew him with                           and
  10    there was a dinner with other people and that
  11    entire thing is 100 percent fictitious.             I
  12    have testified for the record and I'm happy
  13    to do it again, that I have never flown
  14                myself as a pilot in a helicopter at
  15    any time, anyplace, at any time, to any part
  16    of the world.
  17          Q.     What other obvious lies were you
  18    referring to?
  19          A.     She was referring to               , she
  20    is referring to a bunch of people.           I don't
  21    believe             ever came to the island at
  22    any time ever.      I don't even know
  23    actually.
  24          Q.     Just one moment, I want to hear all
  25    of them, but when you say you don't believe
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 232 of 465


                                                                   Page 231
   1               G Maxwell - Confidential
   2               ever came to the island, do you know
   3    whether             ever came to the island?
   4          A.               never came to the island.
   5          Q.      How do you know that?
   6          A.      Jeffrey doesn't know him, I don't
   7    know him and I think had                  -- I don't
   8    think -- had               gone to the island
   9    during the period when I would have been
  10    involved in organizing a trip, I would have
  11    been aware of it.
  12          Q.     So go ahead, you had another one.
  13          A.     It would be easier if I could see,
  14    do you mind if a take a reference at some of
  15    these newspaper articles or you just want me
  16    to go from memory.
  17                 Her entire characterization of what
  18    took place in London at my house with
  19
  20          Q.     Was it an obvious lie that she was
  21    at your house in London?
  22          A.     We can't really establish the
  23    photograph and all that.         I don't know if
  24    that's true, if that's a real picture or not.
  25          Q.     So you dispute that you were
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 233 of 465


                                                                   Page 232
   1               G Maxwell - Confidential
   2    actually photographed in your town home in
   3    London --
   4          A.      I don't recognize that picture.
   5    I'm not sure if that's a real picture or not.
   6          Q.      And have you talked to
   7             about that picture?
   8          A.      We discussed Virginia's entire tail
   9    and he asked me if he even knew her.
  10          Q.     So did                    tell you that
  11    he did not have sex with Virginia Roberts?
  12          A.     He doesn't even know who Virginia
  13    Roberts is.
  14          Q.     Did he tell you that he didn't have
  15    sex with her?
  16          A.     It would be difficult to have sex
  17    with someone you don't know.
  18          Q.     He may not remember her?
  19          A.     I think the inference is he didn't
  20    know who she was, he didn't have any
  21    recollection of her whatsoever.
  22          Q.     Has                   ever come to your
  23    London town home?
  24          A.     Yes.   Ever being the entire time I
  25    owned my house, yes.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 234 of 465


                                                                   Page 233
   1               G Maxwell - Confidential
   2                  Can I go on on her obvious lies?
   3          Q.      If you have more.
   4          A.      I have -- her entire
   5    characterization -- I took her shopping into
   6    Burberry and bought her a very expensive
   7    dress and if this photo were real and if this
   8    is -- I would never -- the outfit doesn't
   9    work at all so --
  10          Q.     Do you not remember taking her
  11    shopping or are you saying it's an obvious
  12    lie, you know you did not take her shopping?
  13          A.     I did not take her shopping.          I did
  14    not by her a $5,000 handbag.
  15          Q.     Did Jeffrey by her a $5,000
  16    handbag?
  17          A.     Her accusation was that I did.
  18          Q.     Do you know if Jeffrey bought her a
  19    handbag during that trip to London?
  20          A.     I don't know what he did.         She
  21    accused me, I can't physically remember
  22    buying a $5,000 not for her, not for anyone,
  23    not for me.
  24          Q.     Did you ever go shopping with
  25    Virginia?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 235 of 465


                                                                   Page 234
   1               G Maxwell - Confidential
   2          A.      I don't recall ever shopping with
   3    Virginia.
   4          Q.      Did you have more to go over or did
   5    you want me to ask my questions?
   6          A.      The entire characterization of what
   7    took place in my house in London would have
   8    been impossible.
   9          Q.      Can I ask, do you still have it,
  10    the picture of the London town home with you
  11    in it, Giuffre 00407.
  12                 As you are looking at this picture,
  13    Ms. Maxwell, as I'm looking at it it's on the
  14    right-hand side, there appears to be a
  15    picture hanging on the wall, do you recall
  16    that in your London town home?
  17          A.     It's a little difficult to see.
  18          Q.     Do you recall having a picture on
  19    the wall there by the room where you're
  20    standing?
  21          A.     I do have a picture.
  22          Q.     Do you recall on the left-hand side
  23    having a railing that looks like that with
  24    sort of a bubble wood top?
  25          A.     I do.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 236 of 465


                                                                    Page 235
   1                G Maxwell - Confidential
   2           Q.      So are you saying that it's an
   3    obvious lie that Virginia's statement that
   4    she had sex with                       is an obvious
   5    lie?
   6           A.      What I'm representing is that her
   7    entire ludicrous and absurd story of what
   8    took place in my house is an obvious lie.
   9           Q.      Including she had sex with
  10
  11           A.     She claimed things took place in my
  12    bathroom in London.        Her characterizations is
  13    just not possible.
  14           Q.     So you're saying it's an obvious
  15    lie -- that she was telling an obvious lie
  16    when she said she had sex with                          ?
  17                  MR. PAGLIUCA:     Objection to the
  18           form and foundation.       The witness
  19           answered the question.
  20           A.     I'm saying within the context of
  21    all the stories she told, this particular
  22    story -- back up, she claimed we went out at
  23    night.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 237 of 465


                                                                   Page 236
   1                G Maxwell - Confidential
   2                                .   She characterized
   3    that                                    .
   4                         .
   5                   She then characterized things took
   6    place in my bathroom in the bathtub itself.
   7    The tub is too small for any type of activity
   8    whatsoever.
   9           Q.


  11           A.


  13           Q.     That would be
  14
  15           A.     Yes.
  16           Q.     Are you saying that it was an
  17    obvious lie when Virginia said that you made
  18    her dress up in a school girl outfit?
  19                  MR. PAGLIUCA:     Objection to the
  20           form and foundation.
  21           A.     I already testified that, first of
  22    all, I don't know what you are taking about,
  23    I already testified I didn't get her outfits
  24    and all of that.
  25           Q.     Is it an obvious lie that Virginia
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 238 of 465


                                                                   Page 237
   1               G Maxwell - Confidential
   2    was paid to go to give a massage to
   3                               ?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          A.      I cannot testify to what Virginia
   7    did outside of -- I can't testify to what she
   8    did, who she gave massages to.
   9          Q.      So you don't know on that one?
  10          A.     Of course I don't know.
  11          Q.     Do you agree that it's
  12    psychologically harmful to have sex with a
  13    minor?
  14                 MR. PAGLIUCA:      Objection to form
  15          and foundation.
  16          A.     What are you asking me?
  17          Q.     I'm asking if is it psychologically
  18    harmful for an adult to have sex with a
  19    minor?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I don't know what you are asking.
  23    This has nothing to do with Virginia Roberts.
  24          Q.     It does.
  25          A.     How does it?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 239 of 465


                                                                   Page 238
   1               G Maxwell - Confidential
   2            Q.    I ask the questions, you answer.
   3    If you can't answer, you can say I don't
   4    know.
   5                  But my question is, do you agree
   6    that it's psychologically harmful to have sex
   7    with a minor?
   8                  MR. PAGLIUCA:     Objection to the
   9            form and foundation.
  10          A.     Are you giving me a random question
  11    and as not relates to this case and not
  12    relates to anything.        It's obviously not
  13    something that you want to have happen.
  14          Q.     Do you agree that Jeffrey Epstein
  15    has harmed many minors by having sex with
  16    them?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I can't testify to what Jeffrey did
  20    or didn't do.      I have no knowledge of what
  21    you are asking me.
  22          Q.     If Jeffrey had sex with minors,
  23    would you agree that that could harm a minor?
  24                 MR. PAGLIUCA:      Object to the form
  25          and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 240 of 465


                                                                   Page 239
   1               G Maxwell - Confidential
   2          A.      Again, I am not testifying to what
   3    Jeffrey did or did not do because I cannot.
   4          Q.      You don't know whether Jeffrey
   5    Epstein ever had sex with a minor?
   6          A.      Again, I cannot testify to what
   7    Jeffrey did or didn't do.         I cannot.
   8          Q.      You never observed him having sex
   9    with a minor?
  10          A.     I never observed Jeffrey having sex
  11    with a minor.
  12          Q.     Do you agree that calling a sex
  13    abuse victim a liar when she speaks about her
  14    abuse can cause psychological harm?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     Can you repeat the question.
  18          Q.     Do you agree calling a sex abuse
  19    victim when she speaks about her abuse can
  20    cause psychological harm?
  21                 MR. PAGLIUCA:      Objection to form
  22          and foundation.
  23          A.     Say it again.
  24          Q.     Do you agree that calling a sexual
  25    abuse victim a liar can cause psychological
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 241 of 465


                                                                   Page 240
   1               G Maxwell - Confidential
   2    harm.
   3                  MR. PAGLIUCA:     Object to the form
   4          form and foundation.
   5          A.      I would like to say all the
   6    terrible things Virginia Roberts said about
   7    me is extremely harmful and you should turn
   8    that around.      All the lies she has said and
   9    you have backed her on have been extremely
  10    damaging to me.
  11                 So what I can testify to is that
  12    somebody who has made these outrageous
  13    allegations and who is a serious liar and
  14    that I know for a fact is a liar, that I can
  15    testify is damaging to me.
  16          Q.     Do you agree that calling a sexual
  17    abuse victim a liar when she speaks out about
  18    her abuse can cause psychological harm?
  19                 MR. PAGLIUCA:      Are you asking a
  20          hypothetical question?
  21                 MS. McCAWLEY:      Yes.
  22          A.     You are asking me to speculate?
  23          Q.     I'm not asking you to speculate .
  24    If somebody is a sexual abuse victim --
  25          A.     I can't testify to what some random
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 242 of 465


                                                                   Page 241
   1               G Maxwell - Confidential
   2    hypothetical person that you are asking me to
   3    speculate on their mental state or health
   4    versus speculative statement.          I can't do
   5    that, that's just not right.
   6            Q.    Do you agree that by calling
   7    Virginia Roberts a liar when she was subject
   8    to sexual abuse by Jeffrey Epstein can cause
   9    psychological harm?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.        Assumes facts not
  12          in evidence.
  13          A.     I can only tell you about what I
  14    know of Virginia's lies.         She lied
  15    repeatedly, often and I know for a fact she
  16    is a liar so I can only testify to what I
  17    know and the fact that she has lied about me
  18    from the beginning to the end and repeatedly
  19    causes me to question anything that she may
  20    feel.
  21          Q.     Is it an obvious lie you had sex
  22    toys in Jeffrey Epstein's Palm Beach house?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     Can you repeat the question,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 243 of 465


                                                                   Page 242
   1                G Maxwell - Confidential
   2    please?
   3            Q.     Is it an obvious lie that you had
   4    sex toys in Jeffrey Epstein's Palm Beach
   5    house?
   6                   MR. PAGLIUCA:    Objection to the
   7            form and foundation.
   8            A.     Did Virginia say that?
   9            Q.     I'm asking you a question.
  10                  Is it an obvious lie that you had
  11    sex toys in Jeffrey Epstein's house?
  12           A.     I don't recall any sex toys.
  13           Q.     If someone said had you sex toys,
  14    would that be an obvious lie?
  15                  MR. PAGLIUCA:     Objection to the
  16           form and foundation.
  17           A.     Like I said -- can you be more
  18    specific about the house or whatever, what
  19    exactly you are referring to, what's a sex
  20    toy?
  21           Q.     Yes.    How would you define a sex
  22    toy?
  23           A.     No.    I need you to define a sex
  24    toy, I don't have enough knowledge of sex
  25    toys.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 244 of 465


                                                                   Page 243
   1               G Maxwell - Confidential
   2          Q.      I will define it based on the
   3    dictionary's definition, which is an object
   4    or device used to sexually stimulate or
   5    enhance sexual pleasure.
   6          A.      What's your question, please?
   7          Q.      The question is, is it an obvious
   8    lie that you had sex toys in Jeffrey
   9    Epstein's Palm Beach house?
  10                 MR. PAGLIUCA:      Same objection.
  11          Q.     You can answer.
  12          A.     Like I said, I do not have any
  13    recollection of sex toys in Jeffrey's house.
  14          Q.     Is it a lie, is it an obvious lie
  15    that you took pictures of nude girls?
  16                 MR. PAGLIUCA:      Object to the form
  17          and foundation.
  18          A.     We already covered this.        Girls we
  19    are not referring to -- I can only testify to
  20    taking pictures of adult people and I already
  21    testified they are not nude, per se.            That
  22    every picture that I ever took and which they
  23    were very limited, always by request, the
  24    people would be covered or it would be a hand
  25    or a foot.     There was never any pictures that
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 245 of 465


                                                                   Page 244
   1               G Maxwell - Confidential
   2    I took of people would only have been
   3    mainstream type magazine type photos and any
   4    photos I took could have been very happily
   5    and expected to be displayed on your parents'
   6    mantel piece or grandparents' mantel piece.
   7          Q.      Is it a lie that you approached
   8    females to bring them to Jeffrey Epstein?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     Please ask the question, again.
  12          Q.     Sure.   Is it a lie that you
  13    approached females to bring them to Jeffrey
  14    Epstein?
  15          A.     I don't know what you are asking
  16    me.
  17          Q.     I'm asking you, if it's a lie that
  18    you approached females to bring them to
  19    Jeffrey Epstein?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     You are not asking me a good
  23    question, sorry.
  24          Q.     You don't get to choose the
  25    questions.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 246 of 465


                                                                   Page 245
   1               G Maxwell - Confidential
   2          A.      I would like to answer your
   3    questions but you are not asking me a
   4    question that I can answer.
   5          Q.      What about that is causing you
   6    pause where you can't answer the question?
   7          A.      You are trying to trap me and
   8    that's not fair, so I already testified that
   9    I hire people across the board, so I would
  10    hire architects, decorators, pool people,
  11    exercise instructors, gardeners, cooks,
  12    chefs, cleaning people.         So I, in the course
  13    of a very long time when I would hire people
  14    I hired people to work for Jeffrey.            So I'm
  15    happy to testify to hiring people for every
  16    possible conceivable proper job that you
  17    could conceive of within the context of
  18    Jeffrey's life and homes.
  19          Q.     Is it a lie that you approached
  20    females to bring them to Jeffrey Epstein for
  21    the purpose of performing massages?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     Again, I have already testified
  25    that part of the job that I had was to hire
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 247 of 465


                                                                   Page 246
   1               G Maxwell - Confidential
   2    lots of different types of people.           In terms
   3    of whatever -- very small part of my job,
   4    Jeffrey enjoyed getting massages.           I think
   5    that is something we can all agree in this
   6    room and within the context of that, very
   7    infrequently I would go to spas and myself
   8    happily receive a professional nonsexual
   9    massage from a man and/or from a woman and if
  10    that massage was something that I thought was
  11    something that was good, I would ask if that
  12    man or woman would come back and does home
  13    visits.     If that person said that they did,
  14    they would sometimes come, from time to time,
  15    not always, come back to the house to perform
  16    a nonsexual professional male or female
  17    massage.
  18          Q.     Were any of the exercise
  19    instructors you hired under the age of 18?
  20          A.     Again, I don't hire, we've already
  21    established that I don't hire people.            I
  22    interview people to see if they are competent
  23    in the job that they do and/or whether they
  24    are someone who seemed that they can do home
  25    visits.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 248 of 465


                                                                   Page 247
   1               G Maxwell - Confidential
   2                  At the point where I think that
   3    there is somebody that has, can be either
   4    whatever the job may be, pool, gardener, chef
   5    and/or exercise instructor and I think they
   6    could be good at whatever it is at whatever
   7    skill that they had and they did a home visit
   8    which would obviously be mandatory and Mr.
   9    Epstein would meet with them and decide if he
  10    wanted to have whatever skill it was that he
  11    would do it and then he would then either
  12    have them come back or hire them.
  13          Q.     Were there any exercise instructors
  14    that worked at the home that were under the
  15    age of 18?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     Again, I keep coming back to this,
  19    that the people that I employed or -- not the
  20    right word, the people I would meet to come
  21    and work at the house, under any guise
  22    whatsoever, again, from any of the many
  23    positions that I filled, were all over --
  24    were adults.
  25          Q.     When you say adults, over the age
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 249 of 465


                                                                   Page 248
   1               G Maxwell - Confidential
   2    of 18?
   3          A.      I think we can establish what adult
   4    would be.
   5          Q.      You never interviewed or I know you
   6    don't want to use the word hired, whatever
   7    your role was, you brought in an exercise
   8    instructor that was under the age of 18 to
   9    work at the house?
  10                 MR. PAGLIUCA:      Object to the form
  11          and foundation.
  12          A.     I have already testified that what
  13    I was responsible for was to find people who
  14    had competencies in whatever area I was
  15    looking for.      The competencies I was looking
  16    for were professional and adult.
  17          Q.     So there was no exercise instructor
  18    that worked at the Palm Beach house or the
  19    New York house or the New Mexico house or the
  20    USVI under the age of 18?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     I can only testify to when I was at
  24    the house.
  25          Q.     Yes.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 250 of 465


                                                                   Page 249
   1               G Maxwell - Confidential
   2          A.      I can only testify to the years
   3    when I was present.
   4          Q.      Right.
   5          A.      And I can also only testify to
   6    people I personally either met and/or worked
   7    with and/or invited, to find the correct
   8    word, I don't know what the correct word is,
   9    to come to do exercise or whatever it was at
  10    the house.
  11                 Of the people that I, male and/or
  12    female that I brought were all appropriate
  13    and age appropriate adults.
  14          Q.     Over the age of 18?
  15          A.     We've established them as an adult.
  16          Q.     You are saying appropriate adults,
  17    so we are clear, you didn't hire or bring in
  18    or know of any exercise instructors that were
  19    under the age of 18 at any of those homes?
  20          A.     I am also testifying that when I
  21    was present at the house and with the people
  22    that I brought in, were all age appropriate
  23    adults.
  24          Q.     How do you define age appropriate
  25    adults, is that over the age of 18, can we
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 251 of 465


                                                                   Page 250
   1               G Maxwell - Confidential
   2    agree to that?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          Q.      Are they under the age of 18?
   6          A.      We already established that you can
   7    be a masseuse in Florida at age 17.            That
   8    does not make it inappropriate.
   9          A.      I'm not saying appropriate or
  10    inappropriate.      I'm just asking if there were
  11    any exercise instructors that were under the
  12    age of 18.
  13          A.     I am not aware if anybody was but I
  14    don't want to full out and say you oh she
  15    said, we already established you can be a 17
  16    year old masseuse and have it not be
  17    something that is not appropriate.           So when
  18    you say that and then you go, well, you come
  19    back and say something, now we can establish
  20    that Virginia was 17 but you can be a 17 year
  21    old legal masseuse, but I am not aware to
  22    your point.
  23          Q.     Who were the other 17 year old
  24    masseuses that you were aware of?
  25          A.     I am not aware of any.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 252 of 465


                                                                   Page 251
   1               G Maxwell - Confidential
   2          Q.      Were there any 16 year year old
   3    masseuse that you are aware of?
   4          A.      I am not aware.
   5          Q.      Any 15?
   6          A.      I just want to be clear.       The only
   7    person that I am aware of who claims to have
   8    been a -- we have to -- we established
   9    Virginia now is 17, given she has changed her
  10    age so many times.       The only person that I am
  11    aware of that was a masseuse at the time when
  12    I was present in the house was Virginia.
  13          Q.     Is it an obvious lie that Jeffrey
  14    Epstein had a sexual preference for underage
  15    miners?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     Can you ask the question again?
  19          Q.     It is it an obvious lie that
  20    Jeffrey Epstein had a sexual preference for
  21    underage minors?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     Can you ask the question again?
  25          Q.     Is it an obvious lie that Jeffrey
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 253 of 465


                                                                   Page 252
   1               G Maxwell - Confidential
   2    Epstein had a sexual preference for underage
   3    minors?
   4                  MR. PAGLIUCA:     Object to the form
   5          and foundation.
   6          A.      I cannot testify to what
   7    Jeffrey's --
   8          Q.      You don't know his preference?
   9          A.      You handed me a stack of papers
  10    from the police reports and that's what I've
  11    read but I have no knowledge, direct
  12    knowledge, of what you are referencing.
  13          Q.     So you don't know, you don't know
  14    in your own mind that Jeffrey Epstein had a
  15    sexual preference for underage minors, is
  16    that correct?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          Q.     Is that correct?
  20          A.     Please ask the question again.
  21          Q.     You don't know in your own mind
  22    that Jeffrey Epstein had a sexual preference
  23    for underage minors?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.        You have to pause,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 254 of 465


                                                                   Page 253
   1               G Maxwell - Confidential
   2          let me object, answer the question.
   3          Listen to her question, pause, I object,
   4          you answer.
   5          Q.      So you don't know in your own mind
   6    that Jeffrey Epstein had a sexual preference
   7    for underage minors?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          Q.     You can answer.
  11          A.     I cannot tell you what Jeffrey's
  12    story is.     I'm not able to.
  13          Q.     Did Jeffrey Epstein have a scheme
  14    to recruit underage girls to use them for
  15    purposes of sexual massages?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     Can you ask me again, please?
  19          Q.     Did Jeffrey Epstein have a scheme
  20    to recruit underage girls to recruit them for
  21    sexual massages?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     Can you ask it a different way?
  25          Q.     Did Jeffrey Epstein have a scheme
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 255 of 465


                                                                   Page 254
   1               G Maxwell - Confidential
   2    to recruit underage girls for sexual
   3    massages?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          Q.      If you know.
   7          A.      I don't know what you are talking
   8    about.
   9          Q.      Is it an obvious lie that Virginia
  10    Giuffre was a minor the first time she was
  11    taken to Jeffrey Epstein's house?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     So we've already established that
  15    Virginia was 17 and we have established that
  16    her mother brought her to the house and that
  17    she came as a masseuse, age 17, which is
  18    legal in Florida.
  19          Q.     Would Jeffrey Epstein's assistants
  20    arrange times for underage girls to come to
  21    the house for sexual massages?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     What are you talking about?
  25          Q.     Sure.   Would Jeffrey Epstein's
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 256 of 465


                                                                   Page 255
   1               G Maxwell - Confidential
   2    assistants, I think earlier you mentioned, we
   3    talked about                     who worked in the
   4    role as an assistant or                            .
   5    Would Jeffrey Epstein's assistants arrange
   6    times for underage girls to come over the
   7    house for sexual massages?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          A.     Again, I read the police reports so
  11    this is all happening according to the police
  12    reports when I am no longer at the house so I
  13    can't testify to what Jeffrey's assistants
  14    did when this kind of activity as alleged in
  15    the reports.
  16          Q.     So you don't know?
  17          A.     No.
  18          Q.     Would Jeffrey Epstein's assistants,
  19    meaning                                          or any
  20    other assistant that you are aware of from
  21    the time you worked there take nude
  22    photographs of underage girls?
  23                 MR. PAGLIUCA:      Object to the form
  24          and foundation.
  25          A.     During what period of time?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 257 of 465


                                                                   Page 256
   1               G Maxwell - Confidential
   2          Q.      During any period of time you
   3    worked, did you observe that?
   4          A.      I did not observe any such
   5    photographs.
   6          Q.      Are you aware if they took those
   7    kinds of photos?
   8          A.      I am not aware.
   9                  MR. PAGLIUCA:     Can we take a
  10          five-minute break.
  11                 THE VIDEOGRAPHER:       It's 2:58 and we
  12          are off the record.
  13                 (Recess.)
  14                 THE VIDEOGRAPHER:       It's now 3:10.
  15          We're starting disk No. 6 and we are
  16          back on the record.
  17          Q.     Ms. Maxwell, was it an obvious lie
  18    when Virginia said she was sent to Thailand
  19    by Epstein in September of 2002?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I have no knowledge of Virginia
  23    being sent to Thailand.
  24                 But may I say something?
  25          Q.     There is not a question pending
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 258 of 465


                                                                   Page 257
   1               G Maxwell - Confidential
   2    unless you want to clarify something.
   3                  Did you want to clarify that?
   4          A.      No, I just wanted to say something.
   5          Q.      Is it an obvious lie when Virginia
   6    said she was given instructions to maintain
   7    telephone contact with you while she was in
   8    Thailand?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     Can you repeat the question?
  12          Q.     Is it an obvious lie when Virginia
  13    said she was given instructions to maintain
  14    telephone contact with you when she was in
  15    Thailand?
  16                 MR. PAGLIUCA:      Same objection.
  17          A.     I have no idea what instructions
  18    Virginia was given, if any, when she went to
  19    Thailand.
  20          Q.     So you know she went to Thailand?
  21          A.     I know she claimed she went to
  22    Thailand from having read it but given that
  23    she lied about everything it's hard to know
  24    what is true and not true.
  25          Q.     Would it make any sense for her to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 259 of 465


                                                                   Page 258
   1                G Maxwell - Confidential
   2    be in contact with you, would there be any
   3    reason why she needed to be in contact with
   4    you?
   5                   MR. PAGLIUCA:    Objection to the
   6           form and foundation.
   7           A.      When are we talking about?
   8           Q.      When she went to Thailand.
   9                   MR. PAGLIUCA:    Same objection.
  10           Q.     In 2002, would there be any reason
  11    for her to remain in contact with you?
  12                  MR. PAGLIUCA:     Objection to the
  13           form and foundation.
  14           A.     Can you ask the question again,
  15    please?
  16           Q.     Would there be any reason for
  17    Virginia to maintain contact with you in 2002
  18    when she went to Thailand?
  19                  MR. PAGLIUCA:     Same objection.
  20           A.     First of all, I didn't know that
  21    she went to Thailand.        I had had nothing to
  22    do with her trip to go to Thailand and there
  23    would absolutely no reason for her to be in
  24    touch with me, whatsoever.
  25           Q.     Did you ever have a phone number
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 260 of 465


                                                                   Page 259
   1               G Maxwell - Confidential
   2    that was
   3          A.      I did.
   4          Q.      Was that a cell phone number?
   5          A.      Yes.
   6          Q.      Is that your current cell phone
   7    number?
   8          A.      Yes.
   9          Q.      I'm going to mark a couple of
  10    things here?
  11                 (Maxwell Exhibit 11, photos, marked
  12          for identification.)
  13                 THE WITNESS:     Can I say something
  14          now?
  15                 MR. PAGLIUCA:      No.
  16                 THE WITNESS:     Will you let me know
  17          when I can?
  18                 MR. PAGLIUCA:      When she asks you a
  19          question:
  20          Q.     So we've marked this as Exhibit 11.
  21    I'm showing you what's been marked as Exhibit
  22    11 which is Giuffre 003191 and 003192.
  23                 Can you take a look at that
  24    document for me.       Is that number that you
  25    just identified the                       as being
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 261 of 465


                                                                   Page 260
   1               G Maxwell - Confidential
   2    your cell phone number, is that number on
   3    this document?
   4          A.      It is.
   5          Q.      And do you know who authored this
   6    document?
   7          A.      I do not.
   8          Q.      Who is
   9          A.      I don't know who          is on this
  10    document because I don't know what this
  11    document is.
  12          Q.     Do you know someone by the name of
  13
  14          A.     I do know someone by the name of
  15
  16          Q.     Would he know your phone number?
  17                 MR. PAGLIUCA:      Object to the form.
  18          A.     I have to idea.
  19          Q.     Why would Virginia be instructed to
  20    call Ms. Maxwell at your number on this form?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     I don't know what this document is.
  24    I don't know when it was done, I don't know
  25    anything about it other than I can see it has
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 262 of 465


                                                                   Page 261
   1               G Maxwell - Confidential
   2    my name and my number on it.
   3            Q.    So       -- you said          -- is he
   4    employed by Mr. Epstein?
   5            A.    Again, it is not the only one
   6    on the planet.
   7            Q.    I understand.
   8                  Do you know a          that is employed
   9    by Mr. Epstein?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     Can you ask me the question again?
  13          Q.     Do you know someone by the name of
  14          that was employed by Mr. Epstein back in
  15    2002?
  16          A.     I do know somebody who was employed
  17    by Mr. Epstein known as
  18          Q.     Do you recognize the other numbers
  19    listed at the top of this document?
  20          A.     I do not.
  21          Q.     Would you have known               cell
  22    number at that time in 2002?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     I have no idea.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 263 of 465


                                                                   Page 262
   1               G Maxwell - Confidential
   2          Q.      Can I ask you to turn to the next
   3    page, please.
   4                  Do you know who
   5    is who is mentioned on this document?
   6          A.      I do not.
   7          Q.      If you look on the bottom lines of
   8    the document, it says, Still in Thailand
   9    during your stay, if she is, she will be
  10    staying at the same hotel.
  11                 Do you recall ever giving Virginia
  12    instructions to meet a girl in Thailand?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     I have already testified that I
  16    didn't even know that Virginia was going to
  17    Thailand.
  18          Q.     So you didn't give her instructions
  19    to meet a girl in Thailand?
  20          A.     Like I said, I didn't even know she
  21    was going to Thailand.
  22          Q.     Do you know whether Jeffrey Epstein
  23    would have given her instructions to meet a
  24    girl in Thailand?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 264 of 465


                                                                   Page 263
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I cannot possibly tell you what
   4    Jeffrey did or didn't do.         I wouldn't know.
   5          Q.      Do you know whether Jeffrey Epstein
   6    paid for Virginia to go to Thailand?
   7          A.      Again, I wouldn't know if he did.
   8                  (Maxwell Exhibit 12, documents,
   9          marked for identification)
  10          Q.     I'm going to direct -- you can take
  11    a look at it and then I'm going to direct
  12    your attention to a couple of pages.
  13                 MR. PAGLIUCA:      So the record should
  14          be clear, this exhibit which is 12 is
  15          375, 6, 7, 8, 9, 80, 1, and then skips
  16          to 919, 920, 921, 922, 923, 924, 925 and
  17          926.
  18          Q.     So I'm going to direct your
  19    attention to the first page, have you ever
  20    traveled with Jeffrey Epstein where you've
  21    received a document like this from Shoppers
  22    Travel in your own independent travel.
  23                 Do you recognize this?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 265 of 465


                                                                   Page 264
   1               G Maxwell - Confidential
   2          Q.      The front form, the front page, do
   3    you recognize this Shopper Travel form, have
   4    you ever used them as a travel agent with
   5    Jeffrey Epstein?
   6                  MR. PAGLIUCA:     Same objection.
   7          Q.      You can answer.
   8          A.      I don't recognize this.
   9          Q.      Turning to the second page which is
  10    the 00376, do you see at the top of that
  11    document where it says Jeffrey Epstein, J.
  12    Epstein 457 Madison Avenue 4th floor New York
  13    New York.
  14                 Is that an address you are familiar
  15    with that is Jeffrey Epstein's?
  16          A.     I am.
  17          Q.     Do you see below that, travel on
  18    Singapore Airlines, and you are going to have
  19    to go from New York JFK to Singapore Bangkok.
  20                 Do you see that?
  21                 MR. PAGLIUCA:      What?
  22          Q.     The first entry is going to be on
  23    September 27, New York.
  24                 MR. PAGLIUCA:      I see it.
  25                 MS. McCAWLEY:      I'm not talking to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 266 of 465


                                                                   Page 265
   1               G Maxwell - Confidential
   2            you.    I'm talking to the witness.
   3            A.     I see it.
   4            Q.     To Singapore Bangkok?
   5            A.     Singapore Bangkok I'm afraid are
   6    not the same place.
   7            Q.     Singapore, then Bangkok:
   8            Q.     I'm going to turn you to page
   9    Giuffre, it's a little further back 000919.
  10    And do you see at the top where it says J.
  11    Epstein, underneath, Royal Princess, change
  12    mine?
  13          A.       I do.
  14          Q.       Does this refresh your recollection
  15    that Virginia Roberts' trip to Thailand was
  16    paid for by Jeffrey Epstein?
  17                   MR. PAGLIUCA:    Objection to the
  18          form and foundation.
  19          A.       I can only testify to the piece of
  20    paper you showed me that has that
  21    information.       I cannot testify from direct
  22    memory.
  23          Q.       When Virginia was traveling to
  24    Thailand, which the dates, again, I'm going
  25    to refer you back to the first page so you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 267 of 465


                                                                    Page 266
   1               G Maxwell - Confidential
   2    can see the dates.
   3                  MR. PAGLIUCA:       Can you identify a
   4          Bates number, please.
   5          Q.                which was at the top says,
   6                            .    I'm going to refer you,
   7    at the same time, to the flight logs which
   8    were marked, the thicker document that looks
   9    like this with all the log entries on it.
  10    I'm going to refer you to page --
  11                 MR. PAGLIUCA:        That's Exhibit No.
  12          6, correct?       I'm trying to keep the
  13          record straight.
  14                 MS. McCAWLEY:        I don't have Exhibit
  15          numbers on mine.          That's Giuffre          .
  16                 MR. PAGLIUCA:        Hang on one second.
  17          A.     Can you repeat the number please.
  18          Q.            .       And if you will look on
  19    that page at the entry, under
  20          starting with the             and then it runs
  21    down to the, looks like the                that first
  22    entry has                                           ,
  23                   , Jeffrey Epstein and the
  24    initials GM.
  25                 Do you remember taking a trip with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 268 of 465


                                                                   Page 267
   1               G Maxwell - Confidential
   2                           during                        ?
   3                 MR. PAGLIUCA:      Objection to the
   4          form and foundation.
   5          A.     Can you repeat the question,
   6    please?
   7          Q.     Do you remember taking a trip with
   8                           during
   9    that's the           it looks like, through the
  10
  11          A.     I don't remember the dates.         I
  12    couldn't testify to when we actually did it
  13    but I do remember the trip itself.
  14          Q.     So you were traveling with Jeffrey
  15    Epstein and                            at the same
  16    time Virginia was headed to Thailand, is that
  17    correct?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     I don't know, is that right?
  21          Q.     If you look at                     on the
  22    document that I gave you, the first document
  23    and then you referred to, if you look in the
  24    same as above lines, you will see the travel
  25    group with                         ?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 269 of 465


                                                                   Page 268
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Are you asking her
   3            to compare the documents or are you
   4            asking her what her personal knowledge
   5            is.
   6                  MS. McCAWLEY: I'm asking if she can
   7            look at the doubts and tell me if she
   8            recalls that she traveling with
   9                                 at the same time this
  10          document reflects Virginia was in
  11          Thailand.
  12          A.      I can't testify to any dates.         I
  13    couldn't tell you.        I can see a date and I
  14    can see a date but I can't tell you that I
  15    have a memory of the dates.            I have a memory
  16    of the trip, I don't have a memory of the
  17    time.
  18          Q.      Who is               ?
  19          A.
  20          Q.      What is her address?
  21          A.      I don't know.
  22          Q.      Does she live in the United States?
  23          A.      She does.
  24          Q.      In what state?
  25          A.      I believe in New Jersey somewhere.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 270 of 465


                                                                   Page 269
   1               G Maxwell - Confidential
   2          Q.      Do you have her phone number?
   3          A.      Not memorized.
   4          Q.      Do you have the ability to get her
   5    phone number?
   6          A.      Of course.
   7          Q.      Has she ever asked -- has
   8             ever asked other girls to come over to
   9    see Jeffrey Epstein for the purpose of a
  10    sexual massage?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     Can you ask the question again
  14    please.
  15          Q.     Has                 ever asked girls to
  16    come over to see Jeffrey Epstein for the
  17    purpose of a sexual massage?
  18                 MR. PAGLIUCA:      Object to form and
  19          foundation.
  20          A.     Can you ask again, please?
  21          Q.     Has                 ever asked girls to
  22    come over to see Jeffrey Epstein for the
  23    purpose of sexual massage?
  24          A.     I have no personal knowledge.
  25          Q.     What does                  do for you?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 271 of 465


                                                                   Page 270
   1                G Maxwell - Confidential
   2           A.      She helps with my not-for-profit
   3    ocean foundation and any other related
   4    activities that I may have.
   5           Q.      Is she paid for by Jeffrey Epstein?
   6           A.      No.
   7           Q.      She is paid for by you?
   8           A.      Yes.
   9           Q.      When did you first meet
  10
  11           A.     I don't recollect exactly, sometime
  12    maybe 2002, 2003.
  13           Q.     How did you meet her?
  14           A.     I don't recollect exactly how we
  15    met.
  16           Q.     Did Jeffrey introduce you to her?
  17           A.     I don't recollect how we met.
  18           Q.     Does she know Jeffrey Epstein?
  19                  MR. PAGLIUCA:     Objection to the
  20           form and foundation.
  21           A.     Can you ask again, please?
  22           Q.     Does                know Jeffrey
  23    Epstein?
  24           A.     What do you mean by know?
  25           Q.     Has she met her him before?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 272 of 465


                                                                   Page 271
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      I can't recollect a time when
   5          -- I've seen           with Jeffrey but --
   6          Q.      You are not sure --
   7          A.      I know they know either other.         I
   8    can't testify to a meeting between them.
   9          Q.      Do you know where in New Jersey she
  10    lives?
  11          A.     No
  12          Q.     You don't know a city?
  13          A.     No.
  14          Q.     How long has she worked for you?
  15          A.     Sometime 2002, 2003.
  16          Q.     To the present?
  17          A.     Yeah.
  18          Q.     Why do you think that
  19    might know Jeffrey?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     Because you know, I know Jeffrey.
  23          Q.     Have you seen them together?
  24          A.     I already testified I have not seen
  25    them together, to my recollection.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 273 of 465


                                                                   Page 272
   1               G Maxwell - Confidential
   2            Q.    Is it your testimony that
   3             knows Jeffrey Epstein through the work
   4    that she does for you?
   5                  MR. PAGLIUCA:     Objection to the
   6            form and foundation.
   7            A.    I don't recollect, and I don't
   8    recollect how I met             and I can't testify
   9    to what            relationship is or is not with
  10    Jeffrey.
  11          Q.     Have you ever talked to Jeffrey
  12    about
  13          A.     I don't know what you mean.
  14          Q.     In any way, have you ever had a
  15    conversation with Jeffrey about                       ?
  16          A.     In what context.
  17          Q.     In any context.      Have you ever
  18    talked to Jeffrey Epstein about                       ?
  19          A.           works for me so it's entirely
  20    possible that in the course of conversations
  21    since 2002, 2003 that a conversation in which
  22             name would have come up is entirely
  23    possible.
  24          Q.     I provided you with and I'm sorry,
  25    I don't know all the numbers, but the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 274 of 465


                                                                    Page 273
   1               G Maxwell - Confidential
   2    statement that was issued by                    that
   3    should be a single page still in your stack
   4    of exhibits there.
   5                  MR. PAGLIUCA:     Exhibit 10.
   6          Q.      Did you authorize                to issue
   7    that statement on your behalf in January of
   8    2015?
   9          A.      I already testified that that was
  10    done by my lawyers.
  11          Q.     So did you authorize your lawyers
  12    to issue a statement on your behalf through
  13                in January of 2015?
  14          A.     It was determined that I had to
  15    make a statement in the United Kingdom
  16    because of the appalling lies and I just
  17    thought of some new ones.
  18                 Virginia's statement that I
  19    celebrated her 16 birthday with her.            We can
  20    all agree that that's entirely impossible.              I
  21    didn't meet her until she was 17 and other
  22    lies she perpetrated that she had a diary and
  23    we all know is a complete fake.           That's not a
  24    diary.     It was just a book she was writing
  25    that you helped sell to the press, as if it
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 275 of 465


                                                                   Page 274
   1               G Maxwell - Confidential
   2    was a diary, when it was just a story that
   3    she is writing of fiction, fictional story
   4    for money.
   5            Q.    How did you arrive at the words
   6    that were put in that statement?
   7                  MR. PAGLIUCA:     I'm going to object
   8            and instruct you to the extent this
   9            calls for any privileged communications
  10          between yourself and                     or
  11          another lawyer representing you, we're
  12          asserting privilege.        If you can answer
  13          that without that, feel free to answer.
  14          Q.     So what your counsel is saying, and
  15    I will exclude any privileged communications
  16    you had with your lawyers.
  17                 The question is, how did you arrive
  18    at the words that were put in that statement,
  19    if you can tell me without disclosing
  20    privileged communications?
  21          A.     I'm not sure that I can.
  22          Q.     Is the statement that you issued
  23    true?
  24          A.     What do you mean by that?
  25          Q.     Is the statement that you issued,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 276 of 465


                                                                   Page 275
   1               G Maxwell - Confidential
   2    the statement that's in front of you, is it a
   3    true statement?
   4          A.      As in that Virginia is a liar?
   5          Q.      The words you put in there, is that
   6    true?
   7          A.      Of course they're true.
   8          Q.      When did you become aware that the
   9    statement was being released?
  10          A.     I don't recollect exactly.
  11          Q.     What day it was?
  12          A.     No.
  13          Q.     I'm sorry.     Did you identify, I
  14    might not have caught it, did you identify
  15    the name of the lawyer that you said you
  16    retained for purposes of this statement?
  17          A.     I think                   .
  18          Q.     Did you pay that lawyer
  19
  20          A.     Yes.
  21          Q.     Are you aware of any interstate or
  22    international transportation of a woman aged
  23    18 to 28 for the purposes of prostitution?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 277 of 465


                                                                   Page 276
   1               G Maxwell - Confidential
   2          A.      I'm not sure I even understand your
   3    question.
   4          Q.      I will go slower.
   5                  Are you aware of any interstate,
   6    meaning between states, or international,
   7    meaning oversees transportation, of women
   8    aged 18 to 28, for the purposes of
   9    prostitution?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     Are you asking -- I'm still not
  13    sure I understand the question.
  14          Q.     I will try to make it clearer.
  15                 I'm asking you if you are aware of
  16    any interstate, meaning between states, or
  17    international transportation, meaning by
  18    flight or by car or by train, of women aged
  19    18 to 28, their ages are between the ages of
  20    18 and 28, for the purposes of prostitution?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     In the world I'm sure that that
  24    happens, I read about it all the time.
  25          Q.     Not in the world.       Are you aware of
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 278 of 465


                                                                   Page 277
   1               G Maxwell - Confidential
   2    it, in your experience with Jeffrey Epstein,
   3    of any interstate or international
   4    transportation of women aged 18 to 28, for
   5    the purposes of prostitution?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      So whilst I appreciate this might
   9    not seem like a smart question, what do you
  10    mean by prostitution, what are you asking me
  11    exactly?
  12          Q.     That would be sex for hire, any
  13    kind of sexual act that's paid for.
  14                 MR. PAGLIUCA:      Objection to the
  15          form and foundation.
  16          A.     Who's paying, what are you asking
  17    me.
  18          Q.     It can be paid for by anybody.
  19    It's a sexual act that's paid for.
  20                 I'm asking if you are aware of any
  21    interstate or international transportation of
  22    women aged 18 to 28, for the purposes of
  23    prostitution?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 279 of 465


                                                                   Page 278
   1               G Maxwell - Confidential
   2          A.      I have no idea what you are talking
   3    about.
   4          Q.      So you are not aware of that?
   5          A.      No.
   6          Q.      Are you aware of any interstate or
   7    international transportation of women, aged
   8    18 to 28, for the purposes of having sex with
   9    Epstein where they would receive compensation
  10    of any type?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I don't know what you are referring
  14    to.
  15          Q.     Do you want me to repeat the
  16    question?
  17          A.     Sure, go ahead.
  18          Q.     Are you aware of any interstate or
  19    international transportation of woman, aged
  20    18 to 28, for the purpose of having sex with
  21    Jeffrey Epstein where they would receive
  22    compensation of any type?
  23                 MR. PAGLIUCA:      Objection to form
  24          and foundation.
  25          A.     I am not aware of what you are
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 280 of 465


                                                                   Page 279
   1               G Maxwell - Confidential
   2    talking about.
   3          Q.      Are you aware of any interstate or
   4    international transportation of women, aged
   5    18 to 28, for the purposes of providing a
   6    massage for Jeffrey Epstein?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      So I you need to repeat that
  10    question for me.
  11          Q.     Sure.
  12                 Are you aware of any interstate,
  13    meaning between states, or international,
  14    oversees, transportation of women, aged 18 to
  15    28, for the purposes of providing massage for
  16    Jeffrey Epstein?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I think we can agree he did travel
  20    from time to time with a professional adult
  21    masseuse.
  22          Q.     Are you aware of any interstate or
  23    international transportation of women, aged
  24    18 to 28, for the purposes of providing a
  25    massage to any person other than Jeffrey
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 281 of 465


                                                                   Page 280
   1               G Maxwell - Confidential
   2    Epstein?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          A.      Again, I'm not aware of anybody
   6    that, if you are asking for specifics to
   7    someone else, I have no knowledge of that.
   8          Q.      So you are not aware of any
   9    interstate or international transportation of
  10    a woman aged 18 to 28 for the purposes of
  11    providing a massage to any person other than
  12    Jeffrey Epstein?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     I don't recall what any single
  16    person being on a plane for a massage with
  17    someone else other than Jeffrey, for the sole
  18    purpose, if that's the question, I don't have
  19    any recollection of that.
  20          Q.     Earlier in your testimony, you
  21    stated that Virginia Roberts was 17 at the
  22    time you met her.
  23                 How do you know she was 17?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.        And to the extent
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 282 of 465


                                                                   Page 281
   1               G Maxwell - Confidential
   2          that calls for a privileged response,
   3          I'm instructing you not to answer.
   4          Q.      How do you know Virginia Roberts
   5    was 17 at the time you met her?
   6                  MR. PAGLIUCA:     Again, if you
   7          learned that information from your
   8          lawyer, I'm instructing you not to
   9          answer.
  10          A.     I will follow my counsel's advice.
  11          Q.     Are you able to answer that
  12    question without telling me information you
  13    learned from a lawyer?
  14          A.     I'm not.
  15          Q.     So you don't have independent
  16    knowledge that Virginia, according to your
  17    statement, was 17 at the time you met her?
  18          A.     Again, my lawyer has instructed me
  19    not to answer.
  20          Q.     I'm asking you a different
  21    question.     Whether you have any independent
  22    knowledge, outside your lawyers, that
  23    Virginia was 17 at the time you met her?
  24          A.     Following the instructions of my
  25    lawyers, I can only remember or testify to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 283 of 465


                                                                   Page 282
   1               G Maxwell - Confidential
   2    what she --
   3                  MR. PAGLIUCA:     She is asking you a
   4          different question.        She is asking other
   5          than what your lawyers have told you, do
   6          you have any knowledge about her being
   7          17, that's what she is asking.
   8          A.      I can't recollect where I got all
   9    the information that I have that definitively
  10    shows that.
  11          Q.     Earlier in your testimony, I
  12    believe you said all of us would know that
  13    Virginia was 17 at the time you met her.
  14                 How would we know that?
  15          A.     I think you know that by her own
  16    dates, now that it was in 2000, so her entire
  17    tail of me celebrating her 16th birthday is
  18    clearly another giant falsehood.
  19          Q.     But she was 16 and 17 that year,
  20    wasn't she?
  21          A.     Which year?
  22          Q.     You said it was 2000.
  23          A.     I think the information that I have
  24    that indicates that definitively was
  25    something that is privileged, so I can't
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 284 of 465


                                                                   Page 283
   1               G Maxwell - Confidential
   2    share with you.
   3          Q.      So you have privileged information
   4    that definitively tells you that she was 17
   5    at the time you met her?
   6          A.      I believe I do.
   7          Q.      How would we know that?
   8          A.      What are you asking me?
   9          Q.      Earlier today you testified that we
  10    would know that she was 17 at the time that
  11    you met her.
  12                 How would we know that?
  13          A.     I imagine you have access to
  14    exactly the same information that I do.
  15          Q.     What is that information?
  16          A.     Again, it's privileged, I can't
  17    share it with you but you have been on this
  18    case for, I don't know, much much longer than
  19    I have and I imagine you have all the
  20    information that I do.
  21          Q.     Do you know whether your lawyers
  22    have produced documents from you that would
  23    show the age that Virginia was at the time
  24    that you met her?
  25                 MR. PAGLIUCA:      To the extent that
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 285 of 465


                                                                   Page 284
   1               G Maxwell - Confidential
   2          calls for a communication that you had
   3          with one of your lawyers, I'm
   4          instructing you not to answer that
   5          question.
   6          Q.      I assume you, as part of the
   7    discovery process, had to collect documents
   8    that were relevant to this action, is that
   9    correct?
  10          A.     I did.
  11          Q.     Did you collect documents that
  12    would show that Virginia was 17 at the time
  13    that you met her?
  14          A.     I think you have everything that
  15    relates, that I had, contemporaneously per
  16    what you asked for that I have that relates
  17    to that.
  18          Q.     Did you have a document that
  19    identified that Virginia was 17 at the time
  20    that you met her?
  21          A.     You have all of the documents that
  22    I had.
  23          Q.     I'm not asking what documents.          I'm
  24    asking, do you have a document that
  25    identifies Virginia being 17 at the time you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 286 of 465


                                                                   Page 285
   1               G Maxwell - Confidential
   2    met her?
   3          A.      You have every document that I
   4    have.      You have seen every document that I
   5    have.
   6          Q.      That's not what I'm asking.
   7          A.      I don't recall every document that
   8    I gave you, so I don't know.          I would have to
   9    look at every single document I gave you and
  10    then review it but as I recall you have every
  11    document that I have.
  12          Q.     What are you planning to show the
  13    jury that will prove that Virginia was 17
  14    when you met her?
  15          A.     Again that's privileged so I can't
  16    share that with you.
  17          Q.     If you're showing the jury, it
  18    wouldn't be privileged, so is there a
  19    document you have produced in this matter
  20    that shows that Virginia was 17 at the time
  21    you met her?
  22                 MR. PAGLIUCA:      She answered that
  23          question already.       She said she doesn't
  24          know, she has given you everything.            If
  25          there is a decision -- assuming for the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 287 of 465


                                                                   Page 286
   1                G Maxwell - Confidential
   2            moment there is such a document, just
   3            hypothetically, and assuming for the
   4            moment that it is going to get produced
   5            somewhere, if it hasn't already been
   6            produced, obviously that would involve a
   7            waiver, a future waiver of the
   8            privilege.   I think that's the answer to
   9            the question.
  10           Q.     Has the document been produced, do
  11    you know?
  12           A.     You have everything that I have
  13    given you, so if you can't -- if it's not in
  14    those documents, I don't know what to tell
  15    you.
  16           Q.     Your lawyers haven't withheld any
  17    documents?
  18           A.     They are right here.      You can ask
  19    them.
  20           Q.     I'm asking you.
  21           A.     I don't know what -- they're
  22    lawyers.
  23           Q.     When we were talking earlier about
  24                     , I asked you whether you had
  25    ever given him a gift of a puppet.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 288 of 465


                                                                    Page 287
   1               G Maxwell - Confidential
   2                  Did you ever, not as a gift, did
   3    you ever see in the presence of
   4    a puppet?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          A.      Can you be more direct, please?
   8          Q.      Sure.   Were you ever in a room with
   9                      where there was a puppet?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     Can you be more specific please and
  13    can you bound it by time and be more
  14    specific, whatever you are actually asking
  15    me?
  16          Q.     Were you ever in a room with
  17             in New York in Jeffrey Epstein's home
  18    where there was a puppet?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     What sort of puppet are you asking
  22    me?
  23          Q.     Any kind of puppet?
  24          A.     You need to be more descriptive.           I
  25    don't know what you mean by puppet, there is
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 289 of 465


                                                                   Page 288
   1               G Maxwell - Confidential
   2    hand puppets, all sorts of puppets.
   3          Q.      Is there any puppet you've ever
   4    seen in Jeffrey Epstein's home in the
   5    presence of
   6          A.      Again, puppet, you know, there is
   7    lots of types of puppets.
   8          Q.      Any type of puppet.
   9          A.      If you want to give me a
  10    description of the puppet, I would be perhaps
  11    be able to say.
  12          Q.     Any type of puppet?
  13          A.     Can you be more detailed?
  14          Q.     Have you ever seen a puppet in
  15    Jeffrey Epstein's home in the presence of
  16                    ?
  17          A.     My understanding of a puppet is a
  18    small handheld item you have in a circus.             I
  19    have never seen that.
  20          Q.     Have you ever seen a puppet which
  21    is defined as a movable model of a person or
  22    animal that is used in entertainment and
  23    typically moved either by strings or
  24    controlled from above or by a hand inside it?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 290 of 465


                                                                   Page 289
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I have not seen a puppet that fits
   4    exactly that description.
   5          Q.      Have you seen any puppet that fits
   6    any description?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      Can you reask the question, please?
  10          Q.     Yes.
  11                 Have you seen any puppet that fits
  12    any description in the presence of
                 in Jeffrey Epstein's home?
  14                 MR. PAGLIUCA:      Objection to the
  15          form and foundation.
  16          A.     I am not aware of any small
  17    handheld puppet that was there.           There was a
  18    puppet -- not a puppet -- there was a -- I
  19    don't know how would you describe it really,
  20    I don't know how would you describe it.             Not
  21    a puppet, I don't know how you would describe
  22    it.   A caricature of                       that was
  23    in Jeffrey's home.
  24          Q.     Did you use that caricature to put
  25    the hand of the caricature on
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 291 of 465


                                                                   Page 290
   1               G Maxwell - Confidential
   2                 breast?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          A.      I don't recollect.      I recollect the
   6    puppet but I don't recollect anything around
   7    the puppet.      You characterized puppet, I
   8    characterize it as, I don't know, as a
   9    characterization of
  10          Q.     Do you recollect asking Virginia
  11    Roberts to sit on                          lap with
  12    the caricature of                      ?
  13          A.     I do not recollect that.
  14          Q.     What do you remember about the
  15    caricature of the                       caricature
  16    when you were in the presence of
  17               Virginia Roberts and
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     I don't recollect the story as told
  21    by            or Virginia.      I don't even know
  22    who -- I remember the caricature of
  23             and I remember                      but I
  24    don't recall anything else around the
  25    caricature.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 292 of 465


                                                                   Page 291
   1               G Maxwell - Confidential
   2          Q.      Did you give it to him?
   3          A.      I did not.
   4          Q.      Who gave it to him?
   5          A.      I don't think it was given to him
   6    at all.
   7          Q.      Did he bring it?
   8          A.      No.
   9          Q.      Was it something that was at the
  10    house?
  11          A.     As best I recollect.
  12          Q.     Was it something that you saw at
  13    the house in advance of
  14    arrival?
  15          A.     Again, I don't real -- I recollect
  16    the caricature, I recollect                         , I
  17    don't recollect much else around the
  18    caricature.
  19          Q.     Was there a party going on in the
  20    house at the time you recollect the
  21    caricature?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     You have to be way more specific?
  25          Q.     Do you remember, you said you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 293 of 465


                                                                   Page 292
   1               G Maxwell - Confidential
   2    recollect this caricature, you recollect
   3                      being there.     Do you recollect
   4    a party going on at the time of that
   5    interaction with                       and the
   6    caricature?
   7                 MR. PAGLIUCA:      Objection to the
   8          form and foundation.
   9          A.     I don't recollect a party -- first
  10    of all, they weren't really parties -- I
  11    don't recollect a party -- I don't know what
  12    you mean by party in the context of that
  13    scenario.
  14          Q.     Who do you recollect being at the
  15    home during the time                        was there
  16    with this caricature?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I only recollect myself with
  20               I don't recollect anybody else.
  21          Q.     You don't recollect Jeffrey Epstein
  22    being there?
  23          A.     Actually, no.
  24          Q.     You don't recollect
  25    being there?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 294 of 465


                                                                   Page 293
   1               G Maxwell - Confidential
   2          A.      No.
   3          Q.      You don't recollect Virginia
   4    Roberts being there?
   5          A.      No.
   6          Q.      It was just you and                     ?
   7          A.      I am not saying it was just me and
   8                    , you are asking me do you
   9    remember.     I only remember                      , I
  10    remember                     and the caricature but
  11    I can't place the caricature and everybody
  12    else in the same context, the same timeframe
  13    you are asking me.
  14          Q.




  18




  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 295 of 465


                                                                   Page 294
   1               G Maxwell - Confidential
   2          A.      Typically, there is no typical
   3    because there is no standard procedure, so I
   4    can't comment or testify to
                                           .
   6          Q.      Do you remember them being in the
   7    house?
   8          A.      Not specifically.
   9                  Do you mind if I take a bathroom
  10    break.
  11                 THE VIDEOGRAPHER:         It's now 3:51
  12          and we are off the record.
  13                 (Recess.)
  14                 THE VIDEOGRAPHER:         It's now 4:04.
  15          We are back on the record and we're
  16          starting disk No. 7.
  17          Q.     Ms. Maxwell, during what time
  18    period, I know you said, I believe you said
  19    you met Jeffrey in 1991, if I'm correct there
  20    and you've known him through the present.
  21                 During what time period within
  22    those years would you say your relationship
  23    was the closest with Jeffrey?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 296 of 465


                                                                   Page 295
   1               G Maxwell - Confidential
   2          A.      What do you mean by close, sorry.
   3          Q.      I think earlier today you testified
   4    that at some point in time you considered
   5    yourself to be his girlfriend, is that the
   6    closest you would say that your relationship
   7    was with him and if so, what time period was
   8    that?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I don't think I said I was his
  12    girlfriend, I would like to think of myself
  13    as maybe, I don't think I -- sometime in the
  14    mid '90s.
  15          Q.     How close was your relationship?
  16          A.     We were very friendly.
  17          Q.     Without going into details, was
  18    your relationship with him intimate?
  19          A.     Yes.
  20          Q.     When was the last time you had
  21    contact with Jeffrey Epstein?
  22          A.     What do you mean by contact.
  23          Q.     Either a phone call or email or
  24    anything of that nature?
  25          A.     As best as I can recollect when
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 297 of 465


                                                                   Page 296
   1                G Maxwell - Confidential
   2    all -- sometime last year.
   3           Q.      So you haven't talked to him like,
   4    for example, last week you didn't talk to
   5    him?
   6           A.      I did not.
   7           Q.      How many times have you had either
   8    direct or indirect, meaning, in the presence
   9    of him or calling or emailing, contact with
  10    Jeffrey Epstein from December 30, 2014 until
  11    now?
  12           A.     I'm sorry, can you just --
  13           Q.     Either in person or by phone or by
  14    email, from December 30, 2014 until present.
  15           A.     I can't really characterize that
  16    but not very much.       There was a period when
  17    in January when you filed your, whatever you
  18    filed, where we spoke and then, since then
  19    not much at all.
  20           Q.     Can you estimate how many emails
  21    you would have sent Jeffrey from the period
  22    of December 30, 2014 to the present?
  23           A.     Not very many at all.
  24           Q.     More than 20?
  25           A.     I really wouldn't be able to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 298 of 465


                                                                   Page 297
   1               G Maxwell - Confidential
   2    characterize it because it wouldn't be that
   3    many.      I wouldn't know.
   4          Q.      More than 50?
   5          A.      It would be on the lesser side, not
   6    on the more side.
   7          Q.      Can you give me a number?
   8          A.      I honestly couldn't.      I would be
   9    guessing.
  10          Q.     How many emails has Jeffrey sent
  11    you from the period December 30, 2014 to the
  12    present?
  13          A.     I would say less emails, even less
  14    emails than I sent him.
  15          Q.     More than 20?
  16          A.     I would say on the lesser side.
  17          Q.     Less meaning 10?
  18          A.     I really can't recall, very little.
  19          Q.     When you spoke with Jeffrey in
  20    January of 2015, what did he say to you?
  21          A.     I really couldn't remember exactly
  22    what he said to me.
  23          Q.     Did you talk about Virginia
  24    Roberts?
  25          A.     I'm sure we did but I couldn't
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 299 of 465


                                                                    Page 298
   1               G Maxwell - Confidential
   2    recall the exact conversation.
   3          Q.      Does Jeffrey Epstein send you text
   4    messages?
   5          A.      No.
   6          Q.      Do you send him text messages?
   7          A.      No.
   8          Q.      How many phone calls have you had
   9    with Jeffrey Epstein since December 30, 2014?
  10          A.     Again, very few.
  11          Q.     More than five?
  12          A.     Probably as many as the few emails
  13    that I would characterize, so just very few.
  14    I mean a small number.
  15          Q.     Are you aware of any disagreement
  16    between your views about Virginia Roberts and
  17    Jeffrey's views about Virginia Roberts?
  18                 MR. PAGLIUCA:      Object to the form
  19          and foundation
  20          A.     I cannot speculate to his views.           I
  21    can only testify on my views.
  22          Q.     Earlier you went through the series
  23    of lies.     Have you talked to Jeffrey about
  24    the lies and does he agree with you?
  25          A.     I have discussed some of the issues
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 300 of 465


                                                                   Page 299
   1               G Maxwell - Confidential
   2    with him, I can't remember specifically which
   3    ones.      I just don't recall.      I'm sorry.
   4          Q.      Do you recall him telling you that
   5    he didn't agree with you on any of those?
   6          A.      I don't recall him saying that.
   7          Q.      Do you have a joint defense
   8    agreement with Jeffrey Epstein?
   9          A.      I believe I do.
  10          Q.     Do you have a joint defense
  11    agreement with                        ?
  12          A.     I don't believe I do.
  13          Q.     Earlier today in your testimony,
  14    when I was asking you some questions, you
  15    said that you couldn't answer but that
  16    Jeffrey Epstein could answer that question.
  17                 Would Jeffrey Epstein be in a
  18    position to confirm or deny some of the
  19    obvious lies that we've discussed today?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I can't possibly testify to what
  23    Jeffrey could or would say.          I can't speak
  24    for him.
  25          Q.     Would Jeffrey be able to confirm or
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 301 of 465


                                                                   Page 300
   1                G Maxwell - Confidential
   2    deny whether he had sex with Virginia
   3    Roberts?
   4                   MR. PAGLIUCA:    Objection to the
   5           form and foundation.
   6           A.      I can't say what Jeffrey would say.
   7           Q.      Has he discussed that with you?
   8           A.      He has not.
   9           Q.      Would Jeffrey be able to confirm or
  10    deny whether he had a sexual massage from
  11    Virginia that first time she came to his
  12    mansion in Palm Beach?
  13                  MR. PAGLIUCA:     Objection to the
  14           form and foundation.
  15           A.     I cannot speak for what he would
  16    say.    I can only speak for what I would say.
  17    So as I testified everything that she said
  18    about that first meeting didn't happen so...
  19           Q.     Has he told that you everything
  20    about that first meeting didn't happen?
  21           A.     I know it didn't happen because she
  22    put me in that room.
  23           Q.     I understand you know.       But has
  24    Jeffrey said when you are talking about the
  25    obvious lies, oh yeah, that never happened?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 302 of 465


                                                                   Page 301
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      I can't specifically recall that.
   5    I don't know, but he has to agree with me
   6    because it didn't happen.
   7          Q.      Can Jeffrey Epstein, would he be
   8    able to confirm or deny whether he had sex
   9    with underage girls?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     I can't testify to what Jeffrey
  13    would say.
  14          Q.     Can Jeffrey confirm or deny whether
  15                    was on Jeffrey's island?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     I can't say what Jeffrey would say.
  19    I can only say what I know to be true.
  20          Q.     Has Jeffrey talked to you about the
  21    fact whether                     was on his island?
  22          A.     As best as I can recollect, he said
  23    he was not on the island.         As best as I can
  24    recollect.
  25          Q.     Can Jeffrey Epstein confirm whether
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 303 of 465


                                                                   Page 302
   1                G Maxwell - Confidential
   2    he and Virginia Roberts were together in the
   3    presence of                     ?
   4                   MR. PAGLIUCA:    Objection to the
   5           form and foundation.
   6           A.      I can't speak to what Jeffrey would
   7    say.
   8           Q.      Has he talked to about Virginia
   9    Roberts' statement that she was in the
  10    presence of                     ?
  11                  MR. PAGLIUCA:     Objection to the
  12           form and foundation.
  13           A.     I have not discussed individual
  14    presences with Virginia.            That's not -- I'm
  15    only concerned with what I know to be the
  16    stuff about me.      So my focus has always been
  17    the lies and the obvious lies as something I
  18    can personally attest to.            I cannot possibly
  19    talk for anything else.
  20           Q.     Has Jeffrey Epstein said to you
  21    anything along the lines of Virginia is lying
  22    when she says she met                       ?
  23                  MR. PAGLIUCA:     Objection to the
  24           form and foundation.
  25           A.     Again, I'm not talking about what
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 304 of 465


                                                                   Page 303
   1               G Maxwell - Confidential
   2    she says as regards to other people.            I can
   3    talk to things as regards to me.
   4          Q.      I'm asking if Jeffrey ever said
   5    that to you?
   6          A.      I don't recollect specific
   7    conversations along those things.
   8          Q.      You don't recollect him saying that
   9    to you?
  10          A.     I don't recollect him saying to me
  11    that Virginia didn't meet                        .   I'm
  12    sure that wouldn't be a conversation that we
  13    would have.     It doesn't effect me whether --
  14    so I'm really only concerned about the lies
  15    that were told as regards to me.
  16          Q.     Can Jeffrey Epstein confirm or deny
  17    whether you sent Virginia to give
  18    a massage?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I can't say what Jeffrey would say,
  22    I can tell you I didn't.         I can't tell you
  23    what anybody else.
  24          Q.     Have you discussed with him
  25    Virginia's allegation that she gave
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 305 of 465


                                                                   Page 304
   1               G Maxwell - Confidential
   2            a massage?
   3                   MR. PAGLIUCA:    Objection to the
   4            form and foundation.
   5            A.     I didn't know that she did say
   6    that.
   7            Q.     Do you know whether Jeffrey Epstein
   8    has ever sent anybody to                       to
   9    perform a massage for him?
  10                   MR. PAGLIUCA:    Objection to the
  11          form and foundation.
  12          A.       I couldn't possibly recollect
  13    whether he did anything like that.
  14          Q.       Did you ever send anybody, not
  15    Virginia, anybody else over to
  16    home for a massage?
  17          A.       Not to the best of my knowledge.
  18          Q.       Do you know one of
  19                 friend by the name of
  20
  21          A.       I do recollect a person of that
  22    name.
  23          Q.       How do you know her?
  24          A.       I don't recollect.
  25          Q.       Did you meet her through Jeffrey?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 306 of 465


                                                                   Page 305
   1               G Maxwell - Confidential
   2          A.      I don't recollect.
   3          Q.      Do you recall when you met her?
   4          A.      I do not recollect.
   5          Q.      How many times have you seen
   6                 in your life?
   7          A.      The only reason I remember is
   8    because it's an unusual name but I couldn't
   9    tell you anything else.
  10          Q.     You didn't see her on a regular
  11    basis, she wasn't one of your friends?
  12          A.     No.
  13          Q.     Was                       a masseuse?
  14          A.     Not to my knowledge.
  15          Q.     Do you have knowledge of whether
  16    she had a sexual relationship with Jeffrey
  17    Epstein?
  18          A.     I have no knowledge of that.
  19          Q.     When was the last time you spoke
  20    with her?
  21          A.     A very long -- I have no idea.
  22          Q.     Would it be years?
  23          A.     Yes.
  24          Q.     What do you remember about
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 307 of 465


                                                                   Page 306
   1               G Maxwell - Confidential
   2          A.      Nothing really.
   3          Q.      Do you remember what she looks
   4    like?
   5          A.      I would just be speculating on how
   6    I remember.      I couldn't describe her.
   7          Q.      Do you recall traveling with her?
   8          A.      I don't.
   9          Q.      Did you ever go to her home?
  10          A.     I don't believe I did.
  11          Q.     Do you know where she lives?
  12          A.     I don't.
  13          Q.     Would you have met her through
  14    Jeffrey Epstein?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     I already testified I don't
  18    recollect how I met her and I remember her
  19    because her name is very unusual.
  20          Q.     So what's your -- what recollection
  21    do you have of her, do you have a specific
  22    recollection of meeting her somewhere, you
  23    just don't know when that was or how do you
  24    know that name                         ?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 308 of 465


                                                                   Page 307
   1               G Maxwell - Confidential
   2            form and foundation.
   3            A.    I don't know why the name is -- I'm
   4    sorry -- I can't -- I have no idea.            I
   5    recognize the name but that's it.
   6            Q.    Was                     a masseuse?
   7                  MR. PAGLIUCA:     Objection to the
   8            form and foundation.
   9            A.    What are you asking me, I'm sorry?
  10          Q.     When                      worked for
  11    Jeffrey Epstein, did she perform massages?
  12          A.     I've testified that when
  13    came originally, she came to answer
  14    telephones.     I believe at some point she
  15    became a masseuse.       I don't recollect when
  16    and I personally had massages from
  17          Q.     What did             do for Jeffrey
  18    Epstein, did she perform massages, anything
  19    else?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     When she came she answered phones
  23    and at some point, I believe, I don't have
  24    any firm recollection, but I believe she went
  25    to school and became a masseuse and I had
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 309 of 465


                                                                   Page 308
   1                G Maxwell - Confidential
   2    massages from her.
   3           Q.      Did you ever have any sexual
   4    interaction with her?
   5                   MR. PAGLIUCA:    Object to the form
   6           and foundation and I'm going to instruct
   7           you if we're talking about any
   8           consensual adult contact, you are not
   9           allowed to answer the question.
  10           Q.     Did you have any sexual contact
  11    with her in the presence of Jeffrey Epstein?
  12                  MR. PAGLIUCA:     Same instruction.
  13           Q.     Did you have any sexual contact
  14    with her in the presence of anybody other
  15    than Jeffrey Epstein?
  16                  MR. PAGLIUCA:     Same instruction.
  17           Q.     How many massages did you receive
  18    from
  19           A.     I really don't recall but a fair
  20    amount.
  21           Q.     Did the massages involve sex?
  22                  MR. PAGLIUCA:     I'm going to
  23           instruct you not to answer.
  24           Q.     Have you ever engaged in sex with
  25    any female?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 310 of 465


                                                                   Page 309
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     I'm going to
   3            instruct you not to answer.
   4                  MS. McCAWLEY:     I want the record to
   5            reflect that Ms. Maxwell's attorney is
   6            directing her not to answer this series
   7            of questions.
   8                  MR. PAGLIUCA:     It definitely does.
   9            Q.    Were you responsible for
  10    introducing             to Jeffrey Epstein?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I already testified that I don't
  14    really recall
  15          Q.     Were you responsible for
  16    introducing              to Jeffrey Epstein?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     Again, I don't like the
  20    characterization of introduction.
  21    came to answer telephones.
  22          Q.     When did you -- were you the person
  23    who brought or introduced or met                    for
  24    purposes of bringing her to Jeffrey Epstein's
  25    home?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 311 of 465


                                                                   Page 310
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      That's not how I would characterize
   5    that.
   6          Q.      How would you characterize it?
   7          A.      I have testified that I'm
   8    responsible for finding professional people
   9    to work in the homes, age appropriate adult
  10    people, so from pool attendants, to
  11    gardeners, to chefs, to housekeepers, to
  12    butlers, to chauffeurs and one of the
  13    functions was to be able to answer the
  14    telephones and in the context of finding
  15    someone to answer the telephones, I did look
  16    to try to find appropriate people to answer
  17    the phones.
  18          Q.     So did you find Johanna for
  19    purposes of that role?
  20          A.     So in the course of looking for
  21    somebody to answer phones at the house,
  22    Johanna was one of the people who said that
  23    she was willing to answer phones.
  24          Q.     Did you approach her at her school
  25    campus?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 312 of 465


                                                                   Page 311
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to form
   3          and foundation.
   4          A.      I honestly don't recall how, in
   5    that moment, how I met                 and how she
   6    came to get the job but...
   7          Q.      Did you typically, in your work for
   8    Jeffrey Epstein, would you typically go to
   9    school campuses to try to find individuals to
  10    work for Jeffrey Epstein?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I never -- what do you mean by
  14    school?     Let's characterize school.
  15          Q.     Any kind of school.
  16          A.     Obviously not.      I never went to any
  17    school with young people.                    I believe
  18    came from an adult university, as I would
  19    know in England, so university, I went there
  20    but I never went, as I best recollect,
  21    anywhere else.
  22          Q.     Did you -- what university was it
  23    that you went to?
  24          A.     I don't recall the university that
  25    she went to right now.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 313 of 465


                                                                   Page 312
   1               G Maxwell - Confidential
   2          Q.      Would you visit more than one
   3    university to try to find individuals to work
   4    for Jeffrey Epstein?
   5          A.      As I recollect, I think that's, in
   6    fact, the only university I went to.
   7          Q.      Did you go there more than once?
   8          A.      I think I went twice.
   9          Q.      Who else did you find from that
  10    university, was there anybody other than
  11
  12          A.     I don't recollect, I'm sorry.
  13          Q.     We are going to mark this as
  14    Maxwell 13?
  15                 (Maxwell Exhibit 13, documents,
  16          marked for identification.)
  17          Q.     Can you take a look at the document
  18    I put in front of you, please.
  19                 Are you familiar with this
  20    document?
  21          A.     I'm familiar with this actual
  22    document.
  23          Q.     How was this document created?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 314 of 465


                                                                   Page 313
   1               G Maxwell - Confidential
   2          A.      I don't know how this document was
   3    created.
   4          Q.      You were involved in the creation
   5    of this document?
   6          A.      I think you can see from the date
   7    that it's 2004, 2005, so no.
   8          Q.      You weren't involved in the
   9    creation of this document.
  10                 Did you -- we talked earlier about
  11    Mr. Epstein's house, I'm talking about the
  12    Palm Beach house where you said there was a
  13    computer on the desk, that employees had
  14    access to -- people who worked for Jeffrey
  15    Epstein may have had access to?
  16          A.     I think anybody could have had
  17    access to that.
  18          Q.     Was that computer used, if you know
  19    to keep a log of addresses and phone contact
  20    information for Jeffrey Epstein?
  21          A.     Are we talking about when this
  22    document was created.
  23          Q.     In general, was there, on that
  24    computer during the time that you were
  25    present with Jeffrey Epstein, was there a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 315 of 465


                                                                   Page 314
   1               G Maxwell - Confidential
   2    mechanism by which you kept electronic
   3    information of names and addresses of
   4    individuals that he knew?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          A.      I can't testify to what was on that
   8    computer or not after I was gone.
   9          Q.      Not when you were gone, when you
  10    were there.     If Jeffrey wanted to call, for
  11    example, say                 , would someone be
  12    able to go to that computer to pull up the
  13    address information and phone contact
  14    information for that individual?
  15                 MR. PAGLIUCA:      Objection to the
  16          form and foundation.
  17          A.     I couldn't possibly say.
  18          Q.     Did you ever have to keep track of
  19    address or phone contact information for
  20    Jeffrey Epstein?
  21          A.     That was not my job.
  22          Q.     Did you ever do it?
  23          A.     I am not responsible for keeping
  24    his numbers so that wasn't my job at all.
  25          Q.     But did you ever do it?        I know
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 316 of 465


                                                                   Page 315
   1                G Maxwell - Confidential
   2    it's not your job but did you ever do it, did
   3    you ever keep phone contact information for
   4    him?
   5           A.      During the course of the time we
   6    were together, if he gave me a telephone
   7    number, I would give it to an assistant to
   8    put in the computer, I could do that.
   9           Q.      Would he ask you for contact
  10    information for different individuals, if he
  11    wanted to contact someone?
  12                  MR. PAGLIUCA:     Objection to the
  13           form and foundation.
  14           A.     In the course of the long period of
  15    time when I was there, it certainly would be
  16    possible for him to ask me for a telephone
  17    number and if I had the -- I wouldn't always
  18    have it -- I'm sure it happened.
  19           Q.     Was there a hardcopy book in
  20    addition to the computer, a hardcopy book
  21    that you could look for numbers that were
  22    relevant to Jeffrey Epstein's life and
  23    something on the computer or was it just an
  24    electronic version?
  25                  MR. PAGLIUCA:     Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 317 of 465


                                                                   Page 316
   1               G Maxwell - Confidential
   2          form and foundation.
   3          Q.      Was there a hard copy book as well
   4    as something on the computer or was there
   5    only electronic information on the phone
   6    numbers?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I can only testify to what I know
  10    obviously, and I believe that this is a copy
  11    of a stolen document.        I would love to know
  12    how you guys got it.
  13          Q.     I'm asking during the time you
  14    worked for Jeffrey Epstein, was there a
  15    hardcopy document of any kind that kept phone
  16    numbers for Jeffrey Epstein, if he needed to
  17    contact someone?
  18          A.     The stolen document I have in front
  19    of me that you have is what you are referring
  20    to.
  21          Q.     So there was, during your time when
  22    you were there, there was no other, you
  23    mentioned there was information on a
  24    computer.     Was there any hardcopy document
  25    that you could refer to to find someone's
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 318 of 465


                                                                   Page 317
   1               G Maxwell - Confidential
   2    number?
   3            A.    You have the stolen document in
   4    front of you.
   5            Q.    You had access to this when you
   6    worked for Jeffrey Epstein?
   7            A.    This is, I believe, the book that
   8    was stolen, that was the hardcopy of whatever
   9    was there.
  10          Q.     So when you were working for
  11    Jeffrey Epstein, you were able to access this
  12    book?
  13          A.     This book -- if this is what this
  14    is, I believe it was, this is the stolen
  15    document from his house.
  16          Q.     And you were able to access it when
  17    you worked for him?
  18          A.     It was a document that was printed
  19    that you could, if you needed to, look for a
  20    number.
  21          Q.     Do you know how this book was
  22    created?
  23          A.     No.
  24          Q.     When you referred to it a moment
  25    ago, to a stolen document, when
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 319 of 465


                                                                   Page 318
   1               G Maxwell - Confidential
   2                 turned this document over to the
   3    FBI, are you aware he described it as a
   4    document that came from your computer?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          A.      I have no idea what he said or
   8    didn't say, so if you want me to reference
   9    something he said, you need to show it to me.
  10          Q.     Did you keep this document, an
  11    electronic copy of it, on your personal
  12    computer?
  13          A.     I don't recollect.
  14          Q.     If you had to update something, for
  15    example, if there was a new number, a new
  16    individual that Jeffrey had hired that you
  17    were going to track, would you input that
  18    information into this document on your
  19    computer?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I've already testified that I'm not
  23    responsible for updating and keeping these
  24    records.
  25          Q.     Did you have this document on your
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 320 of 465


                                                                   Page 319
   1               G Maxwell - Confidential
   2    computer, your personal computer?
   3          A.      I told you, I don't recollect
   4    having this document on my computer.
   5          Q.      Do you know what computers this
   6    document was on, if more than one?
   7          A.      I'm sorry, this is a long time ago
   8    and I don't recall exactly how this was all
   9    managed.
  10          Q.     If you didn't create this document,
  11    do you know who did?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     I don't.
  15          Q.     I'm going to direct your attention
  16    to part of this document.         It's towards the
  17    back, it's going to be page 91 and it has
  18    bates label Giuffre 001663.          I'm going to
  19    direct your attention to the section that
  20    says, Massage Florida.
  21                 Did you input any of the names or
  22    numbers under that section?
  23                 MR. PAGLIUCA:      Objection to form
  24          and foundation.
  25          A.     So this document is produced in
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 321 of 465


                                                                   Page 320
   1               G Maxwell - Confidential
   2    2004, 2005, so, no.
   3          Q.      But I'm sorry, correct me if I'm
   4    misunderstanding your testimony, I thought
   5    you said when you were working with Jeffrey,
   6    that this document existed and it was
   7    something you utilized?
   8          A.      I can't possibly tell you what
   9    numbers were added or not added subsequent to
  10    my departure.
  11          Q.     So you can't recall if you added
  12    any of these numbers?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation, mischaracterizes
  15          the witness' testimony.
  16          Q.     Are there any numbers on here or
  17    names that you recognize that you would have
  18    entered into this section?
  19          A.     I already testified that I'm not
  20    responsible for inputting numbers and names
  21    into this so I would not be able to tell you.
  22          Q.     Are there any names or numbers
  23    under this section, Massage Florida, that you
  24    would have provided to an assistant to input
  25    into this document?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 322 of 465


                                                                   Page 321
   1               G Maxwell - Confidential
   2            A.    I can't possibly say.
   3            Q.    Do you see under Massage Florida,
   4    about halfway down the first column, do you
   5    see a number that says                    cell?
   6                  MR. PAGLIUCA:     What page?
   7            Q.    It's 91, Bates number 001663.
   8    About halfway down, it says in the first
   9    column, it says                  cell.
  10                  Do you see that?
  11          A.      I do.
  12          Q.      Would you have provided after, I
  13    know you didn't hire her, Jeffrey hired her
  14    but after you brought her to Jeffrey, would
  15    you have given her cell phone number to an
  16    assistant to input into this document?
  17                  MR. PAGLIUCA:     Objection to form
  18          and foundation.
  19          A.      I didn't bring her to Jeffrey, the
  20    way you characterize and I would have no
  21    knowledge of how this number ended up in this
  22    book.
  23          Q.      I believe you, and I will try to
  24    use your words so we are clear, you met
  25                 is that correct?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 323 of 465


                                                                   Page 322
   1               G Maxwell - Confidential
   2          A.      Yes.
   3          Q.      And then she began working for
   4    Jeffrey?
   5          A.      Yes.
   6          Q.      Would you have provided whomever
   7    was in charge of keeping this updated with
   8                 cell number so you would be able to
   9    contact her if needed?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     I don't know.      It could have been a
  13    number of different ways, it it could have
  14    been Jeffrey who gave it to somebody.
  15          Q.     You just don't remember doing that?
  16          A.     I do not.
  17          Q.     Now, as you look -- I want you to
  18    take a look at the Florida massage list, it's
  19    three columns there.
  20                 Do you, as you look at those names
  21    on the various columns, do you know the ages
  22    of any of the girls in this list?
  23          A.     I don't know.      One, I don't know
  24    who all the people are on this list and I
  25    certainly don't know the ages.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 324 of 465


                                                                   Page 323
   1               G Maxwell - Confidential
   2          Q.      Do you know what their
   3    qualifications are?
   4          A.      I don't know who the people are in
   5    general so of course I don't know what their
   6    qualifications are.
   7          Q.      Do you know why Jeffrey has so many
   8    masseuses listed in Florida in his book here?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     Again, this book was created post
  12    my departure, so I couldn't explain why all
  13    these people were here.
  14          Q.     When you were there, you said this
  15    book existed?
  16          A.     Yes.
  17          Q.     So when you were there, were there
  18    a number of masseuses listed under the
  19    Florida massage?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation and
  22          mischaracterization of the witness'
  23          testimony.
  24          Q.     I'm asking you a question.
  25                 When you were there, were there a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 325 of 465


                                                                   Page 324
   1               G Maxwell - Confidential
   2    number of masseuses listed under the Florida
   3    massage section?
   4          A.      When I was there, I would have, of
   5    course there would have been some masseuses
   6    listed but I could not tell you who or how
   7    many and this -- I could not possibly because
   8    I wouldn't remember.
   9          Q.      Do you know why Jeffrey would have
  10    had so many names listed under his massage
  11    Florida?
  12                 MR. PAGLIUCA:      Objection to form
  13          and foundation.
  14          A.     I can't testify to why Jeffrey has
  15    so many.
  16          Q.     Did he use a different masseuse
  17    every day?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          Q.     You can answer.
  21          A.     When I was there he had a massage
  22    roughly every day, one masseuse, and mostly
  23    he would have them at random times, so it
  24    would be difficult if you just only had one
  25    person, man, woman, for an adult massage, to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 326 of 465


                                                                   Page 325
   1                G Maxwell - Confidential
   2    come and be available for whatever time it
   3    was.    So he would have more than one person
   4    that he could call for a massage because at
   5    any given time the one that he called first
   6    may not have been available.
   7           Q.      So would it typically be a
   8    different person each day that would give him
   9    a massage?
  10                  MR. PAGLIUCA:     Objection to the
  11           form and foundation.
  12           A.     It would be, when I was there,
  13    based on availability.
  14           Q.     Would it surprise you to learn that
  15    the Federal Government found that some of the
  16    girls on this list under massage Florida were
  17    under the age of 18?
  18                  MR. PAGLIUCA:     Objection to the
  19           form and foundation.
  20           A.     I can't testify to what the
  21    government found or did not find because I
  22    would have no knowledge of it.
  23           Q.     I'm asking if you would be
  24    surprised by that?
  25                  MR. PAGLIUCA:     Form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 327 of 465


                                                                    Page 326
   1               G Maxwell - Confidential
   2            A.    I have knowledge of it.       I can't
   3    speculate.
   4            Q.    On the second column, towards the
   5    bottom, there is the name, it's one up from
   6    the bottom, there is the name                           ,
   7    do you know                      ?
   8            A.    I do.
   9            Q.    Who is she?
  10          A.     She was a friend of Jeffrey's.
  11          Q.     Is she a masseuse?
  12          A.     She, I don't think she was a
  13    masseuse, no.
  14          Q.     Why would be she listed under
  15    Florida massages?
  16          A.     An input error.
  17          Q.     Is this list any individual that
  18    would have sex with Jeffrey?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I wouldn't have any knowledge of
  22    that.
  23          Q.     Do you know if Jeffrey had sex with
  24                      ?
  25                 MR. PAGLIUCA:      Object to the form
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 328 of 465


                                                                   Page 327
   1               G Maxwell - Confidential
   2          and foundation.
   3          A.      First of all, I wouldn't have any
   4    knowledge of that.
   5                  MS. McCAWLEY:     We are going to take
   6         a quick break.
   7                  THE VIDEOGRAPHER:      It's now 4:39
   8          and we are off the record.
   9                  (Recess.)
  10                 THE VIDEOGRAPHER:       It's now 4:54
  11          and we are as back on the record
  12          starting disk number 8.
  13          Q.     Ms. Maxwell, we were talking
  14    earlier about the journal and I believe you
  15    said in 2004, 2005, you were no longer
  16    working and responsible for that journal, is
  17    that correct?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     What are we referring to, this
  21    document right here?
  22          Q.     Yes.
  23          A.     I don't know who is the author of
  24    this or I can't tell you what is in here
  25    versus what would have been here when I was
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 329 of 465


                                                                   Page 328
   1               G Maxwell - Confidential
   2    around.      I can't testify to that.
   3          Q.      Were you around in 2004, 2005?
   4          A.      I already testified that I was
   5    there when Jeffrey's mother passed away and
   6    so you know, I did visit for her passing and
   7    I believe I was there for a couple of days in
   8    2005.
   9          Q.      So if an employee of Mr. Epstein in
  10    2004 said that you were the employee's direct
  11    supervisor, would that be incorrect?
  12                 MR. PAGLIUCA:      Objection to form
  13          and foundation.
  14          A.     What employee, what's the
  15    circumstances and what is the story, I don't
  16    know what you are asking me.
  17          Q.     If                        said in 2004
  18    when he was hired, you were his direct
  19    supervisor, would that be true?
  20          A.     No.
  21          Q.     Were you in 2004 supervising
  22
  23                 MR. PAGLIUCA:      Objection to form
  24          and foundation.
  25          A.     I never supervised                     .
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 330 of 465


                                                                   Page 329
   1                G Maxwell - Confidential
   2           Q.      Did                take orders from
   3    you?
   4                   MR. PAGLIUCA:    Objection to the
   5           form and foundation.
   6           A.      She worked for Jeffrey.
   7           Q.      If                      said you had
   8    knowledge of underage girls coming to
   9    Jeffrey's home for the purpose of sex, would
  10    you contend that that is truthful?
  11                  MR. PAGLIUCA:     Objection to the
  12           form and foundation of the question.
  13           A.     I have no idea what you are talking
  14    about, I'm sorry.
  15           Q.     If                       said that you
  16    have knowledge of underage girls coming to
  17    Jeffrey's home for the purpose of having
  18    massages involving sex, would you say that
  19    that statement is truthful?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation.
  22           A.     I can't testify to what
  23    said or didn't say.
  24           Q.     I'm saying if             said that you
  25    had knowledge that there were girls coming
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 331 of 465


                                                                   Page 330
   1               G Maxwell - Confidential
   2    over to the house that were underage for the
   3    purposes of sex, would that statement be
   4    true?
   5                  MR. PAGLIUCA:     Objection to form
   6          and foundation.
   7          A.      I can't testify to what
   8    said or didn't say or what he thought.
   9          Q.      Did you have knowledge of underage
  10    girls coming to Jeffrey Epstein's house for
  11    the purpose of sex?
  12          A.     No.
  13          Q.     Earlier I believe you testified,
  14    correct me if I'm wrong, that the document
  15    that is in front of you, the thicker document
  16    was a stolen document.
  17                 Do you know who stole that
  18    document?
  19          A.     I have read that               stole the
  20    document.
  21          Q.     And where have you read that?
  22          A.     I believe it was reported in the
  23    press.
  24          Q.     Earlier we were talking about the
  25    computers at Jeffrey Epstein's home.            Did you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 332 of 465


                                                                   Page 331
   1                G Maxwell - Confidential
   2    have a computer that was your computer
   3    located in Jeffrey Epstein's home?
   4                   MR. PAGLIUCA:    Objection to form
   5           and foundation.
   6           A.      I've testified to the computer
   7    already.       Even when I was around, there was a
   8    computer that people had access to.
   9           Q.      So is                       telling the
  10    truth when he says that he downloaded that
  11    book from your computer?
  12                  MR. PAGLIUCA:     Objection to the
  13           form and foundation.
  14           A.     I couldn't possibly tell you what
  15                did or didn't do or said or didn't
  16    say.
  17           Q.     Was it on your computer?
  18           A.     I already testified I have no idea
  19    where this document came from.
  20           Q.     Did you have a list of names of
  21    individuals with contact information for
  22    Jeffrey Epstein on your personal computer?
  23           A.     Again, that wasn't my computer.         I
  24    already said that was a computer that lots of
  25    people would have, so I have no recollection
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 333 of 465


                                                                   Page 332
   1               G Maxwell - Confidential
   2    of this document being on it, so I don't know
   3    where this came from.
   4          Q.      I understand the computer at the
   5    house that you're referencing.          On a personal
   6    computer of yours, did you have that
   7    document?
   8          A.      I don't know where this document
   9    came from, so I can't possibly say this
  10    document was on any computer that I may have
  11    had access to.
  12          Q.     On a personal computer of your own,
  13    did you have lists of the phone numbers and
  14    contact information relating to Jeffrey
  15    Epstein?
  16          A.     Like everybody, I have an address
  17    book but I can't possibly testify to where
  18    this thing came from.
  19          Q.     Was it your address book or was it
  20    addresses that related to Jeffrey Epstein?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     I don't know what you're asking me.
  24          Q.     On your personal computer, the
  25    address book you are referencing, was it your
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 334 of 465


                                                                   Page 333
   1               G Maxwell - Confidential
   2    address book with individuals you knew or was
   3    it an address book for your employer, Jeffrey
   4    Epstein?
   5          A.      Jeffrey has his situation and I
   6    have no -- this is Jeffrey's, it came from
   7    his home, so I can't testify to anything
   8    about this in that period of time.
   9          Q.      So you didn't have on your computer
  10    a list of contact information for individuals
  11    that was related to Jeffrey Epstein?
  12          A.     I don't recall exactly what I had
  13    back in 2004 and 2005, so I can't say what I
  14    had back then that relates to his addresses,
  15    I can't recall.
  16          Q.     So is it possible that someone
  17    could have downloaded from your personal
  18    computer a list of names and address that
  19    were affiliated with Jeffrey Epstein?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     This didn't come from any computer
  23    of mine.
  24          Q.     But is it possible that someone
  25    could have downloaded a list of names and
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 335 of 465


                                                                   Page 334
   1               G Maxwell - Confidential
   2    addresses affiliated with Jeffrey Epstein
   3    from your computer?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          A.      I already said, I didn't have a
   7    computer there, so I don't know where this
   8    came from, I have no idea.
   9          Q.      I'm going to read to you some
  10    testimony from                              deposition
  11    and it's on page 370 and I want to ask you a
  12    question about it, if it's true or false?
  13                 MR. PAGLIUCA:      I'm going to object
  14          unless you show the witness the
  15          document.
  16                 MS. McCAWLEY:      I will pass it.      We
  17          are not going to mark it.         We will skip
  18          it.
  19          Q.     Did you ever tell
  20    that he better watch out and better keep his
  21    mouth shut with respect to what occurred at
  22    Mr. Epstein's home?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     It doesn't sound like anything I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 336 of 465


                                                                   Page 335
   1               G Maxwell - Confidential
   2    would say.
   3          Q.      Did you ever threaten
   4                 in any way if he were to disclose
   5    information he learned from his employment
   6    with Jeffrey Epstein?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I'm happy to answer.      No, I never
  10    threatened him in any way.
  11          Q.     Were you concerned that he was
  12    going to disclose that Jeffrey Epstein was
  13    trafficking underage girls?
  14                 MR. PAGLIUCA:      Objection to the
  15          form and foundation.
  16          A.     First of all, there are so many
  17    things wrong with that question, but I have
  18    no knowledge of what you are talking about.
  19          Q.     Have you ever contacted or
  20    instructed anyone to contact any witness in
  21    this case for the purposes of threatening
  22    them not to testify in this case?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     I have never called anybody with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 337 of 465


                                                                   Page 336
   1               G Maxwell - Confidential
   2    reference to this case with any, anything you
   3    just mentioned, I never threatened anyone.
   4          Q.      Have you ever directed anyone to
   5    call any witnesses relevant to this case and
   6    threaten them not to testify?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I never done such a thing.
  10          Q.     Did Jeffrey Epstein or you ever ask
  11    any female, regardless of age, to carry
  12    Jeffrey's baby for him?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          Q.     Or anything along those lines?
  16                 MR. PAGLIUCA:      Objection to the
  17          form and foundation.
  18          A.     Can you repeat the question,
  19    please?
  20          Q.     Did you or Jeffrey Epstein ever ask
  21    any female, regardless of age, to carry
  22    Jeffrey Epstein's baby for him?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     Are you asking --
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 338 of 465


                                                                   Page 337
   1               G Maxwell - Confidential
   2          Q.      To become pregnant, did you or
   3    Jeffrey Epstein ever ask any female to become
   4    pregnant and carry Jeffrey Epstein's baby for
   5    you or for Jeffrey?
   6                  MR. PAGLIUCA:     Objection to form
   7          and foundation.
   8          A.      You need to be very specific.         I
   9    have no idea what you are talking about.
  10    That's completely rubbish.
  11          Q.     Did you or Jeffrey Epstein ask any
  12    female to become pregnant and carry his baby
  13    for either him or you?
  14                 MR. PAGLIUCA:      Objection to the
  15          form and foundation.        Go ahead.
  16          A.     I can't testify to anything Jeffrey
  17    did or didn't do when I am not present, but I
  18    have never asked anybody to carry a baby for
  19    me.
  20          Q.     Or anything along those lines?
  21                 MR. PAGLIUCA:      Object to the form
  22          and foundation.
  23          Q.     I want to make sure we are talking
  24    about the same thing, not physically carry a
  25    baby, I mean become pregnant with a baby?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 339 of 465


                                                                   Page 338
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3         form and foundation.
   4          Q.      I want to make sure we are clear.
   5          A.      I don't know what you are asking.
   6          Q.      That's why I want to make sure we
   7    are clear.
   8          A.      We are clear.     I never asked
   9    anybody to carry a baby for me.
  10          Q.     Do you know if Jeffrey ever asked
  11    anybody to carry a baby for him?
  12          A.     I'm not going to characterize any
  13    conversation Jeffrey had with somebody else.
  14          Q.     You are not aware of that, is that
  15    your testimony?
  16          A.     I am testifying I never have and I
  17    will not testify for anything for Jeffrey.
  18          Q.     Did you ever hear Jeffrey ask
  19    anybody to carry a baby for him?
  20          A.     I don't recollect conversation
  21    about Jeffrey and babies in any form.
  22          Q.     Did Jeffrey ever tell he wanted to
  23    have a baby?
  24          A.     I don't recollect baby
  25    conversations with Jeffrey.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 340 of 465


                                                                   Page 339
   1               G Maxwell - Confidential
   2          Q.      So he never told you he wanted to
   3    have a baby?
   4          A.      I don't recollect any baby
   5    conversations with him saying he wanted to
   6    have a baby.
   7          Q.      Did you ever bring any females to
   8    the            house that were not your friends'
   9    children that were under the age of 18?
  10                 MR. PAGLIUCA:      Objection to form
  11          and foundation.
  12          A.     I have never, to my knowledge,
  13    brought anybody under the age of 18 that's
  14    not a friend of my family or my nieces or
  15    nephews to the             household.
  16          Q.     Earlier today you testified, I
  17    believe, that with respect to your town home
  18    Jeffrey paid for some of that and then gave
  19    you a loan, is that correct?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I said, actually I think it was a
  23    loan, I believe it was a loan.
  24          Q.     The whole thing?
  25          A.     As best as I can recollect.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 341 of 465


                                                                   Page 340
   1               G Maxwell - Confidential
   2          Q.      Did you pay that loan back?
   3          A.      I don't have any outstanding loans
   4    with him.
   5          Q.      So you paid it back?
   6          A.      I don't have any outstanding loans
   7    with him.
   8          Q.      That's not an answer to my
   9    question.
  10                 Did you pay back Jeffrey for the
  11    loans?
  12          A.     I have paid back any loans I had
  13    with him.
  14          Q.     You have or haven't?
  15          A.     Have.
  16          Q.     Were there any other gifts that
  17    Jeffrey gave you during the time period of
  18    say 1999 to the present that were in excess
  19    of $50,000?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     What's the question again?
  23          Q.     Did Jeffrey give you any gifts in
  24    excess of amounts of $50,000, I'm not talking
  25    about a scarf here or something
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 342 of 465


                                                                   Page 341
   1               G Maxwell - Confidential
   2    insignificant, from 1999 to the present?
   3          A.      I can't recollect any gifts.
   4          Q.      Did he ever buy you a car?
   5          A.      I really don't recall, I can't
   6    recall, it's a long time ago.
   7          Q.      You can't recall if Jeffrey Epstein
   8    ever bought you a car?
   9          A.      I believe he did buy me a car, I
  10    don't recall how much it cost.          I don't
  11    recall any of the financial details of that.
  12          Q.     Do you still have that car?
  13          A.     I don't.
  14          Q.     How long ago did you get rid of
  15    that car?
  16          A.     I don't recall all the cars.          There
  17    was a car back -- there was -- I don't
  18    recall, I'm sorry.
  19          Q.     He supplied you with several cars?
  20                 MR. PAGLIUCA:      Object to the form
  21          and the mischaracterization of the
  22          testimony.
  23          A.     I don't recall details of the cars.
  24          Q.     Did he supply with you more than
  25    one car?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 343 of 465


                                                                   Page 342
   1               G Maxwell - Confidential
   2          A.      Over the course of time, I've
   3    driven many cars.
   4          Q.      That Jeffrey provided to you?
   5          A.      They were cars that could be driven
   6    and I just don't recall them.
   7          Q.      Were they in your name?
   8          A.      I don't recall.
   9          Q.      You don't recall if Jeffrey Epstein
  10    ever put a car in your name?
  11          A.     We are talking a long time ago, I
  12    really don't recall.
  13          Q.     When is the last time you had a car
  14    from Jeffrey Epstein that you used?
  15          A.     2000, 2001, 2002.
  16          Q.     Do you recall what kind of a car
  17    that was?
  18          A.     I don't recall, I'm sorry.
  19          Q.     Did Jeffrey Epstein purchase
  20    anything else for you besides the townhouse
  21    and cars that would be over the amount of
  22    $50,000?
  23          A.     I didn't say that he did, I said I
  24    had a loan.
  25          Q.     Besides the loan, I'm sorry, you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 344 of 465


                                                                   Page 343
   1               G Maxwell - Confidential
   2    are right, you did say you had a loan and you
   3    said you paid that back, correct?
   4          A.      That's my testimony.
   5          Q.      Anything else in excess of $50,000
   6    that he would have purchased for you?
   7          A.      We are talking 2002, 2001, I don't
   8    recall any gifts really.
   9          Q.      When is the last time Jeffrey
  10    Epstein gave you a gift in excess of $50,000?
  11                 MR. PAGLIUCA:      Assumes facts not in
  12          evidence.     Form and foundation.
  13          Q.     You're saying you don't remember
  14    from 2001 and 2002.        I'm asking when is the
  15    last time you remember Jeffrey Epstein
  16    purchasing a gift for you?
  17          A.     I don't recall gifts in excess of
  18    $50,000, I barely recall gifts, I barely
  19    recall a lot of this -- I'm sorry, I don't
  20    recall.
  21          Q.     Is Jeffrey Epstein paying for your
  22    legal fees in this case?
  23          A.     No.
  24          Q.     Is he paying for anything related
  25    to this case?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 345 of 465


                                                                   Page 344
   1               G Maxwell - Confidential
   2          A.      No.
   3          Q.      Are you aware of any grand theft
   4    police report relating to Virginia Roberts?
   5          A.      I believe I've read a report in the
   6    press on that.
   7          Q.      Did you provide the press with a
   8    report on a grand theft by Virginia Roberts?
   9          A.      I don't know how the press got that
  10    story.
  11          Q.     Do you know if Virginia Roberts
  12    committed a grand theft?
  13          A.     I only know what I read in the
  14    press.
  15          Q.     Did you ever state to the press
  16    that Virginia Roberts committed a grand
  17    theft?
  18          A.     I've never had any conversation
  19    directly with press.
  20          Q.     Did any of your representatives
  21    ever inform the press that Virginia Roberts
  22    committed a grand theft?
  23                 MR. PAGLIUCA:      Objection to the
  24          form and foundation.
  25          A.     I have no way of knowing what my
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 346 of 465


                                                                   Page 345
   1               G Maxwell - Confidential
   2    representatives said to press or didn't.
   3          Q.      Did they ever discuss with you the
   4    fact that they were going to report that
   5    Virginia Roberts participated in a grand
   6    theft?
   7          A.      I don't know how, first of all, I
   8    don't know how I know that.          I believe I read
   9    it in a press report so...
  10          Q.     I'm going to mark this as composite
  11    exhibit, Maxwell 14 please?
  12                 (Maxwell Exhibit 14, email, marked
  13          for identification.)
  14          Q.     I'm going to direct you to page GM
  15    00109.     At the top of that page you are going
  16    to see an email address from Jeffrey Epstein
  17    on Sunday June 12, 2011 to
  18
  19          A.     Yes.
  20          Q.     The re line says, This is the
  21    actual version they wanted me to send which I
  22    changed but this is back from my U.K.
  23    lawyers.
  24                 Do you see that?
  25          A.     Yes.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 347 of 465


                                                                   Page 346
   1                G Maxwell - Confidential
   2           Q.      If you go down further, you're
   3    going to see halfway through the page, you
   4    will see your email address the
   5    and you will see a statement that says, Thank
   6    you.    I have it now.      I'm working on the
   7    letter a little.        I will send final version
   8    tomorrow and whatever is in it will be
   9    factually accurate.
  10                  Beneath that you will see
  11             who I believe you identified earlier
  12    as one of your attorneys?
  13           A.     Uh-huh.
  14           Q.     And you will see a letter, starting
  15    the text of a letter starting, I want you to
  16    turn to the second page which is GM 00110.
  17    About halfway through the page, it says you
  18    will also presumably draw attention to the
  19    fact that prior to filing her suit against
  20    Mr. Epstein, Ms. Roberts fled the U.S. to
  21    avoid being arrested for grand theft.            Police
  22    report available.
  23                  What grand theft were you referring
  24    to there that Virginia Roberts committed?
  25                  MR. PAGLIUCA:     Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 348 of 465


                                                                   Page 347
   1               G Maxwell - Confidential
   2            form and foundation.
   3            A.    I don't know.     However, I believe
   4    she stole money from somewhere where she
   5    worked.
   6            Q.    How do you know that was grand
   7    theft?
   8            A.    I don't know how I know that.
   9            Q.    So you authorized a statement that
  10    characterized that as grand theft without
  11    knowing whether it was grand theft?
  12          A.     What month, what is the date of
  13    this?
  14          Q.     The date of this is June 12, 2011?
  15          A.     So I'm afraid such a long time ago,
  16    I'm not sure how, I really couldn't testify
  17    as to how that language ended up in here.
  18          Q.     Do you have the police report?          It
  19    says police report available.          Do you have
  20    that document?
  21          A.     I don't have that document.
  22          Q.     Who does?
  23          A.     I have no idea.
  24          Q.     Would your lawyer
  25    have that document?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 349 of 465


                                                                   Page 348
   1               G Maxwell - Confidential
   2          A.      I don't know who has this document.
   3          Q.      What's your basis in that statement
   4    for saying Ms. Roberts fled the U.S.?
   5          A.      Again, you are asking me for a
   6    statement that I made in 2011 and I can't say
   7    what in 2011 exactly the basis of that
   8    statement was.
   9          Q.      So you don't know whether or not
  10    that statement is true?
  11          A.     This is in 2011 and it never went
  12    out, so I'm not sure exactly.
  13          Q.     But you said in your email that you
  14    were working to make it factually accurate,
  15    is that correct?
  16          A.     That's what it says.
  17          Q.     I'm going to mark as Maxwell 15 a
  18    document dated February 24, 2015?
  19                 (Maxwell Exhibit 15, email, marked
  20          for identification.)
  21          Q.     This is an email from                   who
  22    you've identified as your                       on
  23    February 24, 2015 to             which I understand
  24    to be your email address and                         .
  25    The subject line says, VR cried rape.            Prior
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 350 of 465


                                                                   Page 349
   1               G Maxwell - Confidential
   2    case dismissed as prosecutors found her not
   3    credible.      The message says, Ghislaine, some
   4    helpful leakage, dot dot dot.          What is it you
   5    were leaking to the press?
   6                  MR. PAGLIUCA:     Objection, there is
   7          no foundation that she leaked anything
   8          and you know that.
   9          Q.      What was it that you were leaking
  10    to the press in that statement?
  11          A.     Again, I don't think that's
  12    referring to that, that's just referring to
  13    the press getting hold of whatever story it
  14    is.
  15          Q.     What was              leaking to the
  16    press?
  17                 MR. PAGLIUCA:      Objection to form
  18          and foundation.
  19          A.     It doesn't say           was leaking
  20    anything.     It doesn't say that.
  21          Q.     The statement says, helpful
  22    leakage, is that correct?
  23          A.     It says helpful leakage.        That
  24    doesn't mean he leaked anything.
  25          Q.     Did you leak to the press
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 351 of 465


                                                                   Page 350
   1               G Maxwell - Confidential
   2    information to the press information about
   3    the subject line, VR cried rape, prior case
   4    dismissed as prosecutors found her not
   5    credible?
   6          A.      I don't no idea what           is
   7    referring to.      I think he is referring to the
   8    press held the story.        I couldn't testify to
   9    that.
  10          Q.     Did you leak to the press
  11    information regarding the statement, VR cried
  12    rape prior case dismissed as prosecutors
  13    found her not credible, either through you or
  14    through                         ?
  15          A.     I think this is coming from the
  16    daily mail.
  17          Q.     That is not my question, I'm asking
  18    whether you or                          leaked that?
  19          A.     I have no knowledge, I have no
  20    idea, I'm sorry.       I can't -- I have no
  21    recollection.      I have no idea what she is
  22    talking about.
  23          Q.     I'm going to mark this as 16?
  24                 (Maxwell Exhibit 16 email marked
  25          for identification.)
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 352 of 465


                                                                   Page 351
   1               G Maxwell - Confidential
   2          Q.      This is an email addressed at the
   3    top from Jeffrey Epstein on Monday, January
   4    12, 2015 to          which I understand to be
   5    your email address.        The email reads, You can
   6    issue a reward to any of Virginia's friends,
   7    aquaints, family, that come forward to help
   8    prove her allegations are false.           The
   9    strongest is the                dinner and the new
  10    version of the Virgin Islands that
  11               practiced in an underage orgy.
  12                 Did you offer any rewards to
  13    Virginia's family or friends to contradict
  14    Virginia's story?
  15          A.     Absolutely not.
  16          Q.     Did Jeffrey Epstein offer any
  17    rewards to any of Virginia's, as he suggests
  18    here, friends, family or acquaintances to
  19    contradict Virginia's story?
  20                 MR. PAGLIUCA:      Objection to the
  21          form and foundation.
  22          A.     I have no idea what he did.
  23          Q.     Did he tell he was going to offer
  24    rewards to Virginia's acquaintances, friends
  25    and family to prove her allegations were
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 353 of 465


                                                                   Page 352
   1                 G Maxwell - Confidential
   2    false?
   3            A.      He did not.
   4            Q.      Do you know whether Jeffrey Epstein
   5    paid                     to give testimony about
   6    Virginia Roberts?
   7            A.     I don't know who                      is.
   8            Q.     So you don't know whether Jeffrey
   9    Epstein paid her?
  10           A.      I don't know who                      is.
  11           Q.      Have you ever contacted any of
  12    Virginia's friends, acquaintances or family
  13    regarding this case?
  14           A.      I don't know who Virginia's friends
  15    or family are and I have not contacted
  16    anybody related to her in any way, shape or
  17    form.
  18           Q.      I will turn you, I believe it's the
  19    thicker document which is Maxwell, I believe
  20    it was 14, right there, the compilation
  21    document to GM, at the bottom, GM 00071.             You
  22    actually may want to turn to the prior page
  23    70 so you can see the email chain.           At the
  24    top of the page --
  25                   MR. PAGLIUCA:    I don't have a 00071
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 354 of 465


                                                                   Page 353
   1             G Maxwell - Confidential
   2          on mine.
   3                 MS. McCAWLEY:      It's the second page
   4          in that document.
   5                 MR. PAGLIUCA:      Okay.
   6          Q.     It's dated Friday March 11, 2011
   7    from Maxwell to Jeffrey with the title, Daily
   8    Mail and there is a forward from                     to
   9    you and a number of other individuals, that's
  10    on the cover page and as you scroll to the
  11    second page, you are going to see that part
  12    of the chain that I'm asking about and that
  13    is the chain at the bottom which is dated
  14    3/10/2011 from                     and it says we
  15    think -- we should think about the letter to
  16    the editor.     School can be university.          Age
  17    of consent in Florida is complex.           See below,
  18    if you are 16 years old, a sexual
  19    relationship with someone between 18 and 24
  20    is legal in Florida.        Two persons between 16
  21    and 24, Florida statute 794.05.           A person 24
  22    years or of age or older who engages in
  23    sexual activity with a person 16 or 17 years
  24    of age commits a felony in the second degree.
  25    So as soon as you turn 16 you are able to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 355 of 465


                                                                   Page 354
   1               G Maxwell - Confidential
   2    have sexual relations and you can have sexual
   3    relations with a minor under the age of 18
   4    until your 24th birthday.
   5                  Why were you concerned with the age
   6    of consent in Florida?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation of the question.
   9          A.      I wasn't concerned.        I think this
  10    was somebody sending me the statute for
  11    informational purposes.
  12          Q.     Who is                  ?
  13          A.     He is the person who,
  14    boss I believe, I don't know what the
  15    relationship is.
  16          Q.     I didn't hear you?
  17          A.     I                                  I'm not
  18    sure exactly.
  19          Q.     Why would he be sending you
  20    information addressing concerns about the age
  21    of consent in Florida?
  22                 MR. PAGLIUCA:      Objection to the
  23          form and foundation.
  24          A.     I think he was just trying to be --
  25    telling me details that would happen,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 356 of 465


                                                                   Page 355
   1                G Maxwell - Confidential
   2    Virginia in '11 was claiming she was 15 and
   3    we thought she was 17.         I didn't know what
   4    the statutes were in Florida and I think he
   5    was just trying to be helpful so I would
   6    know.
   7           Q.      Did you have a concern that you had
   8    violated this statute in Florida?
   9                   MR. PAGLIUCA:    Objection to the
  10           form and foundation.
  11           A.     No.
  12           Q.     Did you have a concern that Jeffrey
  13    Epstein had violated this statute in Florida?
  14           A.     I'm not concerned what happened
  15    with Jeffrey.       I'm only concerned what
  16    happens with me.
  17           Q.     Why did you communicate with
  18                    about the sexual consent age in
  19    Florida?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation.       It misstates her
  22           testimony.
  23           A.     I wasn't concerned.      I think he was
  24    being helpful and stating what the statute
  25    was.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 357 of 465


                                                                   Page 356
   1               G Maxwell - Confidential
   2          Q.      I'm going to turn you now in that
   3    same stack the Bates number GM 00088.            At the
   4    top of the email you are going to see Jeffrey
   5    Epstein, dated June 8, 2011, to you and it's
   6    got a re line, Vanity Fair.          If you go down
   7    the chain you will see where it says under
   8    your email, Do you have a problem with
   9    anything I said.
  10                 Were you communicating with Jeffrey
  11    to confirm what statements you could put in
  12    any press releases you were given?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     Any interest I have is in accuracy.
  16          Q.     Were you confirming with Jeffrey
  17    Epstein what information you could put in
  18    press releases?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     Again, I'm only looking for
  22    accuracy.
  23          Q.     Why would you ask him if he had a
  24    problem with anything you were saying?
  25          A.     If there is anything I
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 358 of 465


                                                                   Page 357
   1               G Maxwell - Confidential
   2    characterized that was not correct.
   3          Q.      That's not what you said.        You
   4    said, do you have a problem with anything I
   5    said.
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.        There is no
   8          question pending.
   9                  MS. McCAWLEY:     There is.
  10                 MR. PAGLIUCA:      That's not a
  11          question, it's a statement.
  12                 MS. McCAWLEY:      Don't interrupt me.
  13          Q.     Di you say, do you have a problem
  14    with anything I said?
  15          A.     That was asking in my parlance that
  16    I wanted him to check it for accuracy.
  17          Q.     Did he tell you there was anything
  18    inaccurate about the statement?
  19          A.     Again, I have to read the whole
  20    thing to figure that out.
  21          Q.     Were you coordinating with Jeffrey
  22    Epstein during this time period in 2011
  23    regarding statements that you were issuing to
  24    the press?
  25                 MR. PAGLIUCA:      Did you withdraw the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 359 of 465


                                                                   Page 358
   1             G Maxwell - Confidential
   2          last question.
   3                 MS. McCAWLEY:      I'm not withdrawing
   4          anything.     I'm asking a question.
   5                 MR. PAGLIUCA:      There was a question
   6          pending.     You didn't let the witness
   7          answer the question, then you moved on
   8          to another question so I'm asking for
   9          clarification for the record now which
  10          question are we answering.
  11                 MS. McCAWLEY:      There is an answer.
  12          The question was did he tell you
  13          anything, there was anything in the
  14          statement inaccurate about the statement
  15          and she said again, I read the whole
  16          thing --
  17                 THE WITNESS:     I would have to.
  18                 MS. McCAWLELY:      -- I would have to
  19          read the whole thing to figure that out.
  20                 MR. PAGLIUCA:      Then she started
  21          reading it and you asked another
  22          question.
  23                 MS. McCAWLEY:      That's the question.
  24                 MR. PAGLIUCA:      I'm wondering if its
  25          still pending.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 360 of 465


                                                                   Page 359
   1               G Maxwell - Confidential
   2                  MS. McCAWLEY:     It was answered.
   3          Q.      Were you coordinating with Jeffrey
   4    Epstein during the time period in 2011
   5    regarding the statements you were issuing to
   6    the press?
   7                  MR. PAGLIUCA:     Objection to the
   8          form and foundation.
   9          A.      I only wanted to be accurate in any
  10    factual statements that I made.
  11          Q.     You knew at that time that Jeffrey
  12    Epstein had been convicted for sexual abuse
  13    of a minor, is that correct?
  14                 MR. PAGLIUCA:      Objection to form
  15          and foundation.
  16          A.     He was sentenced I believe for
  17    underage -- soliciting an underaged
  18    prostitute.
  19          Q.     You knew that he was a registered
  20    sex offender?
  21          A.     Yes.
  22          Q.     You were coordinating with him the
  23    statement that you were going to be making to
  24    the press to confirm whether they were
  25    accurate in your words?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 361 of 465


                                                                   Page 360
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3            form and foundation.
   4            A.    I was not coordinating with
   5    Jeffrey.      He had details that I did not have.
   6    I was not party to his case.          I needed to
   7    have information in order to be able to
   8    respond so I was not coordinating with him.
   9    I was merely asking for details that I could
  10    have.
  11          Q.     Did Jeffrey write any of your press
  12    statements for you?
  13          A.     No.
  14          Q.     He didn't draft any of them?
  15          A.     I have a lawyer who was working on
  16    this and that was -- I asked, I believe as I
  17    recollect asked him for information to make
  18    sure I was being accurate in the
  19    representations for whatever I was
  20    discussing.
  21          Q.     Did Jeffrey provide you with any
  22    drafts of statements to provide to the press?
  23          A.     I only recall drafts from my
  24    lawyer.
  25          Q.     I will mark this as Maxwell 17.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 362 of 465


                                                                   Page 361
   1               G Maxwell - Confidential
   2                  (Maxwell Exhibit 17, email, marked
   3          for identification.)
   4          Q.      This is an email from you on
   5    January 10, 2015 to
   6            The statement you had before you
   7    earlier, that, if you can pull that in front
   8    of you, the one page press release that you
   9    gave.      You might know from memory.
  10                 Was the press release that you
  11    issued with the statement about Virginia
  12    issued in or around January 2, 2015?
  13          A.     As best as I can recollect.
  14          Q.     I want to turn your attention to
  15    the document I just handed you which is Bates
  16    No. 001044, from you to
  17                  It says in the first sentence, I'm
  18    out of my depth to understand defamation,
  19    other legal hazards and I don't want to end
  20    up in a lawsuit aimed at me from anyone, if I
  21    can help it.      Apparently, even saying
  22    Virginia is a liar has hazards.
  23                 You knew at the time you called
  24    Virginia a liar in early January of 2015 that
  25    that was something that would result in a
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 363 of 465


                                                                   Page 362
   1               G Maxwell - Confidential
   2    lawsuit, is that correct?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          A.      I have legal advice that I took.
   6          Q.      But you knew in early January by
   7    making a statement calling Virginia a liar
   8    that you were subjecting yourself to a legal
   9    dispute with her?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     I took legal advice as to what
  13    should be said and not be said and the legal
  14    advice that came from the United Kingdom
  15    was --
  16                 MR. PAGLIUCA:      You are not allowed
  17          to talk about any legal advice that you
  18          got from anybody that's a lawyer.
  19          A.     Sorry.
  20          Q.     So is it correct without telling me
  21    what you talked to your lawyers about that
  22    you knew because this is dated January 10
  23    that when you made this statement in early
  24    January, January 2 of 2015 you knew that
  25    calling Virginia a liar would subject you to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 364 of 465


                                                                   Page 363
   1                G Maxwell - Confidential
   2    a legal action, isn't that correct?
   3                   MR. PAGLIUCA:    Objection to the
   4           form and foundation.       As to what you
   5           knew -- whatever she knows would be
   6           privileged.
   7                   MS. McCAWLEY:    I'm asking if she
   8           knows.     I'm not asking her to tell me
   9           about her privileged communications.
  10           A.     All I can say is I asked a question
  11    and received legal advice.
  12                   (Maxwell Exhibit 18, email, marked
  13           for identification.)
  14           Q.     This is an email dated January 15,
  15    2015 from Jeffrey Epstein to you?
  16           A.     Uh-huh.
  17           Q.     It states in the first line, do you
  18    want            to come out and say she was the
  19    girlfriend during the time?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation of the question and
  22           actually the word is                    , there
  23           is no vowel in there.
  24                  MS. McCAWLEY:     I was just trying to
  25           pronounce it.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 365 of 465


                                                                   Page 364
   1               G Maxwell - Confidential
   2          Q.      This email reads do you want
   3               without a vowel, to come out and say
   4    she was the girlfriend during the time.
   5                  Who was Jeffrey Epstein referring
   6    to?
   7          A.      I believe he was referring to
   8                   .
   9          Q.      Why was he asking you if you wanted
  10                    to come out and say she was the
  11    girlfriend?
  12                 MR. PAGLIUCA:      Objection to the
  13          form and foundation.
  14          A.     The way the press and you were
  15    characterizing me is I was with Jeffrey
  16    throughout this entire period of time and I
  17    was not.
  18          Q.     Was           with Jeffrey during this
  19    period of time?
  20          A.     I believe she was.
  21          Q.     Did Jeffrey come out and tell the
  22    press it was             and not you that was with
  23    him as he is proposing here?
  24          A.     I don't believe he did.
  25          Q.     Did you want him to do that?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 366 of 465


                                                                   Page 365
   1               G Maxwell - Confidential
   2          A.      No, I didn't ask him to do
   3    anything.      No.
   4          Q.      So do you know in January of 2015,
   5    was           his girlfriend?
   6          A.      2015, I have no idea who was his
   7    girlfriend in 2015.
   8          Q.      I'm sorry, you are correct.
   9                  In the period of 1999 to 2002, was
  10             his girlfriend?
  11          A.     They spent a lot of time together.
  12          Q.     Did you talk to              about going
  13    to the press and saying that she was the
  14    girlfriend and not you?
  15          A.     I have never spoken to
  16          Q.     Was           offered any money to
  17    make a statement that she was the girlfriend?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     I have no idea.      I have never
  21    spoken to            and I don't know anything --
  22    I have no idea.
  23                 (Maxwell Exhibit 19, email, marked
  24          for identification.)
  25          Q.     That's an email from Jeffrey to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 367 of 465


                                                                   Page 366
   1               G Maxwell - Confidential
   2    Maxwell dated January 25, 2015.
   3          A.      Uh-huh.
   4          Q.      I will direct your attention to the
   5    bottom email which is from you on Saturday
   6    January 24, 2015.       It says, I would
   7    appreciate it if              would come out and
   8    say she was your girlfriend.          I think she was
   9    from the end of '99 to 2002.
  10                 Does that refresh your recollection
  11    that you asked Jeffrey to have                  come
  12    out and say she was his girlfriend?
  13          A.     I'm sure I would loved anybody to
  14    come out and say they were with Jeffrey
  15    rather than me.
  16          Q.     Was that an accurate statement you
  17    were asking to be made to the press?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     When is this?
  21          Q.     2015.   The statement is whether she
  22    was the girlfriend from '99 to 2002.            As the
  23    email reads.
  24          A.     What is your question?
  25          Q.     My question is, was that an
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 368 of 465


                                                                   Page 367
   1               G Maxwell - Confidential
   2    accurate statement you were going to be
   3    giving to the press?
   4          A.      I didn't make the statement and
   5             never came out, so it's completely
   6    moot.
   7          Q.      My question is, was it an accurate
   8    statement that              was the girlfriend from
   9    '99 to 2002 or were you just making that up
  10    for purposes of deflecting press from you?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     As I said they spent a lot of time
  14    together and...
  15          Q.     Were you also his girlfriend from
  16    '99 to 2002?
  17          A.     I don't if I would have ever
  18    characterized myself as his girlfriend, but
  19               at that time, was with him as much if
  20    not more than I was.
  21          Q.     I will mark this as Maxwell 20?
  22                 (Maxwell Exhibit 20, email, marked
  23          for identification.)
  24          Q.     This is an email at the top, it's
  25    Bates labled 001060.        At the top is a chain
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 369 of 465


                                                                   Page 368
   1               G Maxwell - Confidential
   2    from Jeffrey to you on January 11, 2015 and
   3    if you look below, I'm going to start at the
   4    bottom of that chain which is January 11 at
   5    9:15 from Jeffrey and he wrote,                 do you
   6    have an article coming out in Monday's paper.
   7    If so, could you please forward us a copy.
   8                  Do you know what          Jeffrey was
   9    referring to there?
  10          A.     I don't know.
  11          Q.     If you look up in the email chain
  12    do you see an email address from
  13                  responding to that letter?
  14          A.     I do.
  15          Q.     So that would be
  16    that Jeffrey was emailing at that time
  17    according to this chain, correct?
  18          A.     It certainly looks like it.
  19          Q.     The email from           to Jeffrey is,
  20    Nothing on Monday.       I'm working on several
  21    possible articles about unfairness in the
  22    legal process that allows false charges to be
  23    inserted into legal documents with no
  24    opportunity to respond.
  25                 And do you see above that Jeffrey's
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 370 of 465


                                                                   Page 369
   1               G Maxwell - Confidential
   2    email to you says, quote, Careful.
   3          A.      Is that to me or to
   4          Q.      Jeffrey to         at the top.     Why
   5    was Jeffrey telling you to be careful?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      I have no idea.
   9          Q.      What was he concerned about with
  10                           suggestion in the email
  11    below?
  12                 MR. PAGLIUCA:      Objection to form
  13          and foundation.
  14          A.     I can't possibly know.
  15          Q.     Did you discuss with him why he
  16    told you to be careful?
  17          A.     I had limited contact with him.           I
  18    don't recall where this goes in the chain,
  19    why he was telling me to be careful, I have
  20    no idea.
  21          Q.     Did you respond to this email?
  22          A.     If you don't have it, I didn't
  23    respond.
  24          Q.     Did you ever delete emails during
  25    the period of January of 2015?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 371 of 465


                                                                   Page 370
   1               G Maxwell - Confidential
   2          A.      I have every email that you asked
   3    for in discovery, that I have I gave you.
   4          Q.      That's not my question.
   5                  Did you ever delete emails in
   6    January of 2015?
   7          A.      I have not deleted anything that
   8    you have asked me for in discovery.            I have
   9    given you everything that I have.
  10          Q.     That is not my question, my
  11    question is, did you ever delete emails in
  12    January of 2015?
  13          A.     In the normal course of my work,
  14    there are emails from spam that I delete.
  15    That is the type of email I've deleted.
  16    Anything that is material to what you want, I
  17    have not deleted.
  18          Q.     How do you know that?
  19          A.     Well, anybody that's to do with
  20    Jeffrey or          or women or anything of which
  21    I know you were interested in, of which I
  22    have anything I would not have done because I
  23    don't want to subject myself to...
  24          Q.     Have you had your computer
  25    forensically copied for purposes of this
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 372 of 465


                                                                   Page 371
   1                G Maxwell - Confidential
   2    litigation?
   3                   MR. PAGLIUCA:    Objection to the
   4            form and foundation.
   5            A.     Has someone made a copy of your
   6    computer for purposes of this litigation.
   7            A.     No.
   8            Q.     Are you a citizen of the United
   9    States?
  10           A.     I am.
  11           Q.     Are you also a citizen of England?
  12           A.     I am.
  13           Q.     Are you a citizen of any other
  14    land?
  15           A.     TerraMar.
  16           Q.     That's the name of your charity
  17    project that deals with oceans, is that
  18    correct?
  19           A.     Yeah. I'm French as well.
  20           Q.     Has Jeffrey Epstein funded TerraMar
  21    for you?
  22           A.     He did give some money to TerraMar,
  23    yes.
  24           Q.     How much?
  25           A.     I believe it was $50,000.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 373 of 465


                                                                   Page 372
   1               G Maxwell - Confidential
   2            Q.    Earlier today, you said you were in
   3    the process of resolving the sale of your
   4    town home.      Where do you intend to live once
   5    your town home is sold?
   6            A.    That's a good question.       I don't
   7    have an answer for you yet.
   8            Q.    You don't have a present plan.         Do
   9    you intend to live in the United States?
  10          A.     I don't have a present plan.
  11          Q.     Are you living outside of your town
  12    home right now or are you still there?
  13          A.     I'm just couch surfing.
  14          Q.     Has Jeffrey Epstein ever purchased
  15    a company for you or put a company in your
  16    name?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I have no recollection.
  20          Q.     Is there a Ghislaine Maxwell
  21    corporation, for example?
  22          A.     No, not that I am aware of that has
  23    anything to do with me.         There may be with
  24    one that someone else owns or started but not
  25    one that is related to me.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 374 of 465


                                                                   Page 373
   1               G Maxwell - Confidential
   2                  MS. McCAWLEY:     I'm going to take a
   3          short break and make sure to keep it
   4          short because I know you wanted to -- I
   5          just want to wrap up what we have left.
   6                  THE VIDEOGRAPHER:      It's now 5:49 we
   7          are off the record.
   8                  (Recess.)
   9                  THE VIDEOGRAPHER:      It's now 6:00
  10          p.m. and we are back on the record.
  11          Q.     Ms. Maxwell, do you recall being
  12    subpoenaed for a deposition back in 2009?
  13          A.     I do.
  14          Q.     Why did you avoid giving your
  15    deposition in that case when you were
  16    subpoenaed and had the opportunity to tell
  17    your side of the story?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     That's not what happened.
  21          Q.     What happened?
  22          A.     As I best recall, I was subpoenaed
  23    and a date was set for the subpoena and
  24    everything was set and I believe it was with
  25    Brad Edwards, correct me if I'm wrong, and
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 375 of 465


                                                                   Page 374
   1               G Maxwell - Confidential
   2    Brad Edwards failed to show up for the
   3    subpoena.
   4            Q.    So your testimony is Brad Edwards
   5    did not show up for the deposition that had
   6    been set?
   7            A.    Correct.
   8            Q.    Did you give any statement that
   9    your mother was ill and, therefore, you
  10    couldn't take your deposition and had to
  11    leave the country indefinitely?
  12          A.     That's an entirely separate
  13    situation.     Brad Edwards was involved in the
  14                                               , I
  15    believe, you know, is when fake suits were
  16    created in Jeffrey's case and
                                   and Brad Edwards worked
  18    for that firm.
  19          Q.     And Mr. Edwards worked for that
  20    firm?
  21          A.     So when the subpoena came, Brad
  22    Edwards was involved with                    in the
  23    case so when I was called for subpoena, then
  24    and I had a subpoena, date and time set, Brad
  25    Edwards went AWAL, meaning he failed to
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 376 of 465


                                                                   Page 375
   1               G Maxwell - Confidential
   2    respond to calls and failed to get in touch
   3    with my attorneys, even though a date and
   4    time was set for the subpoena and so that's
   5    what happened to that subpoena.           It just
   6    didn't happen.
   7          Q.      We may be talking about two
   8    different cases so I will ask the question
   9    again.
  10                 Was there ever a time where you
  11    were subpoenaed to sit for a deposition that
  12    you could not make it because you said that
  13    your mother was ill?
  14          A.     So that is the same subpoena that
  15    Brad Edwards failed to turn up for and then I
  16    think five or six months passed between -- a
  17    period of time, I can't characterize it
  18    exactly, a period of time passed where then
  19    he resurfaced and asked for a new subpoena to
  20    be -- a new time to be set and because he had
  21    contacted the press and done all sorts of
  22    things that you guys are familiar with, I
  23    believe, it was my lawyer suggested that I
  24    should have some sort of protective order and
  25    I believe between the time for when Brad
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 377 of 465


                                                                   Page 376
   1               G Maxwell - Confidential
   2    Edwards resurfaced after the
                                                         for
   4    creating fake cases in Jeffrey's and other
   5    people's cases, in between the time when
   6    there were -- trying to figure out the
   7    protective situation for me, my mother was
   8    sick, she is 89, she was 89 at that time so I
   9    -- they -- we can all -- we all have parents,
  10    so anyone, I don't know how old your parents
  11    are but any parent or godparent, any
  12    individual who is in the late 80s 90s, we can
  13    understand has health issues so my mother's
  14    health was deteriorating very rapidly at that
  15    time and we had issues at home with who she
  16    would talk to and how to manage her, her
  17    healthcare situation and so I went home.
  18    They were still arguing about the protective
  19    order --
  20          Q.     Is it your testimony that there was
  21    not a date set for your deposition at the
  22    time you left to go see your mother?
  23          A.     I don't believe so.
  24          Q.     Are you friends with the
  25          A.     I am.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 378 of 465


                                                                   Page 377
   1               G Maxwell - Confidential
   2          Q.      Did you attend a wedding of
   3               a few weeks after the date was set,
   4    let's say a few weeks after you left to go
   5    see your mother who was ill?
   6          A.      I don't recall exactly when I left
   7    but it was before, a few weeks before -- I
   8    don't remember the exact timing of that, so
   9    I'm sorry, can you repeat the question?
  10          Q.     Did you come back to the United
  11    States to attend                            wedding?
  12          A.     I attended
  13    wedding but I don't know if I came back
  14    specifically for that or not.
  15          Q.     When we were looking at the flight
  16    logs earlier, there was a flight where you
  17    ended up in                      , I believe it was
  18    in           do you know how you got clearance
  19    to land at that                  ?
  20          A.     I need to have a look at whatever
  21    document.
  22          Q.     It's one of the flight logs, it was
  23    on the flight with                   when we were
  24    talking about you landed at                           I
  25    know you are a pilot, do you know what you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 379 of 465


                                                                   Page 378
   1                G Maxwell - Confidential
   2    had to do to get clearance to land at that
   3    naval base.
   4                   MR. PAGLIUCA:    If you need to look
   5            at something to answer the question, you
   6            can.    If you can't answer the question
   7            without looking at something just
   8            indicate such.
   9            A.     Regardless, I wouldn't have any
  10    knowledge of that.
  11           Q.      Was                traveling with you
  12    on the flights you were on with
  13           A.      I would have to look at a document.
  14    I wouldn't know if she was on all of them or
  15    not.    I don't know.
  16           Q.      Do you recall her being on any of
  17    them?
  18           A.      To the best of my recollection, I
  19    think she was.       I don't recollect exactly
  20    what flight she was on or not.
  21           Q.                    was one of the
  22    co-conspirators, physically, in the
  23    nonconstitution agreement, is that correct?
  24                   MR. PAGLIUCA:    Objection to the
  25           form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 380 of 465


                                                                   Page 379
   1               G Maxwell - Confidential
   2          A.      I have never seen the document but
   3    my understanding, I believe, is that she was.
   4          Q.      Did you ever stay the night ever at
   5                    house              have you ever
   6    stayed the night there?
   7          A.      In his home
   8          Q.      Yes.
   9          A.      I don't believe I did.
  10          Q.     Are you aware of anybody providing
  11    Jeffrey with two 12 year old girls as a
  12    birthday present?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     No.
  16          Q.     Are you aware of anybody ever
  17    providing Jeffrey with French girls under the
  18    age of 18 as a birthday present?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     No.
  22          Q.     Do you know whether
  23    provided girls under the age of 18 to Jeffrey
  24    for the purposes of sex?
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 381 of 465


                                                                   Page 380
   1               G Maxwell - Confidential
   2            form and foundation.
   3            A.    I am un -- the answer is no, I
   4    don't know anything about that.
   5            Q.    Did you ever witness
   6             bringing girls under the age of 18 to
   7    any of Jeffrey residences?
   8                  MR. PAGLIUCA:     Objection to the
   9            form and foundation.
  10          A.     I don't recollect                 coming
  11    to the house with girls, period.
  12          Q.     Do you, when I say house, I'm
  13    including the U.S. Virgin Island home.
  14                 Do you recollect
  15    bringing foreign girls under the age of 18 to
  16    the U.S. Virgin Island house?
  17          A.     I don't recollect anything like
  18    that.
  19          Q.     Do you know how Jeffrey Epstein
  20    made his money?
  21          A.     No.
  22          Q.     Was                                     one
  23    of his clients?
  24          A.     I have no idea.
  25          Q.     What do you know about the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 382 of 465


                                                                   Page 381
   1               G Maxwell - Confidential
   2    relationship between Jeffrey Epstein and
   3
   4          A.      Are you talking today?
   5          Q.      Yes, today.
   6          A.      I have no idea.
   7          Q.      Do they have a business
   8    relationship?
   9          A.      I have no idea.
  10          Q.     Did they have a business
  11    relationship during the time that you were
  12    working for Jeffrey Epstein?
  13          A.     I believe in the '90s when I was
  14    there they had a business relationship.
  15          Q.     Did they have any other kind of
  16    relationship?
  17                 MR. PAGLIUCA:      Objection to form
  18          and foundation.
  19          A.     The only relationship I am aware of
  20    is the business relationship.
  21          Q.     Do you know why                   sold the
  22    New York house or gave the New York house to
  23    Jeffrey, if you know?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 383 of 465


                                                                   Page 382
   1               G Maxwell - Confidential
   2          A.      I know nothing about that
   3    transaction.
   4          Q.      Can you list for me all the girls
   5    that you have met and brought to Jeffrey
   6    Epstein's house that were under the age of
   7    18?
   8                  MR. PAGLIUCA:     Objection to the
   9          form and foundation.
  10          A.     I could only recall my family
  11    members that were there and I could not make
  12    a list of anyone else because that list -- it
  13    never happened that I can think of.
  14          Q.     I'm talking about the time you were
  15    working for Jeffrey Epstein, can you list all
  16    girls that you found for Jeffrey Epstein that
  17    were under the age of 18 to come work for him
  18    in any capacity?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I didn't find the girls.
  22          Q.     You choose the word.
  23                 MR. PAGLIUCA:      If you have a
  24          question ask it, you don't choose the
  25          word.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 384 of 465


                                                                   Page 383
   1               G Maxwell - Confidential
   2          Q.      List all of the girls you met and
   3    brought to Jeffrey Epstein's home for the
   4    purposes of employment that were under the
   5    age of 18?
   6                  MR. PAGLIUCA:     Objection to the
   7          form and foundation.
   8          A.      I've already characterized my job
   9    was to find people, adults, professional
  10    people to do the jobs I listed before; pool
  11    person, secretary, house person, chef, pilot,
  12    architect.
  13          Q.     I'm asking about individuals under
  14    the age of 18, not adult persons, people
  15    under the age of 18.
  16          A.     I looked for people or tried to
  17    find people to fill professional jobs in
  18    professional situations.
  19          Q.     So Virginia Roberts was under the
  20    age of 18, correct?
  21          A.     I think we've established that
  22    Virginia was 17.
  23          Q.     Is she the -- sorry, go ahead.
  24                 Is she the only individual that you
  25    met for purposes of hiring someone for
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 385 of 465


                                                                   Page 384
   1               G Maxwell - Confidential
   2    Jeffrey that was under the age of 18?
   3                  MR. PAGLIUCA:     Objection to form
   4          and foundation.       Mischaracterizes her
   5          testimony.
   6          A.      I didn't hire people.
   7          Q.      I said met.
   8          A.      I interviewed people for jobs for
   9    professional things and I am not aware of
  10    anyone aside from now Virginia who clearly
  11    was a masseuse aged 17 but that's, at least
  12    that's how far we know that I can think of
  13    that fulfilled any professional capacity for
  14    Jeffrey.
  15          Q.     List all the people under the age
  16    of 18 that you interacted with at any of
  17    Jeffrey's properties?
  18          A.     I'm not aware of anybody that I
  19    interacted with, other than obviously
  20    Virginia who was 17 at this point?
  21                 (Maxwell Exhibit 21, email, marked
  22          for identification.)
  23          Q.     I'm showing you what's been marked
  24    as Maxwell 21, it's an email dated January
  25    21, 2015 from Jeffrey to you.          Is that, you
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 386 of 465


                                                                   Page 385
   1               G Maxwell - Confidential
   2    can take a moment to take a look at it, is
   3    that a statement that Jeffrey Epstein wrote
   4    for you to be issued to the press?
   5                  MR. PAGLIUCA:     Objection to the
   6          form and foundation.
   7          A.      The question was?
   8          Q.      Is this a statement that Jeffrey
   9    Epstein wrote for you to be issued to the
  10    press?
  11                 MR. PAGLIUCA:      Same objection.
  12          A.     Is there any other emails that you
  13    have that surround this that would allow me
  14    to know what -- does this have a context?
  15          Q.     These were produced by your counsel
  16    so the to extent there are emails that
  17    surround this, this is what we were given.
  18          A.     Okay.   I don't know whether he
  19    wrote this -- obviously he wrote this and
  20    sent this to me.       I don't know if this is
  21    post a phone call we had, I can't recollect
  22    exactly.
  23          Q.     Do you know if this was issued to
  24    the press, this statement?
  25          A.     The only press statement that was
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 387 of 465


                                                                   Page 386
   1             G Maxwell - Confidential
   2    issued is the one that you have.
   3          Q.     When the paragraph refers to you
   4    being in a very long term committed
   5    relationship with another man, who was that
   6    other man?
   7                 MR. PAGLIUCA:      You don't have to
   8          answer the question.
   9                 MS. McCAWLEY:      I'm asking the
  10          identity of a witness in a statement she
  11          is giving.
  12                 MR. PAGLIUCA:      She didn't give the
  13          statement.
  14                 MS. McCAWLEY:      Jeffrey is writing
  15          to her, I'm asking who is he is
  16          referencing to a long term relationship.
  17                 You are going to refuse to let her
  18          answer that question.
  19                 MR. PAGLIUCA:      Yes.
  20                 MS. McCAWLEY:      I would like to
  21          state for the record he is refusing to
  22          allow her to identify a potential
  23          witness in this litigation.          So we will
  24          be back to get the answer to that
  25          question.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 388 of 465


                                                                   Page 387
   1               G Maxwell - Confidential
   2            Q.    Do you recall when you were
   3    traveling with Virginia Roberts that you
   4    would be responsible for holding her
   5    passport?
   6                  MR. PAGLIUCA:     Objection to the
   7            form and foundation.
   8            A.    I already testified I don't recall
   9    traveling with Virginia.
  10          Q.     Do you recall whether Jeffrey
  11    Epstein when he was traveling with a minor,
  12    someone under the age of 18, someone would
  13    hold their passport?
  14                 MR. PAGLIUCA:      Object to the form.
  15          A.     I couldn't testify to what Jeffrey
  16    did or didn't do.
  17          Q.     You never observed him gathering a
  18    minor's passport and holding it during one of
  19    the trips you were on?
  20          A.     I don't have a recollection of
  21    that.
  22          Q.     Are you familiar with a company
  23    called Hyperion Air Inc.?
  24          A.     I am.
  25          Q.     Is that a company you are
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 389 of 465


                                                                   Page 388
   1               G Maxwell - Confidential
   2    affiliated with?
   3          A.      No.
   4          Q.      Is that a company that Jeffrey
   5    owns?
   6          A.      I knew it back in 2001, back when I
   7    was working.        I have no idea what that is
   8    today.
   9          Q.      What about JEGE, are you familiar
  10    with that company, JEGE Inc.?
  11          A.     I don't recall it.
  12          Q.     You don't recall?
  13          A.     It vaguely rings a bell.        I don't
  14    remember what it relates to.
  15          Q.     What about J Epstein Virgin Islands
  16    Foundation, Inc.
  17                 Are you familiar with that company?
  18          A.     No.
  19          Q.     How did J Epstein & Company, Inc.?
  20          A.     Again, I don't recall his business
  21    names and affiliations.
  22          Q.     How about NES LLC, are you familiar
  23    with that name?
  24          A.     Again, I think that was one of his
  25    businesses, but I don't recall.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 390 of 465


                                                                   Page 389
   1                G Maxwell - Confidential
   2           Q.      Do you know what that business did?
   3           A.      I don't.
   4           Q.      How about New York Strategy Group
   5    Inc.?
   6           A.      I don't know.
   7           Q.      What about Ghislaine Maxwell
   8    Company, are you familiar with that company?
   9           A.      I never heard of that.
  10           Q.     Is that a company you are on record
  11    as being either a board member of or having a
  12    position of authority in?
  13                  MR. PAGLIUCA:     Objection to the
  14           form and foundation.
  15           A.     I've never heard of the business.
  16           Q.     What negative, unflattering,
  17    private or potentially embarrassing
  18    information does Jeffrey Epstein know about
  19    you?
  20                  MR. PAGLIUCA:     Objection to the
  21           form and foundation.
  22           A.     I imagine none.
  23           Q.     Does he know, does he have any
  24    knowledge of any illegal activity that you've
  25    conducted?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 391 of 465


                                                                   Page 390
   1                G Maxwell - Confidential
   2                   MR. PAGLIUCA:    Object to the form
   3           and foundation.
   4           A.      If you want to ask Jeffrey
   5    questions about me, you would have to ask
   6    him.
   7           Q.      Have you ever been involved in any
   8    illegal activity in your lifetime?
   9                   MR. PAGLIUCA:    Objection to the
  10           form and foundation.
  11           A.     I can't think of anything I have
  12    done that is illegal.
  13           Q.     Have you ever been arrested?
  14           A.     I have a DUI in the U.K. a long
  15    time ago.
  16           Q.     Is that the only arrest you have on
  17    your record?
  18           A.     Yes.
  19           Q.     I will mark as Maxwell 22 this
  20    email?
  21                  (Maxwell Exhibit 22, email, marked
  22           for identification.)
  23           Q.     This is dated January 21, 2015.
  24    It's from Jeffrey Epstein to you, forwarding
  25    the Guardian and I would like you to look at
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 392 of 465


                                                                   Page 391
   1               G Maxwell - Confidential
   2    the chain of emails so you understand the --
   3    have an appreciation for who is on this.
   4    It's a three-page document.            The bottom of
   5    the email appears to be a message from, there
   6    is a -- at the very bottom there is the
   7    signature block for                ,
                                                and above that
   9    there is a message from a
  10
  11                 Do you see that?
  12          A.     Uh-huh.
  13          Q.     Do you know who                    is?
  14          A.     I do not.
  15          Q.     Above that there is a message from
  16                                     and you and it
  17    says, so this isn't getting better, latest
  18    from our chums at the Guardian and above that
  19    you will see on January 21 an email from you
  20    where you wrote, See below.
  21                 And right above that chain you will
  22    see Jeffrey Epstein to you on January 21 and
  23    his statement to you is, This will now end
  24    but I think a dismissive statement is okay.
  25                 What did he mean by his statement,
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 393 of 465


                                                                   Page 392
   1               G Maxwell - Confidential
   2    This will now end?
   3                  MR. PAGLIUCA:     Objection to the
   4          form and foundation.
   5          A.      I have no idea.
   6          Q.      Did you discuss with him what he
   7    meant by the statement, This will now end?
   8          A.      I don't recall.
   9          Q.      Was he taking any action to ensure
  10    that, quote, this will now end?
  11          A.     I have no idea.
  12                 (Maxwell Exhibit 23, email, marked
  13          for identification.)
  14          Q.     This is an email from, if you look
  15    at the chain at the top, you will see it's
  16    from you to Jeffrey on January 27 and the
  17    email at the bottom of the chain is from
  18    Jeffrey to you on January 27.
  19                 He states, What happened to you and
  20    your statement, question mark, question mark.
  21    And you put at the top, I have not decided
  22    what to do.
  23          A.     Uh-huh.
  24          Q.     Why was Jeffrey interested in you
  25    making a statement to the press?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 394 of 465


                                                                   Page 393
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3          form and foundation.
   4          A.      I don't know that he was
   5    interested.      We made a statement and then I
   6    was being advised to make an additional
   7    statement and I never did.
   8          Q.      Was Jeffrey communicating with you
   9    regularly on what additional statement you
  10    might make?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     No, I've communicated with him very
  14    little, as little as possible.
  15          Q.     Why did you feel you had to keep
  16    him informed of statements you were making to
  17    the press?
  18                 MR. PAGLIUCA:      Objection to the
  19          form and foundation.
  20          A.     I didn't feel I had to.
  21          Q.     Then why you were communicating
  22    with him about statements you were making to
  23    the press?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 395 of 465


                                                                   Page 394
   1               G Maxwell - Confidential
   2          A.      Insofar as this is the case, it's
   3    really all about Jeffrey, it's not a case
   4    about me.
   5          Q.      In 2009, did you direct your
   6    lawyer, either directly or indirectly, to
   7    tell Brad Edwards that you were unavailable
   8    to attend a deposition?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.        And this is a
  11          privileged communication as I understand
  12          the question, what someone said or
  13          didn't say to their lawyer.          So don't
  14          answer the question.
  15          Q.     Can you answer that question
  16    without revealing a privileged communication?
  17          A.     Can you ask the question again?
  18          Q.     In 2009, did you direct your lawyer
  19    to tell Brad Edwards that you were
  20    unavailable to attend a deposition?
  21                 MR. PAGLIUCA:      Same instruction.
  22          Q.     Did you make any statement in 2009
  23    to anybody that you were unavailable to
  24    attend a deposition?
  25          A.     My mother was sick and I don't
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 396 of 465


                                                                   Page 395
   1               G Maxwell - Confidential
   2    recall exactly the sequence of events but
   3    what sequence of events do exist are -- was
   4    handled by my lawyers.
   5          Q.      What is your understanding of
   6    Jeffrey Epstein's nonprosecution agreement?
   7          A.      I have no idea.
   8          Q.      Do you have an understanding of the
   9    co-conspirators listed in the nonprosecution
  10    agreement?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     I have no knowledge of his
  14    agreement, whatever that is.
  15          Q.     Do you know, you mentioned earlier
  16    today that                    was one of the listed
  17    co-conspirators.
  18                 Do you know who the other
  19    co-conspirators are in the nonprosecution
  20    agreement?
  21                 MR. PAGLIUCA:      Objection to the
  22          form and foundation.
  23          A.     I do not know.
  24          Q.     What did Jeffrey Epstein tell you
  25    about the nonprosecution agreement?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 397 of 465


                                                                   Page 396
   1                G Maxwell - Confidential
   2           A.      I don't think I've ever discussed
   3    it with him.
   4           Q.      How did you come to learn that
   5                     was covered by the
   6    nonprosecution agreement?
   7           A.      I believe I read it in the press.
   8           Q.      Did you have any discussions with
   9                     with about the nonprosecution
  10    agreement?
  11           A.     I have not had any discussions with
  12
  13           Q.     When is the last time you spoke to
  14                    ?
  15           A.     Maybe 2005, 2006 maybe.
  16           Q.     And same with                        ,
  17    when is the last time you recall speaking
  18    with                       ?
  19           A.     Probably even more time before
  20    that, maybe -- I've never had communications
  21    really with
  22           Q.     I'm sorry, I didn't hear that.
  23           A.     I never had communications with
  24    her.
  25           Q.     You were working for Jeffrey at the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 398 of 465


                                                                   Page 397
   1               G Maxwell - Confidential
   2    same time           was also working for Jeffrey,
   3    isn't that correct?
   4          A.      I didn't know what            did for
   5    Jeffrey so I didn't characterize what her
   6    relationship or work or not was and I was
   7    still helping him with his construction
   8    projects and the like but I never crossed
   9    paths with
  10          Q.     What did you think             was doing
  11    for Jeffrey?
  12          A.     I have no idea what             was doing
  13    for Jeffrey.
  14          Q.     Did you observe            at any of
  15    Jeffrey's houses while you were there?
  16          A.     She was at the house on occasion.
  17          Q.     What would she be doing there?
  18          A.     I have no idea.
  19          Q.     Did you know if she lived at his
  20    houses?
  21          A.     I have no idea.
  22          Q.     Did you ever go into a bedroom and
  23    see her belongings at one of the houses?
  24          A.     Not that I recall, no.
  25          Q.     I'm going to mark this as Maxwell
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 399 of 465


                                                                   Page 398
   1               G Maxwell - Confidential
   2    Exhibit 24?
   3                  (Maxwell Exhibit 24, email, marked
   4          for identification.)
   5          Q.      You can see at the top of the first
   6    page which is GM 0001, it's dated January 3,
   7    2015 from you to the
   8                  Is that                   who we
   9    referred to today?
  10          A.     Yes.
  11          Q.     And can you tell me, it says, Have
  12    some info.     Call me when you have a moment.
  13                 What is redacted there?
  14          A.     I don't recall, I'm sorry.
  15          Q.     Do you know why there is a
  16    redaction on this document?
  17          A.     You would have to confer with my
  18    lawyers.
  19          Q.     What did you discuss on that call?
  20          A.     I don't have any specific knowledge
  21    of that call.
  22          Q.     So the call is being made on
  23    Saturday, January 3, 2015?
  24                 MR. PAGLIUCA:      Objection to the
  25          form and foundation.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 400 of 465


                                                                   Page 399
   1                G Maxwell - Confidential
   2           Q.      The document states, it's Saturday
   3    January 3, 2015.       You issued your press
   4    release on January 2, 2015.
   5                   Were you discussing with
   6             the subject of Virginia Roberts during
   7    these calls?
   8                   MR. PAGLIUCA:    Objection to the
   9           form and foundation.
  10           A.     I don't know if I spoke to him.
  11           Q.     I would like you to turn to GM 0002
  12    and the bottom chain says                       ,
  13    Saturday January 3, to               re, and he says
  14    let me know when we can talk.          Got some
  15    specific questions to ask you about Virginia
  16    Roberts.
  17                  Do you recall having a conversation
  18    with                    about Virginia Roberts in
  19    or around early January of 2015?
  20           A.     I don't know if we actually spoke.
  21           Q.     Did you ever speak to
  22    about Virginia Roberts after you issued your
  23    statement on January 2, 2015?
  24           A.     I know that we did speak at some
  25    point but I don't recollect when we spoke.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 401 of 465


                                                                   Page 400
   1                G Maxwell - Confidential
   2            Q.     What did you talk about?
   3            A.     Just what a liar she is.
   4            Q.     What did he say to you?
   5            A.     What a liar she is.
   6            Q.     Did he tell you why he thought she
   7    was a liar?
   8            A.     I don't think he told me why she
   9    was a liar.       The substance of everything that
  10    she said was a lie with regard to him.
  11           Q.     What did you say to him?
  12           A.     She is a liar.
  13           Q.     That was the whole conversation, it
  14    was you said to him, she is a liar and he
  15    said to you she say liar and did you discuss
  16    any of the details about what those lies
  17    were?
  18           A.     I don't recollect.
  19           Q.     Was that only one conversation you
  20    had?
  21           A.     I don't recollect.      I don't
  22    recollect actually the conversation but other
  23    than -- in detail other than we both said she
  24    was a liar.
  25           Q.     Do you regularly communicate with
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 402 of 465


                                                                   Page 401
   1                G Maxwell - Confidential
   2                     ?
   3                  MR. PAGLIUCA:     Objection to the
   4           form and foundation.
   5           A.     What do you mean by regularly.
   6           Q.     Do you email with him once a month,
   7    once every two months or text him or call
   8    him?
   9           A.     No, we are not in that type of
  10    regular touch.
  11           Q.     Do you travel with him regularly?
  12           A.     I don't know, I have traveled with
  13    him.    We have traveled together but regularly
  14    is not a correct characterization.
  15           Q.     Do you travel with him more than
  16    once a year?
  17           A.     There is no standard.       There is no
  18    set pattern.         The answer to that was no.
  19           Q.     Have you ever observed him with any
  20    underage, any women, female under the age of
  21    18, interacting, that's not a child or a
  22    family friend, interacting for the purposes
  23    of a sexual relationship with that
  24    individual?
  25                  MR. PAGLIUCA:     Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 403 of 465


                                                                   Page 402
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I've never seen             interact in
   4    any way of that nature.
   5          Q.      Have you ever gone to dinner with
   6    him with any individual under the age of 18
   7    that's not a family member or friend of yours
   8    that is under the age of 18?
   9                  MR. PAGLIUCA:     Objection to form
  10          and foundation.
  11          A.     We've been to dinner all the time,
  12    I am not not sure who is at dinner with us, I
  13    can't testify to that.
  14          Q.     Has he ever brought a female under
  15    the age 18 that's not a relative of his --
  16          A.     He has children.
  17          Q.     I said not relatives.
  18          A.     I can't possibly testify to who he
  19    comes to dinner with, I wouldn't recall.
  20          Q.     To your knowledge, has he ever had
  21    a relationship with any female under the age
  22    of 18 for purposes of a romantic relationship
  23    to your knowledge?
  24          A.     I can't testify to
  25    relationship.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 404 of 465


                                                                   Page 403
   1               G Maxwell - Confidential
   2          Q.      You haven't observed that?
   3          A.      No.
   4          Q.      Have you talked to
   5    about coming to testify at trial in this
   6    case?
   7          A.      No.
   8          Q.      When was the last time you
   9    communicated with
  10          A.     1994, 1995.
  11          Q.     I believe earlier, did you say that
  12    you -- when is the last time you've been to
  13    his home in
  14          A.     I said -- you asked me if I stayed
  15    the night.
  16          Q.     I'm asking you a different
  17    question.     When is the last time you have
  18    been to his home in
  19          A.     Roughly the same time, in the
  20    middle of the '90s sometime, mid '90s.
  21          Q.     Not in the years 2000 to 2002?
  22          A.     Mid '90s.
  23          Q.     Have you ever communicated with any
  24    representative of
  25                 MR. PAGLIUCA:      Objection to the
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 405 of 465


                                                                   Page 404
   1               G Maxwell - Confidential
   2          form and foundation.
   3          A.      I mean I've been to his -- in the
   4    mid '90s, I would have communicated with
   5    people who worked for him.
   6          Q.      Have you communicated with
   7             about this case?
   8          A.      No.
   9          Q.      Have you ever seen a topless female
  10    at any one of Jeffrey Epstein's properties?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.        You've asked this
  13          question, by the way, earlier on today.
  14          A.     Again, I testified that there are
  15    people who from time to time in the privacy
  16    of a swimming pool have maybe taken a bikini
  17    top off or something but it's not common and
  18    certainly when I was at the house I don't
  19    really recollect seeing that kind of
  20    activity.
  21          Q.     Have you ever smoked cigarettes?
  22          A.     Yes.
  23          Q.     Have you ever smoked cigarettes
  24    with Virginia Roberts?
  25          A.     I don't recall smoking cigarettes
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 406 of 465


                                                                   Page 405
   1                G Maxwell - Confidential
   2    with Virginia Roberts.
   3           Q.      I'm marking this as Maxwell 25.
   4                   (Maxwell Exhibit 25, email, marked
   5           for identification.)
   6           Q.      I'm showing you what has been
   7    marked as Maxwell 25.
   8                   This is an email dated January 11,
   9    2015 at the top?
  10                  Do you see that that from Jeffrey
  11    to you?
  12           A.     Uh-huh.
  13           Q.     And then below there is an email
  14    from                    to you and cc'ing
  15    on January 11, 2015.
  16                  Do you see that?
  17           A.     Uh-huh.
  18           Q.     It says, Dear Ghislaine, as you
  19    know I have been working behind the scenes
  20    and this article comes from that.           It helps
  21    but doesn't answer the VR claims.           I will get
  22    the criminal allegations out.          This shows the
  23    MOS will print truth, not just a VR voice
  24    piece.      We can only make the truth by making
  25    a statement.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 407 of 465


                                                                   Page 406
   1                G Maxwell - Confidential
   2                   What did he mean when he said, I
   3    will get the criminal allegations out, what
   4    was he referring to?
   5                   MR. PAGLIUCA:    Objection to the
   6           form and foundation.
   7           A.      I have no idea.
   8           Q.      Were there criminal allegations
   9    about Virginia that either your lawyer or
  10                    were leaking to the press?
  11                  MR. PAGLIUCA:     Objection to form
  12           and foundation.
  13           A.     I have no idea.
  14           Q.     Did you ask him what he meant when
  15    he said, I will get the criminal allegations
  16    out?
  17           A.     I don't recollect the conversation.
  18           Q.     Did you direct him to leak to the
  19    press criminal allegations about Virginia
  20    Roberts?
  21           A.     I already testified that I have no
  22    knowledge of what you are asking me.
  23           Q.     Were you copied on this email,
  24    correct?
  25           A.     I was.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 408 of 465


                                                                   Page 407
   1               G Maxwell - Confidential
   2          Q.      Did Jeffrey Epstein assist in
   3    obtaining information about criminal
   4    allegations relating to Virginia Roberts?
   5                  MR. PAGLIUCA:     Objection to form
   6          and foundation.
   7          A.      I have no recollection.
   8          Q.      Did                     assist in
   9    obtaining information regarding criminal
  10    allegations of Virginia Roberts?
  11                 MR. PAGLIUCA:      Objection to form
  12          and foundation.
  13          A.     I have no knowledge of that.
  14          Q.     Did you ever discuss that with
  15
  16          A.     Discuss what?
  17          Q.     Criminal allegations about Virginia
  18    Roberts.
  19          A.     I don't believe I have.
  20          Q.     Have you ever discussed allegations
  21    relating to --
  22          Q.     Do you know if Jeffrey Epstein had
  23    any relationship with the U.S. government
  24    either working for the CIA or the FBI in his
  25    lifetime?
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 409 of 465


                                                                   Page 408
   1               G Maxwell - Confidential
   2                  MR. PAGLIUCA:     Objection to the
   3            form and foundation.
   4            A.    I have no knowledge of that.
   5            Q.    Do you know if Jeffrey Epstein has
   6    any friends that are in the CIA or FBI?
   7                  MR. PAGLIUCA:     Objection to the
   8    form and foundation.
   9            A.    I have no idea.
  10          Q.     Are you aware of an investigation
  11    of Jeffrey Epstein in the early '80s relating
  12    to the SEC?
  13                 MR. PAGLIUCA:      Objection to the
  14          form and foundation.
  15          A.     I have no knowledge of that.
  16          Q.     Are you aware that Jeffrey Epstein
  17    has told people that he worked for the
  18    government to recover stolen funds?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I don't recall conversations about
  22    that.
  23          Q.     Has he ever told that you he worked
  24    for the U.S. government?
  25          A.     I don't recollect that.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 410 of 465


                                                                   Page 409
   1               G Maxwell - Confidential
   2          Q.      You don't recollect or has he never
   3    told you that?
   4          A.      I have no knowledge, I don't
   5    recollect him telling me he worked for the
   6    government.
   7          Q.      Does Jeffrey Epstein have any
   8    affiliation with the Israeli government?
   9                  MR. PAGLIUCA:     Objection to the
  10          form and foundation.
  11          A.     I have no knowledge of that.
  12          Q.     Do you know if he ever performed
  13    any work for the Israeli government?
  14          A.     I have no knowledge of that.
  15          Q.     Have you ever visited Israel with
  16    Jeffrey Epstein?
  17          A.     I'm sorry, I don't recollect.
  18          Q.     You've seen the flight logs that I
  19    provided you today.        Are there, during the
  20    time you worked for Jeffrey Epstein, were
  21    there times that you flew on commercial
  22    flights rather than Jeffrey Epstein's planes?
  23          A.     Yes.
  24          Q.     How often did that occur?
  25          A.     Decently.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 411 of 465


                                                                   Page 410
   1               G Maxwell - Confidential
   2          Q.      Were there other flights that you
   3    recall flying on with Jeffrey Epstein that
   4    were on flights that -- where                        was
   5    not the pilot?
   6          A.                    was not always the
   7    pilot.
   8          Q.      How many planes did Jeffrey Epstein
   9    have during the time you were with him?
  10                 MR. PAGLIUCA:      Objection to the
  11          form and foundation.
  12          A.     So you need to give me a date
  13    range.
  14          Q.     During the time period of 1992
  15    through when you left your employment which I
  16    think you said was in 2009?
  17          A.     So in the '90s he had one plane and
  18    at some point in the 2000s he had two planes
  19    but I can't testify to anything past 2002,
  20    2003, what happened to his planes after that.
  21          Q.     Do you know what travel agency, if
  22    any, Jeffrey would use when he would send
  23    someone, for example, you or one of his other
  24    employees on a flight somewhere?           Did he use
  25    a particular travel agency to make those
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 412 of 465


                                                                   Page 411
   1               G Maxwell - Confidential
   2    arrangements?
   3          A.      I don't recall.
   4          Q.      Were you ever responsible for
   5    making those arrangements for other
   6    individuals?
   7          A.      I don't recall making flight
   8    arrangements.
   9          Q.      Was it a New York travel agent that
  10    you would use for those arrangements?
  11          A.     Again, we are talking 16, 17, 18
  12    years.     I just don't recall anything to do
  13    with travel agents.
  14          Q.     Would Jeffrey Epstein ever fly, for
  15    example,                    on a commercial flight
  16    to meet you in New Mexico?
  17                 MR. PAGLIUCA:      Objection to the
  18          form and foundation.
  19          A.     I can't testify to that.
  20          Q.     Do you recall a trip where you met
  21                    in New Mexico?
  22          A.     No, I don't recall any specific
  23    trip, no.
  24          Q.     Why would you be sent to New
  25    Mexico, is there a reason why you would go
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 413 of 465


                                                                   Page 412
   1               G Maxwell - Confidential
   2    there in the course of the work you were
   3    doing for Jeffrey?
   4                  MR. PAGLIUCA:     Objection to the
   5          form and foundation.
   6          A.      I was never sent.      I had a job to
   7    do and I would have to go to New Mexico for
   8    work.
   9          Q.      Would                  assist in that
  10    project?
  11                 MR. PAGLIUCA:      Objection to the
  12          form and foundation.
  13          A.     No.   The project was largely
  14    complete, largely complete by the end -- I
  15    don't remember the dates exactly but it was
  16    largely complete by the 1990s, 2000s.
  17          Q.     Do you know why                     would
  18    be going to New Mexico to meet you?
  19                 MR. PAGLIUCA:      Objection to the
  20          form and foundation.
  21          A.     I don't know.      She worked for
  22    Jeffrey.
  23                 MR. PAGLIUCA:      I think we are out
  24          of time, counsel.
  25                 THE VIDEOGRAPHER:       It's true.
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 414 of 465


                                                                   Page 413
   1             G Maxwell - Confidential
   2                 MS. McCAWLEY:      I will state for the
   3          record there were questions today that
   4          remain unanswered because the witness
   5          has been instructed not to answer those
   6          questions and we will be raising our
   7          objections with the court to be able to
   8          have those questions answered in the
   9          near future.
  10                 MR. PAGLIUCA:      So we are clear, we
  11          are designating this entire deposition
  12          as confidential under the protective
  13          order.    That would cover the paralegal
  14          whose been present as well as the court
  15          reporter and the videographer and all
  16          the lawyers in the room.
  17                 THE VIDEOGRAPHER:       This concludes
  18          today's proceedings.        We are off the
  19          record at 6:43 p.m.
  20                 (Time noted: 6:43 p.m.)
  21
  22
  23
  24
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 415 of 465


                                                                     Page 414
   1
   2                         - - -
   3                       I N D E X
   4                         - - -
   5
   6    GHISLAINE MAXWELL                                     PAGE
   7         By Ms. McCawley                                  4
   8
   9                         - - -
  10                      E X H I B I T S
  11                           - - -
  12    MAXWELL EXHIBIT                                  PAGE
  13    Exhibit 1 police report                          24
  14    Exhibit 2 email                                  33
  15    Exhibit 3 transcript                             71
  16    Exhibit 4 photo                                  109
  17    Exhibit 5 photo                                  113
  18    Exhibit 6 flight logs                            117
  19    Exhibit 7 photo                                  133
  20    Exhibit 8 photo                                  143
  21    Exhibit 9 message pad pages                      147
  22    Exhibit 10 email                                 209
  23    Exhibit 11 photo                                 259
  24    Exhibit 12 documents                             263
  25    Exhibit 13 documents                             312
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 416 of 465


                                                                   Page 415
   1
   2    MAXWELL EXHIBIT                                  PAGE
   3    Exhibit 14 email                                 345
   4    Exhibit 15 email                                 348
   5    Exhibit 16 email                                 348
   6    Exhibit 17 email                                 361
   7    Exhibit 18 email                                 363
   8    Exhibit 19 email                                 365
   9    Exhibit 20 email                                 367
  10    Exhibit 21 email                                 384
  11    Exhibit 22 email                                 390
  12    Exhibit 23 email                                 392
  13    Exhibit 24 email                                 398
  14    Exhibit 25 email                                 405
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 417 of 465


                                                                   Page 416
   1
   2                         CERTIFICATE
   3
   4
   5                 I HEREBY CERTIFY that the witness,
   6    GHISLAINE MAXWELL, was duly sworn by me and
   7    that the deposition is a true record of the
   8    testimony given by the witness.
   9
  10                 _______________________________
  11                 Leslie Fagin,
                     Registered Professional Reporter
  12                 Dated: April 22, 2016
  13
  14
  15                 (The foregoing certification of
  16    this transcript does not apply to any
  17    reproduction of the same by any means, unless
  18    under the direct control and/or supervision
  19    of the certifying reporter.)
  20
  21
  22
  23
  24
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 418 of 465


                                                                   Page 417
   1
   2                 ACKNOWLEDGMENT OF DEPONENT
   3
                     I,                            , do hereby
   4    certify that I have read the foregoing pages,
        and that the same is a correct transcription
   5    of the answers given by me to the questions
        therein propounded, except for the
   6    corrections or changes in form or substance,
        if any, noted in the attached Errata Sheet.
   7
   8
   9    GHISLAINE MAXWELL                         DATE
  10
  11    Subscribed and sworn
        to before me this
  12             day of                           , 2016.
  13    My commission expires:
  14
        Notary Public
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 419 of 465


                                                                   Page 418
   1
   2                      - - - - - -
                          E R R A T A
   3                      - - - - - -
        PAGE    LINE   CHANGE
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 420 of 465
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 421 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 422 of 465
                                                                                                  Page 3

articles 206:21         180:16 181:14         63:21 255:4,20      availability 325:13    414:10
  231:15 368:21         183:17 191:19         268:19 315:7        available 160:2       babies 338:21
aside 74:23 133:21      192:21 196:15,21      320:24 321:16         187:2 325:2,6       baby 336:12,22
  147:21 176:9,14       197:13,20 199:14    assistants 31:11        346:22 347:19        337:4,12,18,25,25
  176:17,20 177:10      199:15,17 200:10      92:13 254:19        avenu 2:17             338:9,11,19,23,24
  177:12 384:10         200:20 201:5          255:2,5,13,18       avenue 1:17,24         339:3,4,6
asked 26:14,16,25       203:17 212:16       assume 116:16           2:10 3:11 264:12    back 8:13 11:8,15
  43:3 57:2 68:4        216:20 220:21         284:6               average 78:16,22       20:18 22:5 26:17
  86:22 87:14           224:24,25 237:16    assumed 11:9            91:5                 30:2 35:19 53:10
  112:21 117:2          237:17,22 238:21    assumes 43:25         avoid 346:21           54:12,21,22 68:2
  157:15 169:9          240:19,22,23          241:11 343:11         373:14               72:16 73:24 86:19
  198:15,17 232:9       241:2 242:9         assuming 285:25       awal 374:25            101:10 103:9
  269:7,8,15,21         244:15,17,22          286:3               aware 14:6 39:3        105:21 112:4
  284:16 286:24         245:3 250:10        assumption 166:19       49:8,15,16 55:5      115:11 118:5
  337:18 338:8,10       268:2,4,6 276:12      219:18                82:24,25 83:8,16     127:4 131:17
  358:21 360:16,17      276:15 277:10,16    attached 210:3          83:24,25 84:6        132:13 133:24
  363:10 366:11         277:20 280:6          417:6                 87:8,19,24 88:3,6    141:19 145:15
  370:2,8 375:19        281:20 282:3,4,7    attend 377:2,11         89:7 99:19 107:24    148:7 156:15
  403:14 404:12         283:8 284:23,24       394:8,20,24           111:16 113:11        166:22 168:11
asking 9:14 14:24       285:6 286:20        attendant 213:20        115:17,19 134:11     182:3 183:16
  14:24,25 15:6,7       287:14,21 290:10      213:20 214:25         164:6 167:16         208:17 235:22
  16:3,4 20:3,8         293:8,13 299:14     attendants 310:10       169:10,12,14,16      246:12,15 247:12
  21:12,15 24:6         303:4 307:9         attended 377:12         169:17 170:3,14      247:18 250:19
  25:22 26:7 32:11      316:13 323:24       attention 29:4 73:2     171:25 172:2,6       256:16 261:14
  33:13 37:23 39:24     325:23 328:16         117:16 119:22         181:6 183:25         265:9,25 294:15
  41:10 49:14 50:9      332:23 336:25         120:2,12 142:2        184:4 198:3          319:17 327:11
  51:18,19,21,23,25     338:5 343:14          144:13,18,23          223:11 224:9         333:13,14 340:2,5
  52:3,20,25 53:2,7     348:5 350:17          148:20 149:15         225:9,21,23          340:10,12 341:17
  53:8,20,21 62:8       353:12 357:15         150:9 151:17,21       231:11 250:13,21     343:3 345:22
  67:4 83:3 85:21       358:4,8 360:9         153:24 158:4,16       250:24,25 251:3,4    373:10,12 377:10
  86:4 88:2,3 90:11     363:7,8 364:9         165:10 166:21         251:7,11 255:20      377:13 386:24
  94:2,20 96:4,9,11     366:17 383:13         263:12,19 319:15      256:6,8 275:8,21     388:6,6
  96:16 97:9,25         386:9,15 403:16       319:19 346:18         276:5,15,25         backed 240:9
  99:2 108:17           406:22                361:14 366:4          277:20 278:4,6,18   background 10:17
  112:22 116:16       asks 259:18           attest 302:18           278:25 279:3,12      11:5,12
  117:11 126:19,21    aspect 228:6          attorney 186:2          279:22 280:5,8      bad 180:24
  137:24,25 138:13    assault 207:24          309:5                 289:16 298:15       band 129:21
  138:24 139:14       assaulted 56:17       attorneys 2:4,9,13      318:3 338:14         137:14
  148:24 150:5          83:18 87:21 89:10     2:17 346:12 375:3     344:3 372:22        banging 228:25
  155:20 161:2          90:2                attractive 191:11       379:10,16 381:19    bangkok 131:4
  171:11,16 173:19    asserting 88:8          192:13                384:9,18 408:10      140:9 264:19
  173:20,21 174:20      274:12              author 327:23           408:16               265:4,5,7
  174:21 175:10       assist 77:10 118:14   authored 260:5        awful 19:4                    202:10
  177:10,13 178:2       407:2,8 412:9       authority 389:12                             204:2 274:10
  178:19,23,25        assistance 100:5      authorize 273:6,11             B             275:17,19 346:11
  179:2,3,4,6,7,20    assistant 5:18        authorized 347:9      b 212:21 224:2         347:24 348:24
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 423 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 424 of 465
                                                                                                   Page 5

 245:20 249:17         92:5 150:17           238:3,19 240:25     cars 341:16,19,23        416:15
 291:7 321:19          160:17 161:4,6        241:4 245:6           342:3,5,21           certify 416:5 417:4
 339:7                 165:19,23 167:6       255:13 268:12,14    case 1:7 6:9 7:10      certifying 416:19
bringing 17:4          260:20 295:23         271:4,8 272:8         21:14,21,25 27:5     certitude 171:23
 48:19 49:2 99:19      314:10 325:4          282:8,25 283:16       49:10 94:3 103:3     chain 352:23
 309:24 380:6,15       336:5 385:21          285:15 286:13         103:3,6 118:20         353:12,13 356:7
british 211:4          398:12,19,21,22       293:11 294:4          150:8 211:15,16        367:25 368:4,11
         159:25        401:7                 296:15 297:18         211:17 238:11          368:17 369:18
 161:22              called 4:6 71:3         299:2,22,23 300:6     283:18 335:21,22       391:2,21 392:15
brought 16:21          111:12 115:13         301:4,12,18 302:6     336:2,5 343:22,25      392:17 399:12
 18:17 27:2,3          117:3 134:3 158:7     303:21,22 307:4       349:2 350:3,12       change 11:24 102:3
 98:13 99:15           163:24 165:15         314:7 320:8,11        352:13 360:6           265:11 418:3
 146:22 147:3          236:11,12 325:5       321:2 324:14          373:15 374:16,23     changed 10:11
 155:4 221:14          335:25 361:23         325:20 326:2          394:2,3 403:6          214:24 251:9
 224:12 248:7          374:23 387:23         327:24 328:2          404:7                  345:22
 249:12,22 254:16    calling 80:4 160:7      329:22 330:7        cases 375:8 376:4,5    changes 210:15
 309:23 321:14         164:15 165:4          332:9,17 333:7,13   casey 152:2 153:12       417:6
 339:13 382:5          239:12,18,24          333:15 337:16         153:14               characterization
 383:3 402:14          240:16 241:6          341:3,5,7 348:6     cash 50:5,11,17,20       32:20 105:19
        99:15          296:9 362:7,25        350:20 369:14         50:21                  213:5,9 214:8,17
 116:21 166:25       calls 49:12 149:4       375:17 378:6        cassell 2:13 3:25,25     215:18 219:6,14
 167:7 379:22          199:5 274:9 281:2     385:21 390:11       categorically            226:16 228:24
 380:6,14              284:2 298:8 375:2     402:13,18,24          117:14,15 134:8        231:17 233:5
bubble 234:24          399:7                 410:19 411:19         174:16 227:25          234:6 290:9
builders 12:14,15    calm 181:19 207:23    capacity 188:6        categorize 135:19        309:20 401:14
building 12:16,20    campus 310:25           382:18 384:13         135:22               characterizations
 143:20,21 144:2     campuses 311:9        car 276:18 341:4,8    caught 275:14            126:7 235:12
bunch 230:20         canada 132:6,7,21       341:9,12,15,17,25   cause 239:14,20,25     characterize
burberry 233:6         141:21                342:10,13,16          240:18 241:8           135:16 216:14
business 21:18       cant 4:23 5:2 23:18   career 60:13 61:7     caused 206:22            290:8 296:15
 381:7,10,14,20        35:24 73:10 84:9    careful 369:2,5,16    causes 241:19            297:2 298:13
 388:20 389:2,15       99:6,8 105:17         369:19              causing 245:5            310:4,6 311:14
businesses 388:25      106:13 112:16       carefully 177:10      ccing 405:14             321:20 338:12
busy 28:24 29:5        125:6 128:14          202:2               celebrated 273:19        375:17 397:5
butlers 310:12         129:3,6 137:3       caricature 289:22     celebrating 282:17     characterized
buy 111:24 341:4,9     141:7 144:6 147:6     289:24,25 290:12    cell 76:22,24 77:11      228:21 236:2,5
buying 66:20           153:10 154:8          290:15,15,22,25       77:16 259:4,6          290:7 347:10
 233:22                156:14 161:11         291:16,18,21          260:2 261:21           357:2 367:18
        268:18         165:8 177:12          292:2,6,16 293:10     321:5,9,15 322:8       383:8
 269:8,15,21,25        188:17 192:24         293:11              certain 68:19          characterizing
 270:10,22 271:18      193:15,16 195:4              152:2        certainly 54:20          364:15
 272:3,15,18           195:14 212:10         153:12,14             99:7 138:4 148:16    charge 12:9,10 31:6
                       220:10 221:3,13     carry 336:11,21         315:15 322:25          49:23 51:11,12
          C            221:20 222:6          337:4,12,18,24        368:18 404:18          54:8 322:7
          129:17       223:9 231:22          338:9,11,19         certificate 416:2      charges 195:8
call 73:8 77:17 79:8   233:21 237:7        carrying 214:2        certification 124:23     368:22
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 425 of 465
                                                                                                    Page 6

charity 371:16           355:2                        376:24         246:12,14,15        communications
chart 118:14,20        claims 102:23           377:11,12             247:12,20 249:9       199:13,15 200:2
chauffeurs 310:12        106:12 108:16       clock 74:10,14,17       250:18 254:20         274:9,15,20 363:9
check 196:9 357:16       179:23 201:10,20    close 295:2,15          255:6 269:8,16,22     396:20,23
chef 247:4 383:11        202:6 205:5 206:4   closest 294:23          272:22 293:16,23    company 372:15,15
chefs 245:12             210:19,25 211:7       295:6                 325:2 333:22          387:22,25 388:4
  310:11                 213:12,13,19        closet 73:20            351:7 363:18          388:10,17,19
         377:2,11,12     251:7 405:21        clothes 30:8,10         364:3,10,21 366:7     389:8,8,10
child 23:16 38:6       clarification 358:9     190:23                366:11,14 377:10    compare 268:3
  42:24 43:4,7,15      clarify 7:22 8:13     clothing 190:13,23      382:17 396:4        compel 179:15
  43:16 106:19           9:5 36:21 257:2,3     194:8               comes 36:23 228:14    compensation
  165:3 173:4 181:8    clarity 8:4,20        club 111:12 236:9       402:19 405:20         278:9,22
  401:21               cleaners 31:12          236:10,10,11,13     comfortable 25:12     competencies
children 13:20 14:8      116:18              coconspirator 49:9      86:14 222:23          248:14,15
  22:25 23:17,25       cleaning 245:12         49:9                coming 27:10 29:19    competent 246:22
  30:22 90:19          clear 6:17 8:15,21    coconspirators          78:14 153:19        compilation 352:20
  107:22 168:22          9:8 30:5 41:4         378:22 395:9,17       160:19 163:25       complete 10:22
  170:19 180:8           54:19 103:6 119:3     395:19                226:14 247:18         273:23 412:14,14
  183:2 184:6 339:9      126:5 137:4         code 118:18             329:8,16,25           412:16
  402:16                 138:13 174:5        codes 118:15            330:10 350:15       completed 230:2
china 131:4 140:9        177:24 208:4          125:20                368:6 380:10        completely 227:4
  377:18                 249:17 251:6        colleague 3:20          403:5                 337:10 367:5
chips 208:8              263:14 321:24       collect 284:7,11      commencing 1:17       complex 353:17
choose 244:24            338:4,7,8 413:10    color 141:8 142:20    comment 29:22         composite 345:10
  382:22,24            clearance 377:18        143:9                 90:5 176:20         computer 186:22
chose 182:22             378:2               colorado 2:18           220:10,11 294:4       186:23 187:2,6,9
       266:23          clearer 276:14        column 120:14,15      commercial 409:21       187:20,25 188:9
christe 2:22 3:14      clearly 33:19 69:11     120:15 130:22         411:15                188:12,14 189:10
chums 391:18             107:8 282:18          131:8,24 132:3,12   commission 417:13       189:12 194:23
cia 407:24 408:6         384:10                132:14 321:4,9      commits 353:24          313:13,18,24
cigarettes 404:21      client 20:10            326:4               committed 344:12        314:8,12 315:8,20
  404:23,25            clients 380:23        columns 322:19,21       344:16,22 346:24      315:23 316:4,24
circumcised 86:22              104:17,23     com 34:12               386:4                 318:4,12,19 319:2
  86:23                  105:3,7 106:2,4     come 11:8 13:23       common 199:8            319:2,4 331:2,2,6
circumstances 63:6       129:20 130:3,9,14     14:3,10,15,19         200:3 404:17          331:8,11,17,22,23
  328:15                 130:18 131:4          15:2,7,15,21 16:5   communicate             331:24 332:4,6,10
circus 288:18            134:7,11,15,16,22     45:15 51:14 54:21     222:18 355:17         332:12,24 333:9
citizen 371:8,11,13      135:7,11,15,25        54:22 73:24 77:20     400:25                333:18,22 334:3,7
city 2:14 119:10         136:2,8,19 137:5      77:25 78:13 79:8    communicated            370:24 371:6
  271:12                 137:18 138:18         103:9 112:4           393:13 403:9,23     computers 188:19
civil 20:22              139:4,15 140:11       114:20 154:10         404:4,6               189:2,6 319:5
clad 194:10              212:14 230:8,14       156:20 157:13,16    communicating           330:25
claimed 63:14            266:22 267:2,8,15     161:22 162:16,23      356:10 393:8,21     concealed 191:4
  171:22 235:11,22       267:25 268:9          163:3,17 167:14     communication         conceivable 245:16
  257:21                 301:15,21 351:9       219:9,25 223:21       199:6,24 284:2      conceive 245:17
claiming 35:2            377:3,23 378:12       224:19,23 232:22      394:11,16           conceived 136:8
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 426 of 465
                                                                                                Page 7

concern 355:7,12       89:1 90:1 91:1      226:1 227:1 228:1     364:1 365:1 366:1   consulting 11:21
concerned 24:7         92:1 93:1 94:1      229:1 230:1 231:1     367:1 368:1 369:1   contact 39:4 61:20
  226:12 302:15        95:1 96:1 97:1      232:1 233:1 234:1     370:1 371:1 372:1     62:5,9,14 184:7
  303:14 335:11        98:1 99:1 100:1     235:1 236:1 237:1     373:1 374:1 375:1     184:13 202:18
  354:5,9 355:14,15    101:1 102:1,19      238:1 239:1 240:1     376:1 377:1 378:1     229:20 257:7,14
  355:23 369:9         103:1 104:1 105:1   241:1 242:1 243:1     379:1 380:1 381:1     258:2,3,11,17
concerns 178:16        106:1 107:1 108:1   244:1 245:1 246:1     382:1 383:1 384:1     295:21,22 296:9
  354:20               109:1 110:1 111:1   247:1 248:1 249:1     385:1 386:1 387:1     308:8,10,13
concludes 413:17       112:1 113:1 114:1   250:1 251:1 252:1     388:1 389:1 390:1     313:19 314:13,19
conclusion 25:10       115:1 116:1 117:1   253:1 254:1 255:1     391:1 392:1 393:1     315:3,9,11 316:17
  49:13                118:1 119:1 120:1   256:1 257:1 258:1     394:1 395:1 396:1     322:9 331:21
condo 57:25            121:1 122:1 123:1   259:1 260:1 261:1     397:1 398:1 399:1     332:14 333:10
conduct 200:25         124:1 125:1 126:1   262:1 263:1 264:1     400:1 401:1 402:1     335:20 369:17
  203:2,10,19 205:7    127:1 128:1 129:1   265:1 266:1 267:1     403:1 404:1 405:1   contacted 335:19
conducted 389:25       130:1 131:1 132:1   268:1 269:1 270:1     406:1 407:1 408:1     352:11,15 375:21
confer 398:17          133:1 134:1 135:1   271:1 272:1 273:1     409:1 410:1 411:1   contained 70:6,12
confidential 1:11      136:1 137:1 138:1   274:1 275:1 276:1     412:1 413:1,12      contains 84:7
  4:1 5:1 6:1,7,14     139:1 140:1 141:1   277:1 278:1 279:1   confirm 112:23        contd 168:8
  6:15 7:1,13 8:1      142:1 143:1 144:1   280:1 281:1 282:1     299:18,25 300:9     contemporaneou...
  9:1 10:1 11:1,7,13   145:1 146:1 147:1   283:1 284:1 285:1     301:8,14,25           284:15
  11:18 12:1 13:1      148:1 149:1 150:1   286:1 287:1 288:1     303:16 356:11       contend 329:10
  14:1 15:1 16:1       151:1 152:1 153:1   289:1 290:1 291:1     359:24              contest 85:21
  17:1 18:1 19:1       154:1 155:1 156:1   292:1 293:1 294:1   confirming 356:16     contesting 128:19
  20:1,14 21:1 22:1    157:1 158:1 159:1   295:1 296:1 297:1   connection 21:14      context 60:24
  23:1 24:1 25:1       160:1 161:1 162:1   298:1 299:1 300:1   consensual 20:9         235:20 245:17
  26:1 27:1 28:1       163:1 164:1 165:1   301:1 302:1 303:1     21:17 52:21,25        246:6 272:16,17
  29:1 30:1 31:1       166:1 167:1 168:1   304:1 305:1 306:1     53:13 62:2,15         292:12 293:12
  32:1 33:1 34:1,6     169:1 170:1 171:1   307:1 308:1 309:1     64:4 65:2 82:22       310:14 385:14
  35:1 36:1 37:1       172:1 173:1 174:1   310:1 311:1 312:1     93:3,24 137:22      continue 21:4,5
  38:1 39:1 40:1       175:1 176:1 177:1   313:1 314:1 315:1     308:8                 133:20 184:12,25
  41:1 42:1 43:1       178:1 179:1 180:1   316:1 317:1 318:1   consent 54:25 63:3    continued 86:18,20
  44:1 45:1 46:1       181:1 182:1 183:1   319:1 320:1 321:1     353:17 354:6,21     contractor 12:12
  47:1 48:1 49:1       184:1 185:1 186:1   322:1 323:1 324:1     355:18              contracts 12:15
  50:1 51:1 52:1       187:1 188:1 189:1   325:1 326:1 327:1   consider 91:16,19     contradict 351:13
  53:1 54:1 55:1       190:1 191:1 192:1   328:1 329:1 330:1   considerable 184:5      351:19
  56:1 57:1 58:1       193:1 194:1 195:1   331:1 332:1 333:1   considerably 10:13    contradictory
  59:1 60:1 61:1       196:1 197:1 198:1   334:1 335:1 336:1   consideration           213:22
  62:1 63:1 64:1       199:1 200:1 201:1   337:1 338:1 339:1     185:24              control 416:18
  65:1 66:1 67:1       202:1 203:1 204:1   340:1 341:1 342:1   considered 295:4      controlled 288:24
  68:1 69:1 70:1       205:1 206:1 207:1   343:1 344:1 345:1   considering 215:6     conversation 15:4
  71:1 72:1 73:1       208:1 209:1 210:1   346:1 347:1 348:1   constitute 191:25       44:14 61:7 77:19
  74:1 75:1 76:1       211:1 212:1 213:1   349:1 350:1 351:1     192:17                94:24 95:3 195:9
  77:1 78:1 79:1       214:1 215:1 216:1   352:1 353:1 354:1   construction 12:6,7     195:25 200:9
  80:1 81:1 82:1       217:1 218:1 219:1   355:1 356:1 357:1     12:8 66:19 397:7      219:2 222:25
  83:1 84:1 85:1       220:1 221:1 222:1   358:1 359:1 360:1   construed 21:13         223:23 272:15,21
  86:1 87:1 88:1       223:1 224:1 225:1   361:1 362:1 363:1   consult 186:2           298:2 303:12
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 427 of 465
                                                                                                 Page 8

  338:13,20 344:18      373:25 374:7          142:7 177:24       125:16 131:23        decide 223:25
  399:17 400:13,19      378:23 383:20         199:11 228:4       140:5 144:16          247:9
  400:22 406:17         397:3 401:14          413:7,14           150:14 152:2         decided 204:2
conversations           406:24 417:4        cover 34:9 71:21     153:3 155:25          392:21
  195:15 200:11       corrections 417:6       230:8 353:10       159:24 160:22        decision 285:25
  272:20 303:7        correctly 129:19        413:13             209:19 268:13,14     decorate 146:20
  338:25 339:5          219:16 222:2        covered 191:4        313:6 347:12,14      decorating 11:22
  408:21              cost 341:10             243:18,24 396:5    373:23 374:24         146:24
convicted 172:20      couch 372:13          create 319:10        375:3 376:21         decorators 31:12
  172:25 173:2        couldnt 42:8 43:14    created 312:23       377:3 410:12          245:10
  181:7 359:12          135:22 153:16         313:3,22 317:22    417:9                deep 181:20 207:22
cooks 31:12 116:17      157:20 267:12         323:11 374:16     dated 34:6 157:20     defamation 53:15
  245:11                268:13 297:8,21     creating 376:4       348:18 353:6,13       93:24 103:3 135:5
coordinating 12:15      297:25 299:15       creation 313:4,9     356:5 362:22          176:13 361:18
  12:16 357:21          304:12 305:8        credible 349:3       363:14 366:2         defamatory 210:22
  359:3,22 360:4,8      306:6 314:17          350:5,13           384:24 390:23         210:25 211:7
copied 209:23           323:12 331:14       cried 348:25 350:3   398:6 405:8          defendant 2:17
  370:25 406:23         347:16 350:8          350:11             416:12                103:2
copies 143:6            374:10 387:15       criminal 168:19     dates 47:18 105:11    defendants 1:9
copy 120:9 141:14     counsel 3:16 35:5       169:14 170:14      112:17 132:19        defense 200:3
  316:3,10 318:11       82:16 88:7 89:5       171:5 186:3 195:2  265:24 266:2          299:7,10
  368:7 371:5           93:6 180:13           405:22 406:3,8,15  267:11 268:12,15     define 70:24 91:14
corner 24:25 120:9      209:18 274:14         406:19 407:3,9,17  282:16 412:15         97:3 138:6 242:21
  150:10 158:5          385:15 412:24       crisis 80:5         daughters 116:10       242:23 243:2
  159:23              counsels 281:10       crossed 397:8        163:24                249:24
corporation 372:21    count 84:3            crying 87:3              129:4 410:4,6    defined 138:14
correct 8:10 15:15    country 45:15 66:7    current 259:6       day 5:7 78:16,17,22    288:21
  18:16 23:25 32:13     104:25 374:11       currently 5:24 8:18  84:25 92:4,21        definitely 130:17
  32:20 33:8,11       couple 89:17                               156:8 166:7 218:8     309:8
  35:11 84:14 96:19     124:13 128:6                 D           220:6,16 222:8       definition 243:3
  101:17 135:12         163:12 186:19       d 414:3              223:5 226:21,22      definitively 134:8
  139:20 148:4          259:9 263:12        daily 350:16 353:7   227:23 275:11         282:9,24 283:4
  198:5 206:15          328:7               damage 102:23        324:17,22 325:8      deflecting 367:10
  214:16 218:5,6      course 8:14 11:25     damages 103:5        417:12               degree 353:24
  222:14,24 225:25      15:3 31:15 102:5    damaging 240:10     days 78:25 85:6       delay 6:18
  227:18,19 249:7,8     142:4 162:9,14        240:15             89:17 166:11         delaying 7:16
  252:16,19 266:12      163:11 195:6,15           268:18 269:7   186:20,20 328:7      delete 369:24 370:5
  267:17 284:9          237:10 245:12         269:15,21,25      dealing 12:21          370:11,14
  294:19 320:3          269:6 272:20          270:9,22 271:5,5 deals 371:17           deleted 370:7,15,17
  321:25 327:17         275:7 310:20          271:18 272:2,8,12 dear 405:18           denies 210:19
  330:14 339:19         315:5,14 323:5        272:15,18,19      death 85:5             211:2,3
  343:3 348:15          324:5 342:2                272:9,22     debate 179:13         dent 208:7
  349:22 357:2          370:13 412:2        dark 142:23         december 296:10       denver 2:18
  359:13 362:2,20     court 1:2,19 3:7,15   date 1:19 5:25       296:14,22 297:11     deny 174:16 299:18
  363:2 365:8           3:17 4:18 54:12       10:24 59:9 112:22  298:9                 300:2,10 301:8,14
  368:17 371:18         54:22 55:4 88:14      112:23 120:9      decently 409:25        303:16
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 428 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 429 of 465
                                                                                             Page 10

doe 210:6,7          102:2 103:14,15     223:18 227:11        342:9,12,18 343:7     236:18
doesnt 26:23 44:3    103:15 104:4        230:20,22,25         343:13,17,19         dressed 213:15
 114:18 127:8        105:5,14,15         231:6,7,23 232:4     344:9 345:7,8        driven 214:6,7
 128:17,21,23        106:10,11,21        232:17 233:20        347:3,8,21 348:2      215:12,13 342:3,5
 133:13 141:6        110:8,20 111:22     234:2 236:22         348:9 349:11         drove 16:10
 165:14 177:15       112:2,18 113:3,19   237:9,10,22 238:3    350:6 352:7,8,10            57:12,15,21
 178:7,8 215:3       114:13,15,17,19     239:4 242:12,24      352:14,25 354:14      57:22 61:17 237:3
 231:6 232:12        117:16 118:11,20    244:15,24 246:20     357:12 361:19         303:17 304:2,8
 233:8 285:23        119:5,6 120:20      246:21 248:6         364:24 365:21         339:15
 303:13 334:25       121:6,11 122:6      249:8 250:14         367:17 368:10                304:15
 349:19,20,24        123:8 124:3         252:8,13,13,21       369:18,22 370:23      339:8
 405:21              125:10 126:6,23     253:5 254:7          372:6,8,10 376:10    dui 390:14
doing 10:25 32:15    127:24 128:15       255:16 260:9,10      376:23 377:6,8,13         398:7 399:12
 41:14,18 50:19      130:4,9,13,16       260:23,24,24         378:15,19 379:9      duly 4:7 416:6
 65:24 77:13 147:8   133:2,15 134:25     264:8 266:14         380:4,10,17          duties 11:24 68:7
 160:14 161:14       136:6,13,13,15      267:11,20 268:16     382:24 385:18,20      105:16 116:19
 322:15 397:10,12    137:13 139:2,8      268:21 270:11,14     386:7 387:8,20
 397:17 412:3        140:15,18,21        270:17 271:12        388:11,12,13,20                E
dollars 185:15,17    141:3,6,11 142:22   272:7,7,13,25        388:25 389:3,6       e 4:6,6 168:4,4,6,6
 185:18,19,23        143:17,19,21,22     275:10 278:13        392:8 393:4            414:3,10 418:2
dont 6:18 8:17 9:5   144:12 145:17,20    280:15,18 281:15     394:13,25 396:2      earlier 68:5 133:25
 9:6,17 11:6 16:14   146:11 147:19       283:18 285:7,8       398:14,20 399:10       141:16 168:17
 16:18 17:2,15,21    148:15 149:19       286:14,21 287:25     399:20,25 400:8        229:2 255:2
 20:3 21:3,14 29:3   151:12,15 153:7     289:19,20,21         400:18,21,21           280:20 282:11
 29:18 32:7 33:23    153:13,21 155:8,9   290:5,6,8,20,21      401:12 404:18,25       283:9 286:23
 33:24 36:9,11,18    155:10,10,11,15     290:24 291:5,15      406:17 407:19          295:3 298:22
 36:23 38:8,15       156:5,13 158:9,14   291:17 292:9,11      408:21,25 409:2,4      299:13 313:10
 39:23 40:6,14       160:4,11,12,13      292:11,20,21,24      409:17 411:3,7,12      327:14 330:13,24
 41:3,11,19 42:2,2   161:10,13,19,24     293:3 295:11,13      411:22 412:15,21       339:16 346:11
 43:6 44:8,13,19     162:2 164:2,20,21   299:3,6,12 301:5    door 15:23 28:25        361:7 372:2
 44:20 45:7 46:4     165:9,21 166:10     303:6,8,10 304:24    28:25                  377:16 395:15
 47:13,18 48:5,17    172:10,12,17,24     305:2 306:8,10,12   doors 293:22            403:11 404:13
 48:23 49:6 52:10    172:25 180:24       306:17,23 307:3     dot 349:4,4,4         early 91:25 361:24
 54:9,15 56:14       181:14 183:22       307:15,23 308:19    doubt 111:21 124:7      362:6,23 399:19
 58:23 59:5,9,11     185:8,11,13,13      309:13,19 311:4      134:9                  408:11
 59:14,22 60:9       186:5,9,14,15,20    311:24 312:12       doubts 268:7          earn 60:20
 61:13,18 63:15      189:6 191:19,23     313:2 318:13              129:21 137:14   easier 119:18
 70:20 71:5 72:11    191:24 193:20       319:3,8,14 322:12    138:11                 142:22 231:13
 72:16 75:11,21      194:6 195:5         322:15,23,23,25     downloaded 331:10     east 2:4,17 5:24
 77:4,5 78:14        197:16,17,19        323:4,5 326:12       333:17,25            eat 136:18
 79:19,21 80:10,12   200:10 205:25       327:23 328:15       downs 86:7            editor 353:16
 80:17 81:3,19       206:11,23 208:8     332:2,8,23 333:12   draft 360:14          edwards 2:8,11
 88:11 94:4,11,18    212:4 213:20        334:7 338:5,20,24   drafts 360:22,23        3:23,23 6:18 7:3,8
 94:22 95:11,18      214:11,25 215:17    339:4 340:3,6       drank 236:3             151:19 158:3
 97:6,10 98:8        216:19 218:3,13     341:5,10,10,13,16   draw 346:18             373:25 374:2,4,13
 100:17,21 101:23    219:5 222:9         341:17,23 342:6,8   dress 68:13 233:7       374:17,19,22,25
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 430 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 431 of 465
                                                                                                  Page 12

  313:11 315:22         283:14 289:4          361:2 363:12          345:4 346:19         fashion 184:20
  330:10,25 331:3       297:21 319:8          365:23 367:22       facts 43:25 241:11     fast 138:25
  334:22 336:22         333:12 348:7,12       384:21 390:21         343:11               fat 206:6
  337:4 382:6 383:3     354:18 375:18         392:12 398:2,3      factual 88:8 91:3      father 101:5 184:16
  395:6 404:10          377:6 378:19          405:4 414:12,13       359:10                 214:6 215:12
  409:22                385:22 395:2          414:14,15,16,17     factually 34:19        fbi 318:3 407:24
equity 209:21           412:15                414:18,19,20,21       346:9 348:14           408:6
errata 417:6          exaggerator 177:7       414:22,23,24,25     fagin 1:19 3:15        fe 144:24,25 145:15
error 326:16          examination 4:10        415:2,3,4,5,6,7,8     416:11                 145:15 146:6
espsteins 30:11         168:8                 415:9,10,11,12,13   failed 374:2,25          148:12,14,16,17
esquire 2:5,6,11,13   examined 4:8            415:14                375:2,15             february 6:2
  2:18,19             example 68:22 91:6    exhibits 168:15       fair 103:19 135:14       348:18,23
establish 231:22        92:6 101:24           273:4                 178:6,13 245:8       federal 103:7
  248:3 250:19          118:16,19 155:21    exist 395:3             308:19 356:6           325:15
established 60:21       180:5 296:4         existed 320:6         fake 207:10 273:23     federally 129:5
  192:9 224:8           314:11 318:15         323:15                374:15 376:4           212:2
  246:21 249:15         372:21 410:23       expect 119:6          false 137:6 180:6,7    feel 23:11 241:20
  250:6,15 251:8        411:15              expected 244:5          206:5 228:12           274:13 393:15,20
  254:14,15 383:21    examples 182:7,8      expensive 233:6         229:10 334:12        feeling 229:3
estimate 296:20       excellent 60:18       experience 89:19        351:8 352:2          fees 343:22
  120:17 122:17       excerpts 148:2          223:24 277:2          368:22               feet 60:5 86:18
  123:23 124:18,20    excess 340:18,24      expires 417:13        falsehood 174:14       felony 353:24
  124:21,21 125:23      343:5,10,17         explain 4:12 150:19     174:24 282:18        felt 184:18,23
  132:14              exciting 207:11         170:22 195:7,8,11   falsehoods 174:15      female 6:3 8:24 9:6
europe 65:22          exclude 274:15          323:12              familiar 24:10,15        9:10,12,14,15,18
  108:20 144:3        excused 6:9           explained 18:6          55:17 73:6,6           9:20 10:3 12:22
    57:21,22 58:12    executed 186:7,11       25:11                 100:20 114:8           14:2 21:9 22:8,12
event 31:4              186:15,16 187:15    explore 61:2            149:12,14 264:14       22:17 23:7,14,23
events 26:22 395:2      188:21              extent 20:8 21:12       312:19,21 375:22       25:16 27:22 28:20
  395:3               exercise 50:22          21:16 52:20 142:9     387:22 388:9,17        29:7,15 33:13
everybody 293:11        60:16 245:11          199:4,22 200:5        388:22 389:8           63:17 116:17
  332:16                246:18 247:5,13       274:8 280:25        family 30:22 116:9       124:19 157:5,9,12
evidence 44:2           248:7,17 249:9,18     283:25 385:16         339:14 351:7,13        163:17 164:14,16
  180:25 241:12         250:11              extra 60:11 61:5        351:18,25 352:12       165:5 246:16
  343:12              exhibit 24:20 33:25   extremely 108:6         352:15 382:10          249:12 308:25
exact 47:18 59:9,22     34:4 71:17,20         240:7,9               401:22 402:7           336:11,21 337:3
  61:7 104:4 105:11     83:6,13,13 109:20                         famous 111:15            337:12 401:20
  110:15 298:2          109:23 113:21               F               235:24                 402:14,21 404:9
  377:8                 117:19 133:6        f 168:4               fantasist 19:4 177:7   females 21:24
exactly 13:3 17:16      141:14 143:4,10     fabrication 134:14    far 24:7 72:16           22:19 25:23 26:7
  48:5 59:15 72:25      147:23,25 209:13      135:9 215:23          120:9 198:9            26:14 27:10 29:24
  105:15 106:11         259:11,20,21        fact 32:17 78:5         214:12 225:9           45:12 66:24 67:6
  172:24 179:21         263:8,14 266:11       84:10 102:25          226:12 384:12          95:6,17 98:12,17
  185:8 186:9           266:14 273:5          212:16 214:8                2:8 55:18        98:22 160:17
  242:19 270:11,14      312:15 345:11,12      240:14 241:15,17      55:20,24 56:6,7,8      161:6 162:16,20
  275:10 277:11         348:19 350:24         301:21 312:6          56:10,14 62:21         163:3 189:16,24
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 432 of 465
                                                                                                   Page 13

   190:7,8,12,19           38:13,16 41:3          117:19 118:9        focus 302:16          77:3,23 78:19
   191:22 192:23           42:18,24 43:4,13       120:4,7 121:3,3,7   focused 197:18        79:4,11,18,24
   222:5 223:21            44:8 45:5 47:17        121:9 122:16,24     fold 145:25           81:2,7,13,24 82:6
   244:8,13,18             59:8 70:5 74:7         123:21 124:8,12     folded 146:4          82:13 83:21 84:20
   245:20 339:7            76:18 86:7 94:19       125:8,13 126:16     follow 281:10         87:13 89:14 92:8
fiction 274:3              97:2 101:3 106:22      126:24 127:2,3,7    following 219:16      92:17,25 93:11
fictional 274:3            118:17 119:21          127:22 128:18,20      281:24              96:25 97:19 98:16
fictitious 31:3            120:13 143:17          128:21,24 130:2,7   follows 4:9 168:7     98:25 99:18 100:2
   230:11                  150:5 151:22           130:9,17 139:10     foot 192:16 243:25    100:13 102:13
figure 357:20              164:20 167:5           140:24 141:2,4,17   force 124:19          106:6 109:5,10,16
   358:19 376:6            191:6 192:8 193:9      144:14 147:7,13       129:15              116:12,23 117:8
figures 210:16             203:14 207:6           147:19 148:12,13    foregoing 416:15      121:14,23 122:11
filed 296:17,18            213:4,5 214:9,14       266:7 276:18          417:4               122:20 123:3
filing 346:19              214:14,17 215:25       377:15,16,22,23     foreign 98:12,21      125:4 126:4
filings 12:11              216:9 219:14           378:20 409:18         99:7,10,14,22       127:20 129:2
fill 383:17                220:6,14 225:21        410:24 411:7,15       100:6 380:15        132:25 136:11
filled 247:23              226:16,22 227:23       414:18              foreigner 99:2        139:13 144:5
final 8:3,16 34:17         228:13,17,20,21     flights 44:6,9         foreman 2:16          146:7,10 150:23
   166:23 346:7            229:5,11,25            125:11,12 133:3     forensically 370:25   151:11 152:10,18
financial 103:2            236:21 254:10          137:2 147:11,17     foreskin 86:24        154:7,14 155:7
  341:11                   258:20 263:19          378:12 409:22       forget 5:7            156:12,25 157:8
find 31:16,20 73:10        264:22 265:25          410:2,4             forgive 229:6         158:13,24 159:7
  83:13 95:9 110:17        266:21 267:22       flip 156:15 157:17     form 6:5 9:2 12:2     159:13 160:10,21
  111:3 151:13             270:9 292:9         floor 264:12             12:24 13:13 14:4    162:6,19 163:20
  210:3 248:13             300:11,18,20        florida 2:5,10 225:9     14:12,20 15:11,16   164:19 165:2,7,25
  249:7 310:16,18          321:4,8 325:5          250:7 254:18          15:24 16:7 18:3     167:11,22 168:24
  311:9 312:3,9            327:3 335:16           319:20 320:23         18:18 19:12,19,24   169:22 170:8,21
  316:25 325:21            345:7 361:17           321:3 322:18          22:22 24:2,13       172:5,9,16,23
  382:21 383:9,17          363:17 398:5           323:8,19 324:2,11     25:25 26:9 27:12    173:6,16 174:9
finding 72:15 103:4     fistos 2:8                325:16 326:15         27:24 29:9 32:4     178:4 180:13
  310:8,14              fits 289:3,5,11           353:17,20,21          32:25 33:16 37:5    184:9 186:12
fine 7:21 11:8 119:5    five 79:2 85:23 86:7      354:6,21 355:4,8      37:14 39:6,13,19    187:12,24 188:23
finish 10:19 94:12         166:11 298:11          355:13,19             40:3,12 41:15       189:5,21 192:7
  111:18 174:4             375:16              flown 41:24 42:4         42:21 43:2,17,24    194:14 195:21
  223:13                fiveminute 65:14          47:7,9,11 104:16      45:16,23 46:8,19    196:8 198:22
finished 96:19             256:10                 104:22 130:17         47:22 48:3,8,15     199:4 201:13,22
firm 207:21 307:24      flagged 119:17            135:13 230:13         48:21 49:4,11,21    202:9,21 203:5,13
  374:18,20             flat 134:14 135:9      fly 47:2 121:12,19       50:7,14 51:3,8,16   203:23 204:12,24
first 6:3 8:23 9:4,14   fled 346:20 348:4         121:25 135:10         52:5,18 56:3,12     205:10,24 206:17
  9:15,25 11:9,19       flew 106:11 122:4         411:14                56:18,24 57:9,16    207:5 208:21
  11:21 16:12,15,24       123:6 124:4          flying 121:8 122:6       58:4,9,15,19 60:7   209:4 211:12,23
  17:3 18:14,14           127:16,22 137:11       122:8,25 123:9         61:22 63:7,12       216:3 218:19
  19:3,10 26:3,15         230:9 409:21           125:24 126:12,24       64:13 67:3 68:10    219:12 220:8,18
  26:20 28:2,22         flexner 1:16 2:3         127:11 130:14          68:16 69:19 70:4    221:7,17 223:8
  33:3 34:9,25 37:3       3:13,22                131:3 132:18           70:9,15 71:14       224:7 225:6,19
  37:13,24 38:2,5,7     flight 44:11 106:4       148:10,16 410:3        74:6 75:16 76:15    227:3 235:18
       Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 433 of 465
                                                                                         Page 14

236:20 237:5,14       333:21 334:5,24     15:25 16:8 18:4     172:5,9,16,23       299:21 300:5,14
237:21 238:9,18       335:8,15,24 336:8   18:19 19:13,20,25   173:6,16 174:9      301:3,11,17 302:5
238:24 239:16,21      336:14,17,24        22:23 24:3,14       180:13 184:9        302:12,24 303:20
240:3,4 241:11,24     337:6,15,21 338:3   26:2,10 27:13,25    187:12,24 188:23    304:4,11 306:16
242:7,16 243:16       338:21 339:10,21    29:10 32:5 33:2     189:5,21 192:7      307:2,8,21 308:6
244:10,21 245:23      340:21 341:20       33:17 37:6,15       195:21 196:8        309:12,18 310:3
247:17 248:10,22      343:12 344:24       39:7,14,20 40:4     198:22 199:4        311:3,12 312:25
250:4 251:17,23       347:2 349:17        40:13 41:16 42:22   201:13,22 202:9     314:6,16 315:13
252:4,18,25 253:9     351:21 352:17       43:3,18,25 45:2     202:21 203:5,13     316:2,8 318:6,21
253:17,23 254:5       354:8,23 355:10     45:17,23 46:9,20    203:23 204:12,24    319:13,24 320:14
254:13,23 255:9       355:21 356:14,20    47:23 48:4,9,16     205:10,24 206:17    321:18 322:11
255:23 256:21         357:7 359:8,14      48:22 49:5,12       207:5 208:21        323:10,21 324:13
257:10 258:6,13       360:3 362:4,11      51:4,9,17 52:6,19   209:4 211:12,23     324:19 325:11,19
260:17,20,22          363:4,21 364:13     56:4,13,19,25       216:3 219:12        325:25 326:20
261:11,24 262:14      365:19 366:19       57:10 58:4,9,15     220:9,18 221:7,17   327:2,19 328:13
263:2,25 264:2,3      367:12 369:7,12     58:19 60:7 61:23    223:8 224:7 225:6   328:24 329:5,12
265:18 267:4,19       371:4 372:18        63:12 64:13 67:3    225:19 227:3        329:21 330:6
269:12,18 270:20      373:19 378:25       68:10,16 69:20      235:18 236:20       331:5,13 332:22
271:3,21 272:6        379:14,20 380:2,9   70:4,9,15 71:14     237:5,15,21 238:9   333:21 334:5,24
275:25 276:11,22      381:17,25 382:9     74:6 75:16 76:15    238:18,25 239:16    335:8,15,24 336:8
277:7,15,25           382:20 383:7        77:3,23 78:19       239:22 240:4        336:14,17,24
278:12,23 279:8       384:3 385:6 387:7   79:4,11,18,24       241:11,24 242:7     337:7,15,22 338:3
279:18 280:4,14       387:14 389:14,21    81:2,7,13,24 82:6   242:16 243:17       339:11,21 340:21
280:25 287:6,11       390:2,10 392:4      82:14 83:21 84:20   244:10,21 245:23    343:12 344:24
287:20 289:2,8,15     393:3,12,19,25      87:13 89:14 92:8    247:17 248:11,22    347:2 349:7,18
290:4,19 291:23       394:10 395:12,22    92:17,25 93:12      250:4 251:17,23     351:21 354:8,23
292:8,18 293:25       398:25 399:9        96:25 97:19 98:16   252:5,18,25 253:9   355:10,21 356:14
294:25 295:10         401:4 402:2,9       98:25 99:18 100:2   253:17,23 254:5     356:20 357:7
298:18 299:21         404:2,12 406:6,11   100:13 109:5,10     254:13,23 255:9     359:8,15 360:3
300:5,14 301:3,11     407:5,11 408:3,8    109:16 113:14       255:24 256:21       362:4,11 363:4,21
301:17 302:5,12       408:14,20 409:10    116:12,23 117:8     257:10 258:6,13     364:13 365:19
302:24 303:20         410:11 411:18       121:15,23 122:11    260:22 261:11,24    366:19 367:12
304:4,11 306:16       412:5,12,20 417:6   123:3 125:4         262:14 263:2,25     369:7,13 371:4
307:2,8,21 308:5    formally 71:6         127:20 129:2        265:18 267:4,19     372:18 373:19
309:12,18 310:3     former 134:15         132:25 136:11       269:12,19 270:3     378:25 379:14,20
311:2,12 312:25     fort 2:5,10           139:13 144:5        270:20 271:3,21     380:2,9 381:18,25
314:6,16 315:13     forward 351:7         146:10 150:23       272:6 275:25        382:9,20 383:7
316:2,8 318:6,21      353:8 368:7         151:11 152:10,18    276:11,22 277:7     384:4 385:6 387:7
319:13,23 320:14    forwarded 8:19        154:7,14 155:7      277:15,25 278:12    388:16 389:14,21
321:17 322:11       forwarding 390:24     156:12,25 157:8     278:24 279:8,18     390:3,10 392:4
323:10,21 324:12    found 73:5 218:15     158:13,24 159:7     280:4,14,25 287:6   393:3,12,19,25
324:19 325:11,19      325:15,21 349:2     159:13 160:10,21    287:11,20 289:2,8   394:10 395:12,22
325:25 326:20,25      350:4,13 382:16     162:6,19 163:21     289:15 290:4,19     398:25 399:9
327:19 328:12,23    foundation 6:6 9:2    164:19 165:2,7,25   291:23 292:8,18     401:4 402:2,10
329:5,12,21 330:5     12:3,25 13:14       167:11,22 168:24    293:25 294:25       404:2,12 406:6,12
331:4,13 332:22       14:5,13,21 15:17    169:22 170:8,21     295:10 298:19       407:6,12 408:3,8
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 434 of 465
                                                                                               Page 15

  408:14,20 409:10    fulfilled 384:13       95:1 96:1 97:1      232:1 233:1 234:1     370:1 371:1 372:1
  410:11 411:18       full 28:6 73:22 74:3   98:1 99:1 100:1     235:1 236:1 237:1     373:1 374:1 375:1
  412:5,12,20           75:2 86:11 250:14    101:1 102:1 103:1   238:1 239:1 240:1     376:1 377:1 378:1
four 72:20 79:2       fulltime 32:19         104:1 105:1 106:1   241:1 242:1 243:1     379:1 380:1 381:1
frankly 21:18         fully 210:12           107:1 108:1 109:1   244:1 245:1 246:1     382:1 383:1 384:1
free 23:11 167:5      functions 9:24         110:1 111:1 112:1   247:1 248:1 249:1     385:1 386:1 387:1
  274:13                310:13               113:1 114:1 115:1   250:1 251:1 252:1     388:1 389:1 390:1
french 371:19         funded 371:20          116:1 117:1 118:1   253:1 254:1 255:1     391:1 392:1 393:1
  379:17              funds 408:18           119:1 120:1 121:1   256:1 257:1 258:1     394:1 395:1 396:1
frequency 127:16      funeral 85:5           122:1 123:1 124:1   259:1 260:1 261:1     397:1 398:1 399:1
frequent 30:17        further 7:16 170:11    125:1 126:1 127:1   262:1 263:1 264:1     400:1 401:1 402:1
frequently 30:6         265:9 346:2          128:1 129:1 130:1   265:1 266:1 267:1     403:1 404:1 405:1
  127:23              furthermore 82:9       131:1 132:1 133:1   268:1 269:1 270:1     406:1 407:1 408:1
friday 353:6          future 286:7 413:9     134:1 135:1 136:1   271:1 272:1 273:1     409:1 410:1 411:1
friend 13:24 23:16                           137:1 138:1 139:1   274:1 275:1 276:1     412:1 413:1
  37:16,17 40:23                G            140:1 141:1 142:1   277:1 278:1 279:1   gardener 50:22
  58:22 101:8 154:3   g 2:13 4:1,6 5:1 6:1   143:1 144:1 145:1   280:1 281:1 282:1     247:4
  155:5 161:22          7:1 8:1 9:1 10:1     146:1 147:1 148:1   283:1 284:1 285:1   gardeners 31:13
  184:18 193:3          11:1 12:1 13:1       149:1 150:1 151:1   286:1 287:1 288:1     245:11 310:11
  304:19 326:10         14:1 15:1 16:1       152:1 153:1 154:1   289:1 290:1 291:1         132:15
  339:14 401:22         17:1 18:1 19:1       155:1 156:1 157:1   292:1 293:1 294:1   gathering 387:17
  402:7                 20:1 21:1 22:1       158:1 159:1 160:1   295:1 296:1 297:1   general 11:5,12
friendly 57:19          23:1 24:1 25:1       161:1 162:1 163:1   298:1 299:1 300:1     12:12 51:23 66:20
  101:14 136:5          26:1 27:1 28:1       164:1 165:1 166:1   301:1 302:1 303:1     136:20,22 197:5
  295:16                29:1 30:1 31:1       167:1 168:1,6       304:1 305:1 306:1     313:23 323:5
friends 13:19,20,21     32:1 33:1 34:1       169:1 170:1 171:1   307:1 308:1 309:1   george 123:5
  13:23 14:7 22:24      35:1 36:1 37:1       172:1 173:1 174:1   310:1 311:1 312:1   georgina 123:5
  23:2,17,25 30:22      38:1 39:1 40:1       175:1 176:1 177:1   313:1 314:1 315:1            145:4,10
  30:22 57:22 59:3      41:1 42:1 43:1       178:1 179:1 180:1   316:1 317:1 318:1   getting 77:10
  107:22,25 116:10      44:1 45:1 46:1       181:1 182:1 183:1   319:1 320:1 321:1     181:11 219:22
  116:10 121:17         47:1 48:1 49:1       184:1 185:1 186:1   322:1 323:1 324:1     246:4 349:13
  135:15 138:11,15      50:1 51:1 52:1       187:1 188:1 189:1   325:1 326:1 327:1     391:17
  154:11 163:24         53:1 54:1 55:1       190:1 191:1 192:1   328:1 329:1 330:1   ghislaine 1:8,13 3:5
  305:11 339:8          56:1 57:1 58:1       193:1 194:1 195:1   331:1 332:1 333:1     3:6 120:17 127:5
  351:6,13,18,24        59:1 60:1 61:1       196:1 197:1 198:1   334:1 335:1 336:1     156:18,21 157:14
  352:12,14 376:24      62:1 63:1 64:1       199:1 200:1 201:1   337:1 338:1 339:1     210:10,24 349:3
  408:6                 65:1 66:1 67:1       202:1 203:1 204:1   340:1 341:1 342:1     372:20 389:7
friendship 101:10       68:1 69:1 70:1       205:1 206:1 207:1   343:1 344:1 345:1     405:18 414:6
front 15:22 24:23       71:1 72:1 73:1       208:1 209:1 210:1   346:1 347:1 348:1     416:6 417:9
  131:17 149:11         74:1 75:1 76:1       211:1 212:1 213:1   349:1 350:1 351:1   giant 82:8 206:6
  168:15 171:9          77:1 78:1 79:1       214:1 215:1 216:1   352:1 353:1 354:1     282:18
  209:16 213:20         80:1 81:1 82:1       217:1 218:1 219:1   355:1 356:1 357:1   gift 113:5,7,9 191:8
  214:24 264:2,2        83:1 84:1 85:1       220:1 221:1 222:1   358:1 359:1 360:1     191:25 192:2
  275:2 312:18          86:1 87:1 88:1       223:1 224:1 225:1   361:1 362:1 363:1     286:25 287:2
  316:18 317:4          89:1 90:1 91:1       226:1 227:1 228:1   364:1 365:1 366:1     343:10,16
  330:15 361:7          92:1 93:1 94:1       229:1 230:1 231:1   367:1 368:1 369:1   gifts 113:12,16,19
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 435 of 465
                                                                                                Page 16

  340:16,23 341:3      234:11 254:10       global 136:8          godparent 376:11        184:16,17 244:22
  343:8,17,18          259:22 265:9        gloves 73:17          goes 139:10,24          246:11 247:6
girl 68:23 69:8,11     266:15 319:18       gm 34:6 120:17          369:18                372:6
  69:13,16 92:20     give 5:2,15 14:16       122:17,17,22,24     going 4:12,17 11:4    goodness 230:7
  97:15,21 167:8,13    15:15 19:8 27:23      123:4,7,23 124:8      11:10 19:25 20:11        230:19,21,22
  167:17,20 221:4      35:20 45:21 48:14     124:16,16,16,17       23:4 65:12,16         231:2,3,4,7,8
  221:14,21 222:4,7    48:19 49:3 57:25      124:17,18,20,21       74:12,22 83:5       government 325:15
  223:5,6 225:2        60:13 61:7,23         124:21,22,25          93:4 102:13 111:7     325:21 407:23
  236:18 262:12,19     74:15 77:21 78:2      125:7,11,23           111:11 114:5          408:18,24 409:6,8
  262:24               87:10 103:12          127:10,18 128:12      117:23 118:13         409:13
girlfriend 91:12,14    113:9 143:5 153:3     129:20,24 131:7       119:16 120:11            201:9,18 202:4
  91:17,20,23          160:22 162:16         132:14 145:3,9        121:4 124:14          202:11 203:16
  101:11 295:5,12      191:21 192:21         152:3,8 209:15,19     125:15,20 129:14      204:2 210:5 273:2
  363:19 364:4,11      220:14 224:19,22      266:24 345:14         129:16,16 130:4       273:6,13 348:21
  365:5,7,10,14,17     224:23 226:15         346:16 352:21,21      131:9,17,18,19,23     349:15 353:8
  366:8,12,22 367:8    237:2 262:18          356:3 398:6           132:5 133:14          361:6,17 391:7,10
  367:15,18            288:9 291:2 297:7     399:11                139:22,22 144:13      391:16 405:14
girls 25:13 26:25      303:17 315:7              345:17,17         144:16,22 148:15          354:13
  41:3,7 46:7,10,14    325:8 340:23          346:4 348:23          148:19 149:15       grand 344:3,8,12
  46:17 48:13,19       352:5 371:22          351:4 369:4           151:16 157:17         344:16,22 345:5
  51:22 56:22 57:7     374:8 386:12          399:13                158:4,15 165:10       346:21,23 347:6
  81:22 82:3 83:17     410:12                      34:12           165:12 175:21         347:10,11
  84:2,3,8,9,17      given 19:16,22 22:7   gms 128:16              179:12 205:3        grandparents
  87:20 88:4,19        22:11,16 55:20,24   go 5:7 8:12 73:16       207:18 229:23         191:9 244:6
  89:25 90:6 93:8      89:19 92:4,21         74:23 114:22          259:9 262:16,21     group 267:25 389:4
  93:16,18,21,22       113:12,16 204:17      117:23 125:14,17      263:10,11,18        guardian 390:25
  94:10,14,21 96:22    211:24 219:10         129:12 132:13         264:18,22 265:8       391:18
  97:4 99:10,13,14     226:17,19 251:9       133:19 139:5,6        265:24 266:6,10     guarding 293:22
  99:20,23 100:4,6     257:6,13,18,22        142:7 150:23          274:7 286:4         guessing 297:9
  107:21 116:7,13      262:23 285:24         166:22 171:19         291:19 292:4        guest 112:5
  116:14,15 154:10     286:13,25 291:5       174:23 175:13         295:17 308:6,22     guilty 184:14
  161:3,5 188:10       321:15 325:5          177:6 182:3           309:2 312:13        guise 247:21
  195:18 220:4         356:12 370:9          183:19 188:3          318:17 319:15,17    guy 50:20 376:3
  243:15,18 253:14     385:17 416:8          213:2,3 221:18        319:18 327:5        guys 36:7 76:20
  253:20 254:2,20      417:5                 231:12,16 233:2       334:9,13,17           182:19 316:12
  255:6,22 269:8,15 giving 5:10 92:22        233:24 234:4          335:12 338:12         375:22
  269:21 301:9         113:4,19 191:23       237:2 246:7           345:4,10,14,15                  326:6,7
  322:22 325:16        192:3,24 225:3        250:18 258:22         346:3 348:17          326:24
  329:8,16,25          238:10 262:11         263:6 264:19          350:23 351:23
  330:10 335:13        367:3 373:14          276:4 278:17          353:11 356:2,4               H
  379:11,17,23         386:11                306:9 311:8 312:7     359:23 365:12       h 4:6 168:6 414:10
  380:6,11,15 382:4        57:12,15 58:7     314:12 337:15         367:2 368:3 373:2   haddon 2:16
  382:16,21 383:2      61:17 237:2           346:2 356:6           386:17 397:25       half 78:6 174:15
giuffre 1:5 3:6,22     303:17,25 304:8       376:22 377:4          412:18                190:14
  3:24 4:2 7:10 14:9   304:15                383:23 397:22       good 4:12 31:24       halfway 25:8
  85:9 151:20 158:3         57:25            411:25 412:7          128:7 158:18          131:25 321:4,8
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 436 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 437 of 465
                                                                                             Page 18

  223:17,21 226:17    71:15 79:12,20        377:5               174:20 175:10         338:12 340:24
  226:20 227:17,24    99:20 106:14       illegal 21:13 389:24   177:18 178:2,25       341:18 342:18,25
  231:18,21 232:25    114:3 121:16          390:8,12            179:2,2,6,7           343:14,19 345:10
  234:7 235:8         127:22 147:7,12    im 4:12 6:14,22        180:16 181:11         345:14 346:6
  241:22 242:5,11     147:14 152:20         7:11,23 9:13,14     182:12 183:17         347:15,16 348:12
  242:18 243:9,13     159:14 162:7          9:19 10:18 13:22    184:15 192:20,20      348:17 350:17,20
  246:15 247:21       166:4 189:7           14:24,25 15:6,6     196:10,15,21          350:23 353:12
  248:9,18,19,19,24   194:20 257:17         16:3,4 17:11        197:12,20 198:8       354:17 355:14,15
  249:10,21 251:12    260:18 261:25         19:25 20:11 22:3    199:6,9,14,15,17      356:2,21 358:3,4
  254:11,16,21        278:2 305:21          23:2,2,4,21 24:7    200:4,10,19,22        358:8,24 361:17
  255:7,12 291:10     307:4 318:7           29:2,4,20 32:11     203:14,17 204:13      363:7,8 365:8
  291:13,20 293:19    329:13 331:18         32:18 33:13 34:3    209:8 211:13          366:13 368:3,20
  293:20,21,21        334:8 337:9           34:16 37:23 49:14   212:16 214:2,3,16     371:19 372:13
  294:7 310:21        347:23 350:6,20       51:19,23 52:3,23    216:20 219:16         373:2,25 377:9
  313:11,12 317:15    350:21 351:22         52:25 53:2,7,8,12   220:21,23 222:16      380:12 382:14
  330:2,10 332:5      365:6,20,22 369:8     53:17,20,20 54:8    222:19 223:17         383:13 384:18,23
  339:8 379:5         369:20 380:24         54:17,18 61:6       224:16,17,24,25       386:9,15 396:22
  380:11,12,16        381:6,9 388:7         62:3,8 65:15,23     226:12 230:12         397:25 398:14
  381:22,22 382:6     392:5,11 395:7        73:6 74:22,23       232:5 234:13          403:16 405:3,6
  383:11 397:16       397:12,18,21          82:15,16,21 83:5    235:6,20 237:17       409:17
  404:18              406:7,13 408:9        84:24 85:21 86:4    240:23 242:9        images 188:10
household 339:15    identification 24:21    88:2,2 90:9,10      244:17 245:14       imagine 283:13,19
housekeepers          34:2 71:18 109:21     94:2,3,6 95:21      250:9,10 253:12       389:22
  310:11              113:22 117:20         96:4,9 97:9         259:9,21 263:10     implication 95:12
houses 11:22,23       133:7 143:11          102:13 109:22       263:11,18 264:25    important 5:6 6:20
  12:6 66:19 67:9     147:24 209:14         114:5 117:16        265:2,5,8,24          78:4 216:13
  81:20 136:17        259:12 263:9          118:13 119:16       266:6,10,12 268:6   importantly 12:5
  397:15,20,23        312:16 345:13         120:2,7,11 122:14   272:24 274:7,21     impossible 26:21
husband 57:21         348:20 350:25         123:19 124:5,5,10   275:13 276:2,12       123:14 126:22
hyperion 387:23       361:3 363:13          125:5,5 126:19,20   276:15,23 277:20      164:8 193:8
hypothetical          365:24 367:23         126:20,22 129:16    280:5 281:3,8,14      213:17 226:18,21
  240:20 241:2        384:22 390:22         129:18,18 131:17    281:20 284:3,23       234:8 273:20
hypothetically        392:13 398:4          131:20 132:16       284:23 285:6        improbable 148:18
  286:3               405:5                 133:14 136:4,15     286:20 294:19       inaccurate 357:18
hysterically 87:3   identified 259:25       137:9,24,25         296:12 297:25         358:14
                      284:19 346:11         139:20,25 140:5,8   299:3 302:14,25     inappropriate
          I           348:22                144:13,17,22        303:4,11,14 307:3     53:18 181:23
idea 13:3 23:19,21 identifies 284:25        145:7 147:6         307:9 308:6,22        182:21 183:5,9
  29:23 37:7,10,19 identify 5:17 142:9      148:19 149:15,22    309:2 310:7           190:25 193:4
  37:25 38:4 41:5     142:11,12,13,14       150:5,24 151:16     312:12,21 313:11      194:11 197:6
  41:17,23 42:16,19   148:2 150:7           152:13 154:25       315:18 316:13         206:7 207:21
  42:23 46:12,16,21   213:17 266:3          157:17 158:4,15     318:22 319:7,15       225:11 226:14
  46:25 47:4 49:18    275:13,14 386:22      160:24 161:2,19     319:18 320:3,3,19     250:8,10
  57:4,11 58:16,20 identifying 217:3        165:10 168:16       323:24 325:23       inappropriately
  59:2 65:25 67:13 identity 386:10          171:11,16 173:19    329:14,24 330:14      207:20
  68:17,20,25 69:5 ill 374:9 375:13         173:19,20 174:20    334:9,13 335:9      inappropriateness
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 438 of 465
                                                                                                  Page 19

  191:3                 209:22 311:9          293:23                392:24 393:5           14:25 15:7,14,21
include 69:15           312:3 314:4         insignificant 341:2   interject 10:15,20       147:8 249:7
included 31:9           315:10 331:21       insofar 394:2         international          inviting 14:7 49:2
includes 7:14           333:2,10 353:9      instruct 19:25          275:22 276:6,17      involve 21:17 286:6
including 15:13         383:13 411:6          20:11,16 21:19        277:3,21 278:7,19      308:21
  52:14 108:20        infer 204:18 205:18     58:6 61:16 65:2       279:4,13,23 280:9    involved 40:16
  235:9 380:13        inference 232:19        92:25 102:13        interpose 45:22          42:18 46:6,13
income 102:11,15      info 398:12             274:8 308:6,23      interpret 69:7           52:22 61:14 64:16
incoming 149:4        inform 344:21           309:3               interrupt 357:12         64:19 65:2 195:3
inconsistency 215:7   information 6:8       instructed 58:10      interrupting 23:5        210:18 228:6
  216:13                7:13 20:9,14 25:4     62:10 65:7 87:4       181:18                 231:10 313:4,8
inconsistent 217:12     103:2 199:23          202:11 260:19       interstate 275:21        374:13,22 390:7
incorrect 35:23         200:6 265:21          281:18 335:20         276:5,16 277:3,21    involves 21:21 62:2
  36:3 225:12           281:7,12 282:9,23     413:5                 278:6,18 279:3,12    involving 49:10
  226:14 328:11         283:3,14,15,20      instructing 22:3        279:22 280:9           329:18
incorrectly 129:17      313:20 314:3,13       52:23 62:3 199:7    interview 59:17,22     irregularly 163:14
increased 102:6         314:14,19 315:3       199:9 281:3,8         221:12,15,21         island 115:17,18,24
indefinitely 374:11     315:10 316:5,23       284:4                 222:7,10,15,24         116:2,8,13 134:2
independent 74:24       318:18 331:21       instruction 55:3        246:22                 134:4,7,12,13,18
  155:24 263:22         332:14 333:10         64:4,25 308:12,16   interviewed 222:12       135:7 137:6
  281:15,21             335:5 350:2,2,11      394:21                222:12 248:5           230:21 231:2,3,4
indicate 153:5          354:20 356:17       instructions 257:6      384:8                  231:8 301:15,21
  160:18 378:8          360:7,17 389:18       257:13,17 262:12    interviewing 59:21       301:23 380:13,16
indicated 209:18        407:3,9               262:18,23 281:24    intimate 295:18        islands 115:13
indicates 282:24      informational         instructor 60:16      introduce 17:19          125:21,25 126:14
indicating 73:9         354:11                247:5 248:8,17        18:11 33:21 63:9       127:4,13 351:10
indication 130:21     informed 393:16       instructors 50:23       97:16,22 106:25        388:15
indirect 296:8        infrequently 155:3      245:11 246:19         107:14,20 108:3      isnt 108:8 166:15
indirectly 394:6        164:8 186:18          247:13 249:18         108:11 270:16          197:25 215:3
individual 22:16        246:7                 250:11              introduced 56:8          363:2 391:17
  40:20 50:4,5,10     inhibit 5:14          intend 372:4,9          86:12 101:7,8          397:3
  126:16 128:13       initial 28:7 125:11   interact 402:3          107:4,23 309:23      israel 409:15
  142:17 151:8          206:4               interacted 179:18     introducing 309:10     israeli 409:8,13
  190:15 193:23       initially 34:10         182:2 384:16,19       309:16               issue 4:25 65:2
  194:4 210:8         initials 120:16       interacting 45:12     introduction 63:16       117:10 121:2
  302:13 314:14         123:7 127:9,10,18     401:21,22             309:20                 173:4 184:21
  318:16 326:17         130:6,8,23 152:8    interaction 20:10     investigation 24:12      201:8,17 202:3,11
  376:12 383:24         266:24                145:22 219:5          24:17 168:19           273:6,12 351:6
  401:24 402:6        initiative 136:9        292:5 308:4           169:15 170:3,15      issued 24:11 203:15
individuals 23:3      input 318:17          interactions 21:23      171:6 186:3 195:3      273:2 274:22,25
  31:7 49:24 89:8       319:21 320:24       intercourse 52:17       408:10                 361:11,12 385:4,9
  121:20 122:2          321:16 326:16         53:6,8              invitation 13:21         385:23 386:2
  126:13 127:7        inputting 320:20      interest 31:4 199:9   invite 13:11,16 14:3     399:3,22
  128:7 142:10        inserted 368:23         200:3 356:15          14:9,17 15:19        issues 184:11,22
  145:16,23 154:9     inside 189:25         interested 197:21       16:5                   298:25 376:13,15
  192:5 193:6           218:21 288:24         220:23 370:21       invited 13:22 14:15    issuing 357:23
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 439 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 440 of 465
                                                                                             Page 21

  396:25 397:2,5,11   jobs 102:9 383:10       378:11,21 395:16    103:12,15 105:14    208:22 213:21
  397:13 404:10         383:17 384:8          396:5,9,14 411:15   105:15,17 106:12    214:25 215:3
  405:10 407:2,22               59:7,8,10     411:21 412:9,17     106:15 107:7,10     216:5,21 217:2,5
  408:5,11,16 409:7     59:21,24 60:10            124:18,18,20    107:12,13,16,18     217:14,15 218:3
  409:16,20,22          61:9,16,21 62:6,9     124:21              108:16 109:2,7,11   218:13 219:6
  410:3,8,22 411:14     62:15 63:2,9,13     kept 70:2 314:2       111:16 113:15       220:24 222:9
  412:3,22              112:25 289:25         316:15              114:4,9,13,15,17    223:18 227:21
jeffreys 13:12,17       290:17,21 292:24           266:22         114:19,20 115:20    229:9 230:22
  14:3 37:16,17         307:6,10,12,16,17   kids 13:21,22,23      115:23 119:6        231:2,5,6,7,23
  38:18 40:24 47:3      308:18 309:16,20      107:25 121:18       122:12,13,13,21     232:12,17,20
  57:7 60:5 79:15       309:23 310:18,22    kind 71:3 103:3       122:22 123:8        233:12,18,20
  84:18 98:14,22        311:5,17 312:11       119:20 229:19       131:14 134:18       236:22 237:9,10
  99:15,24 100:10       321:25                255:14 277:13       136:12,13,15        237:22 238:4
  105:3,4,6 113:17               62:16        287:23 311:15       137:11,14,16        239:4 240:14
  115:12,18 121:19      321:5,9 322:8         316:15 342:16       138:16 140:16       241:14,15,17
  127:12 131:11             116:21 218:9      381:15 404:19       141:5,6,11 142:21   244:15 248:5
  134:2,22 135:22       218:10,24 391:9     kinds 73:4 256:7      143:17 149:20       249:8,18 252:8,13
  137:6,8,9,12          391:13              kingdom 273:15        151:5,14 153:12     252:13,21 253:5
  145:22 157:6,10     joint 200:2 299:7       362:14              153:14,18,19        254:6,7 255:16
  190:8,16 216:11       299:10              knew 66:10,12         154:3,8,15 155:4    257:20,21,23
  217:24 224:18            260:8,9,13,15      86:22 89:18 107:8   155:8,9,10,10,11    258:20 259:16
  243:13 245:18         261:3,3,5,8,14,17     232:9 314:4 333:2   155:15 156:5,13     260:5,9,10,12,14
  252:7 253:11              261:21            359:11,19 361:23    158:8,10,14,25      260:16,23,24,24
  255:13 289:23       journal 327:14,16       362:6,22,24 363:5   159:3,8 160:5,11    261:8,13,16 262:4
  298:17 301:15             71:22,23 73:3     388:6               160:13,13,15,24     262:16,20,22
  326:10 328:5        judge 7:6 74:19       know 8:12 24:4        161:10,14,19,24     263:4,5,7 267:20
  329:9,17 333:6      jump 11:15              25:12 28:13,13,15   162:2 163:10        268:21 270:18,22
  336:12 368:25       jumping 86:25           28:19 33:5,7,10     164:2,3,17,20,21    270:24 271:7,7,9
  374:16 376:4        june 34:7,11 345:17     33:23 36:10,24      165:3,9,16,18,21    271:12,19,22,22
  384:17 397:15         347:14 356:5          37:8 40:19 41:11    166:6,10,14 167:7   272:13,25 273:23
jege 388:9,10         jury 285:13,17          41:19 42:2 43:6     167:12,19,23        278:13 280:23
jersey 118:23                                 43:16,19 44:8,16    171:9,10,19,20,22   281:4 282:12,14
  268:25 271:9                 K              44:18,19,20 46:4    172:12,19,24,25     282:15 283:7,10
        129:23        k 345:22 390:14         47:15 48:5,17       173:2,3,7,10,24     283:12,18,21
  131:14              keep 11:17 33:5         52:10 55:9 56:6     174:11,12,12,14     285:8,24 286:11
jet 138:20              181:14 247:18         57:12,20 58:23      174:24,24 175:8     286:14,21 287:25
jfk 264:19              266:12 313:19         59:2,24 63:15,17    176:5,22 177:3,4    288:6 289:19,20
job 4:23 12:4,21        314:18 315:3          63:20 64:14,24      177:6 182:13,17     289:21 290:8,21
  15:11 28:24 31:9      318:10 334:20         66:5,7 69:11        182:17,25 183:3     292:11 294:18
  31:16 32:8 59:16      373:3 393:15          71:23 75:7,12       183:19,20,23        297:3 300:21,23
  60:18,22,23 66:23   keeping 314:23          76:9,18 77:4,5      186:20 189:2,6,12   301:5,19 302:15
  67:8,9 147:9          318:23 322:7          79:7 80:14 89:23    191:24 192:17       304:5,7,18,23
  154:19 245:16,25           47:15 49:8       89:24 90:19,23      196:14,18 197:17    306:11,23,24
  246:3,23 247:4        49:17 56:21 57:4      94:2 95:11 96:5     199:20 200:17       307:3 311:19
  311:6 314:21,24       57:6 255:3,19         98:7,9 100:16       204:14 205:25       313:2,18 314:25
  315:2 383:8 412:6     328:22,25 329:2       101:5,19,24         206:2,3 207:23      316:9,11 317:21
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 441 of 465
                                                                                                Page 22

 319:5,11 321:13      268:4 269:24        latest 391:17         learn 186:6 325:14       368:13
 322:12,21,23,23      280:7 281:16,22     lauderdale 2:10         396:4                letters 118:21
 322:25 323:2,4,5     282:6 304:17        lauderdatle 2:5       learned 76:19          level 123:4
 323:7 324:9 326:7    305:14,15,18        laundry 70:6,11,16      199:22 281:7,13      lewis 124:15,15,16
 326:23 327:23        321:21 325:22         70:21 73:20,21,21     335:5                  364:8,10
 328:6,16 330:17      326:2,21 327:4        74:3                leather 69:17          lexington 1:16 3:11
 332:2,8,23 334:7     329:8,16,25 330:9   laura 2:19 4:4        leave 7:20 11:11       lfbep 132:7
 338:5,10 344:9,11    335:18 339:12       law 1:15 103:6          43:15 50:16          liar 76:8 105:17
 344:13 345:7,8,8     350:19 378:10         207:21                133:22 138:20          174:12 175:4,13
 347:3,6,8,8 348:2    389:24 395:13       lawsuit 20:5 102:20     165:23 374:11          175:15 176:8
 348:9 349:8 352:4    398:20 402:20,23      102:22 361:20       leaving 73:23 165:4      177:3,6,7 179:25
 352:7,8,10,14        406:22 407:13         362:2               lecture 100:21           182:5,17 183:4,20
 354:14 355:3,6       408:4,15 409:4,11   lawsuits 184:6        led 216:10 218:3,13      196:5,10,24
 361:9 365:4,21       409:14              lawyer 62:13 65:7       220:5 221:4,12,15      239:13,25 240:13
 368:8,10 369:14     known 38:10            120:22 199:8,24       221:22                 240:14,17 241:7
 370:18,21 373:4      106:17 261:17,21      200:10 202:10       left 50:20,21 106:13     241:16 275:4
 374:15 376:10        294:20                203:16,16 205:13      139:5 142:8,12,13      361:22,24 362:7
 377:13,18,25,25     knows 36:6 119:12      274:11 275:15,18      142:18 158:11,16       362:25 400:3,5,7
 378:14,15 379:22     119:13 196:20         281:8,13,18           165:12,14 166:24       400:9,12,14,15,24
 380:4,19,25          272:3 363:5,8         347:24 360:15,24      185:9 219:19         license 104:11
 381:21,23 382:2                            362:18 375:23         227:14 373:5         lie 33:7,10 134:14
 384:12 385:14,18              L            394:6,13,18 406:9     376:22 377:4,6         135:9 171:24
 385:20,23 389:2,6   l 1:5 2:9 4:6,6,6    lawyers 199:16,25       410:15                 174:13 175:16,17
 389:18,23 391:13       168:6,6,6           200:12 273:10,11    lefthand 234:22          178:17 180:2
 393:4 395:15,18     label 72:23 141:9      274:16 281:22,25    leg 140:6                182:18 183:14,21
 395:23 397:4,19        319:18              282:5 283:21        legal 1:24 49:13         200:23 202:17,24
 398:15 399:10,14    labeled 34:5           284:3 286:16,22       250:21 254:18          203:9,18,21 204:8
 399:20,24 401:12    labled 367:25          345:23 362:21         343:22 353:20          206:7 207:2,10,17
 405:19 407:22       lake 2:14              395:4 398:18          361:19 362:5,8,12      208:25 211:9,13
 408:5 409:12        land 371:14 377:19     413:16                362:13,17 363:2        211:20 212:12,18
 410:21 412:17,21       378:2             lay 6:20 86:13          363:11 368:22,23       212:22,23 213:8
knowing 99:12        landed 377:24        laying 29:25          legs 86:20               214:18,20 215:6
 100:4 163:23        landscapes 193:12    layout 12:17          lehrman 2:9              215:15,16,20
 170:18 171:4,5         194:17            lead 180:24 217:23    length 227:12            216:6,13,14,22,23
 173:13 344:25       language 94:24         218:10                229:7                  217:9,19,21
 347:11                 95:3,22 96:2      leaders 210:16            117:6,13 314:11      226:17 227:10
knowledge 52:21         179:22 209:8      leading 156:6           379:5 380:22,22        228:9 229:4
 88:15 89:2,15,22       210:5 347:17      leads 180:6             381:2,21               231:20 233:12
 119:4 126:9         lap 290:11           leak 349:25 350:10          1:19 3:15          235:3,5,8,15,15
 134:23 168:18       large 28:24            406:18                403:9,24 404:6         236:17,25 241:21
 174:18 178:9,16     largely 187:18       leakage 349:4,22        416:11                 242:3,10,14 243:8
 178:20 179:22,24       412:13,14,16        349:23              lessened 10:12,22        243:14,14 244:7
 180:22 182:4        larger 148:23        leaked 349:7,24       lesser 297:5,16          244:12,17 245:19
 184:10 188:24              47:2            350:18              lessons 167:5            251:13,19,25
 238:20 242:24       las 2:4              leaking 349:5,9,15    letter 34:16 346:7       254:9 256:17
 252:11,12 256:22    late 376:12            349:19 406:10         346:14,15 353:15       257:5,12 400:10
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 442 of 465
                                                                                                    Page 23

lied 18:25 19:3 76:9      350:3 356:6           331:3                 267:21,23 268:7       205:20 206:9
   87:25 175:6 177:4      363:17 418:3        location 17:25          285:9 310:15          302:21
   177:4 202:13,15     lines 85:14,23         locations 138:19        312:17 315:21
   228:19,20,20           120:3 124:13        log 132:4 133:22        317:19 322:17,18             M
   241:14,17 257:23       262:7 267:24          266:9 313:19          322:20 368:3,11      m 1:18 3:10 4:6
lies 30:5 31:3 35:17      302:21 336:15       logs 117:19 118:9       377:20 378:4,13       34:12 150:15
   53:17 69:22 82:8       337:20                118:25 122:24         385:2 390:25          168:5,6 373:10
   89:20 90:4,9,10     list 107:6 125:22        124:8,12 127:17       392:14                413:19,20
   90:12,14,25            129:19 229:23         127:22 128:20       looked 38:8 43:7,20    madison 264:12
   104:19 107:3,3,6       322:18,22,24          141:17 144:14         110:2 113:6          magazine 191:2
   107:15,15 108:6        325:16 326:17         147:13 266:7          213:10 383:16         244:3
   135:5,6 171:21         331:20 333:10,18      377:16,22 409:18    looking 73:10          magazines 192:14
   176:12 180:3,9         333:25 382:4,12       414:18                110:25 120:8         magna 1:24
   182:8,24 183:5         382:12,15 383:2     london 97:16,22         124:12,24 132:4      mail 7:24 8:19
   197:3,5,6,11,18        384:15                98:2 108:4,5,12       141:17 148:13         350:16 353:8
   198:20 199:2,19     listed 128:23            108:15,21 111:5,9     151:2 234:12,13      maine 132:10
   200:16,21 201:11       261:19 323:8,18       111:24 112:6          248:15,15 310:20      141:22
   201:20 202:7           324:2,6,10 326:14     114:2,7 132:9,9       356:21 377:15        mainstream 191:2
   204:3,5,15,16          383:10 395:9,16       141:22,22 205:14      378:7                 192:14 244:3
   205:6,15,16,17      listen 177:9 202:2       231:18,21 232:3     looks 72:14 129:21     maintain 184:12
   207:7 209:10           253:3                 232:23 233:19         146:12,17,18          257:6,13 258:17
   210:20,25 212:7     lists 123:22 332:13      234:7,10,16           150:15,18 153:9      making 9:19 44:9
   212:13 213:21       litigation 20:13,20      235:12 236:9,14       234:23 266:8,21       54:18 180:18,20
   227:6,7 228:5          20:22 371:2,6       long 10:7 106:17,18     267:9 306:3           195:18 198:20
   229:24 230:4,17        386:23                106:20,21 107:6       368:18                199:2,19 222:15
   233:2 240:8         little 34:17 91:9        195:14 245:13               124:17          359:23 362:7
   241:14 273:16,22       102:6 115:13          271:14 305:21       los 66:13               367:9 392:25
   298:23,24 299:19       118:12 119:18         315:14 319:7        lot 42:12 94:7 128:6    393:16,22 405:24
   300:25 302:17,17       185:3,6 234:17        341:6,14 342:11       343:19 365:11         411:5,7
   303:14 400:16          265:9 297:18          347:15 386:4,16       367:13               male 129:22 223:20
life 96:10,11,12          346:7 393:14,14       390:14              lots 246:2 288:7        246:16 249:11
   245:18 305:6        live 76:13 155:19      longer 255:12           331:24               man 31:25 246:9,12
   315:22                 268:22 372:4,9        283:18 327:15       love 158:19 316:11      324:25 386:5,6
lifetime 390:8         lived 66:11 397:19     look 34:10 38:6       loved 366:13           manage 376:16
   407:25              lives 66:5,7 156:7       42:24 43:4,8,11     loyal 184:15           managed 319:9
liked 91:22               271:10 306:11         71:21 109:24            99:15,19 116:21    mandated 129:6
limit 96:15            living 8:6 155:23        114:6 118:9           158:17,21,25          212:2
limited 89:16 90:22       372:11                124:13 125:15,19      159:3,9,10 166:25    mandatory 247:8
   91:5 96:12 184:20   llc 388:22               127:3,21,24           167:7 379:22         mangled 221:24
   243:23 369:17       llp 2:3                  132:12,13 133:19      380:5,10,14          manifestly 207:16
line 35:4 65:19 86:7   loan 104:2,3 339:19      142:20,24 143:25    ludicrous 235:7        manner 207:22
   118:18 123:20          339:23,23 340:2       147:13 149:11       lure 183:11            mansion 79:15
   125:16,18 129:14       342:24,25 343:2       150:6 165:11        lying 53:15 90:7        80:18,20,23 187:9
   145:2,2 150:13,15   loans 104:2 340:3,6      169:6,7 198:10        135:4 183:24          300:12
   160:7 209:21           340:11,12             259:23 262:7          200:18 204:7,18      mantel 191:10
   345:20 348:25       located 236:13           263:11 266:18         204:20 205:7,19       244:6,6
        Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 443 of 465
                                                                                        Page 24

mar 131:25          405:3                93:9 98:14 99:16    5:22 6:1 7:1,15     132:1 133:1,4,6
maralago 16:17            145:3,10       140:25 141:3        8:1,23 9:1 10:1     134:1 135:1 136:1
 17:5,7,9 35:12    massage 14:16         153:20 154:12       11:1 12:1 13:1      137:1 138:1 139:1
 36:15,19 206:10    15:13,15 18:13       162:16,24 180:10    14:1 15:1 16:1      140:1 141:1 142:1
 206:12,14 207:3    19:9,16,23 21:8      183:11 222:13       17:1 18:1 19:1      143:1,10 144:1
 208:19 213:6,12    22:7,11,16 25:9      237:8 245:21        20:1 21:1 22:1      145:1 146:1 147:1
 213:13,14,15,25    25:10,11 27:23       246:4 253:15,21     23:1 24:1,20 25:1   147:23 148:1
 214:18             31:17,20,21,23,24    254:3,21 255:7      25:3 26:1 27:1      149:1 150:1,13
march 131:25        32:7,10,11 33:19     307:11,16,18        28:1 29:1 30:1      151:1 152:1 153:1
 132:2 139:23,23    49:3 50:23,25        308:2,17,21         31:1 32:1 33:1,25   154:1 155:1 156:1
 139:25 140:2       51:11,13,19,24       326:15 329:18       34:1,4 35:1 36:1    157:1 158:1 159:1
 144:17 353:6       52:7,12 53:2 58:2   massaging 67:7       37:1,3 38:1 39:1    159:24 160:1,6
            40:20   60:17 61:9,17       masseuse 14:15,23    40:1 41:1 42:1      161:1 162:1 163:1
 40:22 41:14,18,20  68:24 69:15 75:13    14:25 15:5,10,13    43:1 44:1 45:1      164:1 165:1 166:1
 41:25 42:14,17     75:19,22 78:17,21    15:20,22 16:10      46:1 47:1 48:1      167:1 168:1,13
 43:5 44:16,22      82:18,20 86:17       32:2,24 33:4,15     49:1 50:1 51:1      169:1 170:1 171:1
 45:6,9,11,15,20    92:5,6,12,21,23      33:19 35:3 68:12    52:1 53:1 54:1      172:1 173:1 174:1
 46:3 47:10 87:5    97:17,23 98:3,23     75:6,8 76:25 77:5   55:1,5 56:1 57:1    175:1 176:1 177:1
 255:4,19 396:16    99:4 100:11,19,20    82:19 223:20        58:1 59:1,6 60:1    178:1 179:1,17
 396:18             100:22 101:2         224:15,21 225:8     61:1 62:1 63:1      180:1 181:1 182:1
marham 124:19       163:4,18 215:25      225:10 226:12,13    64:1 65:1 66:1      183:1 184:1 185:1
mark 73:5 118:9     218:12,14 219:10     250:7,16,21 251:3   67:1 68:1,4 69:1    186:1 187:1 188:1
 133:4 143:3        219:10,22,23         251:11 254:17       70:1 71:1,17,19     189:1 190:1 191:1
 147:25 179:14      220:2,15,15 221:5    279:21 305:13       71:20 72:1 73:1     192:1 193:1 194:1
 209:16 259:9       221:23 222:22        307:6,15,25         73:19 74:1 75:1     195:1 196:1 197:1
 312:13 334:17      223:2,6 224:2,3      324:16,22 326:11    76:1 77:1 78:1      198:1 199:1 200:1
 345:10 348:17      224:12,15,19,22      326:13 384:11       79:1 80:1 81:1      201:1 202:1 203:1
 350:23 360:25      224:23 225:4,11     masseuses 53:21      82:1 83:1,6 84:1    204:1 205:1 206:1
 367:21 390:19      226:15 229:14,17     55:6 67:10 220:20   85:1 86:1 87:1      207:1,19 208:1,18
 392:20,20 397:25   237:2 246:9,10,17    220:25 222:13       88:1 89:1 90:1      209:1,13 210:1,4
marked 24:21        269:10,17,23         223:16 225:16       91:1 92:1 93:1      210:10 211:1,2
 33:25 34:4 71:18   279:6,15,25          250:24 323:8,18     94:1 95:1 96:1      212:1 213:1 214:1
 109:20,22 113:21   280:11,16 300:10     324:2,5             97:1 98:1 99:1      215:1 216:1 217:1
 117:20 133:6       303:18 304:2,9,16   masturbate 86:21     100:1 101:1 102:1   218:1 219:1 220:1
 142:21 143:10      319:20 320:23       masturbating         103:1 104:1 105:1   221:1 222:1 223:1
 147:24 168:15      321:3 322:18         52:16               106:1 107:1 108:1   224:1 225:1 226:1
 209:13 259:11,20   323:19 324:3,10     matches 118:20       109:1,20,23 110:1   227:1 228:1 229:1
 259:21 263:9       324:21,25 325:4,9   material 370:16      111:1 112:1 113:1   230:1 231:1 232:1
 266:8 312:16       325:16              materials 12:18      113:21 114:1        233:1 234:1,13
 345:12 348:19     massaged 61:5        matter 3:5 6:13      115:1 116:1 117:1   235:1 236:1 237:1
 350:24 361:2      massages 27:11,18     20:4,20 24:12,16    117:19 118:1,7      238:1 239:1 240:1
 363:12 365:23      31:7 48:14,19        24:18 28:8 34:5     119:1 120:1,17      241:1 242:1 243:1
 367:22 384:21,23   60:12 66:25 68:14    53:14 214:7         121:1 122:1 123:1   244:1 245:1 246:1
 390:21 392:12      68:19 77:21 78:3     285:19              124:1 125:1 126:1   247:1 248:1 249:1
 398:3 405:4,7      81:22 82:4 83:11    maxwell 1:8,14 3:5   127:1,6 128:1       250:1 251:1 252:1
marking 71:20       83:19 87:10 92:3     3:7,18 4:1,5 5:1    129:1 130:1 131:1   253:1 254:1 255:1
       Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 444 of 465
                                                                                          Page 25

256:1,17 257:1     374:1 375:1 376:1    357:9,12 358:3,11    223:4,22 247:9,20    160:3,12,14
258:1 259:1,11     377:1 378:1 379:1    358:23 359:2         262:12,19,23         161:12,16,18
260:1,20 261:1     380:1 381:1 382:1    363:7,24 373:2       270:9,13 273:21      162:4,8 163:16,22
262:1 263:1,8      383:1 384:1,21,24    386:9,14,20 413:2    303:11 304:25        164:4,5,21 165:4
264:1 265:1 266:1  385:1 386:1 387:1    414:7                411:16 412:18        165:9,13,15
267:1 268:1 269:1  388:1 389:1,7       meal 136:24 137:3    meeting 16:15,16      166:23 349:3
270:1 271:1 272:1  390:1,19,21 391:1    137:5,7,9            16:19 17:2 19:3      391:5,9,15 414:21
273:1 274:1 275:1  392:1,12 393:1      mean 9:6,7 32:14      33:24 36:14,18      messages 149:4
276:1 277:1 278:1  394:1 395:1 396:1    41:8 43:6 47:11      40:24 206:12         150:11,25 151:6
279:1 280:1 281:1  397:1,25 398:1,3     48:24 49:22 52:10    213:6 214:9,17,19    154:10,17,21
282:1 283:1 284:1  399:1 400:1 401:1    57:17 70:5 91:14     271:8 300:18,20      155:2 160:17
285:1 286:1 287:1  402:1 403:1 404:1    92:21 97:4,5         306:22               161:3 162:10
288:1 289:1 290:1  405:1,3,4,7 406:1    114:18 118:21       meetings 66:22        163:2,6 164:2
291:1 292:1 293:1  407:1 408:1 409:1    128:17,23 138:10    member 17:5           165:23 166:3
294:1,17 295:1     410:1 411:1 412:1    162:20 170:9,22      389:11 402:7         298:4,6
296:1 297:1 298:1  413:1 414:6,12       182:7 185:7         members 382:11       met 16:24 17:21
299:1 300:1 301:1  415:2 416:6 417:9    190:13 222:9        memorized 269:3       32:16 33:13 34:25
302:1 303:1 304:1 maxwells 73:19        270:24 272:13       memory 36:9,25        37:7,9,11,13,24
305:1 306:1 307:1  210:24 309:5         274:24 277:10        40:7 60:9 80:15      38:2,5,7,13,16
308:1 309:1 310:1 mccawlely 358:18      287:25 292:12        97:13 187:16         39:22 41:20 42:25
311:1 312:1,14,15 mccawley 2:5 3:12     295:2,22 298:14      231:16 265:22        43:5 58:13,23
313:1 314:1 315:1  3:19,20 4:11 5:19    311:13 337:25        268:15,15,16         59:15 63:14,14
316:1 317:1 318:1  6:11,16,25 7:18      349:24 391:25        361:9                97:25 106:22
319:1 320:1 321:1  10:18 11:14 20:16    401:5 404:3 406:2   men 27:17 191:14      107:10,12,16,18
322:1 323:1 324:1  21:3,21 22:5        meaning 71:2         menninger 2:19 4:4    108:2 206:9,14
325:1 326:1 327:1  23:13 35:6 49:14     83:17 94:21          72:21 110:14         208:19 213:11
327:13 328:1       54:17 65:15,18       116:15 118:22,22     143:7 159:21         227:13 249:6
329:1 330:1 331:1  67:20 72:22,25       255:19 276:6,7,16    223:13               270:15,17,25
332:1 333:1 334:1  74:9,12,18,22        276:17 279:13       mental 241:3          272:8 280:22
335:1 336:1 337:1  87:16 88:11,18,23    296:8 297:17        mentioned 132:22      281:5,17,23
338:1 339:1 340:1  89:3 102:17,21       374:25               255:2 262:5          282:13 283:5,11
341:1 342:1 343:1  103:8 110:11,13     means 77:4 210:9      316:23 336:3         283:24 284:13,20
344:1 345:1,11,12  110:16,22 119:9      416:17               395:15               285:2,14,21
346:1 347:1 348:1  120:6 126:11        meant 32:14 86:23    meredith 2:6 3:20     294:19 302:22
348:17,19 349:1    128:5 133:10,13      392:7 406:14        merely 360:9          305:3 306:13,18
350:1,24 351:1     133:19 145:7        mechanism 314:2      message 147:23        309:23 311:5
352:1,19 353:1,7   149:24 166:18       medical 80:4          148:3 149:6,7,7,8    321:24 382:5
354:1 355:1 356:1  168:9 177:16        medications 5:13      149:10,12,20         383:2,25 384:7
357:1 358:1 359:1  178:10 179:10       meet 16:5,12 18:2     150:17,20 151:2,8    411:20
360:1,25 361:1,2   180:16 181:4,11      32:21,22 33:21       151:9,25 152:2,6    mexico 134:20
362:1 363:1,12     181:16 199:11        35:12 37:4 40:22     152:14,16,24         189:19 190:17
364:1 365:1,23     207:18 208:10        45:5 47:17,19        153:3,4,6,24         248:19 411:16,21
366:1,2 367:1,21   240:21 264:25        59:8,13 97:15,21     154:2,5 155:8,11     411:25 412:7,18
367:22 368:1       266:14 268:6         101:3 111:25         156:17,18,22        mid 295:14 403:20
369:1 370:1 371:1  309:4 327:5          146:19 218:24        157:3,4 158:6,11     403:22 404:4
372:1,20 373:1,11  334:16 353:3         219:21 222:21,25     158:17,17,18,22     middle 10:18
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 445 of 465
                                                                                             Page 26

 144:19 403:20         226:3 227:5          227:14 228:8        161:12 162:3        needed 66:21,21
million 185:14,17     misstates 15:17       254:16 328:5        164:13 193:6,9       188:3 258:3
 185:18,19,23          106:7 355:21         374:9 375:13        198:6 211:25         316:16 317:19
mind 117:21 148:6     misunderstanding      376:7,22 377:5      212:3,20 236:9       322:9 360:6
 231:14 252:14,21      320:4                394:25              260:12,14 261:2     needs 21:25 83:12
 253:5 294:9                     140:22   mothers 85:3,5        261:13 272:22       negative 389:16
mindful 4:22          model 288:21          376:13              275:15 304:19,22    nephews 30:24
mine 13:20 14:7               165:13,16   mouth 334:21          305:8 306:19,24      339:15
 107:25 121:17         165:18,21          movable 288:21        307:3,5 326:5,6     nes 388:22
 265:12 266:15        moment 10:16 36:8   move 54:7,9 124:13    342:7,10 371:16     never 13:9 23:22
 333:23 353:2          75:5 115:11          175:20 179:9,15     372:16 388:23        27:20 29:6 30:18
miners 251:15          116:25 117:18      moved 288:23         named 49:9 217:10     39:25 48:18 53:5
mini 72:9              147:22 206:21        358:7               217:11,17,20         53:18 55:11 56:20
miniscript 72:12,19    224:3 230:24       moving 65:4 66:18 names 73:7 114:20        57:6 58:10 62:19
minor 25:5 83:3        286:2,4 311:5      multiple 76:9         130:25 164:23        62:23 63:5 75:25
 85:19,22 90:19        317:24 385:2       multiply 228:19       166:16 314:3         76:5 79:6 93:17
 164:15,21 165:3       398:12                                   319:21 320:17,20     95:19 97:5,11
 168:21 170:19        monday 351:3                 N            320:22 322:20        99:22 100:8
 172:7,14,20 173:4     368:20             n 2:10 4:6 168:4,4,4  324:10 331:20        104:22 107:3
 180:8 181:8 183:2    mondays 368:6         168:6 414:3         333:18,25 388:21     113:7 116:24
 184:6,23 224:12      money 60:11 61:5          37:4,16,17,23            262:4       146:25 157:9,15
 224:18 237:13,19      184:5 185:22         38:17,19,21,25     nature 10:10 12:20    163:25 164:5
 238:7,23 239:5,9      274:4 347:4          39:4,10,18,25       48:5 69:18 71:4      193:24 195:9,25
 239:11 254:10         365:16 371:22        40:9,15,17,20,22    71:11 77:14 117:6    197:14 198:15,17
 354:3 359:13          380:20               41:14,17,20,24      117:13 136:23        218:18 229:16
 387:11               month 129:10          42:13,17 43:5       211:4 295:24         230:13 231:4
minors 83:9 87:9       347:12 401:6         44:16,22 45:5,8     402:4                233:8 239:8,10
 89:8 164:23          months 375:16         45:11,15,20 46:3 naval 129:15            243:25 248:5
 169:20 170:6          401:7                46:6,13,17,22       377:17,19,24         288:19 300:25
 171:7,13,18          moot 367:6            47:9 87:5 145:10    378:3                311:13,16,20
 173:14 174:7,22      morgan 2:16           145:19 147:10,16 near 413:9              328:25 335:9,25
 175:3,10,19 176:3    morning 4:12          255:4,19 396:16    necessarily 192:16    336:3,9 337:18
 176:16 178:3          169:5                396:18,21 397:2,4         150:15         338:8,16 339:2,12
 179:19 180:15        morocco 132:8,9       397:9,10,12,14      151:14               344:18 348:11
 182:2,11,15           141:22,22          naked 25:9 30:16     need 5:4 8:10 11:6    365:15,20 367:5
 183:11 198:14        mos 405:23            86:15 188:10,13     27:14 45:21 54:15    379:2 382:13
 238:15,22 251:21     mother 16:10,21       188:17 191:21       61:23 73:12 74:21    387:17 389:9,15
 252:3,15,23 253:7     17:3,13,14,17,23     192:5,9,11 193:3    84:21 100:21         393:7 396:20,23
 387:18                18:8,15,21 19:7      193:17,18,23        138:10,16 170:10     397:8 402:3 409:2
       145:3,11        37:17,22 39:23       194:2,5,7           184:17,18,24         412:6
mischaracterizat...    40:2,11 85:4       nakedness 190:15      190:3 201:15        new 1:3,17,17,21
 225:13 227:12         214:7,10 215:14    name 3:19 25:5        230:2 242:23         1:25,25 3:8,11
 323:22 341:21         215:22 216:4         40:20 55:18 63:17   279:9 287:24         5:20 8:5 79:14,16
mischaracterizes       217:16,25 218:4      85:16,19,22 127:8   318:9 337:8          79:19,22 80:18,19
 320:14 384:4          218:21 219:8         128:17,22 151:9     377:20 378:4         80:20,23 91:10
mischaracterizing      226:19,23,25         156:9 160:14        410:12               103:6 112:11,14
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 446 of 465
                                                                                           Page 27

  112:22,25 113:18    nude 189:15,23        42:21 43:2,17,24    146:9 150:22        272:5 275:24
  113:20 118:23         190:7,11,13,14      44:25 45:16,23      151:10 152:9,17     276:10,21 277:6
  134:19,20 156:21      243:15,21 255:21    46:8,19 47:22       154:6,13 155:6      277:14,24 278:11
  157:14,16 189:18    number 9:23 13:19     48:3,8,15,21 49:4   156:11,24 157:7     278:23 279:7,17
  189:19 190:17,17      84:3 110:18         49:11,21 50:7,14    158:12,23 159:6     280:3,13,24 287:5
  210:8,12,15           119:19 129:9,12     51:3,8,16 52:5      159:12 160:9,20     287:10,19 288:25
  248:19,19 264:12      133:12,17,21        56:3,12,18,24       162:5,18 164:18     289:7,14 290:3,18
  264:13,19,23          148:21 150:7,16     57:9,16 61:22       164:25 165:6,24     291:22 292:7,17
  268:25 271:9          151:17 154:2        69:19 93:11         167:10,21 168:23    293:24 294:24
  273:17 287:17         158:7 159:22        102:12 105:18       169:21 170:7,20     295:9 299:20
  293:17 318:15,15      165:14 167:2        106:6 120:19,21     171:8 172:4,8,15    300:4,13 301:2,10
  351:9 375:19,20       168:16 209:22       122:19 126:4        172:22 173:5,15     301:16 302:4,11
  381:22,22 389:4       258:25 259:4,7,24   163:20 178:4        174:8 180:12        302:23 303:19
  411:9,16,21,24        260:2,2,16,20       186:12 194:14       184:8 187:11,23     304:3,10 306:15
  412:7,18              261:2,22 266:4,17   238:24 240:3        188:22 189:4,20     306:25 307:7,20
news 210:21             269:2,5 297:7       243:3,16 248:10     192:6 195:20        309:11,17 310:2
newspaper 216:24        298:14 315:7,17     252:4 253:2,3       196:7 198:21        311:2,11 312:24
  216:25 231:15         317:2,20 318:15     255:23 260:17       199:3,21 201:12     314:5,15 315:12
nice 184:19 191:15      321:5,7,15,21       269:18 274:7        201:21 202:8,20     315:25 316:7
nieces 30:24 339:14     322:8,13 323:18     298:18 308:5        203:4,12,22         318:5,20 319:12
night 140:17 155:5      324:2 327:12        326:25 334:13       204:11,23 205:9     319:23 320:13
  235:23 379:4,6        353:9 356:3         337:21 341:20       205:23 206:16       321:17 322:10
  403:15              numbers 24:24         387:14 390:2        207:4 208:20        323:9,20 324:12
nightclub 235:25        144:20 148:22      objection 21:10      209:3 211:11,22     324:18 325:10,18
nipples 82:12,20        149:18,22 180:19    45:22 46:11,15      216:2 219:11        326:19 327:18
  83:3                  261:18 266:15       52:18 58:3,8,14     220:8,17 221:6,16   328:12,23 329:4
nodding 5:3             272:25 314:24       58:18 60:6 62:22    223:7 224:6 225:5   329:11,20 330:5
nominal 11:2            315:21 316:6,16     63:11 64:12 67:2    225:18 227:2        331:4,12 332:21
nonconsensual           319:22 320:9,12     68:9,15 70:3,8,14   235:17 236:19       333:20 334:4,23
  55:7 62:18,19,24      320:16,20,22        70:18 71:13 74:5    237:4,14,20 238:8   335:7,14,23 336:7
  63:8 64:5             332:13              75:15 76:14 77:2    238:17 239:15,21    336:13,16,23
nonconstitution       nutritionist 60:16    77:22 78:18 79:3    241:10,23 242:6     337:6,14 338:2
  378:23                                    79:10,17,23 80:25   242:15 243:10       339:10,20 340:20
nonprosecution                 O            81:6,12,23 82:5     244:9,20 245:22     344:23 346:25
  395:6,9,19,25       o 168:4,4,4           82:13 83:20 84:19   247:16 248:21       349:6,17 351:20
  396:6,9             object 6:5 8:25 12:2  87:12 89:13 92:7    250:3 251:16,22     354:7,22 355:9,20
nonsexual 246:8,16      12:24 13:13 14:4    92:16,24 96:24      252:17,24 253:8     356:13,19 357:6
nonverbal 5:3           14:12,20 15:16,24   97:18,24 98:15,24   253:16,22 254:4     359:7,14 360:2
normal 219:5            16:7 18:3,18        99:17,25 100:12     254:12,22 255:8     362:3,10 363:3,20
  370:13                19:12,19,24 22:22   109:4,9,15 113:13   256:20 257:9,16     364:12 365:18
notary 1:20 4:8         23:4 24:2,13        116:11,22 117:7     258:5,9,12,19       366:18 367:11
  417:14                25:25 26:9 27:12    121:14,22 122:10    260:21 261:10,23    369:6,12 371:3
noted 168:5 413:20      27:24 29:9 32:4     123:2 125:3         262:13,25 263:24    372:17 373:18
  417:6                 32:25 33:16 37:5    127:19 128:25       264:6 265:17        378:24 379:13,19
notforprofit 270:2      37:14 39:6,13,19    132:24 136:10       267:3,18 269:11     379:25 380:8
november 121:4          40:3,12 41:15       139:12 144:4        270:19 271:2,20     381:17,24 382:8
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 447 of 465
                                                                                                Page 28

 382:19 383:6          227:6,7,10 229:24      35:3 37:8,10,12        236:23             262:3 263:19
 384:3 385:5,11        230:4,17 231:20        37:19,24 38:4        outrageous 240:12    264:2,9 265:8,25
 387:6 389:13,20       233:2,11 235:3,4       39:5 42:17 43:14     outside 7:17 17:14   266:10,19 273:3
 390:9 392:3 393:2     235:8,14,15            43:20,23 44:12         17:23 18:8,21      319:17 321:6
 393:11,18,24          236:17,25 241:21       56:14 58:12,21,23      102:15 116:17      334:11 345:14,15
 394:9 395:11,21       242:3,10,14 243:7      86:5 96:9 121:13       136:25 189:25      346:3,16,17
 398:24 399:8          243:14 251:13,19       122:9 153:18           190:18 200:6       352:22,24 353:3
 401:3,25 402:9        251:25 254:9           158:22 159:4,11        214:10 215:21      353:10,11 361:8
 403:25 404:11         256:17 257:5,12        164:4 166:4 167:4      218:20 219:7       398:6 414:6,12
 406:5,11 407:5,11     299:19 300:25          167:8,14,16,20         226:25 227:16      415:2 418:3
 408:2,7,13,19         302:17                 208:18,23 211:6        228:7 237:7       pages 119:17
 409:9 410:10        obviously 149:10         250:16,21,23           281:22 293:20,21   127:25 128:6,9
 411:17 412:4,11       161:17 207:16          251:2 353:18           372:11             147:24 148:24
 412:19                216:12 217:12          376:10 379:11        outstanding 340:3    263:12 414:21
objections 13:18       238:12 247:8         older 353:22             340:6              417:4
 21:5 413:7            286:6 311:16         olds 165:23            overnight 138:20    pagliuca 2:18 4:3,3
obligation 77:5        316:10 384:19        once 25:14 78:22       overseeing 12:11     5:17 6:5,13,22 7:5
obligations 76:25      385:19                 78:23 116:6 312:7    oversees 276:7       8:25 10:15 11:4
observe 29:15,24     occasion 397:16          372:4 401:6,7,16       279:14             11:17 12:2,24
 30:10 38:24 48:25   occur 409:24           ones 212:8,16          owned 232:25         13:13,18 14:4,12
 98:11,21 114:22     occurred 334:21          273:17 299:3         owns 354:17          14:20 15:16,24
 136:2 167:13        ocean 270:3            online 188:3             372:24 388:5       16:7 18:3,18
 256:3,4 397:14      oceans 371:17          opening 210:2                               19:12,19,24 20:25
observed 22:15,19    offender 184:2         opportunities                   P           21:10 22:3,22
 23:14,22 29:7         359:20                 60:25                p 2:9 34:12 168:5    23:4 24:2,13
 48:18 57:6 239:8    offensive 226:9        opportunity 60:18        373:10 413:19,20   25:25 26:9 27:12
 239:10 387:17       offer 351:12,16,23       60:23 61:24 169:6    paced 138:25         27:24 29:9 32:4
 401:19 403:2        offered 365:16           368:24 373:16        pad 147:23 151:2     32:25 33:16 35:4
obtain 76:12         office 5:20 28:25      option 61:3              160:14 162:4       35:8 37:5,14 39:6
 104:10                50:3                 order 4:22 102:22        414:21             39:13,19 40:3,12
obtaining 100:6      officer 88:14            200:15 360:7         pads 148:3 149:12    41:15 42:21 43:2
 407:3,9             officers 88:5 90:8       375:24 376:19          149:21 152:24      43:17,24 44:25
obvious 200:23       offices 1:15             413:13                 166:23             45:16,21 46:8,11
 201:10,20 202:6     oh 230:7 250:14        orders 329:2           page 24:23 25:7      46:15,19 47:22
 202:16,24 203:8       300:25               organizing 231:10        26:24 34:8,9,9,20  48:3,8,15,21 49:4
 203:18 204:3,8            379:5,7 403:13   orgy 40:16 351:11        34:23,24 72:5,5    49:11,21 50:7,14
 205:6,15 207:2        403:18               original 136:7           72:11,13,17 73:3   51:3,8,16 52:5,18
 208:24 209:9        oil 86:20                210:11,24              73:11 85:8 110:23  54:15,20 56:3,12
 210:20 211:8,13     okay 72:18 129:11      originally 130:22        113:23 118:17      56:18,24 57:9,16
 211:19 212:7,8,12     131:22 132:11          217:10 307:13          125:14 129:8,24    58:3,8,14,18 60:6
 212:13,15,18,22       151:23 179:16        outfit 68:23 69:9,12     130:19 139:21,21   61:22 62:17,22
 212:23 213:7,21       353:5 385:18           69:13,16,17            141:19,19 144:15   63:11 64:3,12,21
 214:18,20 215:6       391:24                 111:25 117:5,5,9       149:16 151:22      65:12,16 67:2
 215:15,16,20        olas 2:4                 117:12 233:8           156:15 157:17      68:9,15 69:19
 216:6 217:19,21     old 9:18 12:22           236:18                 159:19 164:10      70:3,8,14,18
 217:23 226:17         25:15,16 33:7        outfits 68:19 69:14      165:11 166:22,23   71:13 72:7,23
       Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 448 of 465
                                                                                        Page 29

74:5,11,15,20       195:20 196:7        293:24 294:24      386:7,12,19 387:6   paper 265:20 368:6
75:15 76:14 77:2    198:21 199:3,21     295:9 298:18       387:14 389:13,20    papers 197:4
77:22 78:18 79:3    201:12,21 202:8     299:20 300:4,13    390:2,9 392:3        216:23 227:8
79:10,17,23 80:25   202:20 203:4,12     301:2,10,16 302:4  393:2,11,18,24       228:4 252:9
81:6,12,23 82:5     203:22 204:11,23    302:11,23 303:19   394:9,21 395:11     paperwork 8:3,15
82:13 83:12,20      205:9,23 206:16     304:3,10 306:15    395:21 398:24       paragraph 25:7
84:19 87:12 88:7    207:4 208:6,20      306:25 307:7,20    399:8 401:3,25       26:24 34:23 35:6
88:13,20,25 89:13   209:3 211:11,22     308:5,12,16,22     402:9 403:25         86:8,10,11 87:2
92:7,16,24 93:11    216:2 219:11        309:2,8,11,17      404:11 406:5,11      210:13,23 386:3
96:24 97:18,24      220:8,17 221:6,16   310:2 311:2,11     407:5,11 408:2,7    paralegal 2:6 5:21
98:15,24 99:17,25   223:7 224:6 225:5   312:24 314:5,15    408:13,19 409:9      413:13
100:12,24 102:12    225:18 227:2        315:12,25 316:7    410:10 411:17       parent 191:9
102:19,24 106:6     235:17 236:19       318:5,20 319:12    412:4,11,19,23       376:11
109:4,9,15 110:8    237:4,14,20 238:8   319:23 320:13      413:10              parents 244:5
110:12,19 113:13    238:17,24 239:15    321:6,17 322:10   paid 25:10 49:17      376:9,10
116:11,22 117:7     239:21 240:3,19     323:9,20 324:12    50:3 51:2,5,25      paris 132:7,7,7
119:3,12 120:5,20   241:10,23 242:6     324:18 325:10,18   67:18 75:7 87:3      141:21,21
121:14,22 122:10    242:15 243:10,16    325:25 326:19,25   184:5 185:3,4,10    parlance 357:15
122:19 123:2        244:9,20 245:22     327:18 328:12,23   185:12,14 237:2     part 20:12,19 26:13
125:3 126:4         247:16 248:10,21    329:4,11,20 330:5  263:6 265:16         26:15,19,20 31:15
127:19 128:3,9,25   250:3 251:16,22     331:4,12 332:21    270:5,7 277:13,18    62:3,16 76:16,24
132:24 133:8,11     252:4,17,24 253:8   333:20 334:4,13    277:19 339:18        80:8 102:20,22
133:15 136:10       253:16,22 254:4     334:23 335:7,14    340:5,12 343:3       116:19 139:9,17
138:3 139:12        254:12,22 255:8     335:23 336:7,13    352:5,9              150:2 169:23
140:3 141:12        255:23 256:9,20     336:16,23 337:6   palm 17:25 19:11      213:7,24 214:19
143:3 144:4 145:5   257:9,16 258:5,9    337:14,21 338:2    28:12,17 29:8,16     230:15 245:25
146:9 149:17        258:12,19 259:15    339:10,20 340:20   39:16 44:23 70:2     246:3 284:6
150:22 151:10       259:18 260:17,21    341:20 343:11      70:12,17,23 72:3     319:16 353:11
152:9,17 154:6,13   261:10,23 262:13    344:23 346:25      76:13,19 77:21      participate 18:13
155:6 156:11,24     262:25 263:13,24    349:6,17 351:20    78:2 87:9,21         18:24 21:6,8 76:3
157:7 158:12,23     264:6,21,24         352:25 353:5       89:11 91:7 118:22    229:13
159:6,12 160:9,20   265:17 266:3,11     354:7,22 355:9,20  121:4 122:16        participated 63:4
162:5,18 163:20     266:16 267:3,18     356:13,19 357:6    123:22 125:24        76:6 100:8 229:16
164:18,25 165:6     268:2 269:11,18     357:10,25 358:5    126:13 127:5,13      229:18 345:5
165:24 166:14       270:19 271:2,20     358:20,24 359:7    132:5 134:19        participating 53:16
167:10,21 168:23    272:5 273:5 274:7   359:14 360:2       144:25 145:15       particular 235:21
169:21 170:7,20     275:24 276:10,21    362:3,10,16 363:3  149:2 155:9,14,17    410:25
171:8 172:4,8,15    277:6,14,24         363:20 364:12      156:20 157:13       parties 148:11,15
172:22 173:5,15     278:11,23 279:7     365:18 366:18      160:24 161:19        292:10
174:8 177:15        279:17 280:3,13     367:11 369:6,12    186:7,22 187:3,5    parts 209:25
178:4,13 179:8,12   280:24 281:6        371:3 372:17       187:9 189:18        party 112:25 146:8
180:12,18 181:5,9   282:3 283:25        373:18 378:4,24    190:17 214:6         146:13,15 148:17
181:13,22 184:8     285:22 287:5,10     379:13,19,25       241:22 242:4         223:18 291:19
186:12 187:11,23    287:19 288:25       380:8 381:17,24    243:9 248:18         292:4,9,11,12
188:22 189:4,20     289:7,14 290:3,18   382:8,19,23 383:6  300:12 313:12        360:6
192:6 194:14        291:22 292:7,17     384:3 385:5,11    panties 86:17        pass 209:12 334:16
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 449 of 465
                                                                                               Page 30

passed 184:16          230:10,20 243:20     359:4 364:16,19       405:14                142:8,9,15,18
 328:5 375:16,18       243:24 244:2         365:9 369:25        phone 7:6 76:22,24      143:23,25 176:10
passing 328:6          245:9,10,12,13,14    375:17,18 380:11      77:11,16 149:4        191:8,11 192:15
passport 109:13,19     245:15 246:2,21      410:14                150:16 152:23         193:17,21 194:3,7
 387:5,13,18           246:22 247:19,20    permitted 200:7        154:2 158:6           231:24 232:4,5,7
patent 69:17           248:13 249:6,11     perpetrate 107:3       166:25 258:25         234:10,12,15,18
paths 397:9            249:21 303:2        perpetrated 35:17      259:4,6 260:2,16      234:21 243:22
pattern 401:18         310:8,10,16,22       91:2 207:8,10         269:2,5 295:23      pictured 142:6
paul 2:13 3:25         311:17 313:14        229:4 273:22          296:13 298:8        pictures 144:8,11
pause 245:6 252:25     322:24 323:4,13     perpetrating 53:17     313:19 314:13,19      188:18 189:15,23
 253:3                 331:8,25 383:9,10   person 24:9 32:22      315:3 316:5,15        190:7,11,22,24
pay 25:12 29:3 50:4    383:14,16,17         33:18 55:17 99:3      321:15 332:13         191:13,18,20,21
 67:14,14 75:10        384:6,8,15 404:5     111:16 127:15         385:21                192:4,15,22,25
 184:25 275:18         404:15 408:17        142:11,12,14,15     phones 59:12            193:2,7,11,14,25
 340:2,10             peoples 184:18        171:22 176:4,22       307:22 310:17,21      194:13,16,17,19
paying 49:24 75:11     376:5                177:8 184:15          310:23                243:15,20,25
 101:21,25 117:16     percent 18:25         193:16 205:14       phonetic 47:3         piece 191:10
 277:16 343:21,24      135:8 137:6 183:3    216:17 222:23       photo 133:6 143:9       192:11 214:14
payment 49:19          228:2,12 229:9       223:3 226:7           143:10 233:7          215:12 244:6,6
 50:11 102:4,7,8,8     230:11               235:24 241:2          414:16,17,19,20       265:19 405:24
 103:10               perfectly 65:20       246:13 251:7,10       414:23              pieces 194:18
pays 60:23            perform 27:11         279:25 280:11,16    photograph 110:15     pilot 46:24 47:5
pbi 118:19,21          51:14 52:8,13        288:21 296:13         143:13,15 191:24      104:10 230:14
 120:14 125:19         53:22 66:25 82:3     304:21 309:22         231:23                377:25 383:11
pending 8:15 27:7      93:8 97:23 98:14     324:25 325:3,8      photographed            410:5,7
 100:24 256:25         98:23 140:25         353:21,23 354:13      232:2               pilots 31:14 47:3
 357:8 358:6,25        246:15 304:9         383:11,11           photographs           pinch 82:19 83:3
penis 86:24            307:11,18           personal 88:15,25      191:15 192:10       pinched 82:12
people 9:23 15:12     performance 59:25     89:22 102:15          255:22 256:5        pinpoint 163:15
 27:16 29:19 30:7      66:16                119:4 126:9 176:6   photos 193:11           198:11
 30:10,12,14,15,16    performed 25:9        178:8,15 179:24       244:3,4 256:7       place 19:2,5 26:22
 30:17,20 31:9,13      50:6,12,17,19        213:22 268:4          259:11                55:13 66:10,12
 31:14 32:16 41:9      51:7 52:3 53:3       269:24 318:11       phrase 25:18,21         95:2 104:24
 41:12 50:2,17         409:12               319:2 331:22          26:5                  111:11 129:15
 55:13 59:11,17       performing 55:21      332:5,12,24         physical 7:25           139:4 226:18
 60:14,24 63:25        55:25 101:21         333:17                207:24                228:4 231:18
 88:9,16 89:2          102:10 245:21       personally 171:20    physically 233:21       234:7 235:8,11
 93:22 94:23 97:5     period 21:7 27:15     171:20 176:6          337:24 378:22         236:6 265:6
 97:6 100:9 122:6      30:17 55:2 84:17     249:6 302:18        pick 73:17 108:7        293:11
 123:6 136:8 143:8     123:11 127:17        307:16                128:5,9 212:22      placed 165:19
 143:22 152:6          144:9 185:2 231:9   persons 353:20       picking 212:23        places 132:21
 166:16 180:21         255:25 256:2         383:14              picture 109:20,24     plaintiff 1:6 2:4,9
 188:2,4,14 190:22     294:18,21 295:7           202:10 204:2     110:3,6,11,17         2:13
 191:14 193:2,9,11     296:16,21 297:11     275:17,18 346:10      113:21,25 114:3,9   plan 372:8,10
 193:13,25 194:16      315:14 333:8         347:24 348:24         114:12,14,16,18     plane 38:20 47:14
 213:15 223:15         340:17 357:22        361:5,16 391:16       114:19,21 142:3,6     106:2 108:23
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 450 of 465
                                                                                               Page 31

  121:12,20 122:14      250:22 295:4         159:8 164:3 166:2    313:25 337:17              63:9,15
  122:25 123:10,13      307:14,23 384:20     195:14 198:12        340:18 341:2         80:23 106:15
  123:15,18 124:4       399:25 410:18        216:21 223:9         372:8,10 379:12      107:4,7,10,12,16
  125:22 127:11        pointing 126:16       263:3 299:22         379:18 413:14        107:19,20,23
  131:11 132:23        police 24:10,15,19    302:18 304:12                 104:16      108:3,11 110:5
  135:21,24 136:23      24:20,22 55:21,25    314:17 320:8         104:22 105:3,7       111:8,12,15,25
  137:8,10,12 139:5     56:16 83:6,9,15      321:2 324:7          106:2 129:20         112:10,24 113:4
  145:18 211:21,24      83:18,22,25 84:4     331:14 332:9,17      130:9,14,18 131:3    114:22 115:3,7,10
  212:11,20 280:16      84:6,11 87:20        369:14 402:18        131:10 134:6,11      115:16,17 116:3
  410:17                88:4,16 89:9 90:7   post 323:11 385:21    134:15,16,22         231:18 232:6,10
planes 38:18 41:24      164:23 166:20       potential 386:22      135:7,11,15,25       232:22 235:4,9,16
  42:5 43:22 47:12      168:16,19 169:4     potentially 50:21     136:2,18 138:18      235:23 236:3,3
  105:7 122:2           169:10,11,12         50:22 130:3          139:4,15 140:11      286:24 287:3,9,16
  127:12 135:10,11      170:12 171:4         389:17               266:22 267:2,8,15    288:5,16 289:12
  145:22 146:2,4        175:7 178:20        pounded 207:20        267:25 268:9         289:22 290:11,12
  211:10 212:5,17       180:9,14 186:21     pounding 208:2       press 31:4 33:6       290:15,16,22,23
  409:22 410:8,18       187:15 195:22       practice 151:7        36:8 76:21 111:17    291:13,16 292:3,5
  410:20                220:4 221:8          152:22,23            111:20 182:20        292:15,19 293:6,8
planet 261:6            252:10 255:10,11    practiced 351:11      183:8 201:9,17,18    293:9,10,14 302:3
planning 285:12         344:4 346:21        precise 7:9           202:3,4 205:13       302:10,22 303:11
please 5:22 6:10 9:4    347:18,19 414:13    preference 100:11     207:8,15 211:5       398:8 399:5,18,21
  9:7 23:12 28:7       pool 30:13 31:13      100:18 194:16        216:10 228:19        401:2 403:4
  34:23 65:14 77:24     50:20 189:17         251:14,20 252:2,8    236:2 273:25                 265:11
  83:14 85:10 94:7      190:18 245:10        252:15,22 253:6      330:23 344:6,7,9    print 405:23
  105:20 111:18         247:4 310:10        pregnant 337:2,4      344:14,15,19,21     printed 317:18
  131:18 142:3          383:10 404:16        337:12,25            345:2,9 348:22      prior 223:23
  168:25 169:24        portion 72:12        premier 35:2          349:5,10,13,16,25    346:19 348:25
  181:20 198:23        portions 85:15,17    presence 22:20        350:2,8,10,14,18     350:3,12 352:22
  201:24 202:23        portrayed 78:15       287:3 288:5,15       355:18 356:12,18            124:19
  203:7 210:3 214:5    position 75:6         289:12 290:16        357:24 359:6,24     privacy 30:13
  220:20 221:25         178:21 207:24        296:8 302:3,10       360:11,22 361:8      164:24 404:15
  242:2 243:6           215:4 299:18         308:11,14            361:10 364:14,22    private 20:13 39:11
  244:11 252:20         389:12              presences 302:14      365:13 366:17        389:17
  253:18 258:15        positions 247:23     present 2:21 27:16    367:3,10 375:21     privilege 274:12
  262:3 266:4,17       positively 205:2      27:21 28:3 30:6      385:4,10,24,25       286:8
  267:6 269:14,20      possible 28:10        44:23 75:18 79:5     391:8 392:25        privileged 199:6,24
  270:21 287:7,12       37:12 60:25          81:15,16,17 85:3     393:17,23 396:7      199:25 274:9,15
  289:9 312:18          163:12 166:12        112:25 113:2         399:3 406:10,10      274:20 281:2
  336:19 345:11         190:21 192:25        116:2 134:10,17      406:19               282:25 283:3,16
  368:7                 193:10 235:13        135:8 176:6         pressure 93:10        285:15,18 363:6,9
pleasure 243:5          245:16 272:20,23     186:10 187:18        94:14 95:7 96:22     394:11,16
pled 184:13             315:16 333:16,24     191:22,24 201:4      229:3               probably 10:5
point 10:10 40:23       368:21 393:14        224:11,17 225:2     presumably 346:18     78:12 91:25
  40:25 76:6 101:4     possibly 24:4,6       249:3,21 251:12     pretty 17:11          146:18 164:7
  103:9 148:10          29:20 35:24 144:6    271:16 294:20       prevent 5:10          204:18 205:18
  226:6 247:2           154:8,15 157:21      296:14,22 297:12    primary 155:22        212:19 218:24
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 451 of 465
                                                                                            Page 32

 298:12 396:19        proposing 364:23       287:21,23,25        356:11,17 372:15   198:17 201:15
problem 20:3 21:15    propounded 181:2       288:3,6,8,10,12     392:21             202:22 207:13
 356:8,24 357:4,13     417:5                 288:14,17,20       putting 119:14      221:19,25 223:14
problems 197:20       prosecutors 349:2      289:3,5,11,17,18                       235:19 238:5,10
procedure 294:3        350:4,12              289:18,21 290:6,7           Q          239:17 240:20
proceeding 6:23                141:5         290:7              qualifications      241:19,25 242:9
proceedings 413:18    prostitute 173:12     puppets 288:2,2,7    323:3,6            243:6,7 244:11,23
process 7:23 8:2,16    359:18               purchase 103:23     question 4:20  6:6  245:4,6 251:18,24
 149:3 152:7 153:8    prostitution 172:21    104:6 342:19        6:12,14 8:13 9:2,3 252:20 253:2,3
 284:7 368:22          275:23 276:9,20      purchased 66:21      9:5 10:19 11:9     256:25 257:11
 372:3                 277:5,10,23           343:6 372:14        13:15  14:17  15:6 258:14 259:19
procuring 172:20      protective 102:21     purchasing 343:16    18:9 20:2 21:11    261:12 267:5
produce 199:12         375:24 376:7,18      purports 114:4       21:16  22:10  23:6 269:13 274:17
produced 24:18         413:12               purpose 8:8 47:19    23:6,9,10,11 26:2  276:3,13 277:9
 34:5 110:9,18        prove 285:13 351:8     140:13 146:23       26:4,13,15,16,17   278:16 279:10
 129:4,7 133:9         351:25                154:11 245:21       26:20,21  27:6,7   280:18 281:12,21
 149:20 150:2         provide 28:7 31:7      269:9,17,23         27:14 28:6 29:11   282:4 284:5
 209:17 283:22         68:18,22 69:3         278:20 280:18       29:13 33:9,12      285:23 286:9
 285:19 286:4,6,10     97:17 98:3 100:5      329:9,17 330:11     39:15,24  44:4,21  289:9 299:16
 319:25 385:15         117:4 118:14,25      purposes 8:4,20      45:25 48:23 52:24  308:9 323:24
production 148:23      153:20 344:7          67:7 99:16 164:24   53:10,24  54:6     329:12 334:12
profession 60:15       360:21,22             177:14 182:20       57:3 64:23 65:6    335:17 336:18
professional 24:9     provided 60:11         183:8 225:3         70:10 73:5 74:21   340:9,22 350:17
 31:17,19,23 35:3      86:16 117:12          253:15 275:16,23    74:24  77:7,24     354:8 357:8,11
 41:9 60:17,19         272:24 320:24         276:8,20 277:5,22   91:21 93:5,13,19   358:2,4,5,7,8,10
 220:20,25 223:16      321:12 322:6          278:8 279:5,15,24   94:5,9,12,17       358:12,22,23
 223:20 225:8,10       342:4 379:23          280:10 309:24       95:14  96:14,15    363:10,21 366:24
 225:16 226:11,13      409:19                310:19 330:3        97:7,12 98:4,19    366:25 367:7
 246:8,16 248:16      provider 60:20         335:21 354:11       100:15,24,25       370:4,10,11 372:6
 279:20 310:8         providing 69:13        367:10 370:25       104:20 105:20,21   375:8 377:9 378:5
 383:9,17,18 384:9     99:16 154:11          371:6 379:24        105:23,24 106:8    378:6 382:24
 384:13 416:11         279:5,15,24           383:4,25 401:22     106:14  120:25     385:7 386:8,18,25
professionally         280:11 379:10,17      402:22              121:24 122:20      392:20,20 394:12
 73:23                psychological         pursuant 1:14        148:7 150:24       394:14,15,17
project 12:7,20        239:14,20,25         pushing 33:6         157:2  168:25      403:17 404:13
 371:17 412:10,13      240:18 241:9         put 21:2 25:12 36:7  169:24 170:10,23 questioning 36:2
projects 12:8,16,17   psychologically        73:17,17,18,21      170:24 174:4       65:19
 12:18 397:8           237:12,17 238:6       133:5 161:13        175:22 176:10,24 questions 11:16
pronounce 129:17      public 1:20 4:8        171:9 182:19        176:25 177:14,17   20:4,21,24 21:4
 363:25                210:16 417:14         191:8,9 204:2       177:19,21,23,25    21:16,23 22:2
pronouncing           publicized 210:21      205:13 207:15,18    178:6,12,14 179:9  53:12 54:11,13,25
 129:18               pull 314:12 361:7      211:17 227:8        179:11,14,16,21    59:5 61:25 93:2
proper 77:8 245:16    pulled 85:8            228:17 274:6,18     180:17  181:6,10   94:2,4,18 119:15
properly 77:7         punitive 103:5         275:5 289:24        181:12,14,15       126:19 133:18
properties 384:17     puppet 113:5,8,10      300:22 312:18       186:13  189:22     169:9 180:24
 404:10                286:25 287:4,9,18     315:8 342:10        197:13,17 198:16   181:3,21 192:21
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 452 of 465
                                                                                              Page 33

 200:20 234:5          358:15,19 396:7      106:10,11,21          402:19 404:25        338:20,24 339:4
 238:2 244:25          417:4                111:4,7,11,22,23      408:21 410:3         339:25 341:3
 245:3 299:14        reading 74:10          113:4,19 114:25       411:3,7,12,20,22     360:17 361:13
 309:7 390:5           87:15 88:23          121:3,6,8 123:9     recalled 36:14         378:19 380:10,14
 399:15 413:3,6,8      120:14 132:16        125:24 126:12,24    recalls 268:8          380:17 385:21
 417:5                 145:5,6,7 178:6      127:11 130:4,7,9    receive 7:24 31:23     399:25 400:18,21
quick 327:6            358:21               130:13,16 131:3,9     149:7 223:5 246:8    400:22 404:19
quite 28:23          reads 151:25 351:5     132:18,20 133:3       278:9,21 308:17      406:17 408:25
quotable 210:3         364:2 366:23         133:15,25 134:6     received 78:21,25      409:2,5,17
quote 159:25 165:5   ready 73:24            134:25 138:18         263:21 363:11      recollection 16:14
 167:2 201:10,20     real 231:24 232:5      140:17,18,19,21     receiving 222:21       16:19 25:19 36:13
 202:6,13 369:2        233:7 291:15         141:7 143:2,12,15   recess 67:24 118:3     45:3 50:15 61:19
 392:10              really 42:8 100:20     144:7,9,10 145:14     168:3 208:14         67:12 69:12 74:2
quoteunquote           106:20,21 108:24     145:18,21 146:5,6     256:13 294:13        74:16 77:13,18
 83:11                 153:8 183:6 188:9    146:11 148:15         327:9 373:8          108:13,25 109:17
                       192:19 195:4         149:2 153:8 156:9   recognize 143:19       111:20 112:18,20
         R             231:22 289:19        157:2,4,5 167:17      143:21,22,23         112:21 126:15
r 160:5 161:18         292:10 296:15,25     185:8,11,13 186:9     229:5 232:4          128:2,11 138:21
  168:4 418:2,2        297:18,21 303:14     191:19,23 192:3       261:18 263:23        139:7 147:15,16
railing 234:23         306:2 308:19         192:24 193:19,20      264:3,8 307:5        159:17 160:16
raising 413:6          309:14 341:5         194:6 195:10          320:17               161:3 163:13
random 238:10          342:12 343:8         197:16 206:12,23    recollect 10:4 35:21   188:13 193:13
  240:25 324:23        347:16 394:3         212:4 213:11          36:12 42:2 44:13     227:15 232:21
range 103:12 111:3     396:21 404:19        227:13 234:2,15       49:6 70:20,22        243:13 265:14
  149:21 160:22      reask 97:7 169:23      234:18,22 242:12      71:5 75:21,23        271:25 280:19
  410:13               201:15 221:19,25     262:11 280:15         78:14 79:19,25       306:20,22 307:24
ranges 149:18,19       289:9                285:7,10 290:24       105:10 108:8         331:25 350:21
ranging 66:23        reason 7:9 35:22       297:18 298:2          113:3 136:6 137:3    366:10 372:19
rape 348:25 350:3      44:12 124:7          299:3,4,6 301:4       138:23 139:2,3,8     378:18 387:20
  350:12               163:18 176:19        305:3 306:7           141:3 147:16,19      407:7
rapidly 376:14         258:3,10,16,23       308:19 309:14         148:10 151:12      record 3:3 4:21 5:5
read 26:17,18 36:8     305:7 411:25         311:4,24 319:8        188:17 270:11,14     5:23 6:17,21,24
  36:22 53:10,11     reasons 182:22         320:11 333:12,15      270:17 271:4         6:25 7:3,8 8:8,19
  60:8 63:13 73:12            352:5,7,10    341:5,6,7,10,11       272:7,8 275:10       26:18 53:11 54:18
  73:14,14,15 74:7   recall 16:16,20 17:2   341:16,18,23          282:8 290:5,5,6      67:23 68:2 76:8
  74:13,20 83:22       17:15,21 26:21       342:6,8,9,12,16       290:10,13,20         85:20 105:22
  84:4,5,11 86:2,6     33:24 34:25 38:11    342:18 343:8,17       291:11,15,16,17      111:15 116:24
  89:4,9,18 90:14      38:16 40:6,14,24     343:18,19,20          291:20 292:2,2,3     117:24 118:2,5,16
  90:24 105:21,22      45:7,8,11 47:13      360:23 369:18         292:9,11,14,19,20    119:11,14 126:5
  118:13 148:8         47:18 56:14 59:9     373:11,22 377:6       292:21,24 293:3      128:17 137:23
  171:10,14 206:21     59:14,21,22 61:6     378:16 382:10         295:25 301:22,24     141:12 148:8
  209:11 252:11        61:13 67:17 75:2     387:2,8,10 388:11     303:6,8,10 304:12    152:15 154:17,20
  255:10 257:22        75:11 80:3,16,17     388:12,20,25          304:21,24 305:2,4    157:24 168:2,12
  276:24 330:19,21     80:22 81:3,19        392:8 395:2           306:18 307:15        174:5 177:22
  334:9 344:5,13       98:8 101:23 102:2    396:17 397:24         311:20 312:5,12      178:5 180:20
  345:8 357:19         103:14 104:4         398:14 399:17         318:13 319:3         181:17 207:19
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 453 of 465
                                                                                                  Page 34

  208:7,13,17            317:24 398:9          77:17 121:19,25       361:10 399:4          39:15 85:10 90:22
  212:20 230:12        referring 9:13 33:4     122:4 123:15,18     released 275:9          93:13 98:19
  256:12,16 263:13       41:6,19 71:16         147:11 162:10,15    releases 356:12,18      105:19 121:24
  266:13 294:12,15       77:6 82:15 89:23      162:22,25 165:22    relevant 21:24          168:25 174:23
  309:4 327:8,11         90:24 123:20          187:13 393:9          284:8 315:22          175:4,12 176:4
  358:9 373:7,10         143:5 154:5           400:25 401:5,11       336:5                 189:22 239:17
  386:21 389:10          155:12 156:22         401:13              remain 102:4            241:25 257:11
  390:17 413:3,19        158:21 159:2        rehashed 229:9          258:11 413:4          266:17 267:5
  416:7                  160:13 194:8,9,11   relate 54:25          remains 210:25          278:15 279:9
recording 3:3            209:6,8 221:9       related 173:4 195:2   remarks 145:2           336:18 377:9
records 129:4,6          230:5,18,19,20        270:3 332:20        remember 5:6,15       repeated 19:6
  166:17 180:23          242:19 243:19         333:11 343:24         8:10 17:3 27:3        228:18
  195:23 211:24          278:13 316:19         352:16 372:25         35:19,25 36:18      repeatedly 19:3
  221:8 318:24           327:20 346:23       relates 197:19          38:8,19 44:3          87:25 241:15,18
recover 408:18           349:12,12 350:7,7     238:11,12 284:15      78:11,12 79:21      repeating 200:22
recruit 6:3 8:24 9:7     364:5,7 368:9         284:16 333:14         80:8,10,12,18       repetition 211:6
  25:22 26:7,14          406:4                 388:14                86:15 101:22        replacing 141:13
  46:17 56:21 81:22    refers 386:3          relating 20:9           106:22 108:17,19    report 24:11,16,19
  82:3 93:16 94:10     reflect 141:13          213:25 332:14         112:13,24 113:17      24:20,22,24 25:3
  94:14,21 95:6,10       181:17 309:5          344:4 407:4,21        116:6,9 122:8         83:7,16,22,25
  95:17,18 96:21       reflected 162:3         408:11                125:10,12 130:3       84:4,7,11 87:20
  97:3,4,11 253:14     reflection 206:23     relation 186:21         139:11 140:10,13      168:17,19 169:4
  253:20,20 254:2      reflects 118:17       relations 63:8          153:17,21 156:23      169:10,11,13
recruited 9:15,20        209:19 268:10         181:8 196:13,16       185:16 186:14,15      170:12 171:5
  93:18                refresh 36:13 74:2      196:22 197:9          193:15,16 197:19      178:20 180:9
recruiting 93:8          74:16 128:11          210:18 228:3          232:18 233:10,21      220:5 344:4,5,8
redacted 25:3,4          265:14 366:10         354:2,3               266:25 267:7,11       345:4,9 346:22
  27:4 85:14,17        refreshes 127:25      relationship 10:11      267:13 281:25         347:18,19 414:13
  88:21 156:19         refuse 177:16           47:25 48:6 57:14      290:14,22,23        reported 55:12,14
  164:14,24 166:15       386:17                57:18 91:15 101:9     291:25 293:9,9,10     111:19 235:25
  166:17 180:23        refusing 54:5,11        101:11,12,12          294:6 297:21          330:22
  398:13                 65:5 176:23,25        135:23 137:19         299:2 305:7,24      reporter 1:20 3:15
redaction 85:18          177:18,20 386:21      138:2,4,6,9 272:9     306:3,6,18 322:15     3:18 4:18 413:15
  398:16               regard 400:10           294:22 295:6,15       324:8 343:13,15       416:11,19
redactions 25:2        regarding 350:11        295:18 305:16         377:8 388:14        reporters 142:7
redress 211:6            352:13 357:23         353:19 354:15         412:15              reports 83:18 84:7
refer 183:16 265:25      359:5 407:9           381:2,8,11,14,16    remembered              88:4,10,17,22,24
  266:6,10 316:25      regardless 336:11       381:19,20 386:5       206:19                89:8,18 90:7,15
reference 231:14         336:21 378:9          386:16 397:6        remembering             90:25 108:22,23
  318:8 336:2          regards 204:4           401:23 402:21,22      125:8                 164:23 173:24
referenced 88:16         303:2,3,15            402:25 407:23       remind 5:8              175:8 180:14
  150:7 159:4          registered 184:2      relationships         remotely 190:24         252:10 255:10,12
referencing 139:16       359:19 416:11         137:22              removed 188:19          255:15
  189:8 252:12         regular 305:10        relative 402:15         211:16              reposition 124:17
  332:5,25 386:16        401:10              relatives 402:17      repeat 13:15 15:10    repositioning
referred 267:23        regularly 66:2        release 8:16 361:8      18:20 22:10 26:16     124:20,22
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 454 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 455 of 465
                                                                                                 Page 36

  150:6 151:22          120:9 122:17          186:16 187:15         269:9,16,22 287:3     172:18 359:16
  156:16 157:18         124:8 125:18          188:20                305:10 313:6        sentencing 33:9
  159:20 164:9          129:22 132:15       sec 408:12              321:3,5,10 345:16   separate 156:7
  165:11 166:21         140:4,7 144:17      second 26:13 34:23      345:24 346:3,4,5      374:12
      47:15 48:17       150:12,13,13          35:6 99:9 140:7       346:10,14 352:23    september 256:19
  48:18,25 49:8,17      151:2 153:25          149:16 169:23         353:11,17 356:4,7     264:23 266:6,19
  56:21 57:4,6          154:2 156:17,18       215:11 219:6          368:12,25 376:22      267:2,8,21
  255:3,19 328:21       158:18 159:25,25      229:12 264:9          377:5 391:11,19     sequence 395:2,3
  328:25 329:2          160:6 164:12,14       266:16 326:4          391:20,22 392:15    serial 105:17
  378:11,21 395:16      165:14 167:2          346:16 353:3,11       397:23 398:5        series 298:22 309:6
  396:5,9,12,14         197:21 204:7,8        353:24                405:10,16           serious 240:13
  411:15,21 412:9       205:15,17,21        secondly 44:10        seeing 40:15 75:21    seriously 193:19
  412:17                209:7,9 210:2,6,9   secret 230:9 293:15     75:23 79:21         served 172:7,13
saturday 366:5          210:14 262:8          294:4                 133:16 138:8        service 230:9
  398:23 399:2,13       264:11 265:10       secretary 383:11        147:6 156:9           293:15 294:5
saw 38:12 53:18         266:5 302:22        section 319:19,22       404:19              services 1:24
  75:25 79:6 201:3      303:2 319:20          320:18,23 324:3     seek 211:6            set 69:14 74:22
  201:5 223:19          321:5,8,9 331:10    security 293:16       seen 23:7 24:19         133:20,23 147:21
  291:12                345:20 346:5,17     see 25:2 29:22 30:7     30:14,15,18 39:25     148:20 162:15,22
saying 30:20 35:14      347:19 348:16,25      34:20 53:10 71:22     40:7,9 53:5 55:11     176:17,20 177:10
  61:6 69:9 90:6        349:3,21,23           85:14,17,25 86:4      108:22,23 110:19      177:12 373:23,24
  95:12 122:15,18       353:14 356:7          86:9 87:6 89:21       110:21 144:2          374:6,24 375:4,20
  123:25 124:5,6,11     361:17 366:6          108:23 110:23         173:23 271:5,23       376:21 377:3
  125:5,6 139:25        369:2 391:17          120:14,16,16          271:24 285:4          401:18
  150:17 154:25         398:11 399:12,13      124:14 125:17,19      288:4,14,19,20      setting 176:9,14
  197:23 200:16,23      405:18                125:22 127:25         289:3,5,11 305:5    settle 184:5
  202:16,24 203:8     scandal 374:14          128:15 129:14,16      379:2 402:3 404:9   sex 9:10 38:21,25
  203:18 205:4,6      scarf 340:25            129:19,20 130:19      409:18                46:6,13,18 52:21
  206:25 208:24       scenario 292:13         130:20 131:19,23    sell 76:21 273:25       52:25 53:13 55:2
  211:8,13,19 215:4   scenes 405:19           131:24,25 132:2,5   selling 7:23            58:7,11 61:14
  216:22 217:18       scheduled 92:5          132:14,19 133:17    semi 190:22 193:18      62:3,19,24 64:2
  219:17 221:10,11    scheme 253:13,19        138:24 142:22         194:10                64:10,16,19 65:8
  224:16,17 233:11      253:25                144:17,19 145:3,9   send 34:17 57:24        69:25 70:6,12,17
  235:2,14,20         schiller 1:16 2:3       145:12 149:19         298:3,6 304:14        70:21,22 71:2,8,9
  236:16 249:16         3:13,21               150:12,14 153:8       345:21 346:7          71:12 74:3 75:3
  250:9 274:14        school 68:23 69:8       164:12 165:12         410:22                76:3 83:2 87:4
  293:7 299:6 303:8     69:11,13,16           166:24 190:25       sending 354:10,19       94:15 95:8 96:23
  303:10 329:24         236:18 307:25         191:4,12 192:14     sense 23:22 257:25      100:11 115:4,7
  339:5 343:13          310:24 311:9,14       208:8 209:23        sensitive 11:10         116:21 117:3
  348:4 356:24          311:14,15,17          212:3,20 219:22     sent 167:8 209:24       158:21 159:3,10
  361:21 365:13         353:16                223:2,12 231:13       256:18,23 296:21      167:20 183:11
says 25:8 34:11,12    schultz 2:6 3:21        234:17 246:22         297:10,14 303:17      184:2 197:15
  34:15 72:16 73:4    scroll 125:18           260:25 264:10,17      304:8 385:20          198:14 204:9,21
  82:9 85:23 86:5       353:10                264:20,24 265:3       411:24 412:6          205:5,21 215:24
  86:11,12 87:2       se 243:21               265:10 266:2        sentence 361:17         216:6 226:24
  108:23 118:19       search 186:6,11,14      267:24 268:13,14    sentenced 172:2,11      227:23 232:11,15
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 456 of 465
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 457 of 465
                                                                                              Page 38

speculative 241:4      111:14 119:10       359:5,10 360:12     stories 31:3 35:17      417:6
spending 173:8         192:5,9,23 193:18   360:22 393:16,22      44:9 76:21 108:9    substantial 12:19
spent 18:7 138:7       193:23 194:5      states 1:2 34:24        111:17 175:5        suddenly 217:7
  173:2,3 365:11       215:17 226:2        98:13 132:21          235:21              suggest 218:17
  367:13               227:25 241:3        210:23 268:22       story 33:5 80:2,7     suggested 375:23
spoke 17:14,22         268:24 344:15       276:6,16 279:13       82:8 108:5 180:5    suggesting 9:9
  158:19 164:3         386:21 413:2        363:17 371:9          182:6 206:3           138:12
  296:18 297:19      stated 25:8,14,16     372:9 377:11          207:11 210:14       suggestion 369:10
  305:19 396:13        27:2,3 84:11        392:19 399:2          215:22 216:8,9      suggests 351:17
  399:10,20,25         86:16,23 87:3     stating 201:9,19        218:18 226:18       suit 93:25 176:13
spoken 195:13          202:5 225:24        355:24                228:8,16,18,23        346:19
  365:15,21            280:21            statute 353:21          229:8 230:8,9       suits 374:15
spring 112:14        statement 35:9        354:10 355:8,13       235:7,22 253:12     sunday 34:6 345:17
square 72:15           55:20,24 95:25      355:24                274:2,3 290:20      supervised 328:25
squares 72:20          96:4 178:22       statutes 355:4          328:15 344:10       supervising 328:21
st 115:13 134:3,3,5    200:22 201:8,17   stay 28:16 80:19        349:13 350:8        supervision 416:18
stack 252:9 273:3      202:3,11 203:15     81:10,18 108:14       351:14,19 373:17    supervisor 328:11
  356:3                205:12 209:6,9,11   138:20 140:17         376:2                 328:19
staff 11:23 55:14      209:17,24,25        156:20 157:13       straddle 27:14        supplied 341:19
  116:15 156:21        210:3 212:24        262:9 293:21        straight 266:13       supply 341:24
  157:14,16 187:8      213:13,24 214:5     379:4               strategy 389:4        suppose 166:12
  187:10,21            215:8 230:6 235:3 stayed 80:21          street 2:14 5:24      supposed 149:6
staffing 184:22        241:4 273:2,7,12    138:19,24 139:2,3   strike 23:10 98:9       152:24 153:2,5,9
stamp 34:11            273:15,18 274:6     139:4 379:6         strings 288:23          211:17
stamped 85:9           274:18,22,25        403:14              strongest 351:9       sure 5:8 13:22
stand 66:22 123:4      275:2,3,9,16      staying 28:21,23      strongly 211:2,3        17:11 54:18 65:23
standard 294:3         281:17 302:9        81:19 155:23        study 130:11            66:12 74:8 84:24
  401:17               329:19 330:3        262:10              stuff 36:22 302:16      85:11 119:24
standing 18:20         346:5 347:9 348:3 stems 175:17                 351:10           123:25 124:6
  215:21 218:4         348:6,8,10 349:10 step 6:19             subject 6:13 20:4       125:7 129:18
  227:16 228:7         349:21 350:11     stephenville 132:5      20:14,20 53:14        136:4 137:9
  234:20               357:11,18 358:14    132:6                 103:25 135:4          139:17,20 142:11
start 96:22 100:11     358:14 359:23     stewardess 140:23       200:2 209:21          168:16 169:25
  124:14 132:4         361:6,11 362:7,23 sticker 141:10          241:7 348:25          198:8 201:16
  190:6 220:2 368:3    365:17 366:16,21 stimulate 243:4          350:3 362:25          209:12 214:12
started 10:9 96:18     367:2,4,8 374:8   stole 330:17,19         370:23 399:6          222:22 232:5
  358:20 372:24        385:3,8,24,25       347:4               subjecting 362:8        244:12 254:25
starting 68:2 118:5    386:10,13 391:23 stolen 316:11,18       subpoena 1:14           271:6 274:21
  139:23 144:14        391:24,25 392:7     317:3,8,14,25         373:23 374:3,21       276:2,13,23
  168:11 208:16        392:20,25 393:5,7   330:16 408:18         374:23,24 375:4,5     278:17 279:11
  256:15 266:20        393:9 394:22      stomping 208:2          375:14,19             287:8 297:25
  294:16 327:12        399:23 405:25     stood 218:20          subpoenaed 373:12       303:12 315:18
  346:14,15          statements 198:19 stop 66:14 74:9,13        373:16,22 375:11      337:23 338:4,6
starts 144:23 215:9    198:25 199:18       93:17,18 94:11      subscribed 417:11       347:16 348:12
state 1:20 3:16 5:22   213:23 215:10       208:6 214:11        subsequent 320:9        354:18 360:18
  91:8 103:7 104:24    356:11 357:23     stopped 187:13        substance 400:9         366:13 373:3
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 458 of 465
                                                                                               Page 39

  402:12                263:10 294:9          137:21 139:10       tell 29:20 35:18,24   58:20,22 59:14
surfing 372:13          312:17 322:18         141:16,18 154:16      40:19 42:8,11       62:23 69:5 87:18
surprise 325:14         327:5 329:2 373:2     159:14 168:14         43:14 56:16 60:10   89:16 99:12 100:3
surprised 39:9          374:10 385:2,2        170:2 182:12          61:4 77:15 89:22    101:15 103:14
  325:24              taken 1:14 3:11         188:15 189:7          91:2 114:17 115:3   105:16 114:13
surround 385:13         113:25 114:4          195:22 214:15         115:6 125:7 142:5   123:17 133:2
  385:17                143:16 149:9          215:21 216:4          151:3 152:19        153:16 162:12
surroundings            150:12,25 151:7       217:16,25 219:7       157:21 159:10,16    163:5,8 168:7
  114:6                 160:12 163:12,25      219:13 220:23         171:14 173:17       174:13 178:15
swaine 391:9,13         164:5 166:3           229:24 254:7,24       196:10,12,18,19     186:17 194:15
swap 141:11             191:16 192:4          258:7 264:25          196:21 197:14       197:10 206:11,18
swear 3:18              193:24 254:11         265:2 278:2 279:2     200:11,13 206:2     212:2 230:12
       363:18           404:16                286:23 300:24         219:3 230:5         235:23 236:21,23
swimming 30:13        takes 93:9              302:25 308:7          232:10,14 241:13    243:21 245:8,24
  404:16              talk 4:23 7:6 33:18     313:11,21 327:13      253:11 263:3        248:12 262:15
sworn 4:7 416:6         46:22 53:14           329:13 330:24         268:7,13,14         271:24 273:9
  417:11                174:18 175:6          335:18 337:9,23       274:19 286:14       283:9 295:3
system 183:8            176:7 182:5,9,13      340:24 342:11         303:22,22 305:9     300:17 306:17
                        182:16 183:4          343:7 350:22          320:8,21 324:6      307:12 309:13
          T             195:17 197:22         375:7 377:24          327:24 331:14       310:7 318:22
t 168:4 414:10          204:25 206:2          381:4 382:14          334:19 338:22       320:19 328:4
  418:2                 220:19 296:4          411:11                351:23 357:17       330:13 331:6,18
tab 119:23              297:23 302:19       talks 198:6             358:12 363:8        339:16 387:8
table 86:13 207:21      303:3 362:17        tall 45:10              364:21 373:16       404:14 406:21
  208:7 228:25          365:12 376:16       tallying 107:15         394:7,19 395:24   testify 23:18 24:7
tail 232:8 282:17       399:14 400:2        tasked 60:2             398:11 400:6        30:25 46:5 59:3
take 4:19 18:23       talked 115:11         tasks 59:24 66:16     telling 180:9 200:4   63:2 78:7 81:14
  19:5 30:14 55:3       169:18 170:4,9              158:6,8,10      203:14 205:21       83:23 84:5,9,10
  65:13 67:20 74:18     171:21 176:5          158:14 159:25         235:15 281:12       86:3 89:19,21
  87:16 92:5 94:14      219:19 232:6          161:9,10,11,21,24     299:4 331:9         90:13,14,15 95:2
  95:7 96:22 109:24     255:3 272:11,18             63:18 65:21     354:25 362:20       95:22,24 96:2,3
  114:11 117:21         296:3 298:23          120:18 121:9          369:5,19 409:5      105:17 112:16
  127:24 131:21         301:20 302:8          126:2 127:6         tells 283:4           119:9 122:5
  141:10 149:6          313:10 362:21         142:19,24           term 32:21 138:4      123:12 124:10
  152:6 153:2 154:9     403:4               tea 236:4               386:4,16            125:8,13 127:2
  161:16,17 162:10    talking 10:16 11:5    teach 167:3           termed 20:6           128:14 129:3,6
  163:2,6,16 170:17     17:16 18:7 23:2,3   teacher 167:2         terms 184:22 246:2    156:14 161:11
  176:9 181:20          23:19,21 25:21      teb 118:19,22         terramar 371:15       165:8 173:22,25
  189:15,23 190:6       41:12 64:21 68:20     120:15 144:24         371:20,22           174:3,11,14 177:2
  190:11 191:20         68:25 69:6 70:25    teenagers 225:15      terrible 177:8        178:19 182:19,23
  193:11,21 194:3       75:5 82:16,21         225:22                182:21,22 183:6     187:17 195:14
  194:12,15 207:22      93:21,23,23 94:25   telephone 257:7,14      229:8 240:6         196:14 201:3,6,6
  208:8,11 226:18       96:6 98:17 99:21      315:6,16            testified 4:8 33:23   203:25 204:3,14
  228:13,14 231:14      121:16 123:21       telephones 60:3         39:21 41:5,21       204:16 205:14
  233:12,13 255:21      126:17 128:3          307:14 309:21         42:15 43:13 44:2    206:8 212:10
  256:9 259:23          136:3,14,15,20        310:14,15             44:15,18 47:13      220:24 221:2,3,11
          Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 459 of 465
                                                                                                  Page 40

  221:13,20 222:3,5      374:4 376:20          310:4 312:5           259:10 303:3,7        320:4 330:8 355:3
  222:6 223:9,15,17      384:5 416:8           337:10 338:6          335:17 375:22         400:6
  223:19 227:5,20      teterboro 118:22        339:13 340:8          384:9               thoughtful 184:19
  228:11 237:6,7         121:5 122:16          343:4 348:16        think 6:20 56:25        184:24
  238:19 239:6           123:22 144:24         349:11,12 353:9       60:14 67:20 72:9    thoughtfulness
  240:11,15,25           145:14                357:3,10 358:23       77:8 81:8 91:22       185:24
  241:16 243:19        text 298:3,6 346:15     362:18 365:25         96:17 99:7,8        thousands 182:8
  245:15 248:23          401:7                 370:4,19 371:16       100:14,18,23          193:10
  249:2,5 252:6        thailand 131:5,9        372:6 373:20          107:8 113:23        threaten 54:16
  255:13 265:19,21       139:11,11,19          374:12 375:4          117:9 118:7           208:4 335:3 336:6
  267:12 268:12          140:9,10,17,20        384:11,12 401:21      119:16 120:8        threatened 335:10
  271:8 272:8            256:18,23 257:8       402:7,15              133:25 134:3          336:3
  281:25 294:4           257:15,19,20,22     theft 344:3,8,12,17     147:21 166:18       threatening 54:17
  298:21 299:22          258:8,18,21,22        344:22 345:6          168:14 170:24         335:21
  301:12 314:7           262:8,12,17,19,21     346:21,23 347:7       173:8 185:16        threats 207:25
  316:9 324:14           262:24 263:6          347:10,11             190:3 195:5         three 85:14 127:25
  325:20 328:2           265:15,24 267:16    therapist 32:12         196:10 198:5          322:19
  329:22 330:7           268:11                60:17                 204:20 206:18       threepage 391:4
  332:17 333:7         thank 7:18 34:15      therapists 31:17,20     208:10 211:14       thrilled 213:2
  335:22 336:6           346:5                 31:21 32:8,10         212:19 218:21       time 3:9 7:12 9:15
  337:16 338:17                   262:4        51:2,11,13,20,24      224:8 225:13          9:25 10:11,23
  347:16 350:8         thats 5:6 7:21 9:13     52:7,12 53:3          226:6 230:7 231:7     12:9 16:24 17:3
  387:15 402:13,18       11:8 12:20 23:9       69:15                 231:8 232:19          17:23 18:7,14,22
  402:24 403:5           26:12 30:4 55:2     therapy 50:24           246:4 247:2,5         19:7,10 21:7
  410:19 411:19          80:15 83:22 85:18   theyre 21:18 275:7      248:3 255:2           27:15,16,20 28:10
testifying 27:8 29:6     85:20 88:18 91:21     286:21                271:18 275:17         28:18 30:6,14,14
  90:9,10 95:21          94:17 95:19 119:5   thicker 266:8           279:19 282:15,23      30:15,16,18 31:16
  123:24 178:11          124:6 138:15,16       330:15 352:19         284:14 286:8          31:16,22,22 34:11
  204:13 239:2           140:2,3 142:22      thighs 86:18            291:5 295:3,11,12     36:24 38:9,11,13
  249:20 338:16          152:5 153:10        thing 76:10 159:18      295:13 312:5,8        38:16 42:25 43:5
testimony 5:10,15        164:20 168:15         174:17 182:9          313:6,16 326:12       45:4 48:10 51:11
  8:11 15:18 16:22       172:10,17 176:18      184:19 226:10         339:22 349:11         55:10 62:25,25
  16:23 35:11,20         183:21 196:25         230:11 332:18         350:7,15 353:15       63:7 76:5 77:12
  36:11,17 40:5          199:14 208:2          336:9 337:24          353:15 354:9,17       78:5,7,13,13
  83:9 90:17 122:23      212:4 215:15          339:24 357:20         354:24 355:4,23       80:21,21 84:15,15
  123:19 124:24          216:5,13,22           358:16,19             366:8 375:16          84:17 87:22 88:5
  126:23 128:22          217:19 218:6        things 15:12 52:17      378:19 382:13         90:2,18 91:5
  130:13 157:23          224:20 227:15         66:20 69:16 73:8      383:21 384:12         92:14,14 95:4
  161:15 183:14          231:24,24 232:5       76:9 82:17 86:3       388:24 390:11         96:6,13,15 97:20
  193:16 214:13,21       241:5 245:8           169:18 170:17,18      391:24 396:2          98:10,20 102:5,11
  272:2 280:20           252:10 266:11,15      176:5 178:19          397:10 400:8          103:22 104:7,23
  282:11 299:13          267:9 273:20,23       179:23 193:12         410:16 412:23         104:24,25 105:12
  320:4,15 323:23        275:2 277:13,19       196:2 197:22        third 25:7 229:12       106:3,4,18,21
  334:10 338:15          280:18 282:7          200:6 202:14        thought 34:24           107:5 109:3,7
  341:22 343:4           285:6,15 286:8        212:3 235:11          118:10 214:3          111:9,19 116:25
  352:5 355:22           302:14 307:5          236:5 240:6           246:10 273:17         121:10 125:9
       Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 460 of 465
                                                                                               Page 41

127:17 130:11         365:11 367:13,19      388:8 395:16          207:16 230:8        trapped 94:20
131:21 134:10,21      368:16 374:24         398:9 404:13        touch 258:24 375:2    travel 38:17 48:12
138:8 146:19          375:4,10,17,18,20     409:19 413:3          401:10                60:22 65:21
148:16,25 149:8       375:25 376:5,8,15   todays 413:18         touched 52:15           108:20 136:25
153:3 154:20,20       376:22 381:11       told 25:13 38:15        86:21                 147:4,11 263:22
154:23,23 155:17      382:14 390:15         40:14 45:7 63:5     touching 52:14,15       263:22 264:3,4,17
158:11 163:11         396:13,17,19          75:4 81:3 86:13       53:9 229:20           267:24 279:19
165:19 168:5          397:2 402:11          90:5,21 94:21       towel 86:16 194:10      293:15 401:11,15
171:2 172:7,13        403:8,12,17,19        95:11 135:6,6       town 103:23 108:15      410:21,25 411:9
173:2,3,9 185:2       404:15,15 409:20      185:11,21 194:25      111:5 112:3,6         411:13
190:24 191:14,14      410:9,14 412:24       196:3,15,24           114:2,7,23 232:2    traveled 43:21
195:6,16 210:14       413:20                200:14 204:6,15       232:23 234:10,16      48:11 105:6
219:8,14 220:13     timeframe 293:12        204:16,17 212:4       339:17 372:4,5,11     208:25 211:9,20
220:14 223:11       times 40:7 42:4,6       229:8 235:21        townhouse 103:25        212:17 263:20
224:2,2 226:15,16     42:13 43:21 44:6      282:5 290:20          342:20                401:12,13
226:24 227:12,17      50:16 61:12,13        300:19 303:15       toy 71:2 242:20,22    traveling 105:25
228:8,10,13,14,20     76:20 78:16 79:8      319:3 339:2           242:24                109:14 147:17
228:22 229:5,7,11     90:23,23 91:6,22      369:16 400:8        toys 69:25 70:7,12      265:23 267:14
229:12,12,13,17       110:18 115:20         408:17,23 409:3       70:17,21,22 71:8      268:8 306:7
229:19,25 230:15      116:5 123:10,12          124:18             71:9 73:22 74:4       378:11 387:3,9,11
230:15,22 232:24      137:11 160:16       tomorrow 34:18          75:3 241:22 242:4   treated 210:20
236:2 245:13          164:4 167:4           160:2 346:8           242:11,12,13,25     trial 403:5
246:14,14 251:11      205:18 251:10       tonight 154:4           243:8,13            tricky 91:21
254:10 255:21,25      254:20 255:6        top 24:24 30:15       track 314:18          tried 25:14 383:16
256:2 261:22          296:7 305:5           72:14 85:13           318:17              trip 108:19 109:3,8
266:7 267:16          324:23 409:21         120:10 124:14       trafficking 20:6        109:12,18 131:12
268:9,17 271:4      timing 12:17            125:16 132:13         21:22 335:13          132:20 138:17,22
276:24 279:20,20      130:11 146:20         133:5 144:17        train 81:21 82:2        138:23,25 139:9
280:22 281:5,17       377:8                 150:10,12 151:24      156:21 157:14,16      139:15 140:14
281:23 282:13       tiring 138:25           158:5 164:12          276:18                141:18,20 144:3
283:5,10,23         tissue 82:8 108:6,9     166:24 190:14       trained 157:9           145:14 146:11,12
284:12,19,25        tist 125:19,20          209:17,19,23        training 157:5          146:13,15,15,20
285:20 287:13       title 353:7             234:24 261:19              111:12,18        147:3,5 231:10
291:20 292:4,15     today 3:9 5:11          264:10 265:10         236:9,11,12           233:19 258:22
294:17,21 295:4,7     35:18,19,20 36:10     266:5 345:15        transaction 104:5       265:15 266:25
295:20 300:11         36:11,17 37:2         351:3 352:24          382:3                 267:7,13 268:16
305:19 313:24         65:24 97:14 99:6      356:4 367:24,25     transcript 5:5          411:20,23
315:5,15 316:13       108:17 124:3          369:4 392:15,21       71:17,22 72:6       trips 146:16,23
316:21 319:7          156:20 157:13         398:5 404:17          414:15 416:16         387:19
325:2,5 333:8         167:6 168:17          405:9               transcription 417:4   trouble 185:25
340:17 341:6          176:11 191:2        topless 29:25 404:9   transcripts 72:8      true 26:12 39:9
342:2,11,13 343:9     194:19 202:12       tossed 211:15         transportation          80:8 91:2 108:7
343:15 347:15         206:24 208:22       total 26:25 76:8        275:22 276:7,17       177:8 197:24
357:22 359:4,11       224:9 283:9 295:3     135:9 146:12          277:4,21 278:7,19     198:2,4,12 204:14
361:23 363:19         299:13,19 339:16      177:3 236:4           279:4,14,23 280:9     206:3 210:11
364:4,16,19           372:2 381:4,5       totally 95:9 135:4    trap 94:19 245:7        211:18 215:3,3
Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 461 of 465
       Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 462 of 465
                                                                                         Page 43

26:14 33:3,20       225:23 226:23       visas 100:6,9       322:17 334:11       wedding 377:2,11
36:23 53:15,16      227:17,22 229:17    visit 17:9 31:22    337:23 338:4,6       377:13
57:24 58:6,10       229:19,21 230:5       80:24 112:10      346:15 352:22       week 161:23 296:4
65:9,9 68:5,6,11    232:11,12 233:25      115:10,16 116:8   361:14,19 363:18    weeks 377:3,4,7
68:13,18,23 75:14   234:3 236:17,25       163:25 247:7      364:2,25 370:16     weissing 2:8
75:19,22 76:4,7     237:6,23 240:6        293:16 312:2      370:23 373:5        went 32:15 132:20
77:11,15,20,25      241:7 242:8           328:6             390:4                134:12 140:19
79:7,13,14,15,22    250:20 251:9,12     visited 17:7 115:21wanted 8:14,20        141:20 148:11
80:3,22 81:10,18    254:9,15 256:18       115:23 116:3      15:12 77:16 79:9     173:10,17,20,24
81:21 82:2 87:24    256:22 257:5,12       134:2 409:15      219:23 247:10        175:8 197:3,10
88:2 90:25 105:13   257:18 258:17       visiting 84:18      257:4 314:10         212:21 227:9
105:14 106:5,12     260:19 262:11,16      112:13 115:18     315:11 338:22        235:22,24 257:18
106:12 108:4,12     263:6 265:15,23     visits 31:25 32:17  339:2,5 345:21       257:20,21 258:8
108:14,20 111:4,8   267:16 268:10         246:13,25         357:16 359:9         258:18,21 298:22
111:13,23 114:23    275:4 280:21        voice 405:23        364:9 373:4          307:24 311:16,19
115:4,7,24 116:21   281:4,16,23         vowel 363:23 364:3 wants 6:25 7:10       311:20,23,25
117:2,4 120:18      282:13 283:23       vr 145:3,10 348:25  154:3                312:6,8 348:11
121:8 122:17        284:12,19,25          350:3,11 405:21  warrant 186:7,11      374:16,25 376:3
123:23 124:21,22    285:13,20 290:10      405:23            186:15,16 188:20     376:17
125:23 126:2,24     290:17,21 293:3                        wasnt 78:5,7,8       west 19:11 29:8
127:6,13 132:15     297:23 298:16,17             W          81:16 153:7         weve 65:12 144:22
132:22 133:3        300:2,11 302:2,8    w 4:6 168:6         211:17 214:23,23     192:8 246:20
135:3,5 143:16      302:14,21 303:11    wages 60:18         217:2,6,13,14,15     249:15 254:14
144:7,9 145:19      303:17 304:15       wait 7:19           217:22 218:23        259:20 299:19
146:22 171:24       344:4,8,11,16,21    waiver 286:7,7      282:20 305:11        383:21 402:11
174:12,20,25        345:5 346:24        walk 17:24 18:10    314:24 331:23               117:6,13
175:4,13 176:7,7    352:6 355:2         walked 219:17       354:9 355:23         314:11 380:22,22
176:9,12,14,17      361:11,22,24        walking 49:2       watch 29:19 334:20    381:3,21 403:9,24
177:2,11,12,22,23   362:7,25 383:19     wall 234:15,19     way 8:11 11:2         404:7
177:25 178:16,17    383:22 384:10,20    want 6:16 11:7      28:14 32:14 68:14            379:5
179:24,24 180:4     387:3,9 399:6,15     23:10 36:21 53:13  89:18 97:7 142:17   whats 36:24 58:17
182:4,5,13,17       399:18,22 404:24     86:2 125:15        157:19 163:23        102:17 149:11
183:4,5,16,20,23    405:2 406:9,19       128:10 132:3       183:7 193:4          211:13 213:4
193:21 194:3,7      407:4,10,17          133:22 138:12      201:23 218:15        215:3 242:19
195:19 196:4,13   virginias 18:8 30:5    141:11 142:20      221:25 222:17        243:6 259:21
196:16,19,20,22     31:2 69:22 89:20     148:4,5,9 150:4,9  227:9 253:24         306:20 328:14
196:25 197:9,15     90:10,11,13          171:2 177:9,24     272:14 291:24        340:22 348:3
197:23 198:19,25    104:18 107:2         179:14 181:17      321:20 335:4,10      384:23
199:19 200:16,25    171:21 175:5         195:5 200:11,13    344:25 352:16       whatsoever 109:17
200:25 201:10,19    182:6 183:13         222:22 223:2       364:14 402:4         232:21 236:8
202:6,12,18,18      204:3 212:6 232:8    230:24 231:15      404:13               247:22 258:24
203:2,2,10,10,20    235:3 241:14         234:5 238:13      ways 322:13          whilst 8:18 12:6
203:20 204:7        273:18 303:25        248:6 250:14      wear 68:19,23         229:5 277:8
207:2 208:18,25     351:6,13,14,17,19    251:6 257:2,3      117:6,13            white 141:9,14
210:7,10 211:9,20   351:24 352:12,14     278:15 288:9      wearing 86:17        whos 277:16
218:2 224:4       visa 45:14,19 46:2     309:4 318:8       weary 4:25           wide 66:23
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 463 of 465
                                                                                             Page 44

willing 310:23       226:3 274:5,18       105:13 106:5                  X             25:23 26:6 226:8
withdraw 357:25      275:5 293:22         116:20 148:25       x 1:4,10 4:6 168:6    youngest 12:22
withdrawing 358:3    321:24 359:25        215:5 218:7,25        414:3,10              13:4
withheld 286:16     work 6:4 8:24 9:16    219:20 317:10                             youre 29:6 129:13
witness 4:7 15:17    9:20,23 10:2,7,10    320:5 322:3                  Y              131:19 132:4
 21:19 23:5,12       10:12,22 12:23       327:16 346:6        yeah 107:9 141:25       138:23 145:6
 44:2 54:16 74:10    29:18 41:12,22       348:14 360:15         271:17 300:25         219:17 221:11
 83:12 106:7 119:4   47:20 50:5,17,18     368:20 381:12         371:19                234:19 235:14
 119:7 178:11        59:12 60:25 67:9     382:15 388:7        year 9:18 11:3          285:17 332:5,23
 181:2 235:18        101:11,20 102:9      396:25 397:2          17:10 25:15 33:7      343:13 346:2
 259:13,16 265:2     103:11 105:15        405:19 407:24         84:21 91:5,13       youve 20:6 21:13
 320:15 323:22       116:15 137:17       works 137:17           121:13 122:9          112:20 175:7
 334:14 335:20       146:12,15,17,23      224:20 272:19         158:22 159:4,11       192:4 221:24
 358:6,17 380:5      147:5 148:11        world 97:3 210:16      165:23 167:16,20      224:17 225:24
 386:10,23 413:4     150:21 152:7         230:16 276:23,25      186:16 250:16,20      263:20 288:3
 416:5,8             162:10,15 188:6     worry 117:16           250:23 251:2,2        294:20 348:22
witnessed 55:12      233:9 245:14        wouldnt 28:19          282:19,21 296:2       389:24 403:12
witnesses 336:5      247:21 248:9         38:19 71:9 78:12      379:11 401:16         404:12 409:18
witnessing 145:21    272:3 310:9 311:7    108:8 122:8         years 26:22 35:3
woman 10:4 31:25     311:10 312:3         135:16,19 191:4       37:12,24 38:10              Z
 189:23 220:13       370:13 382:17        191:12 263:4,7        39:5 59:4 84:22
 246:9,12 275:22     397:6 409:13         285:18 294:5                                       0
                                                                85:24 86:5 89:12
 278:19 280:10       412:2,8              296:25 297:2,3        94:25 95:25 96:4    00 373:9
 324:25             worked 48:6 49:25     303:12 315:17         96:5,9 102:3        000 103:13,16,21
women 9:18 27:17     63:22 72:3 77:12     324:8 326:21          126:17,21 158:19      185:12,20,22
 116:14 190:8        84:13 88:5 104:2     327:3 378:9,14        167:4,8,14 208:22     233:14,15,22
 191:15 276:7,18     146:25 187:7         402:19                229:3 249:2           340:19,24 342:22
 277:4,22 278:7      213:12,14,18        wrap 373:5             294:22 305:22         343:5,10,18
 279:4,14,23         225:16,22,24        write 149:7 151:9      353:18,22,23          371:25
 370:20 401:20       247:14 248:18        152:15 160:11         374:17 376:3        0001 398:6
wonderful 60:23      249:6 255:3,21       360:11                403:21 411:12       000109 72:24
wondering 149:22     256:3 271:14        writing 273:24            1:3,17,17,21     0002 399:11
 358:24              307:10 313:14        274:3 386:14          1:25,25 3:8,12      00040 85:9,11
wont 94:15 96:3      316:14 317:6,17     written 35:13          5:20 79:14,16,20    000424 141:15
 179:5               329:6 347:5          206:20 228:18         79:22 80:18,19,20   00068 209:15,19
wood 234:24          374:17,19 404:5     wrong 139:20           80:23 91:10 103:6   00071 352:21,25
word 95:10 97:10     408:17,23 409:5      140:2 145:4           112:11,14,22,25     000744 119:22
 97:11,14 222:12     409:20 412:21        214:16 220:7          113:18,20 134:19    000746 131:18
 222:15,19,21,24    working 10:9,22       330:14 335:17         189:18 190:17         141:20,23
 247:20 248:6        29:2 34:16 35:2      373:25                248:19 264:12,13    000747 144:16
 249:8,8 363:22      50:11 52:13 66:14   wrote 35:9,23 36:4     264:19,23 287:17    000759 129:9
 382:22,25           75:7 81:8 84:12      36:5,9,24 151:13      293:17 381:22,22    000767 266:15,18
words 4:19 5:3 30:2  84:16 87:22 89:12    206:22 368:5          389:4 398:7         00088 356:3
 96:10 98:12         90:3,18 92:2         385:3,9,19,19         399:12 411:9        000919 265:9
 128:20 138:19       98:11,20 101:16      391:20              young 220:4 311:17    001044 361:16
 139:5 215:2,18      103:23 104:7                             younger 25:14,18      001060 367:25
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 464 of 465
                                                                                                Page 45

00109 34:6,10         109 72:21 414:16     17 33:4,19 94:25        276:8,19,20 277:4     112:15 125:17
  345:15              10th 2:17              95:25 96:4,5          277:22 278:8,20       126:17 131:24
00110 346:16          11 117:23,25 118:4     109:2,7 121:13        279:5,14,24           144:17 342:15
001454 151:20           164:13 259:11,20     122:9,13 206:15       280:10 325:17         343:7,14 388:6
001456 158:3            259:22 353:6         208:22 224:10,15      339:9,13 353:19     2002 10:12,21
001663 319:18           355:2 368:2,4        224:21,22 225:9       354:3 363:12          66:15 105:9 106:3
  321:7                 405:8,15 414:23      225:24 226:9,10       379:18,23 380:6       129:10 139:25
003191 259:22         113 414:17             226:11 250:7,15       380:15 382:7,17       256:19 258:10,17
003192 259:22         116 5:24               250:20,20,23          383:5,14,15,20        261:15,22 266:6
0034 113:24           117 414:18             251:9 254:15,17       384:2,16 387:12       266:20 267:2,8
00376 264:10 266:5    11th 120:10,13         273:21 280:21,23      401:21 402:6,8,15     270:12 271:15
00407 234:11            132:20               281:5,17,23 282:7     402:22 411:11         272:21 342:15
00721 118:18          12 6:2 34:7,11,11      282:13,19 283:4       415:7                 343:7,14 365:9
00745 125:15            167:24 263:8,14      283:10 284:12,19    19 72:17,21,22          366:9,22 367:9,16
00759 139:22            345:17 347:14        284:25 285:13,20      365:23 415:8          403:21 410:19
01452 164:9             351:4 379:11         353:23 355:3        1961 6:2              2003 10:12,21
01456 148:21            414:24               360:25 361:2        1990s 412:16            155:13,21 156:2,3
02 67:22 152:2        1200 1:24              383:22 384:11,20    1991 101:4,10,13        187:14,14,19
03 152:2 153:25       13 37:12,23 39:5       411:11 415:6          294:19                188:15,16 189:9
04 1:18 3:10 150:14     165:19,22 208:15   18 13:8,11,17 14:2    1992 10:6,10 11:20      270:12 271:15
  158:6 159:24          312:14,15 414:25     14:11,19 15:9         11:25 12:7 21:7       272:21 410:20
  160:23 164:13       133 414:19             22:9,13,17,20         96:18,20 101:16     2004 85:2,4 91:6,13
  294:14              14 42:20 126:21        23:8,15,23 25:6       101:19 410:14         313:7 320:2
05 353:21               345:11,12 352:20     27:9,19,22 28:21    1994 403:10             327:15 328:3,10
08 117:23               415:3                29:7,16 30:19,25    1995 403:10             328:17,21 333:13
09 117:25             143 414:20             32:3,12,23 33:14    1999 123:11 340:18    2005 84:23,25
                      1454 151:19            35:3 38:2 43:9        341:2 365:9           123:11 166:8,12
          1           1456 151:22            46:10,14 56:11,23                           166:25 313:7
1 3:4 24:20 34:20     147 414:21             57:7 58:17 64:6              2              320:2 327:15
  83:6,13,13 152:2    14th 120:11            67:25 83:17 95:6    2 33:25 34:4 68:3       328:3,8 333:13
  153:25 166:25       15 33:6 126:21         99:11,23 100:7        153:25 158:6          396:15
  168:5,10 208:12       158:10 161:9         107:21 116:8          208:15 209:20       2006 396:15
  263:15 414:13         207:9 251:5          121:21 122:3          256:11 361:12       2008 11:3
10 67:22,25 209:13      348:17,19 355:2      153:15 157:6,10       362:24 399:4,23     2009 11:3,25 21:7
  256:14 273:5          363:14 368:5         157:12,16 158:18      414:14                84:13 96:19,20
  297:17 353:14         415:4                158:22 159:4,11     20 296:24 297:15        185:9 373:12
  361:5 362:22        150 2:17               161:8 162:21,23       367:21,22 415:9       394:5,18,22
  414:22              15cv07433rws 1:7       163:3,17 164:7      200 25:11 51:5          410:16
100 18:25 51:5        16 26:22 43:12         188:11,12 189:24      60:21 103:21        2011 34:7,11 35:15
  60:21 103:13,18       85:24 86:5 167:8     189:24 190:4,5,9    2000 17:10 96:7         35:16,24,25
  103:20 137:6          167:14,16,20         190:20 222:6          120:10 121:4          345:17 347:14
  185:12 229:9          251:2 273:19         224:5 225:3           282:16,22 342:15      348:6,7,11 353:6
  230:11                282:19 350:23,24     246:19 247:15         403:21                353:14 356:5
1000 135:8 183:3        353:18,20,23,25      248:2,8,20 249:14   2000s 410:18            357:22 359:4
  228:2,12              411:11 415:5         249:19,25 250:5       412:16              2014 296:10,14,22
10026 1:25            16th 282:17            250:12 275:23       2001 66:15 101:24       297:11 298:9
         Case 1:15-cv-07433-LAP Document 1137-13 Filed 10/22/20 Page 465 of 465
                                                                                                Page 46

2015 201:9,19           278:8,20 279:5,15   4 34:8,11,23,24         263:15 294:16      9th 132:19
  202:5 209:20          279:24 280:10         109:20,23 150:14      414:19
  273:8,13 297:20     2830 150:6 156:16       168:11 294:14       70 352:23
  348:18,23 351:4     2832 157:18,25          327:7,10 414:7,16   70s 58:25
  361:5,12,24         2841 159:20           40 10:5               71 414:15
  362:24 363:15       29 144:20             400 42:10             744 120:6
  365:4,6,7 366:2,6   2994 165:11           401 2:4               746 128:4
  366:21 368:2        29th 145:6,8          405 415:14            76 72:5,11,14 73:3
  369:25 370:6,12     2nd 155:13            425 2:10                73:11
  384:25 390:23                             43 413:19,20          794 353:21
  398:7,23 399:3,4              3           44 120:5
  399:19,23 405:9     3 71:17,20 118:6      457 264:12                     8
  405:15                167:25 210:7,7      49 373:6              8 60:19 143:4,10
2016 1:18 3:9           256:14 294:11       4th 264:12              164:13 263:15
  416:12 417:12         353:14 398:6,23                             327:12 356:5
209 414:22              399:3,13 414:15              5              414:20
21 168:5,10 384:21    30 59:3 83:8,16       5 113:21 132:2,2      80 263:15
  384:24,25 390:23      84:2,7 87:20 88:4     158:6 208:16        80203 2:18
  391:19,22 415:10      88:9,15,19 89:2,7     233:14,15,22        80s 59:2 376:12
21st 266:20 267:9       89:19 90:6 180:8      373:6 414:17          408:11
22 1:18 3:9 129:13      180:15 296:10,14    50 10:5 114:20        84112 2:14
  130:20 139:23         296:22 297:11         297:4 340:19,24     89 376:8,8
  390:19,21 415:11      298:9                 342:22 343:5,10     8th 132:19
  416:12              300 42:7 123:10         343:18 371:25
22nd 125:18 129:13    3008 166:22             374:17 376:3                9
23 25:15 392:12       30th 127:4            500 103:16,18       9 1:18 3:10 60:19
  415:12              31 144:20               185:20,21,22        147:23,25 159:24
24 348:18,23          312 414:25            51 294:11             160:23 263:15
  353:19,21,21        33 414:14             5203106 259:2,25      368:5 414:21
  366:6 398:2,3       33301 2:5,10          54 9:18 96:9 327:10 90s 91:25 295:14
  414:13 415:13       345 415:3             56 208:12             376:12 381:13
24th 354:4            348 415:4,5           575 1:16 3:11         403:20,20,22
25 139:25 150:14      361 415:6             58 256:11             404:4 410:17
  167:24 366:2        363 415:7             5th 132:13,19       91 319:17 321:7
  405:3,4,7 415:14    365 415:8                                 917 259:2,25
259 414:23            367 415:9                      6          919 263:16
25th 140:8            370 334:11            6 117:19 166:25     920 263:16
26 118:4 150:3        375 263:15              256:15 263:15     921 263:16
263 414:24            383 2:14                266:12 373:9      922 263:16
27 144:20 264:23      384 415:10              413:19,20 414:18 923 263:16
  266:6 267:21        39 85:8 327:7         65th 5:24           924 263:16
  392:16,18           390 415:11            6th 132:19          925 263:16
27th 266:21 267:10    392 415:12                                926 263:17
                      398 415:13                     7          98 104:12
28 24:23 25:7 26:24
                                            7 60:19 133:4,6     99 104:12 188:16
  275:23 276:8,19
                               4              159:24 160:23       366:9,22 367:9,16
  276:20 277:4,22
